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                  Monitor’s Ninth Report


 Compliance Levels of the Albuquerque Police
 Department and the City of Albuquerque with
Requirements of the Court-Approved Settlement
                  Agreement
             No. CIV 14-1025-JB-SMV




                                                      May 2, 2019



Prepared by: Public Management Resources, Inc. James
                  D. Ginger, Ph.D., Independent Monitor
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1.0 Introduction

This Independent Monitor’s Report (IMR) follows the same format as all previous
reports. That format is organized into five sections:

             1.0   Introduction;
             2.0   Summary;
             3.0   Synopsis of Findings;
             4.0   Compliance Findings; and
             5.0   Summary.

The purpose of the monitor’s periodic compliance reports is to inform the Court of the
monitor’s findings related to the progress made by APD in achieving compliance with
the individual requirements of the CASA. This report covers the compliance efforts
made by APD during the ninth monitoring period, which covers August 2018 through
January 2019. As of this reporting period, we have seen a new strategy developed by
APD, one which the monitoring team believes will significantly aid efforts to implement
the spirit of the CASA as well as the specific requirements. This strategy involves
overlaying the specific requirements of the CASA with current, state-of-the art
community policing efforts designed to move APD from simply a law enforcement
agency to a community integrated law enforcement agency. The Chief and his
command staff have identified and replicated several state-of-the art policing strategies
that are designed to transition APD to an agency that has true partnerships with the
citizens it serves.

These four new initiatives at APD build from successful processes already
implemented and tested in other police departments. They include:

1. EPIC –Ethical Policing is Courageous: A peer-based program designed to empower
individual officers the strategies and tools to step in and intervene in improper police
behaviors in order to prevent problems before they occur. EPIC training officers in how
to defuse situations before they become critical issues in how officers interact with and
treat the public. The Chief contends that “If we can prevent some of our own
misconduct periodically, and salvage some officers’ careers [by preventing] some
mistakes we can have a substantial impact. Just one mistake can ruin a career.” The
goal is to have other officers intervene one-on-one to cause an officer about to make a
mistake to re-think his process and actions. EPIC represents a cultural change in
policing that equips, encourages and supports officers to do the right thing.

2. Law Enforcement Assisted Diversion (LEAD) programs are designed to end the
revolving door of arrest-try-incarcerate-repeat generated by most law enforcement
programs designed to deal with drug abuse or prostitution. The program allows law
enforcement officers to redirect low-level offenders engaged in drug or prostitution
activity to community-based services, thus preventing negative outcomes of being
processed by official criminal justice system components for first offenses.



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3. CIT-ECHO—An Extension for Community Healthcare Outcomes: A collaborative
model of medical education and care management that empowers clinicians to provide
better care to more people. ECHO dramatically increases access to specialty training
and knowledge by front-line law enforcement personnel with the knowledge and support
they need to manage difficult interactions. Engages POs in a continuous learning
system and partnering them with specialist mentors at an academic medical center or
hub. The goal is to address inadequate or disparities in care. ECHO has been
recognized as an effective mechanism to move critical care to a broader, closer-to-the-
consumer service delivery model, by training special teams of police officers in the crisis
intervention model and “workable alternative treatment sources.”

CIT-Echo trains APD officers in triage and referral processes and uses a distributed
processing model, rather than a centralized “facility” model.

4. Problem Response Teams—Dedicated community-policing trained officers
assigned to community outreach and problem-solving modalities that involve working
directly with local residents and business owners to identify problems, issues, needs
and solutions related to articulated community problems.

5. Direct Personal Involvement—The Chief has, on multiple occasions, directly
inserted himself into the change process at APD, sending direct, clear, and personal
signals to the agency’s membership that change is coming and APD is entering a new
era in the way it delivers policing services to the citizens of Albuquerque. For example,
the Chief has personally delivered the introductory segments of training regarding new
use of force practices. In our past experience in these organizational reform processes,
this level of personal commitment by the chief executive is critical to implementing the
types of changes required by the CASA. Of all the organizational change processes
engaged in by APD over the past year, the direct personal involvement of the Chief may
be the most critical.

2.0 Executive Summary

Again, for the second reporting period in a row, the compliance efforts we have
observed during this reporting period differ substantively from those we had observed
earlier in the monitoring process. We have found that the current APD executive staff
continue to be fully committed to CASA compliance processes. Most of the new
command and oversight cadres also appear to be fully committed to moving APD
forward in its compliance efforts. We have found extremely attentive audiences for our
compliance process advice, and in most cases, APD has moved forward adroitly as it
implements responses to that advice. We remind the reader again, that this compliance
project is, by design, a long-term project, involving complex, and arduous processes
with hundreds of “moving parts.”

IMR-9 is the second full monitor’s report that reflects the progress made at APD since
the advent of a new management and executive cadre at APD. We note at the outset
that the new management cadre continues to exhibit a strong grasp of the key issues

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confronting them as they work toward compliance with the CASA. As we noted in our
report for the 8th reporting period, the new executive and command personnel at APD
have implemented a new approach to the agency’s compliance efforts. We noted in
IMR 8 that APD’s new management cadre has recognized the need for:

              •   Methodical approaches to problem-solving;
              •   Movement toward data-based decision making;
              •   Strategic approaches; and
              •   Looking outside the organization for effective models and processes
                  to move compliance forward.

More importantly, the current leadership continues to demonstrate a grasp of the
key issues involved in the compliance process and they are building effective
problem-solving mechanisms designed to effectuate meaningful change at APD.

In IMR-8 we noted that “Taking the time to build good foundations is critical to the
compliance process.” APD leadership cadres have begun to understand and
embrace the fact that some processes simply cannot be rushed, but need time to
develop, plan, implement, assess and revise. During IMR-9’s reporting period,
APD has adopted the long-term approach to reform that we have recommended
from the early stages of this process. We see this as a critical change in
approach. The new executive and management cadre at APD have been highly
responsive to monitoring team feedback.

The leadership and management cadres currently at APD have made palpable
progress. More importantly, they have constructed critical foundations for the
change that still remains to be accomplished. We again caution the reader,
however, that the types of planned change and organizational processes
required by the CASA take time to plan, design, implement, evaluate and
redesign. The CASA change process is a classic “long-linked” technology,
requiring high degrees of sequential dependence, i.e., it has multiple steps, each
requiring success in order for the “whole” to be effective.




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  Figure 2.1: Longitudinal Compliance Levels for Reporting Periods 1-9

 120


 100


  80
                                                          Primary
  60
                                                          Secondary
                                                          Operational
  40


  20


   0
         1   2     3    4    5     6    7    8     9


3.0 Synopsis of Findings for the 9th Reporting Period

In IMR-8 we noted “The CASA compliance process has several critical
outstanding issues that need prompt attention and resolution. Chief among
those is the review and revision of APD’s use of force policy suite.” Since
that comment, APD has completed the use of force policy suite, and those
policies were approved by the monitor this reporting period.

The resolution of the use of force policies was a critical outstanding issue.
Other significant compliance issues remain outstanding. These include:

Policies and training regarding other (non-force) CASA-related functions,
such as:

1. Re-design of Force Review Board processes;

2. Re-integration of Force Review Board practices into the APD policing
   oversight process;

3. Misconduct complaint intake, investigation, and adjudication;

4. The use of force “backlog” being processed by members of the
   APD IA-Force Division;

5. Training documentation, delivery, gap analysis, and
   assessment/evaluation issues (many of which remain “pending” at this
   time);


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6. Community engagement and outreach; and

7. Early intervention systems designed to identify officers who frequently
engage in behaviors prohibited by policy and training.

APD’s performance on each of these areas is discussed in detail in the body
of IMR-9.

3.1 Accomplishments

During the eighth monitoring period, we noted “APD has made substantive progress in
developing a coherent management strategy, identifying and prioritizing the critical
issues confronting APD (noted above), and crafting change strategies to remediate
identified problems.” These developments have continued to blossom at APD during
the ninth reporting period. A great deal of work lies ahead; however, the current
leadership at APD continues to develop a receptive and attentive attitude toward the
change processes that lie ahead. APD continues moving toward becoming a data-
driven organization that uses data and facts to assess issues, identify potential
solutions, and effect meaningful change. During this reporting period, APD has taken
the following direct actions to move their compliance processes forward:

         •   Building a more rigorous development and assessment practice at the
             Training Academy related to curriculum development, delivery and
             assessment;

         •   Fielding an effective unit designed to reduce the long-standing backlog of
             use of force incidents;

         •   Researching and adapting implementation strategies informed by the
             experiences in other police agencies working through similar reform
             processes;

         •   Developing competencies within the Compliance Bureau in a manner that
             should drastically improve compliance-related performance, including a
             new “Performance Metrics Unit” that serves as APD’s internal audit unit,
             performing work similar to the monitoring process;

         •   Continuing work for restructuring the documentation of training processes,
             including improved training plans and revised internal responsibilities and
             processes;

         •   Continuing staffing and development of a well-organized and staffed self-
             audit function (the Performance Metrics Unit);

         •   Continuing movement toward community-based, problem-oriented policing
             practices designed to address community concerns and priorities;

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         •   Provision of training designed to change the culture and climate at APD;
             and

         •   Reorganizing and staffing the Internal Affairs processes in a manner
             designed to improve the quality of internal investigations;

In the ninth reporting period, APD has institutionalized many of these actions, and has
continued its self-improvement practices into other critical areas of the agency.

3.2 Persistent or Evolving Problem Areas

We note three persistent problem areas, most carried over from the previous
administration, but all of which present clear obstacles to effective compliance. These
include:

         1. Resolving issues relating to identification, assessment and action
            on events constituting alleged policy or rule violations by sworn
            personnel within the 90-day limit established by union contract;

         2. The use of “Additional Concerns Memos” to dispose of policy
            violation issues, as opposed to actual findings and corrective
            action; and

         3. A continuation of what we have labeled the “Counter-CASA Effect”
            at APD.

4.0 Current Compliance Assessments

As part of the monitoring team’s normal course of business, it established a
base-line assessment of all paragraphs of the CASA for the Independent
Monitor’s first report, (IMR-1). This was an attempt to provide the Parties with a
snapshot of existing compliance levels and, more importantly, to provide the
Parties with identification of issues confronting compliance as the APD
continues to work toward full compliance. As such, the baseline analysis is
considered critical to future performance in the APD’s reform effort as it gives a
clear depiction of the issues standing between the APD and full compliance.
This report, IMR-9, provides a similar assessment, and establishes a picture of
progress on APD goals and objectives since the last monitor’s report.

4.1 Overall Status Assessment

Section 4.1 provides a discussion of the overall compliance status of APD as of
the ninth reporting period. As of the end of the ninth reporting period, APD
continues to make progress overall, having achieved primary compliance in 99.6
percent of the tasks it agreed to by implementation of the CASA process with

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the Department of Justice. Primary Compliance relates mostly to development
and implementation of acceptable policies (conforming to national practices).
APD is in 79 percent Secondary Compliance as of this reporting period, which
means that effective follow-up mechanisms have been taken to ensure that APD
personnel understand the requirements of promulgated policies, e.g., training,
supervising, coaching, and disciplinary processes to ensure APD personnel
understand the policies as promulgated and are capable of implementing them
in the field. APD is in 63 percent Operational Compliance with the requirements
of the CASA, which means that 63 percent of the time, field personnel either
perform tasks as required by the CASA, or that, when they fail, supervisory
personnel note and correct in-field behavior that is not compliant with the
requirements of the CASA

Figure 4.1.1, below depicts APD’s compliance performance over the last seven
reporting periods. We note that there was no “conventional” IMR written for the
seventh monitoring period. Instead, given the fact that a new administration was
on-board, we spent the IMR-7 period almost exclusively on technical assistance
(TA) as opposed to actual compliance monitoring. The monitor developed and
published two “mini-reports” outlining that TA. We note that there was no full-
scope monitor’s report for the IMR-7 reporting period. Instead, the monitor and
the Parties, with the approval of the Court, provided a technical-assistance-
intensive process designed to bring the new administration up to speed on the
CASA and its implementation requirements.

Figure 4.1.1 contains no data for IMR-7. At the monitor’s recommendation, the
Parties agreed that the monitoring team would shift to a second phase of
technical assistance, for APD’s new command elements, designed to reflect the
same TA provided to the initial command staff. The new command elements
were selected by the in-coming chief of police.




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                     Figure 4.1.1: Long Term Compliance Status

 120


 100


  80
                                                           Primary
  60
                                                           Secondary
                                                           Operational
  40


  20


   0
          1      2    3      4    5     6      7   8   9


The careful reader will note a slight increase in all compliance levels for this
reporting period, compared with the IMR-8 reporting period.

4.2 Project Deliverables

Project deliverables are defined by the Settlement Agreement governing the
parties’ response to the CASA, (DOJ, the City, APD, and the Albuquerque
Police Officers’ Association (APOA). Each deliverable is discussed in detail
below in section 4.7.

4.3 Format for Compliance Assessment

The Monitor’s Reports are organized to be congruent with the structure of the
CASA, and specifically report, in each section, on the City’s and APD’s
compliance levels as well as with CPOA, for each of the 276 individual
requirements of the CASA.

The Monitor’s Reports are structured into nine major sections, following the
structure of the Agreement:

               I.         Use of Force;

               II.        Specialized Units;

              III.        Crisis Intervention;

              IV.         Policies and Training;


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            V.      Misconduct Complaint Intake, Investigation and
                    Adjudication;

           VI.      Staffing, Management, and Supervision;

          VII.      Recruitment, Selection and Promotions;

          VIII.     Officer Assistance and Support; and

           IX.      Community Engagement and Oversight;

All monitor’s reports deal with each of these nine major areas in turn, beginning with
APD’s response and performance regarding reporting, supervising, and managing its
officers’ use of force during the performance of their duties, and ending with APD’s
efforts at community engagement and its ability to facilitate community oversight of its
policing efforts.

4.4 Structure of the Task Assessment Process

Members of the monitoring team have collected data concerning the APD’s compliance
levels in a number of ways: through on-site observation, review, and data retrieval;
through off-site review of more complex items, such as policies, procedures, testing
results, etc.; and through review of documentation provided by APD or the City which
constituted documents prepared contemporaneously during the normal daily course of
business. While the monitoring team did collect information provided directly by APD in
response to the requirements of the CASA, those data were never used as a sole
source of determination of compliance, but were instead used by the monitoring team
as explanation or clarification of process. All data collected by the monitoring team
were one of two types:

      •    Data that were collected by using a structured random sampling process; or

      •    Selecting all available records of a given source for the “effective date.”

Under no circumstances were data selected by the monitoring team based on provision
of records of preference by personnel from the City or APD. In every instance of
selection of random samples, APD personnel were provided lists of specific items, date
ranges, and other specific selection rules, or the samples were drawn on-site by the
monitor or his staff. The same process will be adhered to for all following reports until
the final report is written.

4.5 Operational Definition of Compliance

For the purposes of the APD monitoring process, “compliance” consists of three
parts: primary, secondary, and operational. These compliance levels are
described below.


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       •      Primary Compliance: Primary compliance is the “policy” part of
              compliance. To attain primary compliance, APD must have in place
              operational policies and procedures designed to guide officers,
              supervisors and managers in the performance of the tasks outlined in
              the CASA. As a matter of course, the policies must be reflective of
              the requirements of the CASA; must comply with national standards
              for effective policing policy; and must demonstrate trainable and
              evaluable policy components.

       •      Secondary Compliance: Secondary compliance is attained by
              implementing supervisory, managerial and executive practices
              designed to (and effective in) implementing the policy as written, e.g.,
              sergeants routinely enforce the policies among field personnel and
              are held accountable by managerial and executive levels of the
              department for doing so. By definition, there should be operational
              artifacts (reports, disciplinary records, remands to retraining, follow-
              up, and even revisions to policies if necessary, indicating that the
              policies developed in the first stage of compliance are known to,
              followed by, and important to supervisory and managerial levels of
              the department.

       •      Operational Compliance: Operational compliance is attained at the
              point that the adherence to policies is apparent in the day-to-day
              operation of the agency e.g., line personnel are routinely held
              accountable for compliance, not by the monitoring staff, but by their
              sergeants, and sergeants are routinely held accountable for
              compliance by their lieutenants and command staff. In other words,
              the APD “owns” and enforces its policies.

As is true in the monitor’s experience, change is never simple or quick. A great deal of
work lies ahead. The monitoring team is committed to assisting APD command staff by
working closely with the APD in forging new, and revising old policies, articulating clear
guidelines and practices for APD’s intensive training of the department’s supervisors
and managers, assisting APD in building assessment tools designed to identify
problematic behaviors, and advising on “best practices” that can be adapted by APD as
it moves forward in its efforts to meet the individual and global requirements of the
CASA.


4.6        Operational Assessment

The APD and the City (CPOA and POB) have agreed to comply with each of the
articulated elements of the CASA. The monitoring team has provided the Parties with
copies of the team’s monitoring methodology (a 299-page document) asking for
comment. That document was then revised, based on comments by the Parties. This
document reflects the monitor’s decisions relative to the Parties’ comments and

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suggestions on the proposed methodology and is congruent with the final methodology
included in Appendix One of the monitor’s first report1. The first operational paragraph,
under this rubric, is paragraph 14, as paragraph 13 is subsumed under paragraph 14’s
requirements.

4.6.1 Methodology

The monitor assessed the City and APD’s compliance efforts during the ninth reporting
period, using the Monitor’s Manual, included as Appendix A, in the monitor’s first report
(see footnote 3). The manual identifies each task required by the CASA and stipulates
the methodology used to assess compliance.

4.7 Assessing Compliance with Individual Tasks

APD’s compliance with individual tasks for the ninth reporting is described in the
sections that follow.

4.7.1 Assessing Compliance with Paragraph 14

Paragraph 14 stipulates:

                  “Use of force by APD officers, regardless of the type
                  of force, tactics, or weapon used, shall abide by the
                  following requirements:
                  a) Officers shall use advisements, warnings, and
                  verbal persuasion, when possible, before resorting to
                  force;
                  b) Force shall be de-escalated immediately as
                  resistance decreases;
                  c) Officers shall allow individuals time to submit to
                  arrest before force is used whenever possible;
                  d) APD shall explicitly prohibit neck holds, except
                  where lethal force is authorized;
                  e) APD shall explicitly prohibit using leg sweeps, arm-
                  bar takedowns, or prone restraints, except as
                  objectively reasonable to prevent imminent bodily
                  harm to the officer or another person or persons; to
                  overcome active resistance (or as objectively
                  reasonable where physical removal is necessary to
                  overcome passive resistance and handcuff the
                  subject);
                  f) APD shall explicitly prohibit using force against
                  persons in handcuffs, except as objectively
                  reasonable to prevent imminent bodily harm to the
                  officer or another person or persons; to overcome
                  active resistance; or as objectively reasonable where
                  physical removal is necessary to overcome passive
                  resistance;

1   Available at: https://www.justice.gov/usao-nm/file/796891/download


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              g) Officers shall not use force to attempt to effect
              compliance with a command that is unlawful;
              h) Pointing a firearm at a person shall be reported in
              the same manner as a use of force, and shall be done
              only as objectively reasonable to accomplish a lawful
              police objective; and
              I) immediately following a use of force, officers, and,
              upon arrival, a supervisor, shall inspect and observe
              subjects of force for injury or complaints of pain
              resulting from the use of force and immediately obtain
              any necessary medical care. This may require an
              officer to provide emergency first aid until
              professional medical care providers arrive on scene.”

Methodology

APD’s current SOPs related to use of force were first approved by the monitor in June
2017. Those policies incorporated use of force reporting and supervisor investigation
responsibilities for APD officers. Throughout 2018, and up to the end of the IMR-9
reporting period, APD reworked those policies to integrate a new, three-tiered reporting
system. Members of the monitoring team have provided extensive and detailed
perspective, feedback and technical assistance related to this new three-tiered system.
Over the course of our engagement with APD, our use of force case reviews
consistently revealed serious deficiencies in the oversight and accountability process,
particularly with respect to use of force, force reporting, supervisory-level investigations
and chain of command reviews. While we are seeing significant progress in these
areas, in particular with the Internal Affairs Force Division, that positive movement has
not alleviated issues that continue in the field. The CASA requires that the use and
investigations of force shall comply with applicable laws and comport to best practices.
Central to force investigations shall be a determination of each involved officer’s
conduct to determine if the conduct was legally justified and compliant with APD policy.
As with other reporting periods, the monitoring team spent an extensive amount of time
providing perspective, feedback and technical assistance to APD personnel related to
all of their responsibilities regarding the proper reporting, classification and investigation
of uses of force to include our November 2018 site visit. In addition, the monitor worked
closely with the parties to write use of force policies that can be trained and
implemented in the field. The new use of force “suite of policies” were not approved
until January 15, 2019, which was near the end of the IMR-9 monitoring period.

Results

Paragraphs 14 remains in Primary Compliance. One of the key reasons for this
compliance status is the outstanding training gaps in Paragraphs 86 - 88 that have
lingered for the past several monitoring periods. We comment more extensively about
efforts APD’s Academy has made to address the training gaps, and recognize that APD
has remediated most of the training gaps through their on-line Learning Management
System (LMS) in January 2019. We spoke with the Academy Commander about two
areas that were not addressed in the recent gap training, and she committed to


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delivering additional training early in the IMR-10 reporting period.2 Similarly, we were
told that APD’s decision to adjust the use of force “suite of policies” will likely extend
training of those policies into the latter part of 2019. Therefore, Secondary Compliance
cannot be considered at this time, since APD never achieved that compliance status
with its original use of force policies.3 Conducting the use of force gap training was
essential to APD’s success, because we saw evidence in our review of data this
reporting period that demonstrated issues still exist that squarely fall within the
requirements of this paragraph. APD is maturing in its use of their 7-Step Training
Cycle, and the use of that training development system will organize its work and help
better manage the training needs of the organization. We recommend that APD
Academy personnel review the feedback we provide in Paragraphs 24-36, 41-59 and
60-77 when developing its new use of force training. We comment extensively on
progress APD has made and shortcomings we identified related to officer uses of force,
as well as the quality of force investigations and command level oversight of those
investigations. We will not reiterate that information here, but even with the significant
strides APD is making, it is also clear there is still ground to be covered toward
compliance with this paragraph.

        Primary:     In Compliance
        Secondary: Not In Compliance
        Operational: Not In Compliance


4.7.2 Assessing Compliance with Paragraph 15: Use of Force Policy
Requirements

Paragraph 15 stipulates:

               “APD shall develop and implement an overarching
               agency-wide use of force policy that complies with
               applicable law and comports with best practices. The
               use of force policy shall include all force techniques,
               technologies, and weapons, both lethal and less lethal,
               that are available to APD officers, including authorized
               weapons, and weapons that are made available only to
               specialized units. The use of force policy shall clearly
               define and describe each force option and the factors
               officers should consider in determining which use of
               such force is appropriate. The use of force policy will
               incorporate the use of force principles and factors
               articulated above and shall specify that the use of
               unreasonable force will subject officers to discipline,
               possible criminal prosecution, and/or civil liability.”



2 We note that one open training gap pertains to crowd control that requires APD’s ERT to finalize SOP’s
and develop training that we comment on in Paragraphs 39-40 of this report.
3 APD’s new use of force system adds a new level of force that impacts reporting, classification and

investigatory responsibilities. That significant of a change will require a complete retraining of the
organization to achieve Secondary Compliance.

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Methodology

APD’s current SOPs related to use of force were first approved by the monitor in June
2017. Those policies incorporated use of force reporting and supervisor investigation
responsibilities for APD officers. Throughout 2018, and up to the end of the IMR-9
reporting period, APD reworked those policies to integrate a new, three-tiered reporting
system. Members of the monitoring team have provided extensive perspective,
feedback and technical assistance related to this new three-tiered system. Over the
course of our engagement with APD, our use of force case reviews consistently
revealed serious deficiencies in the oversight and accountability process, particularly
with respect to use of force, force reporting, supervisory-level investigations and chain
of command reviews. While we are seeing progress in these areas, in particular with
the Internal Affairs Force Division that positive movement has not alleviated issues that
continue in the field. The use and investigations of force shall comply with applicable
laws and comport to best practices. Central to force investigations shall be a
determination of each involved officer’s conduct to determine if the conduct was legally
justified and compliant with APD policy. As with other reporting periods, the monitoring
team spent an extensive amount of time providing perspective, feedback and technical
assistance to APD personnel related to all their responsibilities related to the proper
reporting, classification and investigation of uses of force, to include our November
2018 site visit. In addition, the Monitor worked closely with the parties to write use of
force policies that can be trained and implemented in the field. The new use of force
“suite of policies” were not approved until January 15, 2019, which was near the end of
the IMR-9 monitoring period.


Results

Paragraph 15 remains in Primary Compliance. One of the key reasons for lack of
progress in compliance efforts for this paragraph is the outstanding training gaps in
Paragraphs 86 - 88 that have lingered for the past several monitoring periods. Below,
we comment more extensively about efforts APD’s Academy has made to address the
training gaps, and recognize APD has remediated most of the training gaps through
their on-line Learning Management System. In January 2019, we spoke with the
Academy Commander about two areas that were not addressed in the recent gap
training, and she committed to delivering additional training early in the IMR-10
reporting period.4 Similarly, we were told that APD’s decision to adjust the use of force
“suite of policies” will likely extend training of those policies into the latter part of 2019.
Therefore, Secondary Compliance can’t be considered at this time, since APD never
achieved that compliance status with its original use of force policies.5



4 We note that one open training gap pertains to crowd control that requires APD’s ERT to finalize SOP’s
and develop training that we comment on in Paragraphs 39-40 of this report.
5 APD’s new use of force system adds a new level of force that impacts reporting, classification and

investigatory responsibilities. That significant of a change will require a complete retraining of the
organization to achieve Secondary Compliance.

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Conducting the use of force gap training was essential to APD’s success because we
saw evidence in our review of data this reporting period that demonstrated issues still
exist that squarely fall within the requirements of this paragraph. APD is maturing in its
use of their 7-Step Training Cycle, and the use of that training development system will
organize its work and help better manage the training needs of the organization. We
recommend that APD Academy personnel review the feedback we provide in
Paragraphs 24-36, 41-59 and 60-77 when developing its new use of force training. We
comment extensively on progress APD has made and shortcomings we identified
related to officer uses of force, as well as the quality of force investigations and
command level oversight of those investigations. We will not reiterate that information
here, but even with significant strides APD is making, it is also clear there is still ground
to be gained toward compliance with this paragraph.

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

4.7.3 Assessing Compliance with Paragraph 16: Weapons Protocols

Paragraph 16 stipulates:
       “In addition to the overarching use of force policy, APD agrees to
       develop and implement protocols for each weapon, tactic, or use of
       force authorized by APD, including procedures for each of the types of
       force addressed below. The specific use of force protocols shall be
       consistent with the use of force principles in Paragraph 14 and the
       overarching use of force policy.”

Methodology

APD’s current SOPs related to use of force were first approved by the monitor in June
2017. Those policies incorporated use of force reporting and supervisor investigation
responsibilities for APD officers. APD has previously achieved Secondary Compliance
with the provisions of this paragraph, notwithstanding changes that have occurred to
use of force policies that directly relate to this paragraph. Throughout 2018, and up to
the end of the IMR-9 reporting period, APD reworked their use of force “suite of policies”
to integrate a new, three-tiered reporting system. Members of the monitoring team have
provided extensive perspective, feedback and technical assistance related to this new
three-tiered system. Over the course of our engagement with APD, our use of force
case reviews consistently revealed serious deficiencies in the oversight and
accountability process, particularly with respect to use of force, force reporting,
supervisory-level investigations and chain of command reviews. While we are seeing
significant progress in these areas, in particular with the Internal Affairs Force Division
(IAFD), that positive movement has not alleviated issues that continue in the field. The
use and investigations of force must comply with applicable laws and comport to best
practices. Central to force investigations is a determination of each involved officer’s
conduct to determine if the conduct was legally justified and compliant with APD policy.
The Monitor worked closely with the parties to write use of force policies that can be

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trained and implemented in the field. The new use of force “suite of policies” were not
approved until January 15, 2019, which was near the end of the IMR-9 monitoring
period.

Results

Paragraph 16 remains in Secondary Compliance. APD’s decision to adjust the use of
force “suite of policies” will likely extend training of those policies into the latter part of
2019. The relationship between the provisions of this paragraph and training the new
use of force policies is self-evident. We recommend that APD Academy personnel
review the feedback we provide in Paragraphs 24-36, 41-59 and 60-77 when
developing its new use of force training. We comment extensively on progress APD
has made and shortcomings we identified related to officer uses of force, as well as the
quality of force investigations and command level oversight of those investigations. We
will not reiterate that information here, but even with the significant strides APD is
making, it is also clear there is still significant work to do toward compliance with this
paragraph.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

4.7.4 Assessing Compliance with Paragraphs 17-20 and 89: Firearms
Modifications and Training

The 2019 annual firearms training cycle was just beginning at the end of this reporting
period. The basis of this review was the completion of the 2018 training cycle.

The 2018 firearms training cycle has been completed and the firearms staff have
compiled extensive data to document all requirements outlining what they have
accomplished in order to meet or exceed the CASA requirements. We view this as
excellent work that should be emulated by other APD staff as they consider how to
respond to monitoring team findings.

98.6% of all APD personnel (901 of 916) completed firearms training. Personnel who
had not yet completed training were on various types of leave—Military, or Family
Medical Leave Act, etc. Upon returning, each officer will be required to attend all
missed training, including firearms, before being permitted to work.
APD is required to provide sufficient training courses to allow officers to gain proficiency
and meet firearms qualification requirements. During past site visits, members of the
monitoring team attended firearms training. APD range staff have changed range hours
to enable officers to practice firearms in a low-light environment and have integrated
monitoring team recommendations into its policy and procedures related to firearms
training. The firearms staff has added additional days and times to allow more practice.
In reviewing data related to failures to qualify, we found that firearms staff documents all
failures, and refers poorly performing officers for additional training.

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Following the 2018 firearms qualifications cycle, the monitoring team was provided with
data that showed at least 3 officers who failed to qualify and then failed an immediate
requalification attempt. These three officers were ordered to surrender their firearms
and police vehicle and placed in an administrative position until they returned to the
range to qualify. Additionally, documentation was found that officers failing to qualify
with rifle or shotgun were required to surrender the firearm until they returned to the
range to qualify. The monitoring team sees this as another positive example of a staff
making changes in order to meet the requirements of the CASA.
In response to CASA requirements and numerous recommendations from the monitor,
the Chief of Police commissioned the Audit Division to conduct the 2018 Firearms
Audit—the results of which were submitted to the monitoring team. The audits were
conducted during eight sessions of day- and low-light firearms qualifications. The Audit
Division took a 25% random selection of those individuals in attendance. Data
collected to determine CASA compliance included:

   •   Firearm assignment (officer name and employee ID) weapon type, make,
       model, caliber;
   •   Serial number provided by officer during qualification;
   •   Serial number provided by Property list;
   •   Verbal confirmation by officer if any firearms they are qualifying with have been
       modified; and
   •   Verbal confirmation by officer if all firearms they are qualifying with are agency
       approved firearms.
Audit findings were reported in writing, and noted the following issues:

   •   There were twelve occurrences in which officer indicated their firearms had
       been modified.
   •   There were eighteen occurrences in which the firearms had serial numbers that
       did not match with what was listed in the Property Unit’s Inventory List.
   •   100% of the total firearms data provided by officers are agency-approved
       firearms.
   •   There were nineteen occurrences where the Inventory List provided by the
       Property Unit listed additional firearms assigned to the officer(s); however, they
       did not have the firearms during their qualification date.
   •   There were sixteen occurrences where the Property Unit did not list firearms
       that the officer(s) were qualifying with during their qualification date.
   •   There were ten occurrences when the firearm, type, make, model did not match
       with what was provided by officers’ and what was listed in the Property Unit’s
       Inventory List.
   •   There were six occurrences where the officer could not provide the firearm’s
       serial number.
   •   There were five occurrences where the officers’ names were not listed on the
       Property list; therefore, the inventory information was unavailable to verify.



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During earlier site visits the monitoring team was provided a copy of a normal course of
business interoffice memorandum from an APD Fiscal Officer to the APD Planning
Unit, dated January 8, 2016, that verified that the required tracking system is fully in
place. APD also continued to work with the city Department of Technology to upgrade
the current system to enhance security and streamline annual inventory
procedures. The 2018 firearms audit, however, highlighted numerous failures in the
tracking system that need to be corrected in order to elevate compliance levels.
In conducting a follow-up to the 2018 firearms audit, APD has found and corrected
many of the inconsistencies including problems when running reports or queries with
the Enterprise Learning Management System (ELMS). The 12 occurrences of
“modified” weapons were related to grips and sights, neither of which is considered a
modification by SOP 2-3 (Firearms and Ammunition Authorization). Historical data
within ELMS was presented as current, thereby showing old firearm serial numbers
attributed to an officer that had been returned/replaced. Once reconciled, related data
fell within the CASA requirement of 95%.
A database for the Supervisor’s Monthly Inspection Report has been created and is in
use by APD supervisors. Monthly firearm inspection information is included in this
database; however, APD has not created a review/ audit/ reporting process for this
data. Collecting the inspections into a database is only the first step. The monitoring
team expects APD to utilize the data to identify and correct violations of policy, if any.
This would be required to attain Operational Compliance.
During the June 2018 site visit, members of the monitoring team visited all six Area
Commands and spoke with supervisors at each location. Some supervisors were frank
in their discussion of monthly inspections, informing the monitoring team that there are
both formal and informal inspections, explaining that they do not in fact physically
check every officer’s weapons for make, model, serial numbers, modifications or
ammunition every month. During the November 2018 site visits to all Area
Commands—one sergeant was vocally resistant to established policy and training,
stating that he would not conduct a formal inspection of his officer’s weapons and
ammunition, believing that his duties as a leader required him to trust that the officers
would follow the rules to carry only issued weapons and ammunition. This
conversation was relayed to APD command staff and the sergeant was issued a verbal
reprimand. We will follow up on this supervisory refusal to adhere to the CASA and to
normal “best practices” relating to officer equipment and adherence to articulated
policy. This sergeant’s resistance to conforming to established policy, while seemingly
minor, could have serious civil liability repercussions. Further, we find it a piece of
deliberate refusal to comply with the CASA, another example of the counter-CASA
effect that APD should work diligently to identify and correct on an on-going basis.
No formalized audit/review/reporting process is articulated for authorized and modified
weapons. Without it, APD has no way of knowing what weapons/ammunition are being
carried by its personnel in the field. Unless all supervisors are trained in the CASA and
policy requirements and in what is considered a firearm “modification”, and this training
is effectuated during every inspection, compliance cannot be attained. We further note
that the “counter-CASA” effect demonstrated by the sergeant discussed above should
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indicate to APD the need for extensive, intensive, and focused internal audit of the
firearms protocols to ensure that what was noted in our review is not more widespread.
We are reasonably sure that the one incident discovered during our monitoring process
this period, in which a field supervisor refused to audit the types of weapons carried by
his patrolmen, is not simply an isolated incident, but is part of a lingering counter-CASA
effect left behind by the previous administration.
Secondary Compliance would require APD to be able to point to specific training for
supervisors related to how they are expected to review these requirements (by roll-call
inspection, by “drive-by” in-field inspections, by OBRD review comments, etc.) The
monitoring team is not aware of any APD training, policy or other mechanism currently
established to affect such inspections, reviews, and remediation, other than some
policy and practice processes that require official inspection of firearms used in officer-
involved shootings. After-the-fact inspections are not routinely viewed as acceptable
policy.
4.7.4 Assessing Compliance with Paragraphs 17

Paragraph 17 stipulates:
              “Officers shall carry only those weapons that have
              been authorized by the Department. Modifications or
              additions to weapons shall only be performed by the
              Department’s Armorer, as approved by the Chief. APD
              use of force policies shall include training and
              certification requirements that each officer must meet
              before being permitted to carry and use authorized
              weapons.”

Results

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

4.7.5 Assessing Compliance with Paragraph 18: On-duty Weapons

Paragraph 18 stipulates:

              “Officers shall carry or use only agency-approved
              firearms and ammunition while on duty.”

Results

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance




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4.7.5 4.7.6 Assessing Compliance with Paragraph 19: On Duty Weapons

Paragraph 19 stipulates:
       “APD issued Special Order 14-32 requiring all officers to carry
       a Department- issued handgun while on duty. APD shall
       revise its force policies and protocols to reflect this
       requirement and shall implement a plan that provides: (a) a
       timetable for implementation; (b) sufficient training courses to
       allow officers to gain proficiency and meet qualification
       requirements within a specified period; and (c) protocols to
       track and control the inventory and issuance of handguns.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

Recommendations for Paragraphs 17-19:

4.7.4-6a APD should evaluate modalities for developing formal
audit/review/reporting policy for “carry and use” assessments and inspections
regarding modified or altered weapons outlined in these paragraphs, including
known “successful” similar programs in other police agencies, using
modalities established for Completed Staff Work.

4.7.4-6b APD should provide specific training for supervisors in the expected
practice in identifying “weapons modifications”

4.7.4-6c Training supervisors in monthly Inspection requirements (all
weapons/ammunition inspections training) should be a formal Training
Academy function.

4.7.4-6d APD should complete additional work to coordinate the firearms data
with City IT, Property and the Training Academy.

4.7.4-6e Given recent noted intentional failures at the supervisory level related to
weapons inspections by field sergeants, conduct an assessment check of all
service areas across randomly selected shifts to assess the degree to which
visual inspections of officer-carried duty weapons, and report findings in an
official PINS (Problems, Issues, Needs, Solutions) document.

4.7.4-6f: If necessary, re-train sergeants, lieutenants, and commanders of
squads, units, and area commands that score < .95 on the inspections protocols
noted in “e” above.

4.7.7 Assessing Compliance with Paragraph 20: Weapons Qualifications

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Paragraph 20 stipulates:

              “Officers shall be required to successfully qualify with each
              firearm that they are authorized to use or carry on-duty at least
              once each year. Officers who fail to qualify on their primary
              weapon system shall complete immediate remedial training.
              Those officers who still fail to qualify after remedial training
              shall immediately relinquish APD-issued firearms on which
              they failed to qualify. Those officers who still fail to qualify
              within a reasonable time shall immediately be placed in an
              administrative assignment and will be subject to administrative
              and/or disciplinary action, up to and including termination of
              employment.”

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.8 Assessing Compliance with Paragraph 21: Firearms Training

Paragraph 21 stipulates:

              “APD training shall continue to require and instruct proper
              techniques for un-holstering, drawing, or exhibiting a
              firearm.”

Methodology

As noted in IMR-8, APD SOPs related to use of force remain approved as of June 2017,
however, throughout 2018 APD has undertaken a rebuild of their use of force “suite of
policies” that will include a new 3-Tier system. Those new policies were not approved
until the very end of the monitoring period; therefore, any necessary training will be
assessed in the future. Past reviews of use of force cases have revealed serious
deficiencies in the oversight and accountability process, particularly with respect to force
reporting, supervisory-level investigations and chain of command reviews. We have
previously reported on deficiencies related to APD officers and supervisors properly
reporting and investigating shows of force, which has directly impacted compliance
efforts with this paragraph. An officer’s actions related to a show of force are intrinsic to
the responsibilities in reaching compliance with the provisions in this paragraph.
Central to those type of supervisory investigations is a determination of each involved
officer’s conduct to determine if their conduct was legally justified and compliant with
APD policy.

As with other reporting periods, the monitoring team spent time during its November
2018 site visit providing perspective, feedback and technical assistance to APD
personnel related to the responsibilities of reporting and investigation of uses of force,
and their responsibilities of training to meet the provisions of this paragraph. As

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reported in IMR-8, APD has been unable to achieve Secondary Compliance because of
lingering training gaps directly related to this paragraph. As noted in Paragraphs 86-88
of this report, the proper display of a firearm and electronic control weapon (ECW) as a
show of force has lingered as a training gap for the past two years but was remediated
at the end of this reporting period. In January 2019, APD provided training curricula to
the monitoring team that was designed to remediate several training gaps, including
proper procedures for displaying a firearm, and reporting and investigating shows of
force. Within the materials we reviewed were a lesson plan, videos and other
supporting documentation that was all designed to be delivered through APD’s on-line
learning platform. The need to fill this training gap was obvious, since personnel need
the requisite guidance to ensure they are properly displaying weapons when a decision
is made to do so.

Results

APD has made the decision to again adjust the use of force “suite of policies,”6 and the
revision process continued through the IMR-9 reporting period. When we met with
personnel responsible for training the policies, we learned that the training will extend
into the latter part of 2019. It was important for APD to conduct its “gap training” to
ensure proper procedures are being followed in the intervening period of time. In
January 2019, the monitoring reviewed and approved use of force training that will
address the immediate need to remediate past training issues with show of force, and
documentation was provided by APD that demonstrated that 98% of the organization
received the training and passed a test to demonstrate there was an acceptable transfer
of knowledge. More details concerning the training are located in Paragraphs 86-88.
We learned that several officers needed remediation through an additional in-person
training program. The decision to conduct the additional training in-person at the
Academy was prudent and APD took that step itself, which we see as an appropriate
reaction to officers in the field failing the on-line test.

Based on the approved training and attendance records, we have determined that APD
has achieved Secondary Compliance for this paragraph. It will be APD’s responsibility
to assess the new “suite” of use of force policies to determine what additional training is
necessary to retain Secondary Compliance in the future. Operational Compliance will
be assessed in future monitoring periods based on APD’s ability to properly apply the
training in the field.

          Primary:     In Compliance
          Secondary: In Compliance
          Operational: Not In Compliance

4.7.9 Assessing Compliance with Paragraph 22: Firearm Discharges from
Moving Vehicles



6   Effective process, and the CASA requires periodic updates of policies.

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Paragraph 22 stipulates:

              “APD shall adopt a policy that prohibits officers from
              discharging a firearm from a moving vehicle or at a moving
              vehicle, including shooting to disable a moving vehicle, unless
              an occupant of the vehicle is using lethal force, other than the
              vehicle itself, against the officer or another person, and such
              action is necessary for self-defense, defense of other officers,
              or to protect another person. Officers shall not intentionally
              place themselves in the path of, or reach inside, a moving
              vehicle.”

Methodology

As noted in IMR-8, APD SOP’s related to use of force remain approved as of June
2017, however, throughout 2018 APD has undertaken a rebuild of their use of force
“suite of policies” that will include a new 4-Tier system. Those policies were not
approved until the very end of this monitoring period. Past reviews of use of force
cases have revealed serious deficiencies in the oversight and accountability process,
particularly with respect to force reporting, supervisory-level investigations and chain of
command reviews.

The use and investigations of force shall comply with applicable laws and comport to
best practices. Central to these investigations will be a determination of each involved
officer’s conduct to determine if the conduct was legally justified and compliant with
APD policy. As with other reporting periods, during its November 2018 site visit the
monitoring team spent time providing perspective, feedback and technical assistance to
APD personnel related to responsibilities related to the proper reporting and
investigation of uses of force.

Results

As reported in IMR-8, APD has been unable to achieve Secondary Compliance
because of lingering training gaps directly related to this paragraph. As noted in
Paragraphs 86-88 of this report, proper training case law and APD policy provisions
pertaining to this paragraph were necessary to achieve compliance with these
paragraphs. The policy requirements have remained a lingering training gap for the
past two years. In January 2019, APD advanced training curricula to the monitoring
team that was designed to remediate several training gaps, including a gap related to
this paragraph. Within the materials we reviewed were a lesson plan, videos and other
supporting documentation. The monitoring team reviewed and approved the proffered
use of force training, and documentation was subsequently provided by APD that
demonstrated that 98% of the organization received the training and passed a test to
demonstrate there was an acceptable transfer of knowledge. More details concerning
the training is located in Paragraphs 86-88, but we learned that several officers needed
remediation through an additional in-person training program. The decision to conduct
the additional training in-person at the Academy was prudent and APD took that step


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itself, which we see as an appropriate reaction to officers in the field failing the on-line
test.

Based on the approved training and attendance records, we have determined that APD
has achieved Secondary Compliance for this paragraph. It will be APD’s responsibility
to assess the new “suite” of use of force policies to determine what additional training is
necessary to retain Secondary Compliance in the future. Operational Compliance will
be assessed in future monitoring periods based on APD’s ability to properly apply the
training in the field.

APD has introduced and codified the use of a 7-Step Training Cycle as its training
development methodology, which should help the Training Academy organize its work
and manage the needs of the organization, especially in light of the extensive training
programs they intend to deliver in 2019.

        Primary:     In Compliance
        Secondary: In Compliance
        Operational: Not in Compliance

4.7.10 Assessing Compliance with Paragraph 23: Tracking Firearm
Discharges

Paragraph 23 stipulates:

              “APD shall track all critical firearm discharges. APD shall
              include all critical firearm discharges and discharges at
              animals in its Early Intervention System and document such
              discharges in its use of force annual report.”

Methodology

After the close of the 9th reporting period, APD produced the annual report for 2017.
Until annual reports, including the sections dealing with critical firearms discharges are
completed accurately and in a timely manner, APD will remain out of compliance for
Paragraph 23.

Results

        Primary:     In Compliance
        Secondary: Not In Compliance
        Operational: Not In Compliance

Recommendations for Paragraph 23:

4.7.10a: Continue the work currently being done to bring annual reports into the
required cycle, including the report for 2018.


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4.7.11-4.7.18 and 4.7.21-4.7.23 Assessing Compliance with Paragraphs 24-
31 and 34-36 (Electronic Control Weapons)

Paragraphs 24-31 and 34-36 address requirements for APD’S use of Electronic
Control Weapons (ECWs), as follows:

Paragraph 24: Use of ECWs;
Paragraph 25: ECW Verbal Warnings;
Paragraph 26: ECW Limitations;
Paragraph 27: ECW Cycling;
Paragraph 28: ECW Drive-Stun Mode;
Paragraph 29: ECW Reasonableness Factors;
Paragraph 30: ECW Targeting;
Paragraph 31: ECW Restrictions;
Paragraph 32: ECW Weak-side Holster;
Paragraph 33: ECW Annual Certification;
Paragraph 34: ECW Medical Protocols;
Paragraph 35: ECW Medical Evaluation; and
Paragraph 36: ECW Notifications.

During past reporting periods, the monitoring team conducted in-depth reviews of APD
use of force cases involving the use of Electronic Control Weapons (ECWs). The results
of those case reviews, along with the implementation of policy provisions through
training and operational oversight, resulted in operational compliance for Paragraphs 24
through 36.

During this monitoring period APD case ledgers revealed 34 cases (August 1, 2018
through January 14, 2019) in which an ECW was utilized. In early 2018, the monitoring
team reviewed six ECW cases, approximately an 18% sample of all known cases.
During a site visit in March 2018, the monitoring team reviewed several of these cases
in depth with various members of APD to provide perspective on how to assess ECW
cases. This was part of our technical assistance focus with APD during the site visit for
IMR-9. Prior to our November 2018 site visit, the monitoring team reviewed three more
ECW cases. The purpose for choosing these three ECW cases is that they were all
reviewed by the Backlog Review Team of the Compliance Bureau’s Internal Affairs–
Force Division, who are principally focused on 2017 uses of force.7

In early 2019, the monitoring team randomly selected six ECW cases for review. These
are contemporary cases that occurred during the latter half of 2018. The cases
reviewed, and a short synopsis of each case is listed below.


7 We provided technical assistance to APD since the IAFD personnel are conducting thorough
investigations and have identified numerous policy violations. Where there is an issue related to the force
used in an event, we recommended that IAFD look at all use of force cases in 2017 and 2018 to ensure
there are no problematic trends. We have voiced concern because, despite the good work IAFD is
delivering, 2018 and 2019 use of force cases are not ordinarily investigated by them.

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Case #IMR-9-5 (ECW Application)

APD officers responded to a neighborhood disturbance after being notified that a male
suspect was being physically aggressive, verbally abusive and damaging property.
APD officers encountered the suspect walking away from the caller’s location. The
suspect immediately became uncooperative and made several verbal threats toward the
officers. The suspect appeared to have been under the influence of a substance, or
appeared to have been suffering from a mental disability, which heightened the officers’
concern. The suspect jumped over a wall into a residential yard and continued his
aggressive demeanor8, threatening to harm the officers on numerous occasions.
Officers crossed over the wall into the same yard where several additional commands
were given to the suspect, all of which he failed to follow. The suspect took steps
toward the officers, and simultaneously two officers9 deployed their Tasers, which was
successful in subduing the suspect. He was quickly handcuffed and placed into a patrol
vehicle. When the suspect was briefly removed from a patrol car for emergency care,
he again became aggressive and ultimately had to have a “spit sock” placed over his
head.

The officers were faced with an aggressive and obviously disturbed individual who was
uncooperative from the onset of the encounter. Once the individual was Tased, officers
quickly de-escalated their force toward the suspect. Because a sergeant deployed his
ECW, a lieutenant conducted the use of force investigation. The quality of the use of
force supervisory investigation was better than those we have seen in the past, and
there was strong and accurate written justification for the report’s findings. However,
the case showed many investigatory shortcomings we’ve seen in the past. There was
boilerplate language in the reports and some lacked sufficient detail. The lieutenant did
not properly categorize the participation of all officers that were involved in the event.
These issues were not reconciled at higher review levels.

Case #IMR-9-6 (ECW Application)

During early morning hours, APD officers were dispatched to a business establishment
for a reported burglary in progress. Officers arrived at the front door and as they
approached, a suspect began to run away. Several commands were given to the
suspect to “stop” but he continued across a street and onto the property of a nearby
high school. After a short distance, the suspect scaled a fence and was briefly
entangled by his jacket. The officer reported “painting” the suspect with his ECW and
documented, “Before (the suspect) started running again I painted him in the center of
his back with my Taser and fired it in an attempt to stop him before he began running

8 Lapel videos reviewed by the monitoring team captured instances where the suspect made aggressive
movements toward a pile of rocks, which concerned the officers for their safety. These acts were
documented in officer reports.
9 One of the involved officers was a sergeant, so the use of force investigation was conducted by a

lieutenant.

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again.” It was apparent that the ECW was deployed when there was an intermediate
barrier between the suspect and officer, the suspect had already turned and begun to
run away, and the area was unpopulated. Based on our observations, there was a
failure to warn the suspect prior to the use of the ECW, thus the use of the ECW was
not within APD policy. The officer deployed the ECW through an opening in the fence
but missed the subject, which can be seen on the lapel camera. The officer said, “Due
to the exertion of being in a foot pursuit I was unable to issue a verbal warning prior to
firing the ECW”, which is not consistent with the video we reviewed.10 The suspect ran
a short distance before giving up and laying on the ground. The officer was able to take
the suspect into custody without further force being used. A second officer was not
considered a witness to the use of force, which we were unable to reconcile. This case
was not initially reported as a use of force and was identified as such by the commander
nearly two months following the incident. There was no documentation of any
remediation of performance deficiencies in this case.

IMR-9-7 (ECW Application)

During evening hours APD officers were dispatched to an aggressive driver complaint
where a witness reported seeing a driver acting erratically and waving a gun out of the
window. An officer hosting a ride-a-long (passenger) located both the victim and
suspect vehicles at a traffic light and after following the suspect vehicle into a
neighborhood, it was stopped near the driveway of a home. The officer gave a number
of commands to "get on the ground” and the driver complied. The officer used a show
of force with his weapon and continued to give commands to “get on the ground”, but
the passenger would not comply. The passenger began to walk toward the front door of
the home11 and the officer followed. Despite reporting elevated concerns for the safety
of the officer, and possibly people in the home, when the suspect made the movement
toward the front door the officer transitioned down in force options to his ECW. This
factor was never discussed or explained by the supervisor or chain of command. The
suspect was Tased as he began walking up a small set of stairs and ultimately laid
down on a porch. The officer reported having his weapon and Taser out at the same
time following the ECW use, which was documented in the reports, but created a
significant safety issue. APD reported that the officer attended training following the
event, but not as a referral for training related to use of force. The remediation of a
specific performance deficiency requires a specific training referral to the academy.
Follow up investigation revealed that the suspects did not possess a weapon, so the
suspects were charged with crimes related to the initial call for a person brandishing a
weapon, not for brandishing a weapon per se. The supervisor conducting the force


10 The officer was actually heard making radio updates as he ran, and made a command to stop, instead
of an ECW warning. After continuing to run after the suspect and catching him, the officer was still able to
make announcements to the suspect and talk to an assisting officer. These details bring into question the
officer’s rationalization for not “announcing” the deployment of his Taser, but these inconsistencies were
not noted by the APD review of this case.
11 The officer reported that the passenger walked away and then “…began to half run away from me”.

The passenger clearly was not following commands and moved toward the front door, but the lapel
camera does not show the passenger “half running”.

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investigation failed to perform a rigorous investigation and did not interview all available
witnesses.

IMR-9-8 (ECW Application)

APD officers responded to a call about a male walking in traffic and punching at cars.
Upon arrival in the area and witnessing the individual’s actions in disrupting traffic, two
officers attempted to remove him from traffic, but he pulled away from them and crossed
the street to a store where he subsequently battered a female store clerk (in addition to
previously battering a motorist in a vehicle). Upon engaging the individual, officers
attempted to speak with and control the individual's movements, to no avail. The
individual was uncooperative, agitated, and continued to be abusive and walked away
from officers toward another retail location with members of the public in close
proximity. The individual's knuckles were cut and bleeding from allegedly striking
vehicles. An APD sergeant gave sufficient warning to the individual that if he did not
stop walking away, he would be Tased. After the warning was provided and the
individual continued towards the direction of other members of the public and populated
places of business, the individual was Tased (one 5-second cycle in standoff-mode),
handcuffed, and taken into custody. The individual continued to be uncooperative and
had to be put in a restraint system prior to transport. A number of witnesses were
located during the neighborhood canvass. One business manager saw the interaction
and was in the process of locking his business’ doors to protect his employees when the
Taser was deployed. where they found the car parked. We found no issues with this
ECW deployment.

IMR-9-9 (ECW Application)

APD officers pursued a stolen car they identified during patrol in a residential area. Two
officers converging on the scene crashed into each other before exiting their vehicles
and eventually drawing firearms and ECWs on two females and a male at a nearby
housing complex. A male (Hispanic and in his 60s) was mistaken as the driver of the
vehicle (actually an African-American male in his 20’s) and was Tased because officers
incorrectly interpreted that he was fleeing and had abducted a Hispanic female and was
holding her hostage. After the Hispanic male was tased, officers then gave the Taser
warning, and during the handcuffing of the male (who was now in a kneeling position),
an officer aggressively forced the male to the ground face-first, significantly impacting
the concrete. This use of force was not identified by the investigating sergeant (who
witnessed the event). When a lieutenant reviewed both the ECW event and the force
against the kneeling individual, the matter was directed back to the sergeant for further
review. The sergeant found both the ECW and force against the kneeling individual to
be within APD policy. The reviewing lieutenant appropriately found both uses of force to
be out of policy and referred the matter to the Commander, who made the appropriate
internal affairs referral on the officers and what can be assumed to be on the
investigating sergeant as well. However, the record is not clear on the referral. This
matter also involved an ECW show of force that an officer failed to self-report that was
not found by the investigating sergeant.

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IMR-9-10 (ECW Application)

APD officers responded to a call about a domestic violence incident involving a mother’s
allegation that her adult son had been at their residence earlier in the evening breaking
drinking glasses and threatening her, and had now returned to the residence and was
outside attempting to gain entry to the residence she was occupying. Responding
officers located the suspect along the side of the house during hours of darkness. They
gave appropriate commands to the suspect to stand up, face away from the officers/turn
around, and show his hands. The suspect initially stood up and showed his hands, but
then disregarded the commands and began walking directly towards the officers in a
confined space while placing his hands back in the pockets of his bulky jacket. Officers
warned the suspect that if he continued walking toward them and kept his hands in his
pockets, he would be Tased. One ECW application was deployed in standoff-mode (one
5-second cycle) without penetration as the suspect neared the officers, but the firing of
the taser was effective in inducing the suspect to stop advancing and to remove his
hands from his pockets. An officer then handcuffed the compliant suspect while he was
standing alongside the house and he was escorted to a police vehicle and seated in the
rear seat. We found no deficiencies with this event.

Observations and Comments

The cases the monitoring team reviewed this reporting period revealed a number of
deficiencies, from ECW deployment problems by officers, to supervisory review and
oversight errors, to instances of an area commander arguing with staff personnel who
reviewed and classified an ECW application. Officer deployment problems include
failing to advise a person they will be Tased [IMR-9-9] and [IMR-9-6], failing to self-
report ECW shows of force [IMR-9-9], failing to initially report an ECW use of force
[IMR-9-6], discharging an ECW on a person who was incorrectly identified by the officer
as a threat to an officer [IMR-9-6] and [IMR-9-9]. In one case [IMR-9-12], a FSB
Commander completing a review of a use of force was later alerted by a lieutenant that
the case had an unreported show of force. The Commander wrote a memo back to
document his disagreement with the assessment of the officer’s actions. It is unclear
how the issue was resolved, but this type of internal exchange causes serious concern
for the monitoring team.12 It appears to be yet another residual effect of the counter
CASA Effect at APD.

Supervisory review and oversight issues of ECW deployments would normally be
reported in the section of this monitor’s report consistent with Force Investigations and
Supervisory Force Investigations (Paragraphs 46-59). However, since APD has yet to
achieve Secondary or Operational Compliance with any of those Paragraphs of the
CASA, the monitoring team includes commentary on these supervisory review and

12 When an organization level entity makes an assessment of a case, it should carry more weight than a
single Area Commander for a host of reasons. We have expressed strongly to APD that disparity in how
events are viewed and assessed across multiple commands can only be resolved at a higher
organizational level (i.e., Internal Affairs, IAFD or CIRT).

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oversight issues (as they relate to the ECW cases reviewed) in this section for IMR-9.
These issues include errors in the review of OBRD audit logs [IMR-9-9], not accurately
reporting when Taser warnings are provided [IMR-9-9], not adequately providing Taser
warnings [IMR-9-6] and [IMR-9-7], not identifying ECW shows of force [IMR-9-9], and
not properly assessing preponderance of evidence standards when assessing
justifications for deployment [IMR-9-6] and [IMR-9-9]. The monitoring team identified a
trend of officers muting their OBRDs audio at the scenes of uses of force, which was not
identified or documented by supervisors. We see this as a significant issue that needs
to be addressed by APD, since we have reported extensively over the past few years on
the lack of compliance with OBRD use in the field. In one case [IMR-9-6] an officer’s
lapel camera briefly captured an officer discussing the use of force at the scene with
other officers as he approached the group. Suddenly the audio goes silent and the
conversation is seen but no longer heard. We were unable to assess the quality of
supervisor interviews based on the videos we were provided; therefore, we cannot
assess the appropriateness and quality of questions officers were asked during the
supervisory review process. We strongly suggest that APD conduct such an
assessment forthwith.

Further, deficiencies in reports are not being properly addressed by many supervisors,
to include instances of boilerplate language, lack of sufficient detail, and instances
where officers who were involved in an event are not properly categorized by a
supervisor in their investigation [IMR-9-5]. We saw instances where legitimate
canvassing for witnesses following a use of force did not occur [IMR-9-7]. In the same
case an officer, reacting to a report of a suspect with a weapon, confronted the suspect
in a driveway. The suspect failed to follow commands and began moving toward the
front door of a residence. The officer was using a show of force (with a handgun) at the
time, and articulated an escalation of concern for his safety as the suspect moved
toward the house. However, as the threat was increasing the officer was de-escalating
his force option to an ECW. The outcome was fortunate, but this discrepancy should
have been addressed in the supervisor’s investigation, especially since the same officer
documented having both his ECW and weapon out of their holsters following the ECW
deployment.

In another case a lieutenant correctly identified a performance deficiency and made a
referral to the academy [IMR-9-5] for two officers to be trained, but two months later,
documentation we were provided indicated that referral had yet to be addressed.13 In
the same case an officer leapt over the top of a patrol car to apply a “spit sock” on a
suspect, and then assisted by pulling the suspect into the patrol car; however, that
same officer isn’t identified as a witness or assisting officer in officers’ reporting of the
event. Another officer listed as "Did not witness" in the supervisory force investigation
stated in his own report, "I observed (suspect) headbutt (APD Officer) shortly after I
arrived. I then assisted by placing my hands onto his right shoulder while pushing him
back towards the vehicle and away from (APD Officer).” Strangely enough, no APD
supervisor noted these violations and discrepancies, even though the case was subject

13In fact, the paperwork the monitoring team was given provided no evidence that the training referral
was ever addressed.

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to multiple levels of review. At this stage of the monitoring process, we find these
oversights inexplicable, given the multiple levels of review to which the incident was
exposed. In our experience, these oversight failures indicate a significant level of
“disengagement” from the CASA by field supervisors.

One ECW case reviewed by the monitoring team was so problematic that it was
forwarded to Internal Affairs by a commander for further action. This case was
investigated by a supervisor who was subsequently identified as being involved in a
possible show of force with a firearm, and who was also a witness to a problematic use
of ECW and an out of policy use of force on a kneeling citizen being handcuffed (who
was mistakenly identified as a suspect in a crime before his release with no charges).
We also noted supervisors investigating a use of force incident in which they were
actively involved in. This is more than just problematic, since, inherently, it creates a
lack of objectivity. While individuals within the chain of command should be
commended for properly identifying many of the problematic areas of this supervisory
force investigation associated with the ECW deployment, we note that the Internal
Affairs referral was made more than 60 days after the date of the incident. In the opinion
of the monitoring team, this is not to be construed as an error on the part of a lieutenant
or commander, but more of an exemplar of APD’s reluctance to require officers and
supervisors to report misconduct, when warranted, directly to Internal Affairs before fully
completing a supervisory force investigation. While extensive commentary is merited
on this specific supervisory force investigation, the monitoring team will reserve
comment on this matter since it is presently under an Internal Affairs review.

In December 2017, members of the monitoring team alerted APD about the significant
backlog of serious use of force, use of force and show of force cases. At that time, we
recommended that APD assemble teams of investigators to address the backlog as well
as new use of force cases that occur. We saw this as the best way to quickly change
the path of non-compliance. The primary issue APD faced was finding staffing for those
important tasks. APD subsequently created the IAFD investigative team who are
completing comprehensive reviews of 2017 use of force cases, but more than a year’s
worth of force cases will apparently not be reviewed by them, which we see as a
significant impediment to compliance efforts.

As noted in the preceding paragraph, the lack of objectivity (real or perceived) is
critically problematic in supervisory force investigations. This problem with the lack of
objectivity has been previously pointed out to APD in prior Monitor Reports, during in-
depth cases reviews (March 2018) and specifically evidenced in IMR-8 (Paragraphs 48-
52). That section of IMR-8 chronicled case [IMR-9-11] (show of force / use of force)
whereby a supervisor who ordered the use of a Taser actually investigated the show of
force stemming from an officer painting somebody with an ECW.

In the companion supervisory use of force investigation [IMR-9-11] for this matter, an
officer deployed less-than-lethal force twice, both on orders of the supervisor. The less-
lethal force deployed (40mm rubber bullet) on the orders of a supervisor struck the
suspect 2-3 seconds after he fell to the ground in a fenced-in area after a foot chase.

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This use of force against the fugitive while he was on the ground was initially deemed to
be an in-policy use of force at the supervisory level (by the supervisor who gave the use
of force commands), but appropriately found to be out-of-policy by the Backlog Review
Team. The safety net of the Backlog Review Team is currently available for backlogged
cases. IAFD has demonstrated their willingness to call out policy violations and look
more deeply into instances of potentially embellished exigency in the interest of
conducting a thorough and objective investigation. However, more contemporary cases
of ECW applications (e.g., [IMR-9-6] and [IMR-9-9]) and uses of force do not have this
same scrutiny. This lack of objectivity that we have identified over the past twelve
months needs to be addressed in an expeditious manner so as to not further erode
significant efforts APD has made to this point to reach operational compliance status for
ECW use. In short, the Backlog Review Team has reached out and embraced their
charge. In-field supervision and leadership, however, has not only failed to do the
same, it has been found to inappropriately reach out to argue against Backlog Review
Team findings. We see this as a critical issue, one APD needs to acknowledge, assess,
and remediate immediately.

The monitor has, in his past few reports, identified a counter-CASA effect at APD.
Based on our reviews of process, again this reporting period, it is clear that incidents of
supervisory and command personnel reaching out to attempt to change legitimate
process and findings has become more prevalent than ever. In the monitor’s opinion,
this is a critical issue, more potentially troublesome than training lapses, supervisory
lapses, or mid- and upper level leadership issues. If APD is to be successful in moving
into compliance with the CASA, this proactive and well-entrenched counter-CASA effect
needs to be identified, assessed, and addressed head-on, openly, and diligently. In the
monitor’s opinion, the counter-CASA effect cannot be tolerated without exposing APD to
loss of compliance in critical areas.

4.7.11 Assessing Compliance with Paragraph 24

Paragraph 24 stipulates:

              “ECWs shall not be used solely as a compliance
              technique or to overcome passive resistance. Officers
              may use ECWs only when such force is necessary to
              protect the officer, the subject, or another person from
              physical harm and after considering less intrusive
              means based on the threat or resistance encountered.
              Officers are authorized to use ECWs to control an
              actively resistant person when attempts to subdue the
              person by other tactics have been, or will likely be,
              ineffective and there is a reasonable expectation that it
              will be unsafe for officers to approach the person
              within contact range.”




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Results

                ECW Usage As Compliance Techniques

                                            In Compliance
                     IMR-9-5                      Y
                     IMR-9-6                      N
                     IMR-9-7                      Y
                     IMR-9-8                      Y
                     IMR-9-9                      N
                     IMR-9-10                     Y
                     Compliance %                67%

Our analysis indicates that APD field personnel were in compliance with only 67 percent
of the incidents we reviewed for this paragraph. Two of the six ECW applications we
reviewed exhibited use of an ECW as a “compliance technique.”

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

4.7.12 Assessing Compliance with Paragraph 25: ECW Verbal Warnings

Paragraph 25 stipulates:

             “Unless doing so would place any person at risk,
             officers shall issue a verbal warning to the subject that
             the ECW will be used prior to discharging an ECW on
             the subject. Where feasible, the officer will defer ECW
             application for a reasonable time to allow the subject to
             comply with the warning.”

Results

Members of the monitoring team reviewed six ECW application events for compliance
with this task. Compliance figures for the six events are depicted below, and show only
a 50 percent compliance rate for the requirements articulated in APD policies related to
paragraph 25 of the CASA. Results of our review are reported in the Table below.




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                           Verbal Commands Prior to
                             Deployment of Tasers

                                     In Compliance
                  IMR-9-5                   Y
                  IMR-9-6                   N
                  IMR-9-7                   N
                  IMR-9-8                   Y
                  IMR-9-9                   N
                  IMR-9-10                  Y
                  Compliance %             50%

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

4.7.13 Assessing Compliance with Paragraph 26: ECW Limitations

Paragraph 26 stipulates:

             “ECWs will not be used where such deployment poses
             a substantial risk of serious physical injury or death
             from situational hazards, except where lethal force
             would be permitted. Situational hazards include falling
             from an elevated position, drowning, losing control of a
             moving motor vehicle or bicycle, or the known
             presence of an explosive or flammable material or
             substance.”

Results

                Deployment of Tasers in Situations Posing
                     Risk of Serious Injury or Death

                                      In Compliance
                    IMR-9-5                  Y
                    IMR-9-6                  Y
                    IMR-9-7                  Y
                    IMR-9-8                  Y
                    IMR-9-9                  Y
                    IMR-9-10                 Y
                    Compliance %            100


      Primary:   In Compliance
      Secondary: In Compliance

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      Operational: In Compliance

4.7.14 Assessing Compliance with Paragraph 27: ECW Cycling

Paragraph 27 stipulates:

            “Continuous cycling of ECWs is permitted only under exceptional
            circumstances where it is necessary to handcuff a subject under
            power. Officers shall be trained to attempt hands-on control tactics
            during ECW applications, including handcuffing the subject during
            ECW application (i.e., handcuffing under power). After one standard
            ECW cycle (5 seconds), the officer shall reevaluate the situation to
            determine if subsequent cycles are necessary. Officers shall consider
            that exposure to the ECW for longer than 15 seconds (whether due to
            multiple applications or continuous cycling) may increase the risk of
            death or serious injury. Officers shall also weigh the risks of
            subsequent or continuous cycles against other force options. Officers
            shall independently justify each cycle or continuous cycle of five
            seconds against the subject in Use of Force Reports.”

Results

Tabular results for compliance with Paragraph are presented below.

                             Continuous Cycling of ECWs

                                                 In
                                              Compliance
                           IMR-9-5               Y
                           IMR-9-6               N
                           IMR-9-7               Y
                           IMR-9-8               Y
                           IMR-9-9               Y
                           IMR-9-10              Y
                           Compliance %          83

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

4.7.15 Assessing Compliance with Paragraph 28: ECW Drive-Stun Mode

Paragraph 28 stipulates:

            “ECWs shall not be used solely in drive-stun mode as a
            pain compliance technique. ECWs may be used in drive-
            stun mode only to supplement the probe mode to
            complete the incapacitation circuit, or as a
            countermeasure to gain separation between officers and
            the subject, so that officers can consider another force

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            option.”

Results
                       ECW Use in Drive-Stun Mode

                                        In Compliance
                       IMR-9-5                Y
                       IMR-9-6                Y
                       IMR-9-7                Y
                       IMR-9-8                Y
                       IMR-9-9                Y
                       IMR-9-10               Y
                       Compliance %          100

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.16 Assessing Compliance with Paragraph 29: ECW
Reasonableness Factors

Paragraph 29 stipulates:

            “Officers shall determine the reasonableness of ECW
            use based upon all circumstances, including the
            subject’s age, size, physical condition, and the
            feasibility of lesser force options. ECWs should
            generally not be used against visibly pregnant women,
            elderly persons, young children, or visibly frail persons.
            In some cases, other control techniques may be more
            appropriate as determined by the subject’s threat level
            to themselves or others. Officers shall be trained on the
            increased risks that ECWs may present to the above-
            listed vulnerable populations.”

Results

                       Use of ECWs Based on All
                       Circumstances of Incident

                                        In Compliance
                       IMR-9-5                Y
                       IMR-9-6                N
                       IMR-9-7                Y
                       IMR-9-8                Y
                       IMR-9-9                N
                       IMR-9-10               Y
                       Compliance %          67



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       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

4.7.17 Assessing Compliance with Paragraph 30: ECW Targeting

Paragraph 30 stipulates:

           “Officers shall not intentionally target a subject’s head, neck, or
           genitalia, except where lethal force would be permitted, or
           where the officer has reasonable cause to believe there is an
           imminent risk of serious physical injury.”

Results

Compliance data for this paragraph are presented below.

            Targeting Subject’s Head, Neck, or Genitalia

                                          In
                                      Compliance
                   IMR-9-5                Y
                   IMR-9-6                Y
                   IMR-9-7                Y
                   IMR-9-8                Y
                   IMR-9-9                Y
                   IMR-9-10               Y
                   Compliance %          100

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.18 Assessing Compliance with Paragraph 31: ECW Restrictions

Paragraph 31 stipulates:

             “ECWs shall not be used on handcuffed subjects, unless
             doing so is necessary to prevent them from causing serious
             physical injury to themselves or others, and if lesser attempts
             of control have been ineffective.”




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Results

          Taser Usage on Handcuffed Individuals

                                       In
                                   Compliance
             IMR-9-5                   Y
             IMR-9-6                   Y
             IMR-9-7                   Y
             IMR-9-8                   Y
             IMR-9-9                   Y
             IMR-9-10                  Y
             Compliance %             100

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.19 Assessing Compliance with Paragraph 32: ECW Holster

Paragraph 32 stipulates:

              “Officers shall keep ECWs in a weak-side holster to reduce
              the chances of accidentally drawing and/or firing a firearm.”

Results

              Taser Holstered on Weak-Side Only

                                   In Compliance
             IMR-9-5                     Y
             IMR-9-6                     Y
             IMR-9-7                     N
             IMR-9-8                     Y
             IMR-9-9                     Y
             IMR-9-10                    Y
             Compliance %               83

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

While APD has executed policy and trained the “weak side only” policy, we have found
evidence that the training regarding that policy, and the resultant supervisory practices,
failed to take note of an incident this reporting period, in which an officer was observed

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with both his firearm and his Taser drawn during a use of force incident. This practice is
universally prohibited, given the markedly increased probability of an accidental
discharge of the firearm. This error in tactics was not noted by anyone in the officer’s
chain of command during their review of this event. Members of the monitoring team
noted the error in their review of the incident and the officer’s OBRD video.

4.7.20 Assessing Compliance with Paragraph 33: ECW Certifications

Paragraph 33 stipulates:

             “Officers shall receive annual ECW certifications,
             which should consist of physical competency;
             weapon retention; APD policy, including any policy
             changes; technology changes’ and scenario- and
             judgment-based training.”


Results

                     Annual Training for ECWs

                                          In Compliance
                        IMR-9-5                 Y
                        IMR-9-6                 Y
                        IMR-9-7                 Y
                        IMR-9-8                 Y
                        IMR-9-9                 Y
                       IMR-9-10                 Y
                     Compliance %              100

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.21 Assessing Compliance with Paragraph 34: ECW Annual
Certification

Paragraph 34 stipulates:

             “Officers shall be trained in and follow protocols developed
             by APD, in conjunction with medical professionals, on their
             responsibilities following ECW use, including:

             a) removing ECW probes, including the requirements
             described in Paragraph 35;
             b) understanding risks of positional asphyxia, and training
             officers to use restraint techniques that do not impair the
             subject’s respiration following an ECW application;
             c) monitoring all subjects of force who have received an ECW
             application while in police custody; and

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             d) informing medical personnel of all subjects who: have
             been subjected to ECW applications, including prolonged
             applications (more than 15 seconds); are under the influence
             of drugs and/or exhibiting symptoms associated with excited
             delirium; or were kept in prone restraints after ECW use.”

Results

             Training re Risks of ECW Usage

                                         In
                                     Compliance
                  IMR-9-5                Y
                  IMR-9-6                Y
                  IMR-9-7                Y
                  IMR-9-8                Y
                  IMR-9-9                Y
                  IMR-9-10               Y
                  Compliance %          100

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.22 Assessing Compliance with Paragraph 35

Paragraph 35 stipulates:

             “The City shall ensure that all subjects who have been
             exposed to ECW application shall receive a medical
             evaluation by emergency medical responders in the field or at
             a medical facility. Absent exigent circumstances, probes will
             only be removed from a subject’s skin by medical personnel.”

Results
                 Provision of Medical Attention
                                          In
                                      Compliance
                    IMR-9-5               Y
                    IMR-9-6               Y
                    IMR-9-7               Y
                    IMR-9-8               Y
                    IMR-9-9               Y
                    IMR-9-10              Y
                    Compliance           100
                    %

      Primary:   In Compliance
      Secondary: In Compliance

                                                                             40
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       Operational: In Compliance

4.7.23 Assessing Compliance with Paragraph 36: ECW Notifications

Paragraph 36 stipulates:

“Officers shall immediately notify their supervisor and the communications
command center of all ECW discharges (except for training discharges).”

Results

              Notification of Supervisors or ECW Usage

                                           In
                                       Compliance
                    IMR-9-5                Y
                    IMR-9-6                Y
                    IMR-9-7                Y
                    IMR-9-8                Y
                    IMR-9-9                Y
                    IMR-9-10               Y
                    Compliance %          100

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

Recommendations for Paragraphs 24, 25, 27, 29, 32 and 38

4.7.23a: Given the small sample size in the monitor’s evaluation, APD should
conduct an internal review of compliance for paragraphs 24, 25, 27, 29, 32, and 38
using a broader sample size.

4.7.23b: Error rates should be reported for each paragraph (24, 25, 27, 29, 32, and
38), listing the number of events sampled and the number of errors identified, by
area command, shift, and supervisor.

4.7.23c: For each area command, shift and supervisor identified with multiple
errors, develop a remediation command that addresses the officer, the officer’s
supervisor, and the shift command structure.

4.7.23d: Ensure that the errors identified in the internal review are analyzed and
categorized by policy segment, supervisor, lieutenant, and area command.

4.7.23e: Require specific and meaningful “intervention,” based on errors
attributable to sergeants, lieutenants, and area command.


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4.7.23f: After six months, re-visit the respective area commands and sample a
second set of OBRD reviews to determine if compliance levels have improved.

4.7.23g: If compliance levels have not improved consider appropriate discipline
for the responsible sergeants, lieutenants, and area commander.

4.7.23h: Repeat steps 1-6 until error rates are less than five percent.

4.7.23i: The internal review should focus on areas of non-compliance noted by
the monitor

4.7.24 – 4.7.25 Assessing Compliance for Paragraph 37-38

Paragraphs 37–38 of the CASA address auditing and analysis requirements that APD
must meet related to ECW use as follows:

        Paragraph 37: ECW Safeguards;
        Paragraph 38: ECW Reporting.

As with past reporting periods the monitoring team spent time providing perspective,
feedback and technical assistance to APD personnel responsible for the tasks
associated with these paragraphs. During our November 2018 site visit, we learned
that the Audit Assessment Unit (AAU) name had been changed to the Performance
Metrics Unit (PMU), but the personnel maintain the same chain of command. We
continue to be impressed with the sophistication of thought and command of information
the PMU personnel have shown toward their responsibilities. We also appreciate the
support they are receiving from their command level supervisors. PMU were well
prepared for the meeting and provided a comprehensive presentation of the status of
their unit’s efforts. As we noted in the past, the PMU team thinks differently than most
organizational units, and routinely engages in activities that use systematic and codified
approaches that are anchored to best practices.

The PMU finalized SOP 8-2 “Performance Metrics Unit” that lays out the duties and
responsibilities of the unit, procedures to be followed for initiating, conducting and
supervising unit projects, and a process map that illustrates the workflow for projects.14
During our site visit we learned that PMU was staffed with three (3) auditors, including
the audit manager, but a request was made to increase the staffing by three (3)
additional auditors.15 During the last reporting period we were provided with a
comprehensive 2019 Annual Audit Plan. The PMU previously estimated it would take

14 SOP 8-2 codified specific provisions reported on in IMR-8. Also appended to the SOP is the approved
PMU Audit Report template. For the past three years the monitoring team has been recommending that
APD append forms that are specifically referenced in, or relate to, an organizational SOP, so we were
relieved to see the concept was adopted by PMU.
15 The monitoring team followed up with APD and learned that the staffing has increased by one (1)
auditor as of the end of the reporting period, leaving the PMU with four (4) personnel. They are actively
attempting to bring on an additional supervising auditor that will be functionally situated between the PMU
Manager and the auditing team.

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approximately 4500 work hours to complete the tasks in the Audit Plan, which translates
to more than 112 work-weeks without considering other tasks that may be assigned to
PMU personnel. We view adequate staffing, equipment, and oversight as critical to
APD’s success in compliance management. The monitoring team previously noted that
if APD properly leverages the work product and capabilities of PMU personnel they will
likely see significant progress toward CASA compliance. After reviewing work product
of PMU for this reporting period we have never been more certain of that notion. PMU’s
work is of high quality.

In IMR-8, the monitoring team documented receiving an Auditing Plan and SOP Risk
Assessment Matrix for review, and during this reporting period we have seen strong
evidence of it being implemented. PMU completed an assessment of each
organizational SOP for the frequency an SOP provision may be encountered, and the
risk associated with that policy provision. Following that assessment, PMU decided to
focus their first internal audit on the Special Operations Division (SOD) and its Standing
Operating Procedures. We were provided copies of the following to review:

             1.      Audit Agenda for SOP 6-8 “Specialized Tactical
                     Unit”
             2.      Audit Plan and Program for SOP 6-8
             3.      Audit Report for SOP 6-8
             4.      Audit Report for SOP 6-7 “Explosive Ordinance
                     Disposal Unit (Bomb Squad)”
             5.      Audit Report for SOP 6-9 “K9”

PMU’s Audit Agenda (Dated July 20, 2018) for SOP 6-8 outlined many of the precursor
activities that would set the course for the audit, including assigning an auditor to the
project, providing a self-assessment to SOD for initial data gathering and setting
timelines for the audit. While the audit agenda may on its surface appear to be a basic
administrative task, these are the type of procedural steps that demonstrate a
systematic approach to the work, which is what the monitoring team has been stressing
that APD adopt for the past three years.

PMU’s audit plan and program for SOP 6-8 was a comprehensive documentation of
fieldwork the PMU conducted when gathering data for the audit, objectives were set,
methodologies for the approach to assessing each policy provision were articulated and
results were provided. The monitoring team noted several instances where PMU
identified and documented administrative, training and operational shortcomings or
discrepancies within SOD.16 This is exactly the type of organizational oversight APD
should strive for across all of its commands.

We learned from PMU that they began a second audit of a SOD Unit when preliminary
results for the SOP 6-8 were sent to SOD for review. Understandably, there was initial
concern over draft, preliminary findings PMU reported with SOP 6-8 since several gaps

16
 PMU documented compliance rates as low as 29% in some assessment categories. We comment
more on their findings in SOD paragraphs 90-105.

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were identified. PMU reported that there were “two active attempts by SOD to
circumvent the audit process”, which is categorized as “interference” with PMU work.
These terms of art within the auditing field translate poorly when applied within a law
enforcement setting.

We discussed the circumstances surrounding the use of these terms and do not
consider SOD’s communications as an obstruction of the process. There appears to
have been some initial hesitation by SOD after receiving the initial findings (this was the
first audit of its kind at APD), and they appear to have wanted more perspective from
PMU. That is not surprising to the monitoring team, since this type of organizational
introspection is new to APD. In fact, both PMU and SOD reported positively about the
audit experience after it was completed. The PMU Manager told us that the SOD
Commander spoke up in support of the audit in later command level meetings,
expressing the benefits of the audit PMU conducted from his perspective. We
emphasized the importance of effectively communicating the PMU responsibilities to all
APD commands, and ensuring they understand the provisions within, and breadth of,
SOP 6-8. That may help avoid future apprehension by units going through their first
PMU audit.

PMU’s Audit Report for SOP 6-8 organized the findings of the SOD audit into easily
digestible sections. The “Summary of Results” section provides specific
recommendations for SOD to consider, including policy, training and operational
perspectives. The report contained a “Management Response” section for each
recommendation. We reviewed the responses, and for the most part found them to be
appropriate. We have commented in the past that audit reports without a meaningful
response to findings are of little value to the organization. As noted, PMU’s business
process includes the requirement that an audited unit provide a response to the
findings, so for the next reporting period we anticipate that substantial value will be
found in the adjustments SOD has made in reaction to their audit. We will focus
attention on collecting “proofs” from PMU that demonstrate that SOD followed through
on their documented “Management Response”.

We want to comment here on an area of findings in the SOP 6-8 audit that has
relevance across all aspects of APD’s use of force reporting and supervision system.
PMU included an assessment of Special Order 18-51 that required NFDD (Noise,
Flash-bang Distraction Devices) and chemical munition deployments to be reported as
uses of force.17 At the time of the audit, APD still operated under a two-level
classification system for uses of force, though the audit assessed SOD activities against
the proposed 3 Tier system.18 The following was noted in the Conclusion section of the
PMU report:


17 We commented extensively on this topic in IMR-8. Please refer to that report for more details
concerning SOD’s past failure to properly report certain types of uses of force.
18 Parenthetically, the new suite of policies was approved at the end of the reporting period and include a

3 Tier classification system for force. We discussed the difference with PMU personnel during our site
visit.

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        1.      The audit found that most documentation used to report the
                deployment of chemical munitions and NFDDs was well-
                maintained. However, tracking of the deployments was
                unreliable.

             a. In the auditor's judgment, the criteria used to classify
                deployments of chemical munitions and NFDDs lacked
                meaningful classification and funneled all deployments to
                Level 1 use of force.19

        2.      Records reviewed in the course of the audit indicated that
                exposure to chemical munitions can result in a complaint of
                Injury.

        3.      PMU interviews confirmed that determination of injury can
                be subjective. For a hypothetical complaint of injuries
                resulting from the exposure to chemical munitions, the
                SOD commander and tactical commander were not able to
                reach a consensus on whether classification of the
                deployment would be upgraded to a Tier (Level) 2 use of
                force.

We note these findings here because they are relevant to the overarching assessments
that will have to be made by supervisors in the field when applying APD's new use of
force suite of policies. If SOD command personnel have difficulty reaching consensus
as to whether a particular use of force should be classified as a Tier 1 or Tier 2, we can
reasonably predict that similar confusion may exist with field supervisors once the new
use of force policies are implemented.

We highlight this now so APD can take reasonable steps when developing and
delivering training during its 2019 Use of Force training programs. We also see this is a
positive example of how a unit internal to APD can provide substantive and meaningful
data to influence training and operational compliance efforts.20

Our review of the audit reports that were prepared for SOPs 6-7 and 6-8 revealed
similar positive actions by both PMU and SOD. We are extremely encouraged by the
interaction that was evident between the two units during the course of the audits and
observe that PMU’s independent assessment unearthed opportunities for administrative
corrective actions, and requests for software product enhancements21. In fact, during a
review of data, PMU discovered an inventory discrepancy with the Bomb Squad. It was

19 PMU has identified a variable that we have noted in meetings with APD since the promulgation of SO
18-51.
20 Parenthetically, the monitoring team communicated to APD that they should consider this specific

example when developing new use of force training in 2019.
21 We saw that SOD turned to APD’s IA for guidance and help with better capturing and analyzing K9 bite

ratio data. PMU set in motion other internal organizational discussions that we would expect to see from
a meaningful audit process.

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clear from the management response that this was an important find and the unit
subsequently put administrative oversight processes in place to avoid such
discrepancies in the future. These are examples of the way good process is supposed
to work in a professional organization that self-corrects.

The monitoring team was also provided the following by PMU:

1.      ECW Quarterly Upload Audit Report (Dated 8/31/18) – This report
captured quarterly uploads of ECW data for the second quarter of 2018. The
Audit report found that there was a 95.2% compliance rate for ECW uploads,
and specifically listed the officers who had not complied with policy. The report
did not provide details as to how APD addressed the failure of several officers to
upload their ECW data. The monitoring team, however, requested that
information and were provided an Internal Memorandum that documented that
all but two officers have uploaded their ECW data.22

2.     ECW Quarterly Upload Audit Report (Dated 11/21/18) – This report
captured quarterly uploads of ECW data for the third quarter of 2018. The Audit
report found that there was a 96.8% compliance rate for ECW uploads, and
specifically listed the officers who had not complied with policy. The report did
not provide details as to how APD addressed the failure of several officers to
upload their ECW data.

3.     Random Sergeant ECW Review Audit Report (Dated 12/20/18) – This
report captured data that compared ECW downloads against use and show of
force reports. In the "Purpose" section PMU stated, "The purpose of the random
review primarily focused on comparing the ECW upload data for Field Services
Bureau (FSB) sergeants to use of force (UOF) and show of force (SOF) reports.
The Performance Metrics Unit (PMU) assessed whether all documented
weapons deployments, if any, have a corresponding use of force report.” The
Audit report found the following:

     a. The integrity of the data compiled in an ECW upload report was not
        reliable. The data do not decipher between spark tests versus an actual
        discharge of the weapon;
     b. Auditor judgment was used to categorize or differentiate between a likely
        spark test versus potential weapon discharges, based on department
        protocols;
     c. While there are discrepancies noted related to spark tests, PMU was
        able to match 6/6 ECW uploads to use of force reports, and 1/1 ECW
        uploads to a show of force report; and



22The memorandum reviewed was created after the reporting period ended (February 20, 2019) in
response to a monitoring team inquiry. Conversations on “closing the loop” on PMU findings have been
discussed with APD.

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      d. The management response spoke to enhancements that will exist with
         new Taser purchases (and deployments) that will remediate spark test
         differentiation and allow for more accurate data.

The monitoring team requested that APD provide documentation that demonstrated
provisions of Paragraph 38 had been met. In response, we were provided with an
Interoffice Memorandum, dated January 29, 2019, entitled “CASA Paragraph 38
Status”. Notwithstanding the fact that this memorandum does not constitute a course of
business document, the contents of the report verified that APD has not yet developed
ways to meet the provisions of Paragraph 38. It did, however, outline steps that are
being taken to address the provisions of Paragraph 38. Compiling comprehensive data
to provide the proper analysis to meet Paragraph 38 CASA provisions will require APD
to craft their own assessment plan. Finally, we learned that APD is in the final stages of
delivering its 2016 and 2017 Annual Reports.23 We will report our findings with respect
to the Annual Reports once they are provided.

The monitoring team notes the progress APD has made with the PMU and feel that the
attitudes and ability of the unit will reap benefits organization-wide. We see a great
opportunity for APD to build a strong internal capacity to collect and analyze data, and
to provide informed recommendations to APD decision makers. As we noted in past
reports, given proper staffing and support we believe this unit can reveal itself as the
centerpiece of organizational reform. We recommend that APD leadership regularly
assess the workload and staffing of PMU, since, as their workload increases, and the
products they create provide more and more benefits across APD, there will be a strong
propensity to seek out their assistance. That response to their work potentially could
overburden their staff and reduce their effectiveness, if not managed properly. APD
should remain cognizant of these issues moving forward.

APD’s PMU has put into practice an auditing program that is rarely found in a law
enforcement organization. As a consequence of the efforts of PMU, and their attention
to the responsibilities contained within Paragraph 37, we have determined they have
achieved Secondary and Operational Compliance during this reporting period. During
the IMR-10 reporting period we will focus on sustaining the momentum they have
created and assess follow-up activities (in the form of “proofs”) that show evidence of
the management responses to their recommendations.24 Those proofs may not exist in
every circumstance, but recommendations should be tracked to their logical conclusion
for each audit.




23 We have stressed the need, where use of force and show of force statistics are provided, that the
Annual Reports need to call out and properly qualify the validity of relevant statistics in light of the many
issues the monitoring team has brought to APD’s attention over the past three years.
24 While most management responses had firm “Implementation Dates”, we did note several instances

where implementation dates were ambiguous. We highly recommend that all implementation dates be
firmly set, even if those dates simply represent a placeholder for PMU follow-up.

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Paragraph 38 maintains its Primary Compliance status. We will look to APD for any
course of business documentation that demonstrates they have advanced the
responsibilities within this paragraph in the next reporting period.

4.7.24 Assessing Compliance with Paragraph 37: ECW Safeguards

Paragraph 37 stipulates:

             “APD agrees to develop and implement integrity
             safeguards on the use of ECWs to ensure compliance
             with APD policy. APD agrees to implement a protocol
             for quarterly downloads and audits of all ECWs. APD
             agrees to conduct random and directed audits of ECW
             deployment data. The audits should compare the
             downloaded data to the officer’s Use of Force Reports.
             Discrepancies within the audit should be addressed
             and appropriately investigated.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.25 Assessing Compliance with Paragraph 38: ECW Reporting

Paragraph 38 stipulates:

            “APD agrees to include the number of ECWs in
            operation and assigned to officers, and the number of
            ECW uses, as elements of the Early Intervention
            System. Analysis of this data shall include a
            determination of whether ECWs result in an increase in
            the use of force, and whether officer and subject
            injuries are affected by the rate of ECW use. Probe
            deployments, except those described in Paragraph 30,
            shall not be considered injuries. APD shall track all
            ECW laser painting and arcing and their effects on
            compliance rates as part of its data collection and
            analysis. ECW data analysis shall be included in APD’s
            use of force annual report.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

Recommendations for Paragraph 38:


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4.7.25a: APD should commission a “working group” from City data processing,
APD Internal Affairs, APD Compliance Bureau and other related stakeholders who
use, or would use, the EIRS system. This working group should be tasked with
identifying: 1.) Current goals and objectives of the EIRS system design; 2.)
Current absolute needs from the EIRS system related to “must have”
components; 3.) Realistic “future needs” identified by adding to the “must haves”
all CASA-required capacities; and 4.) a general description of probable needs
over the next 5 years. This may require contracting with a systems- design firm or
other outside resource.

4.7.25b: Given the results of the process outlined in 4.7.2a, develop or purchase
or develop a system that will be capable of meeting specified goals and
objectives, and capable of meeting projected 5-year goals and objectives.

4.7.25c: “Build” or purchase a system that will meet identified “must have” needs
and is expandable to meet identified future “must have” needs.

4.7.25d: APD should obtain outside input from Seattle PD, New Orleans PD, and
Cleveland PD regarding their actions in response to similar language in their
consent decrees;

4.7.25e: APD should consult with, and document recommendations from the
City’s data management division regarding whether the current system is
salvageable, and if not, should consider moving to systems in use in other
agencies currently undergoing DOJ-related reform processes that offer better
chances for success than the current EIRS.

4.7.25f: APD should monitor the staffing levels in PMU and leverage their
efforts to benefit all areas of the CASA.

4.7.26 – 4.7.27 Assessing Compliance with Paragraph 39-40: Crowd
Control Policies and After-Action Reviews.

Paragraphs 39-40 of the CASA address requirements that APD must meet related to
crowd control policies, and the management and supervision of APD responses to
events involving mass demonstrations, civil disturbances and other crowd situations.
While the policies apply to all APD officers, the tasks associated with Paragraphs 39
and 40 are overseen by members of the APD Emergency Response Team (ERT).

In the past, the monitoring team has spent significant time providing perspective,
feedback and technical assistance to APD’s Emergency Response Team (ERT)
supervisors during its site visits. During our November 2018 site visit we met with an
ERT supervisor responsible for the tasks associated with compliance and, as in the
past, the monitoring team found receptiveness and a sincere interest in succeeding.
We discussed the ERT policy and training requirements for APD personnel that are



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pending relating to ERT protocols. The following paragraphs represent our findings
related to Paragraphs 39-40.

In IMR-8 we commented that during the preceding year there had been two changes in
leadership for ERT, which we saw as a significant issue toward gaining Secondary and
Operational Compliance in Paragraphs 39-40. This type of leadership change was not
unique to ERT, as we saw a similar pattern across the organization. With the change in
executives at the top of APD at the end of 2017, there was also a significant turnover of
commanders throughout the various Divisions and Sections. Changes APD made did
not seem to create a lack of continuity in ERT operationally, but it did slow down certain
compliance efforts in areas of policy development and training.

As we noted in IMR-8 (in paragraphs 90-105), certain types of force used by SOD were
not being reported that also had relevance to ERT compliance efforts. 25 During our
March, June and November 2018 site visits we discussed this issue with Commanders
of ERT. During the IMR-8 reporting period the monitoring team was provided an
interoffice memorandum dated, May 30, 2018, that was prepared by the current SOD
Commander. In it he detailed his research into the use of chemical munitions and
NFDDs and concluded that chemical munitions and use of NFDD’s by APD should be
captured as reportable uses of force. On June 2, 2018, APD promulgated Special
Order (SO) 18-51, “Use of Chemical Munitions Noise Flash Diversionary Devices” that
supported the opinion of the monitoring team and the findings of the SOD Commander.
SO 18-51 served as notice to the organization that chemical munitions and NFDDs will
be investigated as uses of force; however, it was principally focused on a SOD
response to an event. It was represented to the monitoring team that there were no
crowd events during this monitoring period that required ERT to deploy chemical
munitions or NFDDs. However, since SO 18-51 focused on SOD deployments, APD’s
ERT should follow SOD’s lead by ensuring that the its members are clear that the use of
chemical munitions and NFDDs constitute a use of force. This may all be resolved with
the promulgation of new use of force policies, but because of the public nature of ERT
events (especially if they respond to a disorderly crowd), if APD is explicit with their
expectations they will be better prepared when those situations occur.

In the past, ERT weaknesses in the documentation of pre-event preparation and post-
event After Action Reports (AAR), coupled with incident command shortfalls, were
contributing factors in APD’s problematic response to past major protests. The
monitoring team has previously communicated to APD that ERT training should follow
good policy development and include authentic, scenario-based incident command
exercises that stress advanced planning and preparation, command post operations,
and large-scale tactical maneuvering to respond to dynamic aspects of modern-day
protests while operating within Constitutional bounds.

We learned that Standing Operating Procedure (SOP) 2-29 “Emergency Response
Team” has been under revision throughout this monitoring period, and has not been


25   The unreported uses of force related to chemical munitions and deployments of NFDDs.

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approved by the monitor. That, in turn, has resulted in a lag in delivering crowd control
training and leaves the issue of “crowd control” as a lingering training gap for the
organization.26 We were told by ERT personnel that once there is a formal adoption of
the new policy they will advance new training not only to ERT personnel, but the entire
organization.27 ERT is working with the Academy to advance their training through the
7-step training cycle, and when done they expect it will occur in the following stages:

Stage 1 – All department personnel will receive training on SOP 2-29 through an
on-line training platform, which will also cover aspects of use of force concerning
chemical munitions and NFDDs.

Stage 2 – All ERT supervisors will receive an in-person “train the trainer” course
on the new (when approved) ERT SOP, which will incorporate practice in crowd
control formations and movements, so they are consistent across the entire ERT.
(Note – There are a total of 5 teams of ERT, and approximately 90 personnel)

Stage 3 – All other ERT personnel will receive in-person training28 to review use
of force practices, including force related to chemical munitions and NFDDs,
training on SOP 2-29, and squad formations and movements utilizing ERT
supervisors as trainers.

ERT were again encouraged to develop and maintain training plans for ERT and non-
ERT members of the Field Services Bureau. We were told that there are approximately
ninety (90) ERT personnel (Approx. 75 officers and 15 supervisors) who will receive
eight (8) hours of comprehensive training.

The monitoring team, as a part of the normal data collection process, will review policy
changes, any related training records and After-Action Reports regarding any
demonstration or crowd control events as a component of the IMR-10 monitoring period.
We were provided with an Incident Action Plan and its corresponding After-Action
Report pertaining to a Governor’s Conference (July 19-21, 2018) that took place in
Santa Fe. Although this event occurred outside the IMR-9 reporting period, we
reviewed the documentation in order to provide feedback. While the APD ERT did
report to Santa Fe to assist local authorities with the event as backup, they ultimately
were not required to deploy. Therefore, the After-Action Report we reviewed was brief.
We recommend that the current ERT supervisors review past reports and comments we
provided concerning the quality of records associated with ERT deployments. Previous
ERT Commanders put forms in place that are required to be used to elicit feedback
from other agencies when APD’s ERT is activated. This is not to suggest those forms
were necessary in this specific event, but because there are few actual ERT

26 We have written extensively in past reports about certain training gaps that occurred as a result of
APDs past use of force training programs. See. Paragraphs 86-88 for additional details pertaining to
crowd control.
27 APD personnel across the organization will be trained in certain areas, where ERT assigned personnel

will receive a more robust training program.
28 Supervisors that attended the “train the trainer” course will be used as trainers .


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deployments it is increasingly important that procedures adopted in past reporting
periods be passed on to new Commanders and codified in policy.

ERT is coordinating their efforts with the Training Academy, as recommended in IMR-8,
to ensure training is advanced through the current Academy systems. The monitoring
team has some concern over the elongated timeline for policy revisions and the delivery
of training related to new ERT policies, especially in light of the fact that a lingering
training gap revolves around crowd control procedures.

Based on our review, we have determined Primary Compliance should be continued for
Paragraphs 39 through 40.

4.7.26 Assessing Compliance with Paragraph 39: Crowd Control
Policies

Paragraph 39 stipulates:

             “APD shall maintain crowd control and incident
             management policies that comply with applicable law
             and best practices. At a minimum, the incident
             management policies shall:

             a) define APD’s mission during mass demonstrations,
             civil disturbances, or other crowded (sic) situations;
             b) encourage the peaceful and lawful gathering of
             individuals and include strategies for crowd
             containment, crowd redirecting, and planned
             responses;
             c) require the use of crowd control techniques that
             safeguard the fundamental rights of individuals who
             gather or speak out legally; and
             d) continue to prohibit the use of canines for crowd
             control.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

Recommendations for Paragraph 39:

4.7.26a: Execute, evaluate, and if necessary, field test (via mock events) APD’s
new crowd control policies and training to ensure they meet articulated goals and
objectives.

4.7.26b: Develop and deliver a meaningful training program to its ERT and Field
Services members that is centered on crowd control policies. That training
should include scenarios, practical exercises, and lessons learned from previous

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APD responses to events. Training must meet the instructional objectives
documented within APD lesson plans.

4.7.27 Assessing Compliance with Paragraph 40

Paragraph 40 stipulates:

“APD shall require an after-action review of law enforcement activities following
each response to mass demonstrations, civil disturbances, or other crowded
situations to ensure compliance with applicable laws, best practices, and APD
policies and procedures.”

Results

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendations for Paragraph 40:

4.7.27a: Develop and deliver a meaningful training program to ERT and Field
Services members that is centered on crowd control policies. That training
should include scenarios, practical exercises, and lessons learned from
previous APD responses to events. Training must meet the instructional
objectives documented within APD lesson plans.

4.7.27b: Ensure that APD’s after-action reports follow a standard structure and
include mechanisms for communicating needed revisions to policy and training
within the agency. We encourage APD’s ERT Commanders to review past reports
for monitor’s comments regarding AARs and to incorporate AAR procedures and
forms (previously agreed upon) into SOPs.

47.7.27c: Any recommendations made from after-action reporting should follow a
logical and repetitive cycle wherein APD can demonstrate it adequately “closes
the loop” on lessons learned, e.g., recommendation, implemented practice
addressing recommendations, evaluation of results of changes implemented, etc.

4.7.28 – 4.7.46 Assessing Compliance with Paragraph 41-59:
Supervisory Review of Use of Force Reporting

The series of related Paragraphs (41 through 59) encompass requirements for
reporting, classifying, and investigating uses of force that require a supervisory-level
response based upon the type and extent of force used. The CASA delineates this
larger group of paragraphs into three separate sub-groups: Use of Force Reporting –
Paragraphs 41-45; Force Investigations – Paragraphs 46-49; and Supervisory Force
Investigations – Paragraphs 50-59. The following represents our finding relative to
these series of paragraphs.

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The CASA requirements stipulate that the use and investigation of force shall comply
with applicable laws and comport to best practices. Central to these investigations shall
be a determination of each involved officer’s conduct to determine if the conduct was
legally justified and compliant with APD policy. We have commented extensively in the
past that APD’s reporting and investigation of uses of force have demonstrated serious
deficiencies that has hindered compliance efforts. As with other reporting periods, the
monitoring team spent time during the IMR-9 reporting period in processes providing
perspective, feedback and technical assistance to APD personnel. We provided
perspective to APD to help the new administration better understand and deal with
historical difficulties the agency has had achieving compliance, and provided ideas
concerning how they could best be addressed. We have seen examples of our
technical assistance being implemented in certain areas, as well as an improvement
with the overall handling of use of force incidents; however, we still are finding evidence
of significant force reporting and investigation issues, as well as system and process
disconnects that may hinder Operational Compliance moving forward.

While on-site during the IMR-9 reporting period, a meeting was held with members of
the monitoring team, APD command staff, the City, the US Attorney and DOJ to discuss
two specific issues we see as key illustrations of obstacles to compliance: 1) Additional
Concern Memos (ACMs) being improperly used to address policy and misconduct that
should be elevated to Internal Affairs, and 2) Incorrect interpretations of when a timeline
begins for the completion of an investigation. Failing to properly remediate performance
deficiencies and tepid responses to policy violations will impede seriously reform efforts.
We have commented extensively that policy violations that should be reported to
Internal Affairs are instead often being handled in area commands or within ACMs.
ACMs have been found to contain information that clearly required Internal Affairs
referrals, but as important, is the fact that ACMs are a poor mechanism to track
aggregated data that can be used for performance plans and as data for the EIRS. To
its credit, APD has acknowledged this practice is creating issues for the agency and
committed to ending the use of ACMs entirely.

However, ACMs are simply the mechanism by which IA referrals have historically been
avoided. Regardless of what system is put in place, or what form is used, without
requiring officers and supervisors to make immediate referrals to IA when such referrals
are mandated, and legitimately holding them accountable when they don’t, abolishing
the use of ACMs will be meaningless. As APD encounters memoranda that contain
violations that should have been referred to IA, they must have a plan to address past
policy violations, and must describe how policy violations will be handled moving
forward. We provided APD with perspective and exemplars of how APD’s IA could
establish itself as the centerpiece of APD’s policy and misconduct oversight system.
The more IA leans in to that responsibility, the sooner APD will be successful in its
compliance efforts.

After the close of this reporting period, the monitor and the parties collaborated on a
way forward to resolve the lingering issue of ACMs. Several tenuous issues are created

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by the past practice of ACMs, many of which we dealt with extensively in IMR-8. In
short, ACMs create a second category of policy violations, which under then-current
APD practice, was a category that consisted of probable secondary policy violations
(violations not as critical as the main violations encountered in a given incident). In the
past, these related-but-not-central violations were noted as “additional concerns.” They
tended to constitute less serious violations of policy that were not as critical as the main
policy violations that were fully investigated by APD’s IA process. In the past, these
“additional concerns” were poorly documented conclusory statements not supported by
careful documentation or analysis. In short, they were “place holders” for officer actions
or inactions, not related to the more serious misconduct found in a given IA
investigation.

The backlog of “additional concerns” that exists in IA’s current case load is substantial in
volume. The ACMs in a given IA investigation often outnumber significantly the “critical
issue” policy violations noted by investigators. While, for the most part, the policy
violations involved in these ACMs were not critical, APD seems to have been
investigating only the most critical actions in a given event, relegating relatively less
critical--but still important--actions to a short-hand, conclusory ACM process. There
appears to have been little, if any, concern given to correcting what was improper
execution of policing powers. Some of these improper executions were significant.

In the monitor’s opinion, APD has allowed to develop over the past few years, a “gray
area” of numerous incidents of improper behavior, without ensuring notation and
remediation of those behaviors, other than a simple “note to the file.” We suggest that it
is important that APD note for the record the occurrence of these actions, and further
that they scrub existing records for training needs, counseling, or other non-punitive
remedial methods. We are open for discussion about how this should occur going
forward.

Unfortunately, this worrisome body of “additional concerns” has fallen to the current
administration to regularize and scrutinize, as it was not properly managed by the
previous administration.

As examples of this process, during this reporting period, we received a number of
internal memoranda that documented instances where serious uses of force were not
being properly reported or categorized by supervisors, which adversely impacted the
investigations. Examples we saw included: failing to report neck holds (IMR-9-13 and
IMR-9-14); arrests where three (3) or more applications of an ECW were not
immediately reported as a serious uses of force (IMR-9-15and IMR-9-16); an instance
where a suspect was attempting to evade arrest on a bike and a sergeant used his
vehicle to block his path, which was handled as an accident instead of a serious use of
force (IMR-9-17); a case in which an officer forcefully swung a handcuffed suspect into
the side of a patrol vehicle, that was not reported as a serious use of force (IMR-9-18),29
a case where an officer struck a subject in the head multiple times, that was not initially

29 A lieutenant that identified this failure to report a serious use of force prepared a comprehensive
internal memorandum documenting his efforts and opinions.

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reported by the officer or caught by a supervisor for a CIRT response to the scene
(IMR-9-19), and instances where an ECW struck a person in the face or throat (IMR-9-
20 and IMR-9-21). We were provided ACMs that captured an instance of prisoner
escape (IMR-9-22), an officer who struck a vehicle when responding to a location and
left the scene (IMR-9-23)30, an instance when an officer’s patrol vehicle was stolen from
the Prisoner Transport Center (IMR-9-24)31, and an unreported use of force (IMR-9-25).

The collection of scenarios and potential policy violations contained in these
memoranda illustrate a few important points. First is the importance of ensuring
immediate interaction with IA and the proper interpretation of when the timeline for
discipline (as per SOP 3-41) begins. Second, there is still significant progress to be
made in the field with respect to the proper reporting and investigation of uses of force,
and third, these types of events should inform training programs APD intends to develop
for its new use of force policies. As we understand the new policies, IAFD will assume
the primary investigative role for most uses of force. However, if improper reporting of
force occurs in the field, then APD’s compliance efforts will stall dramatically as the
monitoring team continues to be the de facto investigative authority. This is simply not
acceptable.

During this monitoring period, the monitoring team continues to note an improvement in
planning efforts and attention to detail to better oversee the management of force
investigations. During this monitoring period, 73% (162) of the 222 supervisory force
investigations initiated between August 1 and January 14, 2019 were completed and
findings were made prior to the close of the monitoring period. In IMR-8, only 50% of the
supervisory force investigations initiated during the respective period were completed by
the close of that monitoring period. In IMR-8, 81% of the supervisory force
investigations initiated during the first half of the monitoring period had been completed
and findings made prior to the close of that period. In this monitoring period (IMR-9), all
supervisory force investigations (142) initiated during the first three months of the
monitoring period had been completed by the close of the period. These results provide
important and continued assurance that the present backlog of force investigations
dating back to 2017 is not being compounded by the addition of a large number of
contemporary investigations onto the backlog list. We are encouraged to see this
improvement and note that APD has moved forward with an analytic process of
reviewing a random sample of 2018 cases to assess the quality of the cases being
submitted in the field. Based on our review of data APD provided, we have issues of
concern that fall outside the purview of the IAFD’s work.



30 This officer was reportedly responding to a business establishment owned by a relative. She reported
experiencing brake failure when approaching a light and struck a curb, but said she did not realize she
also struck another vehicle. The event was later called in as a hit and run accident. We were not
provided accompanying documentation to assess the underlying investigations, but the issue was not
raised to IA and was instead handled with verbal counseling. It is also unknown if the issue with the
patrol vehicle’s brakes was ever resolved.
31 In this case a lieutenant made a BlueTeam entry and requested an IA number “…so I can investigate

any wrongdoing by (officer) or if it is an equipment issue/failure…”

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In the next monitoring period, the monitoring team will focus on how APD oversees
force investigations and determine if subject officers’ conduct “complied with APD
policy,” especially the new policies put into place.

Paragraphs 41–59 are found to be in Primary Compliance only. One of the reasons
cited for this poor compliance status was persistent outstanding training gaps that relate
to these paragraphs. We report extensively on the current efforts the APD Academy
has taken to remediate those gaps in Paragraphs 86--88 of this report. In short, APD
took steps to remediate the training gaps and most were addressed during this reporting
period, but some remain. Those steps were important because the training gaps have
lingered for the past several monitoring periods, and compliance efforts in the field were
negatively impacted by the training gaps. We noted one internal memorandum
prepared by a field supervisor that specifically noted the gap training as helping him
properly categorize a use of force. (IMR-9-14) Based on our conversations with APD,
the decision to adjust the use of force suite of policies, as required by the CASA, will
likely extend the training of those policies into the latter part of 2019. Therefore, since
APD never achieved Secondary Compliance for these paragraphs, that compliance
status will not be re-considered until the new use of force policies have been trained.

A number of APD functions conform to various aspects of Paragraphs 48-52. For
example, during our November 2018 site visit, the monitoring team met with APD
representation from the Multi-Agency Task Force (MATF). A review of the MATF case
ledgers and other documents continues to indicate the task force’s activation for
criminal investigations related to officer-involved shootings, in-custody deaths, felonious
force against officers, criminal conduct cases resulting from a use of force by officers,
as well as its coordination with APD’s Internal Affairs Division).

Other APD functions related to these paragraphs continue to demonstrate the spirit and
rigor that will ultimately be required to achieve compliance. Specifically, the Internal
Affairs Force Division’s use of data, workload analyses, keen attention to detail, and
role-specific training is noted to have more clarity in purpose and grasp of the CASA
language than the monitoring team has seen since the inception of the CASA. APD has
committed significant personnel to the task of investigating the 2017 backlogged use of
force cases. It is also important to note that newly promoted field supervisors are now
rotated through the IAFD to see first-hand the current methodology employed to
investigate and review supervisory use of force cases. This system was devised and
implemented entirely at the initiative of APD and the IAFD, which we see as a workable
method to positively influence force investigations in the field.

As noted in Paragraphs 60-77, 39.8% (121 cases) of the 304 backlogged use of force
cases have been reviewed by the IAFD. Since APD recently neared its staffing goal for
the IAFD, we anticipate that the backlogged caseload of use of force cases will be
completed or near completion by the end of IMR-10. Coupled with the increasing
efficiency in completing the supervisor use of force cases, the monitoring team
reasonably anticipates that in IMR-10 it will be able to more particularly focus its



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attention on APD’s ability to demonstrate its adherence to the 14 points of supervisory
use of force investigations pursuant to Paragraph 52.

In early 2019, the monitoring team randomly selected four (4) supervisory force
investigation cases for review that were also reviewed by IAFD. The cases reviewed,
and a short synopsis of each case, is listed below:

IMR-9-26 (Supervisory Use of Force Investigation)

An APD officer was working a detail inside a Walmart when a shoplifter was identified
by loss prevention officers. The officer and loss prevention personnel approached the
shoplifter as she was exiting the store. The officer identified himself as an APD officer
and advised the shoplifter that she was under arrest. The shoplifter then began to
actively resist arrest and at a point broke free and ran away from the officer and
Walmart's loss prevention officer, who was standing nearby. Both the officer and the
shoplifter eventually fell to the ground and the officer’s OBRD ceased recording at that
point. The officer was finally able to fully handcuff the shoplifter upon the arrival of
backup officers. The officer self-identified to the supervisory investigator that he used a
show of force with an oleo capsicum (OC) canister in order to calm the shoplifter while
awaiting backup. Both the officer and the shoplifter sustained superficial abrasions. The
original chain of command reviews found the use of force to be in compliance with APD
policy. The Backlog Review Team also found the use of force to be in compliance with
APD policy. The Review Team also identified several deficiencies in the quality of the
investigation. These deficiencies noted that the separation of officers prior to their
interview and any neighborhood canvass could not be verified; two civilian witnesses
were not encouraged to provide a written statement; during the supervisory force
investigation, five use of force interviews were conducted in a 16-minute time span, and
leading questions were utilized by the supervisor when interviewing civilian witnesses.
However, no mention was made that a group interview was conducted of the civilians.
Despite these deficiencies, no material discrepancies were identified during the review
of evidence, statements, or interviews. The BlueTeam entry indicated the full incident
was captured by OBRD, but all of the reports clearly indicated that not all of the incident
was captured due to the OBRD becoming dislodged, falling to the ground and becoming
inoperative when the officer was overcoming the shoplifter’s active resistance.
Additionally, no records were found pertaining to the handcuffing and detainment of an
Hispanic male (eventually released) who arrived near the scene well after the arrest of
the shoplifter was effectuated.

IMR-9-27 (Supervisory Use of Force Investigation)

APD received a call about a female being assaulted by a male who subsequently
injected heroin and passed out in a stolen vehicle outside of a motel. As officers were
responding, the suspect departed in the stolen vehicle and a Bernalillo County Sheriff’s
helicopter tracked the vehicle to the University of New Mexico Hospital. The suspect
abandoned his vehicle and ran into the hospital. APD personnel (one sergeant and one
officer) subsequently pursued the suspect into the hospital on foot and were guided by

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various citizens and employees in the hallways as to the suspect’s direction of flight.
The sergeant and officer subsequently came around a corner at the end of a hallway
and surprised the suspect hiding against the wall. Officers had their weapons drawn and
used a show of force prior to making physical contact with the suspect, who actively
resisted by not following instructions, reaching behind his back as to retrieve something,
and spinning away from officers and attempting to flee. Officers used various empty-
hand techniques (grab, push, restrain, take-down maneuvers) and a single elbow strike
to justifiably apprehend and control the individual prior to handcuffing. Neither the
suspect (who was subsequently charged with possession of methamphetamine and
receiving a stolen vehicle) nor the officers were injured during this arrest. The sergeant
who made contact with the suspect claimed to have activated his OBRD prior to giving
foot pursuit, but his OBRD did not activate. The other officer’s OBRD did capture the
foot pursuit and eventual capture of the suspect. A supervisory canvass for witnesses
was reportedly done by the sergeant involved in the foot pursuit, although no verification
(via OBRD) was provided. No witnesses were revealed as a result of the canvass.
However, hospital surveillance footage was obtained to show the suspect’s flight and
eventual capture, as well as the existence of various witnesses. No individuals observed
on the hospital surveillance footage were interviewed during the supervisory
investigation.

The Backlog Review Team’s evaluative narrative of the supervisory use of force
investigation detailed an extensive analysis of each use of force applied by the officers,
notably more detailed than the original supervisory use of force investigation. The issue
of the sergeant not activating his OBRD was noted in the lieutenant’s investigation as a
“concern,” but he did not note any follow-up action taken. Another Lieutenant received
the concern about the OBRD violation, but forwarded it to another lieutenant, who did
not follow up on the OBRD policy violation. Despite this pervasive lack of follow-up on
the OBRD violation, the reviewing commander wrote that any and all concerns were
followed up by reviewing supervisors. Notably the violation was not documented on an
Additional Concerns Memo (ACM) and never entered onto the sergeant’s retention
card. In the final analysis, the chain-of-command had at least three opportunities to
respond to noted errors. It failed to act on any of these opportunities, instead letting the
issue die in a bureaucratic lassez faire miasma.

APD’s response to the events surrounding this use of force failed on multiple levels.
Most egregiously, while the investigating lieutenant noted the OBRD lapse, the two
reviewing lieutenants failed to take any action. An analysis of the failure chain shows:

1.) Failure at the initial sergeant’s level—failure to activate the OBRD during a field
investigation into a use of force;

2.) Failure at the initial review of the sergeant’s report—Failure to respond to the
violation of OBRD protocols at the initial level of review (lieutenant1);

3). Failure to follow up on the OBRD violation by lieutenant 2, who simply forwarded the
issue to a third lieutenant (lieutenant 3);

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4.) Failure to follow up on the forwarded issue of the OBRD violation by a third
lieutenant (lieutenant3); and

5.) Failure of the Area Commander to note four failures of process by three lieutenants
and a sergeant, all failures relating to OBRD policy.

The monitor finds this chain of events extremely troubling. At the requirement of the
CASA and the urging of the monitor, APD has developed a “defense-in-depth” for use of
force reporting and review. At the Area Command in question, this “defense-in-depth”
failed five times, with failures at all levels of review.

It is not feasible that this in-depth failure was accidental, and instead, we believe, yet
again, that this deliberate indifference is most feasibly attributable to the Counter-CASA
effect at APD.

IMR-9-28 (Supervisory Use of Force Investigation)

Two APD officers were working in one vehicle, en-route to a call when they observed
what they believed to be a male breaking into a church. They made contact with the
suspect (without notifying him of the purpose of the contact) and when attempting to
conduct a pat-down frisk of the suspect, he immediately began to actively resist and use
physical force against one of the officers. Together both officers used open-hand
techniques to restrain and forcibly handcuff the suspect. Both the officers and the
suspect received minor injuries. The original chain of command reviews found the use
of force to be in compliance with APD policy. The Backlog Review Team also found the
use of force to be in compliance with APD policy. During their contact with the suspect,
the suspect remained agitated and uncooperative, refused to be interviewed about his
injuries, and had to be put in a restraint system when officers were transporting him for
processing.

One of the areas of concern noted in the APD review of this arrest was that the
transporting officers did not all activate their OBRDs, nor did they properly notify a
supervisor of placing a restraint system on the suspect. The investigating supervisor
deemed these to be actionable after contacting Internal Affairs, who advised the
supervisor that the officers have no prior history of violating the applicable SOP. The
“Backlog Review UOF Investigative Data Plan” indicates 36 OBRDs were uploaded and
viewed, but only 33 were listed below this statement. Thirty-two videos were provided
for review to the monitoring team. The reviewing lieutenant did a diligent job in his
review (particularly requesting additional information) as noted in the BlueTeam report.
However, no review by any APD member mentions any video analysis that depicts an
officer reaching up towards an OBRD at the same time the recording ceases during the
physical contact with the suspect. Obviously, the monitoring team caught this
discrepancy during their review of the randomly selected incident. We see this as a
critical omission by APD supervisory personnel. In summary, this one incident was
“processed” by overlooking at least five procedural errors:

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1. Only 92 percent of the OBRDs reportedly available for this incident appear to have
been reviewed and documented by APD’s supervisory personnel;

2. Only 89 percent of the OBRDs reportedly available were forwarded to the monitoring
team for review.

3. None of the APD reviewers thought that seeing an OBRD deliberately turned off
during the incident was worthy of mention or investigation;

4. None of the 33 supervisory “reviews” managed to notice or report that, during the
event, a restraint system was used on the arrestee; and

5. None of the supervisory reviewers, apparently, found issue with the fact that OBRDs
were turned off, or were never activated, during transport of the arrestee for processing.

Again, we see a system-wide failure at the Area Command in question, related to some
significant issues. A sole sergeant assumed the authority to deem policy violations
inconsequential. Four involved officers appeared to not have activated their OBRDs.
One OBRD appeared to have been “lost,” and the entire chain of command appears not
to have noted an officer turning off his OBRD as soon as officers make physical contact
with the individual. These areas of concern apparently were missed by all levels of
review at the Area Command, up to and including the Area Commander. The
monitoring team find these errors substantial and critical.

IMR-9-29 (Supervisory Use of Force Investigation)

APD officers were dispatched to a commercial burglary at an AFD fire station, where it
was reported that a suspect stole a pair of shoes from inside the building. They were
provided preliminary information concerning the crime and a description of a suspect.
While officers searched the area, APD dispatch notified them that the victim of the
burglary saw the suspect at a specific location within the city. Officers responded to
that location and located the suspect. An APD officer approached the suspect to
question him about the reported burglary. He initially drew his Taser because of the
suspect’s demeanor, but then felt it would not be necessary. The suspect became
agitated at the initial approach of the first officer, stepped away, took a bladed stance
and failed to follow directions. A second APD officer was able to approach the suspect
from behind and take him to the ground using a leg sweep. The two officers handcuffed
the suspect without using additional levels of force. IAFD conducted a review of the
investigation and determined that the levels of force used in the event were objectively
reasonable and within departmental policy. The monitoring team agrees with that
assessment. Within the documentation IAFD identified performance deficiencies
concerning the first officer’s approach to the suspect. Specifically, they determined that
the officer could have better articulated why the suspect was being detained, which
could have influenced the event away for the need to use force. It was our judgment



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that APD completed an objective and thorough review of this use of force and reached
appropriate conclusions based on the facts.

As noted in the paragraphs of this report pursuant to ECWs (Paragraphs 24-36), several
trends have been identified during supervisory use of force investigations that can
undermine APD’s recent notable efforts to improve its ability to address CASA
compliance. In order to reduce redundancy, those specific trends and observations will
not be restated here. However, a number of other areas give rise for concern, since
they relate to specific feedback we provided APD in the past that deserve to be
reiterated. A growing number of case reviews reveal what appears to be a pattern of
officers muting their OBRDs audio at various times when interacting with detained
individuals and members of the public. Additionally, the number of cases where OBRDs
are not recording, or cease to record, is a matter of concern. Of particular concern is
when an officer appears to reach to the area of the OBRD at a critical moment, the
recording ceases or is muted, and the investigating supervisor does not address this in
a meaningful way. Instances we observed occurred after a use of force where officers
were seen together and not separated. In one video, an officer approached a group of
officers (one was a supervisor) who can be heard discussing the use of force and
suddenly the audio goes silent. (IMR-9-30).

We are deeply concerned about the use of Additional Concerns Memos (ACMs) to
address blatant policy and rule violations, rather than referring them to Internal Affairs
for investigation and appropriate agency action. This decision is problematic. In one
case reviewed during this period, supervisory personnel made numerous
recommendations for follow-up on deficiencies. These concerns never made their way
into an ACM, thus portraying another problematic aspect of APD’s dilemma in dealing
with policy violations, and more importantly not appropriately documenting policy
violations by officers. ACMs are being used as an alternative to processing policy
failures and directly informing officers that their actions were unacceptable. ACMs, as
currently used by APD, “hide” an important and sometimes serious array of policy
violations. We recommend they be eliminated, and that all IA and supervisory
investigations be thorough, complete, and fair.

The verification of a supervisory investigator’s neighborhood canvassing efforts has
been challenging for APD, to date. APD needs to explore how to provide objective
proof that can be audited to provide tangible evidence that a neighborhood canvass was
conducted. This is extremely important, especially when surveillance or OBRD
recordings reveal persons in the area of a police action and APD investigators note their
canvass efforts revealed no witnesses or persons in the area. Over the last two
monitoring periods, the monitoring team has noted a number of persons at the scene of
police actions that are detained, placed in handcuffs, searched, placed into a police
vehicle without any details provided to the detained person, without any basis for a
criminal charge (and no charges are filed), and the detainment is not articulated in a
report. This is simply an unacceptable process, and it should be the focus of serious
effort at APD to regularize an acceptable resolution that is constitutional and conforms
to the CASA.

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We have seen positive strides by APD with respect to handling uses of force, including
instances where the use of force review chain of command has documented
performance issues, policy violations and miscategorized uses of force. It is reasonable
to believe that if the monitoring team is encountering problems in the cases we review,
the issue is significant enough to warrant a close assessment of use of force cases that
do not currently fall under the responsibilities of the IAFD. For the next reporting period
we will focus our attention on APD’s approach to assessing use of force cases that do
not ordinarily fall to the IAFD to investigate. The reform effort will be influenced by
APD’s ability to call out policy violations fairly, immediately make referrals to IA when
they are found, and confront issues with legitimate accountability. Based on our review,
we have determined Primary Compliance should be continued for this series of
paragraphs.

Given our numerous documented concerns with the OBRD processes described above,
we urge APD to institute an internal review of OBRD implementation, most suitably by
the Performance Metrics Unit. We have deep concerns that OBRD policy is being
changed at the street and command levels, in contradistinction to established and
CASA-required intent and current policy. This is a critical issue!

4.7.28 Assessing Compliance with Paragraph 41: Use of Force
Reporting Policy

Paragraph 41 stipulates:

             “APD shall develop and implement a use of force reporting
             policy and Use of Force Report Form that comply with
             applicable law and comport with best practices. The use of
             force reporting policy will require officers to immediately notify
             their immediate, on-duty supervisor within their chain of
             command following any use of force, prisoner injury, or
             allegation of any use of force. Personnel who have knowledge
             of a use of force by another officer will immediately report the
             incident to an on-duty supervisor. This reporting requirement
             also applies to off-duty officers engaged in enforcement
             action.”

Results

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

4.7.29 Assessing Compliance with Paragraph 42: Force Reporting
Policy

Paragraph 42 stipulates:


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             “The use of force reporting policy shall require all officers to
             provide a written or recorded use of force narrative of the facts
             leading to the use of force to the supervisor conducting the
             investigation. The written or recorded narrative will include: (a)
             a detailed account of the incident from the officer’s
             perspective; (b) the reason for the initial police presence; (c) a
             specific description of the acts that led to the use of force,
             including the subject’s behavior; (d) the level of resistance
             encountered; and (e) a description of each type of force used
             and justification for each use of force. Officers shall not merely
             use boilerplate or conclusory language but must include
             specific facts and circumstances that led to the use of force.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

4.7.30 Assessing Compliance with Paragraph 43: Reporting Use of
Force Injuries

Paragraph 43 stipulates:

             “Failure to report a use of force or prisoner injury by an APD
             officer shall subject officers to disciplinary action.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

4.7.31 Assessing Compliance with Paragraph 44: Medical Services
and Force Injuries

Paragraph 44 stipulates:

             “APD policy shall require officers to request medical services
             immediately when an individual is injured or complains of
             injury following a use of force. The policy shall also require
             officers who transport a civilian to a medical facility for
             treatment to take the safest and most direct route to the
             medical facility. The policy shall further require that officers
             notify the communications command center of the starting
             and ending mileage on the transporting vehicle.”

Results

      Primary:      In Compliance

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      Secondary: Not In Compliance
      Operational: Not In Compliance

4.7.32 Assessing Compliance with Paragraph 45: OBRD Recording
Regimens

Paragraph 45 stipulates:

             “APD shall require officers to activate on-body recording
             systems and record all use of force encounters. Consistent
             with Paragraph 228 below, officers who do not record use of
             force encounters shall be subject to discipline, up to and
             including termination.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

4.7.33 Assessing Compliance with Paragraph 46: Force Investigations

Paragraph 46 stipulates:

             “All uses of force by APD shall be subject to supervisory
             force investigations as set forth below. All force
             investigations shall comply with applicable law and comport
             with best practices. All force investigations shall determine
             whether each involved officer’s conduct was legally justified
             and complied with APD policy.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

4.7.34 Assessing Compliance with Paragraph 47: Quality of
Supervisory Force Investigations

Paragraph 47 stipulates:

             “The quality of supervisory force investigations shall be taken
             into account in the performance evaluations of the officers
             performing such reviews and investigations.”

Results

      Primary:      In Compliance

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      Secondary: Not In Compliance
      Operational: Not In Compliance

4.7.35 Assessing Compliance with Paragraph 48: Force Classification
Procedures

Paragraph 48 stipulates:

             “APD agrees to develop and implement force classification
             procedures that include at least two categories or types of
             force that will determine the force investigation required. The
             categories or types of force shall be based on the level of
             force used and the risk of injury or actual injury from the use
             of force. The goal is to optimize APD’s supervisory and
             investigative resources on uses of force. As set forth in
             Paragraphs 81-85 below, APD shall continue to participate in
             the Multi-Agency Task Force, pursuant to its Memorandum of
             Understanding, in order to conduct criminal investigations of
             at least the following types of force or incidents: (a) officer-
             involved shootings; (b) serious uses of force as defined by
             the Memorandum of Understanding; (c) in-custody deaths;
             and (d) other incidents resulting in death at the discretion of
             the Chief.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

4.7.36 Assessing Compliance with Paragraph 49

Paragraph 49 stipulates:

             Under the force classification procedures, serious uses of
             force shall be investigated by the Internal Affairs Bureau, as
             described below. When a serious use of force or other
             incident is under criminal investigation by the Multi-Agency
             Task Force, APD’s Internal Affairs Bureau will conduct the
             administrative investigation. Pursuant to its Memorandum of
             Understanding, the Multi-Agency Task Force shall periodically
             share information and coordinate with the Internal Affairs
             Bureau, as appropriate and in accordance with applicable
             laws, to ensure timely and thorough administrative
             investigations of serious uses of force. Uses of force that do
             not rise to the level of serious uses of force or that do not
             indicate apparent criminal conduct by an officer will be
             reviewed by the chain of command of the officer using force.




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Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

4.7.37 Assessing Compliance with Paragraph 50: Supervisory
Response to Use of Force

Paragraph 50 stipulates:

             “The supervisor of an officer using force shall respond to the
             scene of the use of force to initiate the force investigation and
             ensure that the use of force is classified according to APD’s
             force classification procedures. For serious uses of force, the
             supervisor shall ensure that the Internal Affairs Bureau is
             immediately notified and dispatched to the scene of the
             incident.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

4.7.38 Assessing Compliance with Paragraph 51: Self-Review of Use
of Force
Paragraph 51 stipulates
             “A supervisor who was involved in a reportable use of force,
             including by participating in or ordering the force being
             reviewed, shall not review the incident or Use of Force
             Reports for approval.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

4.7.39 Assessing Compliance with Paragraph 52: Supervisory Force
Review

Paragraph 52 stipulates:
             “For all supervisory investigations of uses of force, the
             supervisor shall:

             a) Respond to the scene, examine all personnel and subjects

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       of use of force for injuries, interview the subject(s) for
       complaints of pain after advising the subject(s) of his or her
       rights, and ensure that the officers and/or subject(s) receive
       medical attention, if applicable.

       b) Identify and collect all relevant evidence and evaluate that
       evidence to determine whether the use of force was consistent
       with APD policy and identifies any policy, training, tactical, or
       equipment concerns;

       c) Ensure that all evidence to establish material facts related to
       the use of force, including audio and video recordings,
       photographs, and other documentation of injuries or the
       absence of injuries is collected;

       d) Ensure that a canvass for, and interview of, witnesses is
       conducted. In addition, witnesses are to be encouraged to
       provide and sign a written statement in their own words;

       e) Ensure that all officers witnessing a use of force incident by
       another officer provide a use of force narrative of the facts
       leading to the use of force;

       f) Separate all officers involved in a use of force incident until
       each has been interviewed and never conduct group interviews
       of these officers;

       g) Ensure that all Use of Force Reports identify all officers who
       were involved in the incident, witnessed the incident, or were
       on the scene when it occurred;

       h) Conduct investigations in a rigorous manner designed to
       determine the facts and, when conducting interviews, avoid
       asking leading questions and never ask officers or other
       witnesses any questions that may suggest legal justifications
       for the officers’ conduct;

       i) Utilize on-body recording systems to record all interviews;

       j) Review all use of force narratives and ensure that all Use of
       Force Reports include the information required by this
       Agreement and APD policy;

       k) Consider all relevant evidence, including circumstantial,
       direct, and physical evidence, as appropriate, and make
       credibility determinations, if feasible;

       l) Make all reasonable efforts to resolve material
       inconsistencies between the officer, subject, and witness
       statements, as well as inconsistencies between the level of
       force described by the officer and any injuries to personnel or
       subjects;

       m) Obtain a unique tracking number; and



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             n) Where a supervisor determines that there may have been
             misconduct in the use of force, immediately notify the Area
             Commander and the Internal Affairs Bureau.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance


4.7.40 Assessing Compliance with Paragraph 53: Force Review
Timelines

Paragraph 53 stipulates:
             Each supervisor shall complete and document a supervisory
             force investigation Force Report within 72 hours of
             completing the on-scene investigation. Any extension of this
             72-hour deadline must be authorized by a Commander. This
             Report shall include:

             a) all written or recorded use of force narratives or
             statements provided by personnel or others;

             b) documentation of all evidence that was gathered, including
             names, phone numbers, and addresses of witnesses to the
             incident. In situations in which there are no known witnesses,
             the report shall specifically state this fact. In situations in
             which witnesses were present but circumstances prevented
             the author of the report from determining the identification,
             phone number, or address of the witnesses, the report shall
             state the reasons why. The report should also include all
             available identifying information for anyone who refuses to
             provide a statement;

             c) the names of all other APD employees witnessing the use
             of force;

             d) the supervisor’s narrative evaluating the use of force,
             based on the supervisor’s analysis of the evidence gathered,
             including a determination of whether the officer’s actions
             complied with APD policy and state and federal law; and an
             assessment of the incident for tactical and training
             implications, including whether the use of force could have
             been avoided through the use of de-escalation techniques or
             lesser force options; and

             e) documentation that additional issues of concern not
             related to the use of force incident have been identified and
             addressed by separate memorandum.




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Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

4.7.41 Assessing Compliance with Paragraph 54: Command Review of
Force

Paragraph stipulates:
            Upon completion of the Use of Force Report, investigating
            supervisor shall forward the report through his or her chain of
            command to the Commander, who shall review the report to
            ensure that it is complete and that the findings are supported
            using the preponderance of the evidence standard. The
            Commander shall order additional investigation when it
            appears that there is additional relevant evidence that may
            assist in resolving inconsistencies or improving the reliability
            or credibility of the findings.

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

4.7.42 Assessing Compliance with Paragraph 55: Force Review
Evidence Standard

Paragraph 55 stipulates:
            “Where the findings of the Use of Force Report are not
            supported by a preponderance of the evidence, the
            supervisor’s chain of command shall document the
            reasons for this determination and shall include this
            documentation as an addendum to the original
            investigation. The supervisor’s superior shall take
            appropriate action to address the inadequately
            supported determination and any investigative
            deficiencies that led to it. Commanders shall be
            responsible for the accuracy and completeness of Use
            of Force Reports prepared by supervisors under their
            command. “

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance


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4.7.43 Assessing Compliance with Paragraph 56: Force Review
Quality

Paragraph 56 stipulates:
            “Where a supervisor repeatedly conducts deficient
            supervisory force investigations, the supervisor shall
            receive the appropriate corrective and/or disciplinary
            action, including training, demotion, and/or removal
            from a supervisory position in accordance with
            performance evaluation procedures and consistent with
            any existing collective bargaining agreements,
            personnel rules, Labor Management Relations
            Ordinance, Merit System Ordinance, regulations, or
            administrative rules. Whenever a supervisor or
            Commander finds evidence of a use of force indicating
            apparent criminal conduct by an officer, the supervisor
            or Commander shall suspend the supervisory force
            investigation immediately and notify the Internal Affairs
            Bureau and the Chief. The Internal Affairs Bureau shall
            immediately take over the administrative.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

4.7.44 Assessing Compliance with Paragraph 57: Force Review Board

Paragraph 57 stipulates that:
            “When the Commander finds that the supervisory
            force investigation is complete and the findings are
            supported by the evidence, the investigation file shall
            be forwarded to the Force Review Board. The Force
            Review Board shall review the supervisory force
            investigation to ensure that it is complete and that the
            findings are supported by the evidence. The Force
            Review Board shall ensure that the investigation file is
            forwarded to the Internal Affairs Bureau for
            recordkeeping.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

4.7.44.1 Assessments for Paragraphs 41–57:

A careful review of paragraphs 41-57 reveals systemic failures in force review at APD.
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We see it as critical that APD analyze our findings for paragraphs 41-57 and identify the
problems, issues, needs and solutions associated with these systemic failures. In the
monitoring team’s experience, many of the failures discussed in paragraphs 41-57 are
more likely than not attributable to past failures in training assessment, training
development, and training delivery. APD has hired a new training director who, unlike
previous training directors at the agency, has an understanding of the technical training
process, and the complexity of training a viable staff for police service delivery. Still
other issues relating to APD’s performance in paragraphs 41-57 quite simply are
attributable to poor supervision and a lack of will to call poor performance when it is
seen on the part of field managers and command personnel.

Weak “command and control” of use of force is another contributing factor to APD’s field
commands’ failures to call improper use of force or poor tactics leading to use of force
when it occurs. The recommendations that follow for shortfalls we have observed in the
field relative to paragraphs 41-57 need to be prioritized and processed swiftly. The
issues noted in paragraphs 41-57 are at the heart of the CASA, and it is clear to the
monitor that APD’s failures in these areas are attributable to the lack of will in the
supervisory and field management cadres at APD. The CASA requires a change in
attitude and performance at the supervisory (sergeant), management (lieutenants), and
command (commanders) levels of the agency. Until APD can change the way these
field level segments think, process, and assess in-field uses of force, APD will struggle
to gain compliance on the most central segments of the CASA.

Recommendations for Paragraphs 41 – 57:

4.7.28 - 44a: For the Area Command in question, develop documented and
evaluated training regarding use of force, use of force reporting policy,
supervision, and remediation of poor performance.

4.7.28 - 44b: For the Area Command in question ensure that the training
developed conforms to the CASA, national standards and the extensive and
intensive advice provided to APD (both in writing and in person) by the
monitoring team.

4.7.28 - 44c: For the Area Command in question, monitor the delivery of the
approved training processes intensively. We have noted, in the past, that some
SMEs at APD have a tendency to “leave the script” and support training
processes that are not reflective to the intent, spirit, and fabric of the training
practices developed by Academy leadership, APD leadership, and the monitoring
team.

4.7.28 - 44d: Ensure that testing covers the critical deficiencies noted in in-field
performance, especially relating to supervision and management of use-of-force
practices in the field.

4.7.28 - 44e: Ensure that this training conforms to monitor-approved training
plans.

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4.7.28 - 44f: Ensure that testing protocols are designed to measure learning on
critical points of the training process and are reasonably designed to identify
weakness in the training design.

4.7.28 - 44g: Plan for mid-course corrections after each session of use of force
training is delivered, using a test-for-learning processes that provide notice to the
Academy if training is not as effective as anticipated.

4.7.28 - 44h: Implement mid-course corrections between classes, and if the
learning failures are significant and on the critical path for effective use of force
practices in the field, remediate via retraining process, such as video segments,
written updates, etc.

4.7.28 - 44i: Conduct follow-up assessments concerning the efficacy of the
training as supervisors begin implementing training received when they return to
the field.

4.7.28 - 44j: Where those follow-up assessments identify supervisors who are not
following policy and training, develop immediate intervention practices to
document failed supervisory processes, mentor sergeants, lieutenants and
commanders who fail to follow practice, and follow-up to ensure intervention has
been successful.

4.7.45 Assessing Compliance with Paragraph 58: Reassignment of Force Review

Paragraph 58 stipulates that:

            “At the discretion of the Chief, a supervisory force
            investigation may be assigned or re-assigned to another
            supervisor, whether within or outside of the Command
            in which the incident occurred, or may be returned to
            the original supervisor for further investigation or
            analysis. This assignment or re-assignment shall be
            explained in writing.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

Recommendations for Paragraph 58:

4.7.45a: Develop an early intervention system that triggers alerts when clusters
of poorly investigated use of force incidents arise, and address these issues early
with Area Command staff, requiring Commanders affected to develop and
implement written “Intervention Plans” designed to identify the causes of failure
and remediate those causes systematically.

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4.7.45b: Routinely monitor the intervention process for integrity to the proffered
plans.

4.7.46 Assessing Compliance with Paragraph 59: Abuse of Force
Discipline

Paragraph 59 stipulates:

             “Where, after a supervisory force investigation, a use
             of force is found to violate policy, the Chief shall direct
             and ensure appropriate discipline and/or corrective
             action. Where the use of force indicates policy,
             training, tactical, or equipment concerns, the Chief
             shall also ensure that necessary training is delivered
             and that policy, tactical, or equipment concerns are
             resolved.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

Recommendation for Paragraph 59:

See recommendations 4.7.44.1a-4.7.44j, above.

4.7.47 - 4.7.64 Assessing Compliance with Paragraph 60-77: Force
Investigations by the Internal Affairs Bureau

Paragraphs 60–77 of the CASA address requirements that APD respond to and
investigate serious uses of force, as follows:

Paragraph 60: IAB Force Review
Paragraph 61: Criminal and Civil Force Investigations
Paragraph 62: Revision of IAB Manual
Paragraph 63: IAB Staffing
Paragraph 64: Training IAB Personnel
Paragraph 65: Referral of Force Investigations to MATF
Paragraph 66: MATF Assistance to IAB
Paragraph 67: Notice to External Agencies of Criminal Conduct in Use of
       Force
Paragraph 68: Consultation with External Agencies and Compelled
       Statements
Paragraph 69: IAB Responsibilities in Serious Uses of Force
Paragraph 70: Use of Force Data Reports
Paragraph 71: IAB Investigative Timelines

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Paragraph 72: IAB Report Review
Paragraph 73: IAB Findings Not Supported by Preponderance of the
       Evidence
Paragraph 74: IAB Quality Control
Paragraph 75: IAB Quality Control (Force Review Board)
Paragraph 76: Force Investigations by MATF or FBI
Paragraph 77: Discipline on Sustained Investigations

As with other reporting periods, the monitoring team spent significant time working with
APD’s Compliance Bureau and Force Division personnel during its November 2018 site
visit. We met with enlisted and civilian members alike and found a genuine level of
receptiveness and a sincere interest in attaining CASA compliance.

During our November 2018 site visit, the monitoring team met with members of Internal
Affairs--Force Division and had an opportunity to review the 2018 enhanced training
held for primarily newly assigned members to the Force Division. This training, building
on the 2017 CIRT training, focused on role-specific training relative to reviewing the
extensive backlog of use of force investigations. This role-specific training has had an
immediate positive impact on the review of the backlogged use of force cases.

At the end of the monitoring period, forty percent (121 cases) of the 304 backlogged
cases have been reviewed by the Force Division. This review to date identified 17 cases
involving the out-of-policy uses of force, a 14 percent error rate in the existing system.
Three of the cases revealed officer conduct that resulted in APD referring the cases to
be reviewed for possible criminal conduct. One of these out-of-policy cases involved an
officer (determined to be one of APD’s top users of force) who had multiple use of force
cases (backlogged and non-backlogged) pending. APD, increasingly recognizing its
risks due to the nonconformance to its policies by a disproportionately small number of
officers, reviewed this officer’s cases in aggregate. Based upon an administrative
resolution to adjudicate this officer’s cases consistent with SOP 3-41, APD subjected
this officer to a multifaceted intervention, inclusive of discipline.32

The initial intervention resulted in the removal the officer from uniformed patrol within
Field Services, and placement in an administrative position. The officer received a
suspension and additional suspension time held in abeyance. Prior to returning to
patrol, the officer will receive training on tactics, policy, and practices related to the
observed SOP violations. Following the completion of training and an executive review
that clears the officer to return to patrol, the officer will be placed on a performance
improvement plan for a period of one year (with intermediate and final reviews). A
fitness for duty examination will provide additional input before a final decision is made
to reassign the officer back on uniformed patrol. Successful completion and outcomes
from the enumerated steps of this intervention will also serve to mitigate the suspension


32The monitoring team discussed this specific case with the Commander of IAFD and will continue to
monitor the outcome of discipline that was imposed. It is our understanding that discipline imposed by
the Chief is under appeal.

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time held in abeyance for this officer and the potential cumulative disciplinary
consequences of the officer’s pending cases.

The handling of this matter serves as an exemplar of how APD has evolved recently in
the identification of problems and risks and how they take definitive steps to mitigate
these risks to protect the public, the police agency, as well as the careers of individual
officers. APD’s Force Division recognized that officers involved in cases on the backlog
list of use of force cases also had more contemporary use of force cases pending.
Rather than examine the backlogged cases in isolation from more recent use of force
cases, the Force Division took a more holistic approach to examine officer activities in
an effort to reduce APD’s overall risk environment. Based on this analysis and
ultimately the prioritized investigation of multiple cases involving this officer, any
continuation of the noncompliant officer’s actions apparently was halted, and
appropriate interventions were proposed to mitigate future non-compliant behavior.
While this is extremely important for obvious reasons, it should be noted that APD’s
analysis of backlogged use of force cases revealed various cases of out-of-policy use of
force by 16 different officers. A review of all pending use of force cases (inclusive of
contemporary use of force cases through the end of IMR-9) revealed these 16 officers
were involved in a total of 35 cases. Almost all (91%) of these cases have been
reviewed to date. At the end of IMR-9 (January 31, 2019) this analysis was conducted
again to include the most recent use of force cases. As a result of the renewed analysis,
nine more cases were added to the 35 previously identified cases. This level of review
demonstrates APD’s recursive, proactive actions to identify and positively impact
problems before they occur. This pattern of intuitive learning and action consistent with
quality loops, if replicated throughout APD, could significantly reduce risks and their
adverse consequences for the organization.

While the need to be detailed in the review of use force cases is self-evident, it is
equally apparent that the need to become proficient with the detailed investigations of
serious use of force matters is proving to be challenging to APD, with respect to
contemporary investigations. Paragraph 71 of the CASA requires APD to “complete
administrative investigations within two months after learning of the use of force.” During
IMR-9 (data current through January 16, 2019), APD recorded 46 cases involving the
serious use of force by its members. Only three of these investigations (approximately
7%) were deemed to be completed by mid-January 2019. The average completion time
for these three cases was 140 days; more than double the maximum time allowed.
When compounded with initial failures by field supervisors to properly categorized uses
of force as serious, the concern for timeliness for these cases to be completed is
obvious.33

We have stated in previous reports that delays in the comprehensive investigation of
use of force incidents (backlogged cases as well as the investigation of contemporary

33We commented in Paragraphs 41-59 on several serious uses of force that were improperly categorized
when they initially occurred. While identified within the chain of command reviews, it is unclear if what the
monitoring team was provided constitutes all miscategorized cases. It also reveals that these cases did
not result in a response to the scene by CIRT, thereby influencing the quality of the investigation.

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cases) significantly impedes the ability of APD to react to policy violations when force is
used. In assessing compliance with Paragraphs 41-59 and other Paragraphs in this
report, we have already noted that APD has not convened a Force Review Board since
November 2017 to review use of force matters. As it relates to Paragraph 75 and the
requirement to forward completed cases to the Force Review Board, the completed
cases are now backlogging at the back end of the force investigation process. This
exacerbates the workload for APD’s oversight processes to ensure the quality and rigor
of these investigations. It also creates a disciplinary quagmire that severely impedes
APD’s ability to impose discipline for even the most severe of policy violations. The
implications for Operational Compliance efforts moving forward are self-evident. It is
difficult for us to overstate the dangers of these outcomes to the effectiveness of APD’s
compliance attempts.

As noted in Paragraphs 41-59 of this report, while on-site, a meeting was held with
members of the monitoring team, APD command staff, the City of Albuquerque, USA
and DOJ staff to discuss two specific issues we see as key illustrations of obstacles to
compliance: 1) Additional Concern Memos (ACMs) being improperly used to address
policy and misconduct that should be elevated to Internal Affairs, and 2) incorrect
interpretations of when a timeline begins for the imposition of discipline for sustained
policy violations. Failing to properly remediate performance deficiencies and tepid
responses to policy violations will impede reform efforts.

This may well be the central critical threat to APD as it attempts to attain full
compliance. We see this threat as exigent and imminent.

We have commented extensively that policy violations that should be reported to
Internal Affairs are instead often being handled at Area Commands and are often
handled by ACMs. These ACMs have been found to contain information that clearly
required Internal Affairs referrals. ACM’ are a poor mechanism to track aggregated data
that can be used for performance plans and an EIRS. To its credit, APD has
acknowledged this practice is creating issues for the agency and has committed to
ending the use of ACMs entirely. However, at this time, ACMs are simply the
mechanism by which IA referrals have historically been avoided by the Counter-CASA
proponents at APD. Regardless of what system is put in place, or what form is used,
without empowering and requiring officers and supervisors to make immediate referrals
to IA when indicated by the facts, and legitimately holding officers accountable when
they don’t, abolishing the ACM will be meaningless. As APD encounters memoranda
that contain violations that should have been referred to IA, or uncover new policy
violations themselves, they must have a plan to address past transgressions and
determine how policy violations will be handled moving forward.34 We provided APD
with perspective and exemplars of how APD’s IA could establish itself as the
centerpiece of APD’s policy and misconduct oversight system. The more IA leans in to
that responsibility, the sooner APD will be successful in its compliance efforts.

34At times we see a focus on policy violations related to uses of force, but not on reporting, investigatory
and proper categorization failures on the part of supervisors or command personnel. Without true
accountability measures throughout the system there will be little incentive to reform practices in the field.

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We progressively have had concerns about the “ACM” process and the tendency of
some at APD to use this as a “heat sink” where obvious transgressions can go to fade
into the background. Until APD takes steps to end the ACM process, and, when
appropriate, to call into question formally previous behavior that violates internal policy
and the CASA, we are reasonably certain that the ACM process will continue to be a
stumbling block on the path to compliance.

To illustrate issues that are still occurring in the field, we noted in Paragraphs 41-50 a
number of internal memoranda in which the APD chain of command documented
instances of serious uses of force that were not properly reported or categorized by field
supervisors, which adversely impacted the investigation.35 Examples we saw included,
failing to report a neck hold (IMR-9-13and IMR-9-14), cases where three (3) or more
applications of an ECW were not immediately reported as a serious uses of force (IMR-
9-15and IMR-9-16), an instance where a suspect was attempting to evade arrest on a
bike and a sergeant used his vehicle to block his path which was handled as an
accident instead of a serious use of force (IMR-9-17), a case where an officer forcefully
swung a handcuffed suspect into the side of a patrol vehicle that was not reported as a
serious use of force (IMR-9-18),36 a case where an officer struck a subject in the head
multiple times that was not initially reported by the officer or caught by a supervisor for a
CIRT response to the scene (IMR-9-1907), and instances where an ECW struck a
person in the face or throat (IMR-9-20 and IMR-9-21). We were provided ACMs that
captured an instance of prisoner escape (IMR-9-22), an officer who struck a vehicle
when responding to a location and left the scene (IMR-9-23)37, an instance when an
officer’s patrol vehicle was stolen from the Prisoner Transport Center (IMR-9-24)38, and
an unreported use of force (IMR-9-25).

The collection of scenarios and potential policy violations contained in these
memoranda illustrate a few important points. First, the importance of ensuring
immediate interaction with IA and the proper interpretation of when the timeline for
discipline begins (As per SOP 3-41) is critical. Second, there is still significant progress
to be made in the field with respect to the proper reporting and investigation of uses of
force. Third, these types of events should inform training programs APD intends to

35 The monitoring team did not complete a comprehensive review of these instances to report on final
outcomes.
36 A lieutenant who identified this failure to report a serious use of force prepared a comprehensive

internal memorandum documenting his efforts and opinions.
37 This officer was reportedly responding to a business establishment owned by a relative. She reported

experiencing brake failure when approaching a light and struck a curb but said she did not realize she
also struck another vehicle. The event was later called in as a hit and run accident. We were not
provided accompanying documentation to assess the underlying investigations, but the issue was not
raised to IA and was instead handled with verbal counseling. It is also unknown if the issue with the
patrol vehicle’s brakes was ever resolved. We reinforce the common knowledge: hit and run incidents by
on-duty police officers are not appropriately handled by verbal counseling. Full and complete
investigation, and where appropriate, remedial discipline are required.
38 In this case a lieutenant made a BlueTeam entry and requested an IA number “…so I can investigate

any wrongdoing by (officer) of if it is an equipment issue/failure…” The careful reader here can easily
detect the cover-up attempt by the lieutenant, which is a common theme of the counter-CASA effect.

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develop for its new use of force policies. As we understand the new policies, IAFD will
assume the primary investigative role for most uses of force. However, if improper
reporting of force occurs in the field then APD’s compliance efforts will stall. We will not
reiterate here all that was written in Paragraphs 41-59, but we recommend that IAFD
consider that narrative as it contemplates assuming responsibility for initial use of force
and serious use of force investigations. There is important information contained within
the data the monitoring team was provided that will help inform future decisions and
planning efforts.

To put it bluntly, ACMs have become the favorite tool of those members of APD who
are part of the Counter-CASA contingent. APD should take immediate and definitive
steps to purge the use of ACMs from its conduct review systems. An error needs to be
called an error. A refusal to comply needs to be treated as a refusal to comply. Only
then can remedial process affect the levels of non-compliance at APD.

Pursuant to Paragraphs 65, 66, and 76, certain CASA-defined uses of force can be
assigned to the MATF for investigation. Consistent with Paragraphs 81-85 of this report
detailing the instances when the MATF will respond to conduct criminal investigations,
the monitoring team noted the participation of the MATF in nine APD cases (seven
officer involved shootings; two in-custody deaths) during the latter months of 2018 that
comprise this monitoring period.

During our November 2018 site visit, the monitoring team met with MATF members and
continued examining various issues pertaining to their notification and consultation with
the District Attorney’s Office, the FBI, and/or the U.S. Attorney’s Office when the use of
force by officers exhibit indicia of criminal conduct. This was first amplified during the
June 2018 site visit for IMR-8 when a member of the U.S. Attorney’s Office arranged a
meeting with various persons from APD to examine the details of APD’s interactions
with the District Attorney’s Office. While meeting with APD members assigned to the
MATF in November 2018, the monitoring team reviewed a flow chart that indicated the
Violent Crimes Division (and ultimately the MATF) receives cases from Internal Affairs
to review for criminality. Upon investigation by the MATF, if probable cause indicative of
criminality is established, the flow chart indicates the MATF (or Violent Crimes Division)
sends the case to the District Attorney for review and possible prosecution.

The monitoring team does not follow the logic of Internal Affairs abdicating their
authority and continuity of control by authorizing the MATF to submit such a matter to
the District Attorney after their review and determination. If this matter is an Internal
Affairs case, any finding or determination of probable cause suggesting criminality
should be forwarded back to Internal Affairs. At that point, a formal transmittal to the
District Attorney should be prepared by Internal Affairs consistent with the authorization
of the Chief of Police. This ensures the Chief of Police is appropriately apprised of
personnel implicated in possible criminal activity and allows the Chief, as the
appropriate authority, to authorize a referral to the District Attorney.




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This analysis may seem a bit esoteric; however, in the monitor’s opinion, the “old
process” was simply an attempt to build yet another “hole” into which potential serious
policy violations could fall. This breach needs to be corrected immediately.

Paragraphs 70-74 deal with the quality of the investigative process of Internal Affairs.
Notwithstanding the punctuality of serious use of force cases as highlighted by the
backlogged cases, as well as the contemporary investigations, the monitoring team has
observed the Force Division’s significant efforts to improve the quality of use of force
investigations, reviews, and the quality of the personnel assigned to these functions. At
the same time, the efforts to resolve investigative inconsistencies and findings not
supported by a preponderance of evidence have markedly improved over past
monitoring periods. This improvement can be attributed to the clear direction and
oversight of the supervision and command of the Compliance Bureau and Force
Division of Internal Affairs. Directly attributable to this focused direction and oversight
was the design and implementation of the onboarding process and training of newly
assigned personnel to the Force Division.

As discussed in IMR-8, these processes and training (inclusive of audio recorded
interviews, instruction, case reviews, tests, etc.) continued into IMR-9. Individuals
scoring the lowest on the tests for assignment to the Force Division continue not to be
selected for assignment. Additionally, based upon the turnover of personnel in Internal
Affairs since 2017 and the training of all personnel (incumbent and newly assigned) in
the new methodology of conducting force investigations, the quagmire of former Internal
Affairs personnel (assigned prior to 2018) who failed tests associated with CASA
training programs regarding use of force investigations has been resolved.

To reach Secondary Compliance, APD must demonstrate that it has adequately trained
its Internal Affairs personnel on its own policies and protocols. Based on the records we
reviewed starting in IMR-8 through this period, APD has demonstrated they have
developed and delivered adequate training to effectively remediate testing failures of
persons assigned to Internal Affairs back in 2017. Therefore, Secondary Compliance
has been achieved for Paragraph 73 and 74.

Compliance Findings

Based on our review, we have determined Secondary Compliance is continued for
Paragraphs 60 through 67, 69-72, and 76-77. Paragraph 68 remains in Primary
Compliance until evidence of training can be provided regarding compelled statements.
Paragraph 75 is not in compliance, due to lengthy delay in impaneling a Force Review
Board (since November 2017). We expect this critical component to be on-line and
functioning before the end of the IMR-10 reporting period. Parenthetically, we note that
APD’s decision to temporarily discontinue the FRB, given the unacceptable problems
experienced with the initial FRB process, was a good decision, creating time to craft
solid policy, process and training. While some may see this as delaying compliance,
the monitoring team sees it as a legitimate and well-taken decision to halt a failed



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system and craft a new, effective FRB system. We laud APD for the courage it took to
make this decision, rather than satisficing through an unworkable (exiting) FRB system.

4.7.47 Assessing Compliance with Paragraph 60: IAB Force Review

Paragraph 60 stipulates that:

             “The Internal Affairs Bureau shall respond to the scene and
             conduct investigations of serious uses of force, uses of force
             indicating apparent criminal conduct by an officer, uses of
             force by APD personnel of a rank higher than sergeant, or
             uses of force reassigned to the Internal Affairs Bureau by the
             Chief. In cases where the Internal Affairs Bureau initiates a
             criminal investigation, it shall ensure that such investigation
             remains separate from and independent of any administrative
             investigation. In instances where the Multi-Agency Task Force
             is conducting the criminal investigation of a serious use of
             force, the Internal Affairs Bureau shall conduct the
             administrative investigation.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

Recommendation for Paragraph 60:

4.7.47a: APD should continue its current planning processes related to re-
constituting an effective FRB process. We have reviewed work completed to date
by the department regarding the reconstituted FRB, and find it methodical, based
on lessons learned from other agencies working through consent decrees, and
focused on past comments by the monitoring team related to FRB processes.

4.7.48 Assessing Compliance with Paragraph 61: Criminal and Civil Force
Investigations

Paragraph 61 stipulates:

            “The Internal Affairs Bureau will be responsible for
            conducting both criminal and administrative
            investigations, except as stated in Paragraph 60. The
            Internal Affairs Bureau shall include sufficient
            personnel who are specially trained in both criminal
            and administrative investigations.”

Results




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APD IA processes focused on criminal and civil issues appear reasonably staffed given
current workload. Policies are reasonably crafted, and have been approved by the
monitor. What remains is simply a matter of working through the backlog in a
persistent, methodical manner, ensuring the process produced effective, industry-
standard work. This will simply take time to resolve.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

Recommendation for Paragraph 61:

4.7.48a: Continue to monitor internally the progress of the Internal Affairs in
conducting effective intake, assessment, assignment, investigation, and
resolution processes for criminal and civil investigations in order to ensure that
staffing levels are appropriate and processes are effective in producing
acceptable results.

4.7.49 Assessing Compliance with Paragraph 62: Revision of Internal
Affairs Manual

Paragraph 62 stipulates:

             “Within six months from the Effective Operational Date, APD
             shall revise the Internal Affairs Bureau manual to include the
             following:

             a) definitions of all relevant terms;

             b) procedures on report writing;

             c) procedures for collecting and processing evidence;

             d) procedures to ensure appropriate separation of criminal
             and administrative investigations in the event of compelled
             subject officer statements;

             e) procedures for consulting with the District Attorney’s
             Office or the USAO, as appropriate, including ensuring that
             administrative investigations are not unnecessarily delayed
             while a criminal investigation is pending;

             f) scene management procedures; and

             g) management procedures.”


Results

      Primary:       In Compliance

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      Secondary: In Compliance
      Operational: Not In Compliance

Recommendation for Paragraph 62:

4.7.49a: Continue work on revision and update of the IAB manuals, ensuring they
comply with the CASA and best practices in the field.

4.7.50 Assessing Compliance with Paragraph 63: Staffing IAB

Paragraph 63 stipulates:

             “Within ten months from the Effective Date, APD shall ensure
             that there are sufficient trained personnel assigned to the
             Internal Affairs Bureau to fulfill the requirements of this
             Agreement. APD shall ensure that all serious uses of force are
             investigated fully and fairly by individuals with appropriate
             expertise, independence, and investigative skills so that uses
             of force that are contrary to law or policy are identified and
             appropriately resolved; that policy, training, equipment, or
             tactical deficiencies related to the use of force are identified
             and corrected; and that investigations of sufficient quality are
             conducted so that officers can be held accountable, if
             necessary. At the discretion of the Chief, APD may hire and
             retain personnel, or reassign current APD employees, with
             sufficient expertise and skills to the Internal Affairs Bureau.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

Recommendation for Paragraph 63:

4.7.50a: Identify the department’s expected milestone date for staffing at IAB
based on data related to incoming cases, average time for case completion, and
calculations of the number of staff needed to effectively investigate incoming
cases within established expected parameters.

4.7.51 Assessing Compliance with Paragraph 64: Training Force
Division Personnel

Paragraph 64 stipulates:

             “Before performing force investigations, Internal Affairs
             Bureau personnel shall receive force investigation training
             that includes, at a minimum, the following areas: force
             investigation procedures; call-out and investigative protocols;
             proper roles of on-scene counterparts such as crime scene

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              technicians, the Office of the Medical Investigator, District
              Attorney staff, the Multi-Agency Task Force, City Attorney
              staff, and Civilian Police Oversight Agency staff; and
              investigative equipment and techniques. Internal Affairs
              Bureau personnel shall also receive force investigation
              annual in-service training.”

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.52 Assessing Compliance with Paragraph 65: Referral of Force
Investigations to MATF

Paragraph 65 stipulates:

              “Where appropriate to ensure the fact and appearance of
              impartiality and with the authorization of the Chief, APD may
              refer a serious use of force or force indicating apparent
              criminal conduct by an officer to the Multi-Agency Task Force
              for investigation.”

Results

As we noted in our narrative on pp. 79 and following we have noted some concerns
regarding the MATF process. The monitoring team does not follow the logic of Internal
Affairs being required to abdicate their authority and continuity of control by authorizing
the MATF to review these cases and submit them to the District Attorney after their
review and determination. In our view, previous administrations have used this referral
process to age complaints until they are past the deadline for discipline. We note this
paragraph is “permissive,” as it reads “may refer” instead of “shall refer.” We suggest
APD use this mechanism only when it is meaningful and necessary to receive an
outside opinion on a problematic use of force. That recommendation notwithstanding,
the paragraph is written in a form that makes this requirement discretionary, depending
on imprecise terminology, e.g., “where appropriate to ensure the fact and appearance of
impartiality.” We have found no instances in which we have noted factual or apparent
partiality in the MATF’s findings.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.53 Assessing Compliance with Paragraph 66: MATF Assistance to
IAB

Paragraph 66 stipulates:

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             “To ensure that criminal and administrative investigations
             remain separate, APD’s Violent Crimes Section may support
             the Internal Affairs Bureau or the Multi-Agency Task Force in
             the investigation of any serious use of force, as defined by
             this Agreement, including critical firearm discharges, in-
             custody deaths, or police-initiated actions in which a death or
             serious physical injury occurs.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance


4.7.54 Assessing Compliance with Paragraph 67: MATF Assistance to
IAB

Paragraph 67 stipulates:

             “The Chief shall notify and consult with the District Attorney’s
             Office, the Federal Bureau of Investigation, and/or the USAO,
             as appropriate, regarding any use of force indicating apparent
             criminal conduct by an officer or evidence of criminal conduct
             by an officer discovered during a misconduct investigation.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.55 Assessing Compliance with Paragraph 68: Consultation with External
Agencies and Compelled Statements

             “If the Internal Affairs Bureau determines that a case will
             proceed criminally, or where APD requests a criminal
             prosecution, the Internal Affairs Bureau will delay any
             compelled interview of the target officer(s) pending
             consultation with the District Attorney’s Office or the USAO,
             consistent with Paragraph 186. No other part of the
             investigation shall be held in abeyance unless specifically
             authorized by the Chief in consultation with the agency
             conducting the criminal investigation.”

Results

      Primary:   In Compliance
      Secondary: In Compliance

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      Operational: In Compliance

4.7.56 Assessing Compliance with Paragraph 69: IAB Responsibilities in Serious
Uses of Force

Paragraph 69 stipulates:

             “In conducting its investigations of serious uses of force, as
             defined in this Agreement, the Internal Affairs Bureau shall:

             a) respond to the scene and consult with the on-scene
             supervisor to ensure that all personnel and subject(s) of use of
             force have been examined for injuries, that subject(s) have
             been interviewed for complaints of pain after advising the
             subject(s) of his or her rights, and that all officers and/or
             subject(s) have received medical attention, if applicable;

             b) ensure that all evidence to establish material facts related
             to the use of force, including but not limited to audio and video
             recordings, photographs, and other documentation of injuries
             or the absence of injuries is collected;

             c) ensure that a canvass for, and interview of, witnesses is
             conducted. In addition, witnesses should be encouraged to
             provide and sign a written statement in their own words;

             d) ensure, consistent with applicable law, that all officers
             witnessing a serious use of force by another officer provide a
             use of force narrative of the facts leading to the use of force;

             e) ensure that all officers involved in a use of force incident
             remain separated until each has been interviewed and never
             conduct group interviews of these officers;

             f) review all Use of Force Reports to ensure that these
             statements include the information required by this Agreement
             and APD policy;

             g) ensure that all Use of Force Reports identify all officers who
             were involved in the incident, witnessed the incident, or were
             on the scene when it occurred;

             h) conduct investigations in a rigorous manner designed to
             determine the facts and, when conducting interviews, avoid
             asking leading questions and never ask officers or other
             witnesses any questions that may suggest legal justifications
             for the officers’ conduct;

             i) record all interviews;

             j) consider all relevant evidence, including circumstantial,
             direct, and physical evidence, as appropriate, and make
             credibility determinations, if feasible;



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             k) make all reasonable efforts to resolve material
             inconsistencies between the officer, subject, and witness
             statements, as well as inconsistencies between the level of
             force described by the officer and any injuries to personnel or
             subjects; and

             l) train all Internal Affairs Bureau force investigators on the
             factors to consider when evaluating credibility, incorporating
             credibility instructions provided to jurors.”

Results

APD has provided the policy and training components of this paragraph to IAB
personnel. What remains to be accomplished is consistent and persistent supervision
and review to ensure that IAB findings are consistent with best practices.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

Recommendations for Paragraph 69:

4.7.56a: Conduct detailed failure analyses for all IAB investigations deemed
improperly completed.

4.7.56b: Using these failure analyses, routinely modify training, procedures,
practice and supervision/oversight until IAB findings are greater than 94 percent
complete and adequate on each of the elements addressed in paragraph 69.

4.7.57 Assessing Compliance with Paragraph 70: Use of Force Data
Reports

Paragraph 70 stipulates:

            “The Internal Affairs Bureau shall complete an initial Use of
            Force Data Report through the chain of command to the
            Chief as soon as possible, but in no circumstances later
            than 24 hours after learning of the use of force.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance




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Recommendations for Paragraph 70:

4.7.57a: Conduct a data analysis of Use of Force Data reports to determine why
they take longer than 24 hours to process and develop recommendations to
relieve the major bottlenecks affecting this process.

4.7.57b: Ensure that any ECW errors noted based on the monitor’s
recommendations in response to identified issues with ECW usage are used to
make changes to use of force data analyses moving forward.

4.7.58 Assessing Compliance with Paragraph 71: IAB Investigative
Timelines

Paragraph 71 stipulates:

            “The Internal Affairs Bureau shall complete
            administrative investigations within two months after
            learning of the use of force. Any request for an
            extension to this time limit must be approved by the
            commanding officer of the Internal Affairs Bureau
            through consultation with the Chief or by the Chief. At
            the conclusion of each use of force investigation, the
            Internal Affairs Bureau shall prepare an investigation
            report. The report shall include:

            a) a narrative description of the incident, including a
            precise description of the evidence that either justifies
            or fails to justify the officer’s conduct based on the
            Internal Affairs Bureau’s independent review of the
            facts and circumstances of the incident;

            b) documentation of all evidence that was gathered,
            including names, phone numbers, addresses of
            witnesses to the incident, and all underlying Use of
            Force Data Reports. In situations in which there are no
            known witnesses, the report shall specifically state this
            fact. In situations in which witnesses were present but
            circumstances prevented the author of the report from
            determining the identification, phone number, or
            address of those witnesses, the report shall state the
            reasons why. The report should also include all
            available identifying information for anyone who
            refuses to provide a statement;

            c) the names of all other APD officers or employees
            witnessing the use of force;

            d) the Internal Affairs Bureau’s narrative evaluating the
            use of force, based on the evidence gathered, including
            a determination of whether the officer’s actions
            complied with APD policy and state and federal law;
            and an assessment of the incident for tactical and
            training implications, including whether the use of

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            force could have been avoided through the use of de-
            escalation techniques or lesser force options;

            e) if a weapon was used by an officer, documentation
            that the officer’s certification and training for the
            weapon were current at the time of the incident; and

            f) the complete disciplinary history of the target
            officers involved in the use of force.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not in Compliance

Recommendations for Paragraph 71:

4.7.58a: Conduct a review of a sample of cases completed by IAB in the past 3-6
months that failed to meet established timelines by reviewing the key failure
points causing delay. The review should:

       a. Identify key causes of failure;
       b. Identify where in the IAB process related to Paragraph 71
   the failure points were;
       c. The cause of the failures; and
       d. Recommend actions to remedy the top five causes of
   failure to meet the established timelines.

4.7.58b: Implement recommended actions and conduct a follow-up assessment
to determine what impact, if any, the implemented actions had on failures to meet
established timelines.

4.7.58c: Determine if these processes need to be revised, expanded, or
refocused given our comments re ECW usage failures in the field contained in
paragraphs 24-36, 41-59, and 60-77.

4.7.58d: Repeat until 95% of cases completed meet established
requirements for quality of IA investigations.

4.7.59 Assessing Compliance with Paragraph 72: IAB Report Review

Paragraph 72 stipulates:

             “Upon completion of the Internal Affairs Bureau
             investigation report, the Internal Affairs Bureau
             investigator shall forward the report through his or her
             chain of command to the commanding officer of the
             Internal Affairs Bureau. The Internal Affairs Bureau

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             commanding officer shall review the report to ensure
             that it is complete and that, for administrative
             investigations, the findings are supported using the
             preponderance of the evidence standard. The Internal
             Affairs Bureau commanding officer shall order
             additional investigation when it appears that there is
             additional relevant evidence that may assist in
             resolving inconsistencies or improve the reliability or
             credibility of the findings. “

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

Recommendation for Paragraph 72:

4.7.59a: Conduct a review of a sample of cases completed by IAB in the past 3-6
months that failed to meet established timelines by reviewing the key failure
points causing delay. The review should:

       a. Identify key causes of failure;
       b. Identify where in the IAB process related to Paragraph 72
   the failure points were;
       c. Identify the cause of the failures;
       d. Recommend actions to remedy the top five causes of
   failure to meet the established timelines;
       e. Revaluate performance and repeat the process, with a focus
   on supervisors who routinely fail to meet established
   timelines; and
       e. Repeat as necessary until the failure rate is below five
   percent.

4.7.60 Compliance with Paragraph 73: IAB Findings Not Supported by
Preponderance of the Evidence

Paragraph 73 stipulates:

             “For administrative investigations, where the findings of the
             Internal Affairs Bureau investigation are not supported by a
             preponderance of the evidence, the Internal Affairs Bureau
             commanding officer shall document the reasons for this
             determination and shall include this documentation as an
             addendum to the original investigation report. The
             commanding officer of the Internal Affairs Bureau shall take
             appropriate action to address any inadequately supported
             determination and any investigative deficiencies that led to it.
             The Internal Affairs Bureau commanding officer shall be


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             responsible for the accuracy and completeness of
             investigation reports prepared by the Internal Affairs Bureau.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

Recommendations for Paragraph 73:

4.7.60a: Conduct a review of a sample of cases completed by IAB in the past 3-6
months that failed to meet established quality requirements regarding
preponderance of the evidence by reviewing the key failure points causing
insufficient investigations relative to preponderance of the evidence. The review
should:

      a. Identify key causes of failure to meet preponderance of the
      evidentiary standards for IA investigations;
      b. Recommend actions to remedy the top five causes of
      failure to meet the established requirements related to
      preponderance of the evidence.

4.7.60b: Implement recommended actions and conduct continual follow-up
assessment to determine what impact, if any, the implemented actions had on the
unit’s ability to meet established preponderance of evidentiary standards.

4.7.60c: Repeat until 95% of cases completed meet established requirements
regarding evidentiary standards.

4.7.61 Assessing Compliance with Paragraph 74: IAB Quality Control

Paragraph 74 stipulates:

            “Where a member of the Internal Affairs Bureau repeatedly
            conducts deficient force investigations, the member shall
            receive the appropriate corrective and/or disciplinary action,
            including training or removal from the Internal Affairs Bureau
            in accordance with performance evaluation procedures and
            consistent with any existing collective bargaining agreements,
            personnel rules, Labor Management Relations Ordinance, Merit
            System Ordinance, regulations, or administrative rules.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

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Recommendations for Paragraph 74:

4.7.61a: Conduct a review of a sample of cases completed by IAB in the past 3-6
months that failed to meet quality standards by reviewing the key failure points
causing the failure. The review should:

       a. Identify key causes of failure;
       b. Identify where in the IAB process related to Paragraph 74
   the failure points were;
       c. Identify the cause (of the failures); and
       d. Recommend actions to remedy the top five causes of
   failure to meet the established timelines.

4.7.61b: Implement recommended actions and conduct a follow-up assessment
to determine what impact, if any, the implemented actions had on failures to meet
established quality standards for IA investigations.

4.7.61c: Repeat until 95% of cases completed meet established evidentiary
standards.

4.7.62 Assessing Compliance with Paragraph 75: IAB Quality Control

Paragraph 75 stipulates:

             “When the commanding officer of the Internal Affairs Bureau
             determines that the force investigation is complete and the
             findings are supported by the evidence, the investigation file
             shall be forwarded to the Force Review Board with copy to the
             Chief.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

Recommendations for Paragraph 75:

4.7.62a: Conduct a review of a sample of cases completed by IAB in the past 3-6
months that failed to meet the requirement to forward the case to the FRB by
reviewing the key failure points causing incomplete cases to be forwarded to the
FRB. The review should:

      a. Identify key causes of failure;
      b. Identify where in the IAB process related to Paragraph 75
      the failure points were; and

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      d. Recommend actions to remedy the top five causes of
      failure to meet the established protocols, e.g., training,
      supervision, staffing, etc.

4.7.62b: Implement recommended actions and conduct a follow-up assessment
to determine what impact, if any, the implemented actions had on failures to meet
established evidentiary and quality standards.

4.7.62c: Repeat until 95% of cases completed meet established evidentiary and
quality standards.

4.7.63 Assessing Compliance with Paragraph 76: Force Investigations
by MATF or FBI

Paragraph 76 stipulates:

             “At the discretion of the Chief, a force investigation may be
             assigned or re- assigned for investigation to the Multi-Agency
             Task Force or the Federal Bureau of Investigations or may be
             returned to the Internal Affairs Bureau for further investigation
             or analysis. This assignment or re-assignment shall be
             confirmed in writing.”

Results

We note that this paragraph is “permissive” in nature, not prescriptive: it uses “may”
instead of “shall.” We have noted no instances this reporting period in which a case
was inappropriately assigned to the MATF or the FBI.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not Observable

4.7.64 Assessing Compliance with Paragraph 77: Discipline on
Sustained Investigations

Paragraph 77 stipulates:

             “Where, after an administrative force investigation, or a use of
             force is found to violate policy, the Chief shall direct and
             ensure appropriate discipline and/or corrective action. Where
             a force investigation indicates apparent criminal conduct by
             an officer, the Chief shall ensure that the Internal Affairs
             Bureau or the Multi-Agency Task Force consults with the
             District Attorney’s Office or the USAO, as appropriate. The
             Chief need not delay the imposition of discipline until the
             outcome of the criminal investigation. In use of force
             investigations, where the incident indicates policy, training,
             tactical, or equipment concerns, the Chief shall ensure that


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             necessary training is delivered and that policy, tactical, or
             equipment concerns are resolved.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.65 Assessing Compliance with Paragraph 78: Force Review Board
Responsibilities

Paragraph 78 stipulates that:

             “APD shall develop and implement a Force Review Board to
             review all uses of force. The Force Review Board shall be
             comprised of at least the following members: Assistant Chief
             of the Professional Accountability Bureau, the Deputy Chief of
             the Field Services Bureau, the Deputy Chief of the
             Investigations Bureau, a Field Services Major, the Training
             Director, and the Legal Advisor. The Force Review Board shall
             conduct timely, comprehensive, and reliable reviews of all use
             of force investigations. The Force Review Board shall:

             a) review each use of force investigation completed by the
             Internal Affairs Bureau within 30 days of receiving the
             investigation report to ensure that it is complete and, for
             administrative investigations, that the findings are supported
             by a preponderance of the evidence;

             b) hear the case presentation from the lead investigator and
             discuss the case as necessary with the investigator to gain a
             full understanding of the facts of the incident. The officer(s)
             who used the force subject to investigation, or who are
             otherwise the subject(s) of the Internal Affairs Bureau
             investigation, shall not be present;

             c) review a sample of supervisory force investigations that
             have been completed and approved by Commanders every 90
             days to ensure that the investigations are complete and timely
             and that the findings are supported by a preponderance of the
             evidence;

             d) order additional investigation when it appears that there is
             additional relevant evidence that may assist in resolving
             inconsistencies or improve the reliability or credibility of the
             force investigation findings. For administrative investigations,
             where the findings are not supported by a preponderance of
             the evidence, the Force Review Board shall document the
             reasons for this determination, which shall be included as an
             addendum to the original force investigation, including the
             specific evidence or analysis supporting their conclusions;



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             e) determine whether the use of force violated APD policy. If
             the use of force violated APD policy, the Force Review Board
             shall refer it to the Chief for appropriate disciplinary and/or
             corrective action;

             f) determine whether the incident raises policy, training,
             equipment, or tactical concerns, and refer such incidents to
             the appropriate unit within APD to ensure the concerns are
             resolved;

             g) document its findings and recommendations in a Force
             Review Board Report within 45 days of receiving the
             completed use of force investigation and within 15 days of the
             Force Review Board case presentation, or 15 days of the
             review of sample supervisory force investigation; and

             h) review and analyze use of force data, on at least a
             quarterly basis, to determine significant trends and to identify
             and correct deficiencies revealed by this analysis.”

Methodology

The monitor was unable to review or assess FRB findings for this reporting period, as
the FRB has been “suspended” pending implementation of a restructuring and re-
tasking plan. Policy exists relating to restructuring. Training is “pending.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

Recommendation for Paragraph 78:

4.7.65a: Implement the planned re-constitution of FRB, and, once adequate
“product” is produced under pending FRB revisions, implement a process- and
outcome-evaluation of the new FRB processes.

4.7.66 – 4.7.67 Assessing Compliance with Paragraphs 79-80: Annual Use of
Force Reporting

4.7.66.1 Assessing Compliance with Paragraphs 79: Annual Use of Force
Reporting

Paragraph 79 states:
             At least annually, APD shall publish a Use of Force Annual
             Report. At a minimum, the following information should be
             included in the Annual Use of Force Report:

          a) number of calls for service;

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          b) number of officer-initiated actions;
          c) number of aggregate uses of force;
          d) number of arrests;
          e) number of custodial arrests that involved use of force;
          f) number of SWAT deployments by type of call out;
          g) number of incidents involving officers shooting at or from
             moving vehicles;
          h) number of individuals armed with weapons;
          i) number of individuals unarmed;
          j) number of individuals injured during arrest, including APD
             and other law enforcement personnel;
          k) number of individuals requiring hospitalization, including APD
             and other law enforcement personnel;
          l) demographic category; and
          m) geographic data, including street, location, or Area Command.

Paragraph 79 of the CASA addresses requirements APD must meet by publishing a
Use of Force Annual Report:

The monitoring team spent time providing perspective, feedback and technical
assistance to APD during its November 2018 site visit. As noted in IMR-8, in the past,
the monitoring team requested data for show of force cases, as well as supervisory
level use of force and serious use of force cases so we could conduct comprehensive
reviews of those cases. The purpose was to assess the nature of uses of force, to
assess the quality of use of force reporting, and to ensure that proper supervisory force
investigations are conducted.

We obtained valuable information in those reviews that has a direct impact on our
assessment of the quality of data reporting at APD. We have found multiple instances
in which APD personnel failed to accurately report or investigate the force they used,
which obviously impacts the veracity of statistics APD publishes in their Use of Force
Annual Report. We have noted in previous monitor’s reports that, until APD officers
completely and accurately report uses and shows of force, and until supervisors review
those reports with an eye toward adherence to established policy, APD’s use of force
data will remain seriously problematic. In the past year we have seen positive steps in
this regard with respect to the Internal Affairs Force Division’s (IAFD) investigation of
the backlog of use of force investigations. IAFD are identifying hundreds of policy
violations, including unreported uses of force, in their work. While we are encouraged
by the thoroughness of the IAFD’s work, we obviously are concerned with the legitimacy
of statistics that are contained in aggregated data reports like the Use of Force Annual
Report.

We have communicated to APD during this reporting period that APD must establish
systems to capture data in these cases and reconcile these misreported events against
other use of force statistics. We were told that APD is in the final stages of publishing
use of force annual reports for the years 2016 and 2017, and that the monitoring team
would have an opportunity to review them during the next reporting period.



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We have determined that APD maintains its Primary Compliance status for Paragraph
79.

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

Recommendations for Paragraph 79:

4.7.66a: APD should monitor use of force, serious use of force and show of force
reporting discrepancies found as the IA Force Division reviews the backlog of
cases. Reporting errors must be reconciled to ensure that statistics published in
the Annual Use of Force Reports are accurate.

4.7.66b: Ensure that data regarding uses of force are accurate, and where trends
are identified, solutions to issues are crafted.


4.7.67 Assessing Compliance with Paragraph 80

Paragraph 80 states:

             APD shall be responsible for maintaining a reliable and
             accurate tracking system on all officers’ use of force; all force
             investigations carried out by supervisors, the Internal Affairs
             Bureau, or Multi-Agency Task Force; and all force reviews
             conducted by the Force Review Board. APD shall integrate
             the use of force tracking system with the Early Intervention
             System database and shall utilize the tracking system to
             collect and analyze use of force data to prepare the Use of
             Force Annual Report and other reports, as necessary.

Methodology

As with past reporting periods, the monitoring team spent time providing perspective,
feedback and technical assistance to APD personnel responsible for the tasks
associated with these paragraphs. As with past reporting periods, we found APD
personnel to be receptive to our feedback.

Results

APD’s capacity to build systems and processes that accurately collect, assess and
analyze use of force data continue to mature, but more work is necessary. APD has
been unable to build a comprehensive and sustainable EIRS that can be relied upon to
provide accurate data to inform decisions by supervisors and command level personnel.
As we have reported in the past, the monitoring team has identified multiple instances in

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which serious uses of force, uses of force and shows of force have gone unreported by
APD officers. Likewise, supervisory efforts to address policy violations and
performance issues of officers are often disconnected and many times these violations
go unnoticed and without being addressed in any meaningful manner. Most recently,
APD acknowledged a failure on the part of SOD to report certain types of force, but they
have been actively working toward remediating the issue. The data analysis capabilities
of APD are maturing rapidly through the Performance Metrics Unit (PMU), which is an
extension of the Office of the Chief of Police. We are encouraged with the manner in
which PMU is conducting audits of APD units, and we believe that the byproduct of
those audits will be better data with which to make CASA compliance determinations in
the future.

APD’s Internal Affairs Force Division is actively addressing a significant backlog of use
of force investigations from 2017, and in the course of their work they are self-identifying
significant numbers of unreported uses and shows of force. APD has not conducted a
Force Review Board of any kind since the fall of 2017, so an organization-level
oversight of force has been virtually non-existent. These facts all create considerable
compliance issues with this paragraph. Finally, APD has not submitted a Use of Force
Annual Report to the monitoring team in three years. APD produced a Use of Force
Annual Reports for 2016 after the close of this reporting period. Data development for
the 2017 report are nearing completion and are expected to be delivered to the Monitor
in the IMR-10 reporting period. APD expects the 2018 Use of Force Annual Report to
be completed by the summer of 2019.

We understand that APD has made significant progress hiring a private vendor that
provides a robust analytical system that will finally give APD a platform to assemble
training, internal affairs, use of force, and performance data in a central repository. The
quality of any system is entirely reliant upon the quality of the data it receives. The
efforts underway at APD have the potential to help ensure the accuracy of data when
their new system is finally launched. APD retains its Primary Compliance status with
Paragraph 80.

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation for Paragraph 80:

4.7.72.1a: APD should monitor use of force, serious use of force and show of
force reporting discrepancies found as the IA Force Division reviews the backlog
of cases. Reporting errors must be reconciled to ensure that statistics published
in APD’s Annual Use of Force Reports are accurate.

4.7.68 – 4.7.72 Assessing Compliance with Paragraph 81 – 85: Multi-Agency Task
Force (MATF) Participation by APD


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Paragraphs 81 – 85 of the CASA address requirements that APD continue to participate
in the Multi-Agency Task Force, consult with the participating jurisdictions to establish
investigative protocols for the task force, and generally consult and coordinate with the
participating agencies regarding investigative briefings and the release of information
relevant to MATF investigations.

APD members assigned to the MATF are now assigned from the Violent Crimes
Division as opposed to the previous practice of being assigned from Internal Affairs. The
MATF now only investigates officer-involved shootings, in-custody deaths, felonious
force against officers, and criminal conduct cases resulting from a use of force by
officers. This is reflected in a review of the 2018 MATF case log. APD continuously
ensures personnel assigned to the MATF are full time detectives or supervisors with
member agencies, ensures a representative of each member of the MATF is present
during interviews of involved personnel, addresses perceived deficiencies in MATF
investigations, and maintains the confidentiality of MATF investigations.

MATF protocols have evolved, and now address CASA requirements (e.g., canvass for
and interview of witnesses, ensuring officers involved in a use of force incident remain
separated until each has been interviewed and/or complete a report, etc.). This includes
updated dispatch protocols for MATF notifications.

Based on our review, we have determined operational compliance should be continued
for Paragraphs 81 through 85.

4.7.68 Assessing Compliance with Paragraph 81: MATF Participation by APD

Paragraph 81 of the CASA stipulates:

            “APD shall continue to participate in the Multi-Agency Task
            Force for as long as the Memorandum of Understanding
            continues to exist. APD agrees to confer with participating
            jurisdictions to ensure that inter-governmental agreements
            that govern the Multi-Agency Task Force are current and
            effective. APD shall ensure that the inter-governmental
            agreements are consistent with this CASA.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.69 Assessing Compliance with Paragraph 82: Investigative Protocols for the
MATF

Paragraph 82 stipulates that:

             “APD agrees to consult with participating jurisdictions to

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             establish investigative protocols for the Multi-Agency Task
             Force. The protocols shall clearly define the purpose of the
             Multi-Agency Task Force; describe the roles and
             responsibilities of participating agencies, including the role of
             the lead investigative agency; and provide for ongoing
             coordination among participating agencies and consultation
             with pertinent prosecuting authorities.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.70 Assessing Compliance with Paragraph 83: Coordination with MATF

Paragraph 83 stipulates:

            “APD agrees to consult and coordinate with the Multi-Agency
            Task Force on the release of evidence, including video
            recordings of uses of force, and dissemination of information
            to preserve the integrity of active criminal investigations
            involving APD personnel.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.71 Assessing Compliance with Paragraph 84: Briefing with MATF

Paragraph 84 of the CASA stipulates:

             “APD agrees to participate in all briefings of incidents
             involving APD personnel that are investigated by the Multi-
             Agency Task Force.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance


4.7.72 Assessing Compliance with Paragraph 85: Expiration of MOU re
MATF

Paragraph 85 stipulates:

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               “If the Memorandum of Understanding governing the Multi-
               Agency Task Force expires or otherwise terminates, or APD
               withdraws from the Multi-Agency Task Force, APD shall
               perform all investigations that would have otherwise been
               conducted pursuant to the Memorandum of Understanding.
               This Agreement does not prevent APD from entering into
               other investigative Memoranda of Understanding with other
               law enforcement agencies to conduct criminal investigation of
               officer-involved shootings, serious uses of force, and in-
               custody deaths.”

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.73 – 4.7.75 Assessing Compliance with Paragraph 86-88: Review of Use of
Force Policies and Training; Use of Force Training Based on Constitutional
Principles; and Annual Supervisory In-Service Training.

Paragraphs 86-88 of the CASA address various training requirements that APD must
meet related to use of force and the supervision of use of force by officers. As with
other reporting periods, the monitoring team has continued to provide perspective and
technical assistance to APD’s Training Academy, in particular during our November
2018 site visit. During this monitoring period APD intended to apply past “lessons
learned” and incorporate the extensive feedback that has been provided to the
Academy through various modalities. APD’s past lack of training capacity has
contributed significantly to organizational inefficiencies and the stagnant nature of
compliance efforts related to training.39 However, with new leadership at the Academy,
we see signs of progress and improvements in the sophistication of thought that is
needed to positively impact APD’s training programs throughout 2019. A significant
barrier to APD’s ability to advance meaningful use of force training has been its inability
to assimilate acceptable training components related to use of force that will affect
officers’ actions in the field. Consequently, little has been accomplished toward APD’s
long-term compliance efforts with Paragraphs 86-88. Some positive advancements
have occurred recently, as we note in the following pages.

The academy continues to create systems and build operational units that will benefit
APD’s training development skills. However, work still is needed to ensure that there is
legitimate academy oversight of CASA related training, and that training advanced by
APD meets acceptable standards. During this monitoring period, the monitoring team


39We note that we have met many academy instructors who are skilled at conveying information,
and we have experienced positive “can-do” attitudes during each visit. The historical lack of
capacity mostly relates to significant administrative shortcomings we have encountered and
documented in past reports.

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has commented in writing on specific training materials APD advanced for our review40,
and the following paragraphs represent our findings related to Paragraphs 86-88.

During our November 2018 site visit, the monitoring team met with Academy staff
responsible for the tasks associated with Paragraphs 86-88. We found the Academy
personnel to be engaged in their responsibilities and very receptive to feedback. This
was also our first opportunity to meet with APD’s new Academy Commander. We
commented in IMR-8 that there had been three changes in leadership at the Academy
over the prior 12 months, which we saw as a significant issue toward reaching
compliance in many force-related paragraphs. That lack of continuity significantly
impacted APD training requirements and led to extensive inefficiencies and frustration
among the Academy staff, and officers in the field. It has also made APD vulnerable to
continued issues related to the proper performance of officers and supervisors in the
field.

During the seventh monitoring period APD reached outside the organization and hired a
new Academy Commander who brings an experienced background in training and
curriculum development. We met with her during our November 2018 site visit and
were impressed with her overall understanding of the potentially difficult road ahead
regarding needs assessments and change processes needed at the Academy. In IMR-
8 we recommended the new Commander reflect heavily on criticism, feedback and
technical assistance provided in past monitor reports, as well as the numerous
memoranda we have written regarding APD’s training processes. We reiterate that
recommendation in this (current) report. Until APD views training as a process, not an
event, compliance on many key elements of the CASA will remain elusive.

We want to note one perspective the Commander shared that we were encouraged to
hear. The monitoring team has commented extensively in past reports that APD will
continue to struggle in their compliance efforts until they appropriately respond to
situations where policy violations are found. One such area that we have discussed on
multiple occasions is the proper use of OBRDs (“Body Cameras”). The Commander
noted that the Academy is receiving training requests from the field for officers who fail
to activate their OBRD’s appropriately, where in her opinion, failures, in most cases, are
not training issues. We completely agree. Activation of OBRDs is a binary choice: “on”
or “off.” In our opinion there are a finite number of these cases where an officer truly
needs training to comply with OBRD policies. The failures we have observed are more
appropriately categorized as supervisory problems. Accountability through other types
of corrective processes, e.g., counseling by field supervisors, incident-based corrective
measures, and discipline are more likely to curb non-compliance with OBRD policies,
and that will free the Academy to address issues that can be fixed through formal
training. We caution APD again, to engage in a more sophisticated problem analysis
process and identify the true cause of human-system failures.



40 The monitoring team approved SOD training related to their Risk Assessment Matrix (RAM), as well as
“gap training” meant to remediate use of force training gaps that have lingered for the past two years.

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In our experience with APD in the past, the problem lies, in most issues, with
supervision, not training. This anomaly has permeated APD in the past: blaming policy,
training, equipment, staffing: anything but supervision and command, who actually
should bear the brunt of failures observed in APD’s field service delivery processes.

The monitoring team did sense a degree of frustration by some members of the
Academy staff with implementing the 7-Step training cycle, so we spent additional time
providing perspective and technical assistance to help them apply this new (to APD)
process of training. We understand that, like any new business process, there will be
some growing pains, but over time the Academy’s use of a systematic approach will
help ensure they are routinely meeting the organization’s unique training needs. Even
with the expected learning curve, APD seems committed to implementing the 7-Step
Training Cycle. Parenthetically, we also sensed frustration among non-academy
personnel who are attempting to advance their training programs through the 7-Step
Cycle. As competency grows within the Academy, so too will the competency in the
field --- with regular guidance when training materials are submitted. APD will then see
an increase in the quality of their training products and better timeliness of training
approvals. It will take a concerted effort by all APD personnel concerned with training
requirements to work closely with the Academy to ensure standards that have been set
are being met.

The Academy has instituted a new unit, entitled the "Comprehensive Training Unit"
(CTU) that will be responsible for managing the 7-Step Training Cycle, which includes
the oversight of training “quality control”. We emphasized the importance of empowering
this specific unit with the Academy Commander. With proper support and staffing, the
monitoring team sees this unit as having the potential to coach Academy personnel, as
well as external commands, through APD’s compliance efforts.41 We have seen in
other agencies how a unit of people who are fully committed to assessing training
materials (against CASA requirements) can have a profound impact on compliance
efforts. With the new Academy Commander, there has already been an increase in the
overall quality of lesson plans; thus, we expect the CTU will be key in managing the
higher expectations at the Academy. It will be incumbent upon CTU supervisors to call
out and document shortcomings that are found in training curricula before they are
advanced to the monitoring team or into a training room.

The monitoring team encountered one example in which the oversight of training initially
broke down, but that issue has since been remedied. During our January 2018 site visit
the monitoring team reviewed videos that the Academy produced to address certain
training gaps related to un-resisted handcuffing and neck holds. The purpose of the
Academy showing the videos at the time was because the (then) Academy Commander
was interested in getting initial impressions from the monitoring team. We commented
then, and numerous times since, that the quality of the videos was far better than we

41 The 7-Step Training Process came about after numerous conversations and technical assistance
recommendations by the monitoring team over the past few years. The use of such a system is crucial
because APD has not had an identifiable or codified training development process. The Comprehensive
Training Unit will be vital to its success, and this system will help to properly organize APD’s training.

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had seen in the past. Since that time, the monitoring team has inquired about the status
of the videos on numerous occasions, and during a June 2018 site visit we were told
that they were put on hold because the use of force suite of polices were being
rewritten. Consequently, the monitoring team has never been provided the videos or
accompanying curriculum for official review and approval.

We revisited the status of the videos during our November 2018 site visit,
expressing our concern over any continued delay in remediating past training
gaps. We were assured that the training gaps would be addressed ASAP, with
the intention of getting that training done prior to the end of the IMR-9 reporting
period. The Academy Commander was referred to past Monitor reports where
tables were provided that outline the status of each training gap.

In IMR-8 we commented that APD must reconcile all pending training gaps from
IMR-6,42 to ensure those gaps are not left lingering. As noted earlier, we
followed up on these training gaps during our November 2018 meetings to see
what efforts had been made. It was evident that the training gaps were not
being addressed. We discussed the fact that, in the absence of new use of
force policies,43 APD officers and supervisors continue to operate in the field
under the standing use of force policies. The Academy’s plan for the
development and delivery of any training for new use of force suite of policies
likely would not commence until March 2019, and would not be completed until
October 2019. We commented to APD that such a timeline leaves an extensive
period without addressing the training gaps we previously reported.

At the end of December 2018, the monitoring team was advised that materials
“approved” by the monitoring team (to address previously identified training gaps) had
been released to the organization through its on-line training platform. We immediately
alerted APD that curriculum related to use of force training gaps had not been provided
to, or approved by, the monitoring team. Unfortunately, the training had already been
launched to the organization. The monitoring team asked that the lesson plans and
supporting curriculum be provided ASAP, with the intention of resolving this problem
with the Academy.44 Parenthetically, we learned that once the Academy Commander
reviewed the (then) current lesson plan, she concluded that it obviously did not meet the
new expectations of quality; therefore, she had it redone prior to submitting it to the
monitoring team. Ultimately, we were provided with acceptable lesson plans, videos


42 Gaps related to previous use of force training have lingered for the past 2+ years. We have
written extensively about those gaps in past Monitor reports, and we told APD that with modest
effort those gaps could be remediated easily.
43 APD has been working for many months to advance new, acceptable use of force policies that

can be used for academy training curriculum.
44 Proper development of training occurs in a specific order that was not followed here. The

monitoring team felt that the best course of action was to work with the academy to solve the
problem and not build upon the tasks they are attempting to accomplish. In the future, APD will
be expected to follow typical curriculum development processes and based on our conversation
with the Academy Commander we see this as a “one off”.

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and supporting materials.45 The proper application of the 7-Step Training Cycle should
have caught this type of issue before the training was released. We were assured by
the Academy Commander that this would be addressed internally so it is not repeated in
the future. The Academy was given an approval for curriculum used to address the
following previously reported training gaps, including:

              1.         Neck Holds;
              2.         Distraction Techniques (Strikes);
              3.         SCOTUS cases related to shooting at vehicles
                         (Plumhoff);
              4.         Show of Force reporting and investigations; and
              5.         Un-resisted handcuffing.

The Academy recognized that there was an unacceptable number of failures for this on-
line training; therefore, Special Order #19-10 “Use of Force Gap Video Remedial
Training” was promulgated. That SO required personnel, who failed the on-line test
associated with the gap training, to report to the Academy for remedial training. 46 APD’s
efforts to ensure compliance with testing requirements are commendable and should be
the standard moving forward. This should influence personnel in the field to make
better efforts to attain passing scores through the on-line platform. We further note that
this was a dramatic departure from our past experiences with the “old” Academy, where
failures were accepted or debated hotly with the monitoring team.

The monitoring team was provided records that demonstrated that APD’s testing
compliance reached 98% for this training program; therefore, we consider these topics
to have been sufficiently remediated.47 The following gaps, however, were not
addressed in this initial gap training48:

                 1.      De minimis force49; and


45 One recommendation was made to the Academy Commander concerning test question
construction. The monitoring team noted that every true/false question on the test resulted in the
same answer. This could easily be taken advantage of in the field. We recommended that the
academy staff receive instruction on how to construct valid test questions that truly measure
whether there was a transfer of knowledge. The Commander was very receptive to that
recommendation and assured us it would take place in the near future.
46 APD personnel were given two specific dates, with one-hour time slots, that they could attend.

If a person who failed either (1) failed the test again or (2) failed to respond to the report for the
remedial training they would be placed on administrative assignment to the academy until they
passed the exam.
47 The Academy Commander and the monitoring team discussed the failure rates and we

provided technical assistance that may help increase the quality of on-line programs, and test
results, in the future.
48 IMR-6 noted five (5) additional gaps only related to attendance at certain training programs.

We are focusing our attention on those gaps that had not been addressed through training in any
manner.
49 The fact that this concept has not yet been remediated through training, or rescinded through a

Special Order, is highly problematic and may contribute to the failure to report, or improper
reporting of, use of force. The monitoring team has spoken to the Academy Commander and we

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                2.      Crowd Control Training50

During our site visit, we also discussed the Academy’s plans for addressing use of force
training when the new suite-of-policies are finalized, approved and forwarded. The
Academy Commander outlined a plan to deliver training in four distinct “tiers” and is
impressing upon the staff to use multiple teaching modalities. The following is a
synopsis of three tiers of training the Academy intends to deliver throughout 2019:

Tier 1 will include an introduction by the Chief of Police and the delivery of all new use
of force policies through APD’s on-line learning system. This should increase the
quality of learning in the classroom (that occurs later), by allowing officers and
supervisors to learn the policy provisions prior to arriving for in-class portions of the
training.

1.    Tier 1 is a prerequisite for the subsequent training modules and must be
      completed prior to attending Tiers 2, 3, and 4. A pretest will be taken by all
      officers before any other training commences.

2.    Each officer will be expected to submit two questions to the Academy staff
      (through the online training platform) that can be used to develop the in-
      person training found in Tier 2. The intent is to elicit information from
      officers concerning topics they may still be struggling to understand.51

Tier 2 is designed to include in-person instruction regarding the use of force policies and
incorporating information gleaned from the on-line testing data during Tier 1. Tier 2 of
lecture-based classroom instruction along with video and live scenario reviews52. The
video and scenario reviews, which involve group assessments, will allow officers to
cognitively apply the new use of force policies by observing them being implemented in
a controlled setting. All officers must have successfully completed Tier 1 training prior
to attending the Tier 2 training. The academy will assess any areas of difficulty during
Tier 1 pre-testing and address them in a more comprehensive manner by hands-on
learning and in-class scenarios. Instructors will act out scenarios where pre-
established learning objectives require the class participants to identify and apply key
policy provisions. A post-test will be administered to all attendees.53

have been assured this will be addressed as soon as practicable during the next reporting period.
We will collect data for that training when it is available.
50 The Academy is reliant upon ERT to develop training that will remediate this gap. We have

spoken with the Academy Commander on this topic as well.
51 We were told that the Academy is building a SharePoint portal for APD personnel to submit
training needs. We see this as a positive mechanism for receiving information on contemporary
training needs.
52 Our understanding is that in Tier 2 instructors will act out scenarios that will be assessed by

class participants. This tiered training approach will be designed like the “tell, show, do” method
of instruction, with the hands-on portion by participants occurring during Tier 3.
53 The draft plan provided to the monitoring team indicated that attendees will take a post-test

remotely and within ten (10) days following the training. While we appreciate the technological
limitations the Academy may have, we recommend that the post-test occur prior to attendees
leaving the training session. We can reasonably predict that doing otherwise will result in

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Tier 3 is the supervisory portion of the Use of Force training.

Tier 4 will include Reality Based Training (RBT) for every enlisted member of the
organization. There will be a defensive tactics component of training, and scenarios
that require the interwoven use of APD use of force provisions with proper defensive
tactics.

Tiers 1 and 2 must be completed successfully prior to attending Tier 4 training. Officers
will be expected to use proper de-escalation techniques before using appropriate levels
of force.54 Checklists will be used by instructors to collect and analyze data during the
training to track areas of successes and failures to ensure that minor, but necessary,
modifications can occur to enhance the quality of training. Members of the Internal
Affairs Force Division will provide instruction on the proper documentation of each
officer’s actions.55

Defensive tactics will be addressed during Tier 4 training, and officers will cycle through
multiple stations where different scenarios will be utilized. Officers will receive
additional lecture on the practical application of the new use of force policies. That
refresher will help prepare the officers to properly apply what they learned during the
practical exercises.

The Academy Commander advised that the completion timeline associated with this
‘Tiered” approach will likely continue into the fall of 2019. Considering the extended
time required to build consensus among the Parties on the new use of force policies,
and the complexity of the training approach, this is a reasonable estimate. In the past,
we recommended that the Academy not sacrifice quality, efficiency and effectiveness,
just to “get it done”. This tiered approach will be innovative when completed and
accommodates many of our past recommendations.56 However, we cautioned the
commander that she will likely have to manage organizational expectations, since,


additional training gaps and personnel inefficiencies for the Academy to address. If they occur,
it will result in additional delays in gaining training compliance and impact assessments of in-field
implementation of the training.
54 The draft plan we were provided stated, “Every officer will also complete two evaluated

defensive tactics scenarios which require a de-escalation attempt before escalating to a use of
force.” (Emphasis added). We cannot emphasize enough the importance of not inadvertently
creating “training scars”. The scenarios should not be designed to all result in a use of force. A
more appropriate approach would to alter the scenarios so that there are outcomes that do not
result in a use of force following de-escalation attempts.
55 The monitoring team has met separately with the IAFD and believe that they are in the best position to

provide instruction in the area of proper articulation and report writing following a use of force event. The
draft plan did not include the report writing component when listing the manner in which officers would be
evaluated in Tier 4, but when we met with the Academy staff we were told it would occur during the
training.
56 The monitoring team spoke with the Academy Commander post-visit and provided perspective on

areas of the new force policies that will require deep contemplation when training them. Based on the
language proposed for a Tier 1 use of force, APD will have to focus considerable attention to training at
the low-end of the force classification assessments.

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based on the timeline we were presented, Operational Compliance assessments, more
likely than not, will not occur until 2020. In the opinion of the monitoring team, the
sophistication of this approach to training the new policies should be supported by the
APD leadership. If done properly, APD will likely avoid repeating past mistakes of
rushing training that resulted in many poor organizational outcomes.

One word of caution is necessary for the Academy to consider as they begin to develop
the 2019 use of force training. Because of the elongated approach to the training,
several months will pass between officers completing Tier 1 (where policy training is
principally located) and the operational application of the policy provisions following the
completion of Tier 4. We discussed ways to shorten the timeframe, and the different
approaches that could be used, but regardless of the approach, an organizational rollout
of this significance will invariably have good and bad features. A strong training-
implementation-evaluation plan will be essential to ensure there is a successful
deployment of the new policies.

SOD RAM Training

The monitoring team was also provided with curricula that was developed by Special
Operations Division and refined by the Academy for submission to the monitoring team.
SOD has developed and utilized a Risk Assessment Matrix (RAM) when assessing
whether a SOD response is necessary for a search warrant execution.57 That RAM is
now used by non-SOD units; therefore, SOD has implemented an audit program
wherein they periodically review and assess whether the RAM is being properly used by
these other APD commands. SOD developed RAM training that was submitted to the
monitoring team and ultimately approved for delivery to the organization. The intended
platform for the training was APD’s on-line learning management system (LMS), with
some focused in-classroom processes. The monitoring team reviewed training
materials which included a PowerPoint presentation, and video presentation of the
materials that were uploaded as an instructional tool into APD’s LMS and attendance
records.

Data provided by APD indicated that the success rate for the RAM training was 71%.
The calculations were based on 675 APD officers passing the on-line test out of 950
officers required to attend the on-line class. We also noted that 67 officers failed a
required exam, which is a 9% failure rate for those who took the class. It is our
understanding that APD has begun remediating the test failures, and we will collect new
data for the RAM training in the next monitoring period. For this type of training, the
monitoring team sees an on-line delivery method as appropriate for the wider APD
audience. APD should assess why failures are occurring and determine if there is
something in the actual delivery mechanics that may be contributing to those failures.

57 The monitoring team has commented extensively on the Risk Assessment Matrix (RAM) in past
Monitor reports. We previously communicated our concern that the RAM is now utilized by non-SOD
units without having been trained in the proper use of the form. Likewise, the oversight of the use of the
RAM was missing. SOD implemented an audit program that includes the use of a RAM log by non-SOD
units.

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The monitoring team will continue to work with the Academy in this area as they refine
their training programs.

The monitoring team was also provided with course of business documentation related
to a newly constituted Training Committee and an Academy Strategic Training Plan. In
the past, APD reported having a Training Committee, but the monitoring team has seen
no evidence that the Committee provided meaningful guidance for training offered by
the organization. Past mistakes aside, we were provided with a draft Training
Committee Manual and policy draft (SOP 3-34) that were developed during this
monitoring period. These documents outline the 7-step training cycle, rules and
procedures, areas of the organization that will have representatives on the committee,
what the responsibilities of the committee are, and reporting mechanisms related to
training needs. The Training Committee will meet quarterly to identify unique needs
found throughout the organization, emerging best practices, and most importantly,
emerging trends that may need to be remediated across the organization. The manual
outlines a number of information pathways that will be used to identify training needs,
including the analysis of objective use of force data and anecdotal information provided
from the field.

The draft Strategic Training Plan is in its early developmental stages and will be
designed to address two years of training requirements. It will require a deep degree of
contemplation, with significant guidance from the Training Committee. Likewise,
implementing the plan will require command-level support and a clear vision of “what
success will look like” to the organization in the future.

In the past, APD lesson plans have struggled in terms of the quality of instruction and
development of needs-related learning objectives. Feedback provided by the
monitoring team has resulted in a significant increase in quality since the inception of
the CASA, but more work remains to be done. APD, historically, has had little respect
for the importance of mapping and connecting training needs through the curriculum
development process. However, in this reporting period we saw a turn toward higher
quality lesson plans and supporting materials in the documentation we were provided.
We continue to recommend that APD training staff seek out and attend training courses
that are focused on training development and measurement of performance outcomes.
This type of continuing education will greatly benefit the whole organization, and should
not be confined to Academy staff alone. Any command personnel responsible for
curriculum development should receive advanced training in these areas. We believe
strongly that training of this nature will accelerate the reform process across the
organization.

As we noted in the past, the Academy Commander should have the legitimate authority
to influence all organizational training. That will ensure consistency and ensure that
non-Academy commands are adhering to proper standards and policy, but it requires
buy-in by command level personnel throughout APD. As training development and
delivery extends outside the Academy, issues directly impacting CASA compliance will
emerge. Since the Academy Commander has the most experience assessing CASA

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training requirements, and because the Academy Commander works directly with the
monitoring team on those requirements, the Academy Commander is in the best
position to offer guidance to APD leadership.

We recommend that APD focus considerable attention on gathering training needs from
the field and ensuring training objectives and curriculum are “mapped” properly to affect
specific performance issues being encountered in the field, and that implementation of
training is assessed and measured quantitatively and qualitatively. That process will
allow curriculum to be responsive to performance deficiencies identified in the field. We
are encouraged by the increased quality of documentation we have received of late, but
also recognize the Academy staff is continuing its path toward learning how to develop
training within the context of a CASA. Our conversations with the new Academy
Commander have been very positive and we appreciate the responsiveness to our
feedback.

That said, there is a great deal of work to be accomplished in 2019, which will require a
significant outlay of personnel and resources to the Academy. To be successful, APD
leadership will have to embrace that reality as the 2019 use of force training is
delivered. It is highly unlikely that the training plan we were provided can be executed
with the current staffing, without the quality of the training being adversely impacted.
The draft training plan we were provided, if delivered as intended, will likely be the most
meaningful use of force training we have seen at APD since the inception of the CASA.

Based on our review, Primary Compliance is continued for Paragraphs 86 through 88.
Secondary and operational will be assessed in IMR-10, after training actually occurs.

4.7.73 Assessing Compliance with Paragraph 86: Review of Use of Force Policies
and Training

Paragraph 86 stipulates:

              “APD will review all use of force policies and training to
              ensure they incorporate, and are consistent with, the
              Constitution and provisions of this Agreement. APD shall
              also provide all APD officers with 40 hours of use of force
              training within 12 months of the Operational Date, and 24
              hours of use of force training on at least an annual basis
              thereafter, including, as necessary, training on developments
              in applicable law and APD policy.”

Results
              Primary:     In Compliance
              Secondary: Not In Compliance
              Operational: Not In Compliance

4.7.74 Assessing Compliance with Paragraph 87: Use of Force Training Based on
Constitutional Principles


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Paragraph 87 stipulates:

             “APD’s use of force training for all officers shall be based
             upon constitutional principles and APD policy and shall
             include the following topics:

            a) search and seizure law, including the Fourth Amendment
            and related law; b) APD’s use of force policy, use of force
            reporting requirements, and the importance of properly
            documenting use of force incidents;

              c) use of force decision-making, based upon constitutional
             principles and APD policy, including interactions with
             individuals who are intoxicated, or who have a mental,
             intellectual, or physical disability;

             d) use of de-escalation strategies;

             e) scenario-based training and interactive exercises that
             demonstrate use of force decision-making and de-escalation
             strategies;

             f) deployment and use of all weapons or technologies,
             including firearms, ECWs, and on-body recording systems;

             g) crowd control; and

             h) Initiating and disengaging foot pursuits.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

4.7.74: Recommendations for Paragraph 87

4.7.74a: Continue with the planned Use of Force training and ensure detailed
evaluation of training items that were deemed successful, and items that are
identified as needing additional training.

4.7.75 Assessing Compliance with Paragraph 88: Annual Supervisory In-Service
Training

Paragraph 88 stipulates:

             “Supervisors of all ranks, including those assigned to the
             Internal Affairs Bureau, as part of their initial and annual in-
             service supervisory training, shall receive additional training
             that includes: a) conducting use of force investigations,
             including evaluating officer, subject, and witness credibility;
             b) strategies for effectively directing officers to minimize

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             uses of force and to intervene effectively to prevent or stop
             unreasonable force; c) incident management; and
             d) supporting officers who report unreasonable or unreported
             force, or who are retaliated against for using only reasonable
             force or attempting to prevent unreasonable force. “

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

Recommendations for Paragraphs 86-88

4.7.75a: The Strategic Training Plan and draft policies presented to
the monitoring team should be finalized and submitted to the Monitor for review
as soon as practicable.

4.7.75b: The Academy staff should be properly augmented to support the
staffing shortages.

4.7.75c: All lingering training gaps should be remediated as soon as possible, in
particular de minimis force.

4.7.75d: APD Academy Staff seek out and attend training courses focused on the
proper development of training curriculum and how to connect that curriculum to
the measurement of performance outcomes. Proper test question construction
should be emphasized.

4.7.75e: Recommendation: APD personnel assigned to non-academy commands
who carry significant training requirements should receive training
commensurate with the Academy staff. This will ensure continuity in curriculum
development across the organization.

4.7.75f: Recommendation: Training Committee meetings should include
recommendations submitted, mapped to, and documented in specific training
programs. Topics they identify should be tracked until they are included in a
particular program.

4.7.76 Assessing Compliance with Paragraph 89: Annual Firearms
Training

Paragraph 89 stipulates:

             “Included in the use of force training set out above, APD shall
             deliver firearms training that comports with constitutional
             principles and APD policy to all officers within 12 months of
             the Operational Date and at least yearly thereafter. APD


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              firearms training shall:

              a) require officers to complete and satisfactorily pass
              firearms training and qualify for regulation and other service
              firearms as necessary, on an annual basis;

              b) require recruits, officers in probationary periods, and
              officers who return from unarmed status to complete and
              satisfactorily pass firearm training and qualify for regulation
              and other service firearms before such personnel are
              permitted to carry and use firearms;

              c) incorporate professional low-light training, stress training
              (e.g., training in using a firearm after undergoing physical
              exertion), and proper use of force decision- making training,
              including continuous threat assessment techniques, in the
              annual in-service training program; and

              d) ensure that firearm instructors critically observe students
              and provide corrective instruction regarding deficient firearm
              techniques and failure to utilize safe gun handling procedures
              at all times.”


Methodology

The methodology outlined in Paragraphs 17-21, serves as the baseline for compliance
determinations for paragraph 89.

The 2018 Firearms training cycle has been completed and the Firearms staff have
compiled extensive data to document all that is required, and all that they have
accomplished, in order to meet or exceed the CASA requirements. We view this as
excellent work that easily could and should be emulated by other APD staff as they
consider how to respond to monitoring team findings.

98.6% of all APD personnel (901 of 916) completed firearms training. Personnel who
had not yet completed training were on various types of leave—Military, or Family
Medical Leave Act, etc. Upon returning, each officer will be required to attend all
missed training, including firearms, before being permitted to work.
APD is required to provide sufficient training courses to allow officers to gain proficiency
and meet firearms qualification requirements. During past site visits, members of the
monitoring team attended firearms training. APD Range Staff have changed range
hours to enable officers to practice firearms in a low-light environment and have
integrated monitoring team recommendations into its policy and procedures. The
firearms staff has added additional days and times to allow more practice. In reviewing
data related to failures to qualify, firearms staff documents the referral to additional
training for poorly performing shooters.
Following the 2018 Firearms Qualifications cycle, the monitoring team was provided
with data that showed at least 3 officers who failed to qualify and then failed an

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immediate requalification attempt were ordered to surrender their firearms and police
vehicle and placed in an administrative position until they returned to the range to
qualify. Additionally, documentation was found that officers failing to qualify with rifle or
shotgun were required to surrender the firearm until they returned to the range to
qualify. The monitoring team sees this as another positive example of a staff making
changes in order to meet the requirements of the CASA.
Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.73 - 4.7.75 Assessing Compliance with Paragraph 90-105: Management
of Specialized Units, and accompanying paragraphs focused on the
Special Operations Division.

Paragraphs 90-105 of the CASA address requirements that APD must meet
related to management and supervision of functions inside the Special
Operations Section (SOD) as follow:

       Paragraph 90: Management of Specialized Units;
       Paragraph 91: Composition of Specialized Tactical Units;
       Paragraph 92: Training of Specialized Tactical Units;
       Paragraph 93: Tactical Unit Missions and Policies;
       Paragraph 94: Tactical Units Policy and Procedure;
       Paragraph 95: Annual Review of Tactical Policies;
       Paragraph 96: Documentation of Tactical Activities;
       Paragraph 97: Tactical Mission Briefings;
       Paragraph 98: Tactical Uniforms;
       Paragraph 99: Force Review Board Assessments;
       Paragraph 100: Eligibility Requirements for Tactical Teams;
       Paragraph 101: Tactical Team Training;
       Paragraph 102: K9 Post Deployment Reviews;
       Paragraph 103: Tracking K9 Deployments;
       Paragraph 104: Tracking K9 Bite Ratios; and
       Paragraph 105: Analyzing Tactical Deployments.

As with other reporting periods, the monitoring team spent time providing perspective,
feedback and technical assistance to APD’s Special Operations Division (SOD)
personnel. We met with SOD personnel responsible for the tasks associated with these
paragraphs and, as in the past, the monitoring team found openness, receptiveness and
a sincere interest in succeeding. As we noted in IMR-8, while SOD has historically led
the organization in terms of compliance, they spent the latter part of 2018 implementing
technical assistance the monitoring team provided that was meant to address CASA



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related issues we had identified at SOD.58 The monitoring team has commented on
specific training materials SOD advanced for our review related to their Risk
Assessment Matrix (RAM). The following paragraphs represent our findings related to
Paragraphs 90-105.

In IMR-8 we commented on changes that occurred in leadership and with the civilian
support staff at SOD. We found that continuity of information has remained stable
during this reporting period. Strong systems and policies within SOD have ensured that
reform efforts and attitudes toward reform were not impacted as a consequence of
command level changes. In fact, we have found the current SOD command personnel
to be equally interested in sustaining the changes that have been identified in past
monitor reports. We have stressed the importance of selecting command personnel
that respect the reform that has been achieved, and in our opinion, that has occurred.
The current Commander has been in place for approximately one year and his
interaction with the monitoring team has been extremely positive.

We noted our concern in IMR-8 that SOD was failing to report certain types of uses of
force, due to poor guidance that was given to them by the prior police administration.
During our January, March, and June 2018 site visits we discussed Use of Force
reporting related to barricaded subjects, and the fact that SOD was required to report
when chemical munitions and Noise Flash Diversionary Devices (NFDDs) were used as
a means of force. We recommended that APD immediately review case law and best
practices in this area, and discuss this specific issue with other organizational
commands. Likewise, we felt it was critical that APD identify the scope of the issue by
conducting an assessment of 2016 and 2017 SOD deployments to determine how many
of those deployments involved unreported uses of force. We stressed that SOD should
address this issue quickly to ensure they did not lose the Operational Compliance they
had worked to achieve.

It was clear that members of SOD were interested in a swift remediation of the issue,
though it took until June 2018 for a Special Order to be issued that addressed the
problem. That said, during this reporting period we saw evidence of SOD conducting an
assessment of past deployments and then, in response to that review, implementing SO
18-51. Coupled with internal auditing efforts by APD, we expect, and will monitor for, a
meaningful remediation of any past reporting issues. Likewise, audits conducted of
SOD identified other administrative shortcomings that can easily be adjusted. The
difficult issue APD faced during this reporting period was to decide how to deal with past
cases that were not reported as uses of force, since that failure impacts numerous
CASA related paragraphs (i.e., FRB related paragraphs).

Instances of NFDD and chemical munition deployments have been captured in SOD
After Action Reports (AAR), but there was a significant concern by APD that the
additional information necessary to fully investigate past cases as uses of force would
not exist. We reviewed a report that was prepared by the Commander of the Special

58See IMR-7 and IMR-8 for comments concerning SOD not properly reporting uses of force related to
NFDDs and chemical munitions.

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Operations Division entitled, “Report on the Investigative Process to Address Chemical
Munitions and Noise Flash Diversionary Devices (NFDD) as Uses of Force” (Dated
October 28, 2018). This comprehensive report outlined the methodology and research
the Commander used to gain internal and external perspectives as to how NFDDs and
chemical munitions should be viewed in the context of a use of force. He also did an
assessment of past cases from the years 2016 and 2017 to determine how many SWAT
callouts during those two years required a use of force report, but that report did not
occur. In his research he determined that in 2016 there were 12 unreported uses of
force involving chemical munitions and one unreported use of force arising out of the
use of an NFDD. The Commander determined that in 2017 there were 20 unreported
uses of force involving chemical munitions and three unreported uses of force involving
an NFDD. This same Commander promulgated Special Order (SO) 18-51 “Use of
Chemical Munitions Noise Flash Diversionary Devices" on June 2, 2018, to address the
gap in force reporting, so we view his efforts to address the issue positively. It is a
model instance of APD identifying and self-correcting issues prior to the monitoring
team noting them and requiring adjustments.

To date, the SOD Commander has been extremely receptive to monitor feedback and
has proactively taken measures to fix a use of force reporting problem that existed long
before he took command. The report cited above, and Special Order 18-51, are
positive steps for APD’s SOD to retain its compliance status, but as we review of SOD
use of force cases it is our opinion more work must be done. A random sample of
cases that fall within the parameters of SO 18-51 were reviewed in order to provide
initial feedback to APD. The results of those reviews are as follow:

Case Reviews

Incident # IMR-9-1

Members of APD's SWAT were contacted by a federal law enforcement agency and
asked to assist with the execution of a search warrant. The search warrant related to an
investigation into identity theft, mail fraud, and bank fraud, and the suspects associated
with the search warrant had various criminal histories, some with verified violent
backgrounds. Arrest warrants were not obtained for those suspects (at the time of the
incident); however, a search warrant for an apartment they reportedly rented had been
authorized. The federal agency was provided APD’s Risk Assessment Matrix (RAM)
and it was determined that SWAT would assist. By the time SWAT was fully involved it
was believed that the apartment where the search warrant was to be executed may be
unoccupied. The suspects were known to move from place to place, so a "knock and
talk" was determined to be the best initial approach to the apartment.

SWAT arrived at the location, and shortly thereafter, one of the suspects exited the
apartment. He told SWAT members that a second suspect was still inside. Over
several hours APD made various attempts to convince the second suspect to exit the
apartment without success. Independently, one APD officer reported seeing a second
suspect through a window. After deploying several NFDD’s and casting canisters of

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chemical munitions through different exterior breach points, the second suspect exited
the apartment and was taken into custody by SOD without further force being used.

Monitoring Team Observations

1. APD must decide what constitutes “barricaded” or “barricading” in the context of a
suspect refusing to exit a building and be more descriptive in its reports. For instance,
in this case, the suspect refused to exit the building after being instructed to do so,
which is clearly a concern. In one officer's report he stated, "… I illuminated the floor
area with my flashlight and immediately noticed black pants with white stripes walking
back and forth. I immediately made the proper announcements and advised there were
subjects barricading in the apartment." Without any other description or context, it is
impossible to determine what "barricading" means. APD must not use the term
“barricade” (or any derivative thereof) as boilerplate language, and must be much more
descriptive in this area when reporting their SWAT activities and justifications for force.
The difference between hiding, refusing to exit, and actively fortifying positions by
creating barricades to interfere with the entry of officers into a structure should not be
confused. Each is alarming, but the inferences that are drawn from each may lead to a
different tactical response, depending on the situation. There were instances within the
documentation of boilerplate language being used.

2. Reports documented different facts as to how the front door of the apartment was
rendered open. One stated, “Entry officers were able to confirm that when (Suspect 1)
exited the apartment he left the front door open," while a second report stated, “Officers
who had keys to the front door also opened the front door (given the search warrant to
the apartment) so verbal commands could be better communicated to those persons
inside." There may be an innocuous reason this information is inconsistent, but it
should have been clarified during the supervisory review of the reports.

3. APD reports documented different information that was provided (by a suspect)
about a second suspect who was still inside the apartment. Reports stated the second
suspect “…had access to a firearm”, while other reports claimed the suspect “…was still
inside armed with a pistol and refusing to exit” or “…was armed with a handgun.” Either
scenario would raise the concern of SWAT officers at the scene. However, precision in
reporting and reconciling discrepancies of information are important for a host of tactical
reasons and could be relevant to justifications provided for uses of force in the same
scenario. While the reports discuss authorizations for various NFDD or chemical
munitions deployments, it was rarely clear in the reports who the specific person was
that gave the authorization.

4. The supervisor who submitted the Tactical Activation Report stated in his incident
summary, "I listed the subject as John Doe due to the fact that tactical units were
assisting (federal agency) and I am unable to find the name of the subject in any APD
reports." The problem with this statement within any APD report should be self-evident,
let alone a supervisory report documenting a use of force.



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The monitoring team noted that when one SWAT team deployed OC canisters, several
members were overcome with the fumes themselves. We did not see documentation of
this occurrence or any reference to a tactical or training issue being referred to the
SWAT Commander. Therefore, it’s likely this issue would not be considered by the
FRB.

Assessment

In addition to the command and control issues noted above, the use of force
documentation in (IMR-9-1) reviewed indicates non-compliance with the CASA’s use of
force reporting and supervisory investigation paragraphs.59

Incident # IMR-9-2

APD officers were called and asked to respond to a domestic violence complaint
between a mother and son. The suspect was reportedly intoxicated and started an
altercation by threatening the mother with barbecue-style forks. APD personnel
established a perimeter around the apartment and began to issue announcements
through a loudspeaker and requested the son to surrender. Over the course of several
hours, it was determined that the suspect had a history of violence and would be
charged with aggravated assault for this situation. APD SWAT was activated to assist
in taking the suspect into custody. A search warrant and arrest warrant were approved
by a judge. During the event, an NFDD and chemical munition deployment occurred,
which constituted a use of force.

Assessment

Reports provided to the monitoring team gave different accounts of the activities of the
suspect after SOD removed a blanket from on top of him.60 One report stated, “I
provided lethal coverage as another team member removed the blanket using a tool.
(Suspect) quickly sat up and became argumentative with officers. It was decided to
enter the room and take (Suspect) into custody. As I stepped in other team members
took (Suspect) into custody.” A second report stated, “Once the blanket was removed
the subject sat up, followed commands and was taken into custody without incident.”
These differences are relevant and require a more comprehensive assessment by a
supervisor. In the context of a use of force scenario, a suspect being argumentative
leaves open the question whether other force was necessary when the subject was
being handcuffed. We do not suggest force was used, only that, at a minimum, this is
an inconsistency of information and should have prompted questions during supervisory
reviews.

59  Because this is meant to be broad guidance, a paragraph by paragraph comparison of CASA
requirements was not conducted for this report. Generally, the report writing and documentation of NFDD
and chemical munitions uses of force need to improve.
60 APD reports documented observations that were made by SWAT personnel as the events unfolded.

SWAT members observed the suspect unresponsive under a blanket after chemical munitions were
introduced into his apartment.

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It is unclear what "lethal coverage" means in this scenario and whether it would
constitute a show of force because there is a lack of description within the reports.

The monitoring team encountered boilerplate language in the reports.

The After-Action Report (AAR) contained good detail and rationale for the deployment
of different tactics that assisted taking the suspect into custody. However, at the point
where the suspect was taken into custody, the AAR did not detail him being
argumentative, which is a substantive difference from one of the officer’s reports and
needed to be reconciled. This is indicative of one of the significant failures in
supervision at APD. Lack of congruity in internal reporting is a critical issue. Wherever
it is encountered, APD needs to identify it and take steps to reconcile which of the
varied reports is accurate. To fail to do so exposes APD to significant exposure to risk
in civil complaints, and a significant risk to effective prosecution in criminal complaints.

The supervisor who completed the Tactical Activation Report documented that he was
unable to complete a proper on-scene investigation and noted, "My involvement was
strictly to document this incident by submitting this information into this Blue Team
entry.” The supervisor did note, however, that after doing his own “investigation” and
reviewing of lapel video footage that the force used in this event was appropriate. The
investigation of uses of force must be contemporaneous with the event, thorough,
objective and must adhere to APD policy and the CASA.

Results

The use of force documentation [IMR-9-2] reviewed does not demonstrate Operational
Compliance when assessed against the CASA’s use of force reporting or supervisory
investigation paragraphs. The proper reporting and investigation of uses of force
require an immediate, thorough, and legitimate investigation by a supervisor.
Investigations must follow established APD policies and procedure and be consistent
with the CASA. This was not the case in IMR-9-2.

Incident # IMR-9-3

APD SWAT was called to assist in apprehending an armed suspect who was wanted
after fleeing police and shooting at officers in the process. A SWAT activation occurred,
and a perimeter was set around an area within a residential neighborhood. APD
received information from witnesses that the suspect was held up in an abandoned
house. Simultaneously, efforts were made by APD personnel to obtain arrest and
search warrants for the suspect and the residence where he was suspected to be
hiding. The efforts to have the suspect surrender carried on for several hours. NFDDs
(flash bangs), chemical munitions and the use of an armored vehicle were authorized
and used in the SWAT efforts to have the suspect surrender. After a lengthy effort by
SWAT personnel, the suspect surrendered and was apprehended and handcuffed
without additional force being used.

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Monitoring Team Observations

The quality of the After-Action Report (AAR) for this event was much better than other
similar reports we reviewed. The timeline was easier to follow, and it was easier to
understand who authorized the various degrees of force that were used.

Overall, the monitoring team reviewed this SWAT activation and response as a
success. As with the other two cases we reviewed, the issue is the quality of
justifications and reporting throughout the reports that are generated related to uses of
force, and whether the specific reporting and investigatory steps for a use of force were
followed.

APD’s SWAT has been commended in our past reports for the quality of their
activations and the After-Action Reports (AAR) that they generate following an
activation. The reporting responsibilities for uses of force have some overlap with
AARs, but are not an exact 1:1 comparison when considering CASA compliance. In the
past we learned that SWAT was failing to capture certain types of activities as uses of
force.61 Moving forward, if SWAT is to maintain Operational Compliance with respect to
its use of force reporting requirements, they need to ensure the reports they generate
comport with feedback the monitoring team has provided to the greater APD audience
in past monitoring reports. Paragraphs 90 and 93 will be assessed closely in the IMR-10
monitoring period, so an immediate and significant increase in quality of force reporting
is needed. Otherwise, the CASA compliance impact will likely extend beyond SOD. We
can reasonably predict that CASA paragraphs focused on proper reporting and
supervision of uses of force, as well as paragraphs related to the Force Review Board
(FRB), will be impacted by SOD’s force reporting efforts.

The need for APD to identify overarching CASA responsibilities and how different
paragraphs can impact others cannot be overemphasized. We encourage SOD to meet
with, and discuss advances that have been made by, the Internal Affairs Force Division
(IAFD) with respect to use of force documentation. This was the first opportunity that the
monitoring team has had to review uses of force reported by SOD related to NFDDs
and chemical munitions, under their newly adopted procedures. Therefore, we expect
this feedback to be taken into account for each instance where a use of force is
reported and investigated by SOD.

As we noted in Paragraphs 37-38, the Performance Metrics Unit (PMU) conducted an
Audit Report for SOD SOP 6-8 and organized their findings into easily digestible
sections. The “Summary of Results” section provided specific recommendations for
SOD to consider from policy, training and operational perspectives. PMU’s business
process includes the requirement that an audited unit to provide a Management
Response to the findings, so for the next reporting period we expect SOD to document

61 This has been written about extensively in IMR–7 and IMR–8. APD SWAT adopted new procedures
for the proper reporting and investigation of uses of force related to NFDD and chemical munitions
deployments. Those procedures have been incorporated into the new UOF site of policies.

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the operational, training, and oversight changes made in reaction to their audit. We
reviewed the SOD responses to PMU’s work, and for the most part found them to be
appropriate. We will focus attention on collecting “proofs” from PMU that demonstrate
that SOD followed through on their documented “Management Response”.

We note that these types of systems improvement practices represent the PMU
beginning to stand-up its internal (to APD) business practices to replicate the monitor’s
processes. This is a critical step that will ensure that practices generated to gain
compliance have a long “shelf-life” lasting beyond the monitoring team’s departure.

PMU included an assessment of Special Order 18-51. At the time of the audit, APD still
operated under a two-level classification system for uses of force, though the audit
assessed SOD activities against the proposed 3-Tier system.62 The following was
noted in the Conclusion section of PMU’s report:

     1. The audit found that most documentation used to report the deployment
        of chemical munitions and NFDDs was well-maintained. However,
        tracking of the deployments was unreliable.

           a. In the auditor's judgment, the criteria used to classify deployments
              of chemical munitions and NFDDs lacked meaningful classification
              and funneled all deployments to a Level 1 use of force.63

     2. Records reviewed in the course of the audit indicated that exposure to
        chemical munitions can result in a complaint of injury.

     3. PMU interviews confirmed that determination of injury can be subjective.
        For a hypothetical complaint of injuries resulting from the exposure to
        chemical munitions, the SOD Commander and tactical commander were
        not able to reach a consensus on whether classification of the
        deployment would be upgraded to a Tier (Level) 2 use of force.

We note these findings here because they are relevant to the overarching assessments
that will have to be made by supervisors in the field when applying APD's new use of
force suite of policies. Also, PMU reported that the audit and oversight it provided was
embraced by SOD, and ultimately the SOD Commander gave positive feedback to other
APD Commanders.64

The monitoring team reviewed documentation for the delivery of organization-wide
training on the proper use of the SOD Risk Assessment Matrix (RAM). APD

62 Parenthetically, the new suite of use of force policies was approved after the end of the reporting
period and include a 3-Tier classification system for force. We discussed the difference with PMU
personnel during our site visit.
63 PMU has identified a variable that we have noted in meetings with APD since the promulgation of SO

18-51.
64 See paragraphs 37-38 for a more comprehensive account of the interactions between PMU and SOD.


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promulgated Special Order 18-50 that codified the use of the RAM and the manner in
which SOD would conduct audits of its use throughout the organization. We saw this
action as a positive step and a direct reaction to technical assistance the monitoring
team has provided SOD. The auditing program provides an internal oversight
mechanism to ensure that the RAM, which originates with SOD, is being properly
applied. SOD has utilized a Risk Assessment Matrix (RAM) for the past few years when
assessing whether a SWAT response is necessary for a search warrant execution.65
The RAM is now used by non-SOD units; therefore, SOD implemented an audit
program wherein they periodically review and assess whether the RAM is being
properly used by these other APD commands. We reviewed course of business
documentation that was provided by the Special Investigation Division (SID), as well as
course of business documentation provided by SOD and determined SOD has been
completing audits of RAMs in the field.

RAM training submitted to the monitoring team during this reporting period was
approved for delivery to the organization, with the intended training platform being
APD’s on-line Learning Management System (LMS). The training materials reviewed
by the monitoring team included a PowerPoint presentation, a video presentation of the
materials, and attendance records. Data provided by APD indicated that its passage
rate for the RAM training was 71%. The calculations were based on 675 APD officers
passing the on-line test out of 950 officers required to attend the on-line class. We also
noted that 67 officers failed a required exam, which is a 9% failure rate for those who
took the class. It is our understanding that APD began remediating the test failures and
we will collect new data for the RAM training in the next monitoring period. For this type
of training we see an on-line delivery method as appropriate for the wider APD
audience. APD should assess why failures are occurring and determine if there is
something in the actual delivery mechanics that force (those failures. We will continue
to work with SOD and the Academy as they refine their training programs.66

We note these failure rates as an indication that legitimate testing of learning is now
taking place at APD. Readers of past monitor’s reports will recall frequent expressions
of concern of immediate 95% passing scores for past APD training efforts may have
been indicative of inadequate testing of learning. These new figures indicated to us that
legitimate testing of learning is taking place.

The monitoring team reviewed SOD records related to selecting into the unit APD
personnel who possess appropriate capabilities and found those records to be
sufficient. Those records included Department Personnel Circulars with job
descriptions, Transfer Orders and Unit Handbooks for SWAT, K9 and the Bomb Unit.
As we have noted in the past, SOD maintains strong records that track the selection
process from the posting of an opening through the selection of an officer for

65The monitoring team has commented extensively on the Risk Assessment Matrix (RAM) in past Monitor
reports. We previously communicated our concern that the RAM is now utilized by non-SOD units without
having been trained in the proper use of the form. Likewise, the oversight of the use of the RAM was
missing. SOD implemented an audit program that includes the use of a RAM log by non-SOD units.
66 The training results are detailed more in pp 86-88.


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assignment to SOD. We did note some formatting differences in the Unit Handbooks.
Those differences were relatively innocuous, but we highlight these observations since
we strongly believe that uniformity and consistency supports sustainability, especially in
light of the fact that these three units all fall under the same command.

We also reviewed internal SOD training records for the SWAT, K9 and Bomb Units, and
found them to be sufficient. In the past we recommended SOD review its lesson plans
and update them to reflect new Academy standards, and the SOD Commander was
very receptive to our feedback, as he has been in other areas of our engagement. The
RAM training is a good example of SOD moving toward Academy standards. The PMU
also commented on the quality of training records SOD had on file and gave specific
recommendations on how they can remediate certain gaps that were identified. The
monitoring team sees this interaction between SOD and PMU as a strong indication of
APD’s intention to oversee its own activities and ensure CASA compliance is achieved
or maintained. A law enforcement agency that self-assesses and self-polices its
activities is capable of achieving long-term success. During the next reporting period,
we will look for evidence that demonstrates SOD adjusted its administrative procedures
and implemented what they documented in their Management Responses.

Based on our review of the existing SOD policy requirements and other related
documentation, we determined that SOD remains in Operational Compliance with
respect to tactical unit missions and policies and annual reviews of policies (P93–95;
100). SOPs 6-7, 6-8 and 6-9 are currently under review and moving through the
approval process. However, as detailed in IMR-8, uses of force pertaining to chemical
munitions and NFDDs must be addressed in policy and included in SOD handbooks
(Manuals) and training. We note that, at the end of this reporting period, APD received
monitor approval for its new use of force “suite of policies” which includes SOD relevant
provisions. This, in turn, requires the adjustment of SOD procedures (i.e. handbooks
and policies) to be consistent with agency-wide use of force policies (P93). As noted in
past Monitor reports, SOD instituted unit manuals that are given to newly assigned
members of each unit. The manuals are a collection of SOPs, background and
expectations for new SOD members. The manuals are provided to a new SOD member
and reviewed with a supervisor, after which both sign and date the document as a
record for future reference in the event a performance issue arises. We reviewed
manuals that were provided to new members during this reporting period and
determined that SOD continued the practice of orienting new SOD personnel using the
unit manuals.

The monitoring team reviewed operational plans and sixteen (16) AARs which revealed
instances where chemical munitions and NFDDs were used by SOD. The level of detail
provided in the AARs was significant, as we have seen in past reporting periods.
Completing an After-Action Report and meeting CASA requirements for reporting and
investigating uses of force (consistent with Special Order 18-51, relating to the use of
NFDDs and chemical munitions) will require additional work on the part of SOD.
Reporting force and supervisory force investigations must meet the provisions of the
CASA in every incident. As noted earlier, SOD is attempting to evolve its practices to

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come in alignment with use of force reporting relative to NFDD and chemical munitions
deployments. We discussed our initial impressions with the SOD Commander and his
reception of the feedback was positive. Now that the new use of force “suite of policies”
have been approved, SOD can better align its force reporting and investigation
activities. We see the adjustment needed as very achievable in the next reporting
period.

SOD’s post deployment reviews of K9 are detailed and well justified. Adherence to
Special Order 18-51 will require a movement toward the same type of documentation in
situations where NFDDs and/or chemical munitions are used. (P96-97).

We reviewed Monthly Inspection Reports that were completed and determined
that SOD continues to capture information regarding uniform cleanliness and
completeness, equipment, as well as proper identification markings and whether
an officer's OBRD is working properly. Informal site inspections of SOD
personnel occurred during our November 2018 site visit. The monitoring team is
frequently invited to attend SOD training sessions wherein we observe SOD
personnel to be in appropriate tactical attire as required by Paragraph 98, as
was the case during our last site visit.

APD has not conducted a Force Review Board (FRB) session through 2018 and up to
the end of this reporting period. As we noted in the past, the lack of FRB activity has
likely created significant issues that have put at risk compliance for Paragraph 99. The
FRB and the quality of its work has come under considerable scrutiny in past Monitor
reports. We strongly recommend that APD reflect on past technical assistance and look
to feedback they have been provided by the monitoring team in the above case reviews
before re-engaging the tactical FRB. SOD, through their Activation Data Report, tracks
SOD deployments, which are reviewed by the monitoring team. PMU, in its Audit
Report of SOD identified tracking errors and made specific recommendations to
remediate those issues. We will request information from SOD and focus our attention
to see if SOD was responsive to the PMU recommendations during the next reporting
period.

We reviewed Annual Assessment Reports for each SOD unit and examples of
Performance Work Plans for officers from each unit and found that SOD completed
Annual Assessments for its personnel. We also reviewed a lesson plan entitled,
“Introduction to Tactical Capabilities”, which is a 24-hour course of instruction meant to
address the provisions of Paragraph 101. Specifically, the course is intended to help
officers better understand their responsibilities during tactical activations and how they
should interact with units supporting tactical operations units to effectively resolve a
critical incident. We learned that the lesson plan was approved by the Academy, but
training did not commence until after this reporting period. Therefore, we will collect
training records for IMR-10.

APD continues to track K9 deployments and bite ratios consistent with monitor-
approved methodology. We note that PMU also commented to SOD about the proper

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tracking of K9 bite ratios and their inclusion in APD’s EIRS. We know that APD has
been unable to establish an effective operational EIRS given then-current support
systems, so they proactively began discussions with IAFD to see if the current
technology available to SOD could be leveraged to capture K9 bite ratio data. As of the
end of this reporting period that task was still unresolved. The monitoring team
reviewed a K9 Bite Ratio report and tracking ledgers documenting SOD K9 handler and
K9 bite ratios for the months of August, September and October 2018. During that time
frame, no K9 handler had a bite ratio that exceeded 20%, but APD continues to track
data consistent with the CASA. We reviewed four (4) post-bite deployment reviews that
were prepared by K9 supervisors and determined they contained high quality
documentation of facts, and the assessment of the use of force was well done in each
instance. The monitoring team reviewed SOD Tactical Unit Deployment Tracking
Sheets for the monitoring period. APD continues to monitor and analyze the number,
type, and characteristics of deployments, and states a clear reason for each tactical
deployment, as well as the number of arrestees in each deployment. (Paragraphs 102-
105)

SOD continues to demonstrate a positive attitude toward CASA compliance and is
building the capacity to properly investigate uses of force related to NFDD’s and
chemical munitions, which previously went unreported. Technical shortcomings of
current APD systems impact the ability for the proper categorization of these types of
force within the Blue Team system, but the SOD Commander has initiated efforts to
create options within Blue Team to properly capture data for all uses of force that are
relevant to Special Order 18-51 and the new use of force “suite of policies”. The
monitoring team will be particularly interested in SOD’s efforts to act upon
recommendations they received from PMU audits, and evidence they can provide that
they are implementing change as a result of those audits.

Based on our meetings with SOD and review of documentation, we have determined
Operational Compliance is be continued for Paragraphs 90 through 98 and 100 through
105.

4.7.77 Assessing Compliance with Paragraph 90: Management of Specialized
Units

Paragraph 90 stipulates:

             “To maintain high-level, quality service; to ensure officer
             safety and accountability; and to promote constitutional,
             effective policing, APD shall operate and manage its
             specialized units in a manner that increases the likelihood of
             safely resolving critical incidents and high-risk situations,
             prioritizes saving lives in accordance with the totality of the
             circumstances, provides for effective command-level
             accountability, and ensures force is used in strict compliance
             with applicable law, best practices, and this Agreement. To
             achieve these outcomes, APD shall implement the
             requirements set out below.


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Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.78 Assessing Compliance with Paragraph 91: Composition of Specialized
Tactical Units

Paragraph 91 stipulates:

              “APD’s specialized tactical units shall be comprised of
              law enforcement officers who are selected, trained, and
              equipped to respond as a coordinated team to resolve
              critical incidents that exceed the capabilities of first
              responders or investigative units. The specialized
              tactical units shall consist of SWAT, Canine, and Bomb
              Squad/EOD.”

Special Operations conducts regular, extensive training at numerous levels: Bomb,
SWAT, K-9 and Crisis Negotiation Team units. During this reporting period (August
2018 through January 2019) Special Operations continued with extensive training and
supplied the monitoring team with data documenting the training received. Unit and
Team training was conducted and recorded on monthly reports. The monitoring team
reviewed the monthly reports to ensure the requirements of the paragraph were being
met. As stated in previous IMRs APD has achieved a program, “that puts a premium on
continuous updating, adaptive leadership, shared situational awareness and careful
assessments of the type of intervention that is warranted under APD’s concept of
operation.” The monitoring team sees this as a positive example of attention to detail
and a model to be emulated throughout the department.

In addition to the training administered, the three (3) members who tested and passed
all requirements to be selected into Special Operations as reflected in the previous
report, continued to progress with the requirements as reflected in documentation
supplied to the monitoring team. All criteria for the process was documented and
reviewed by the monitoring team.

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.79 Assessing Compliance with Paragraph 92: Training of Specialized Tactical
Units

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Paragraph 92 stipulates:

              “APD shall ensure that specialized tactical units are
              sufficiently trained to complete the following basic
              operational functions: Command and Control; Containment;
              and Entry, Apprehension, and Rescue.”

Methodology

We reviewed the Special Operations training conducted by APD for the ninth reporting
period (August 18 through January 19) and confirmed that the operational functions
included in this paragraph are regularly covered and documented. During the November
2018 site visit the monitoring team was invited to view live tactical training at the SOD
facility. The monitoring team reviewed data that included, but was not limited to, forms
indicating the date, location of training, instructors, synopsis of training and approval
from a supervisor.

APD provided COB data, contemporaneous Excel spreadsheet data (2018 Tactical
Files) that displays training by officer, by unit, and by operational function trained, that
correspond to those listed in paragraph 92 was reviewed by the monitoring team.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.80 Assessing Compliance with Paragraph 93: Tactical Unit
Missions and Policies

Paragraph 93 stipulates:

             “Each specialized tactical unit shall have clearly defined
             missions and duties. Each specialized tactical unit shall
             develop and implement policies and standard operating
             procedures that incorporate APD’s agency-wide policies on
             use of force, force reporting, and force investigations.”

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.81 Assessing Compliance with Paragraph 94: Tactical Units Policy and
Procedure



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Paragraph 94 stipulates:

“APD policies and procedures on specialized tactical units shall include the
following topics:

              a) Team organization and function, including command
              relationships with the incident commander, Field Services
              Bureau, other specialized investigative units, Crisis
              Negotiation Team, Crisis Intervention Unit, crisis intervention
              certified responders, and any other joint or support elements
              to ensure clear lines of responsibility;
              b) Coordinating and implementing tactical operations in
              emergency life-threatening situations, including situations
              where an officer’s view may be obstructed;
              c) Personnel selection and retention criteria and mandated
              physical and tactical competency of team members, team
              leaders, and unit commanders;
              d) Training requirements with minimum time periods to
              develop and maintain critical skills to include new member
              initial training, monthly training, special assignment training,
              and annual training;
              e) Equipment appropriation, maintenance, care, and
              inventory;
              f) Activation and deployment protocols, including when to
              notify and request additional services;
              g) Conducting threat assessments to determine the
              appropriate responses and necessary resources;
              h) Command and control issues, including a clearly defined
              command structure; and
              i) Documented after-action reviews and reports.”

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.82 Assessing Compliance with Paragraph 95: Annual Review of Tactical
Policies

Paragraph 95 stipulates:

              “The policies and standard operating procedures of
              specialized tactical units shall be reviewed at least annually,
              and revisions shall be based, at a minimum, on legal
              developments, training updates, operational evaluations
              examining actual practice from after-action reviews, and
              reviews by the Force Review Board or other advisory or
              oversight entities established by this Agreement.”

Results

       Primary:      In Compliance
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       Secondary: In Compliance
       Operational: In Compliance

4.7.83 Assessing Compliance with Paragraph 96: Documentation of Tactical
Activities

Paragraph 96 stipulates:
              “In addition to Use of Force Reports, APD shall require
              specialized tactical units to document their activities in detail,
              including written operational plans and after-action reports
              created after call-outs and deployments to critical situations.
              After-action reports shall address any areas of concern
              related to policy, training, equipment, or tactics.”

Methodology

A review of the Special Operations training conducted by the monitoring team for the
period (February, 2018 through July, 2018) confirmed that the operational functions
included in this paragraph are regularly covered and documented. During the June 2018
site visit the monitoring team was invited to view live tactical training at the SOD facility.
The monitoring team reviewed the Excel spreadsheet (2018 Tactical Files) that displays
training by officer, by unit, and by operational function trained that correspond to those
listed in paragraph 92.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.84 Assessing Compliance with Paragraph 97: Tactical Mission Briefings

Paragraph 97 stipulates:

             “APD shall require specialized tactical units to conduct
             mission briefings before an operation, unless exigent
             circumstances require an immediate deployment. APD shall
             also ensure that specialized tactical team members designate
             personnel to develop and implement operational and tactical
             plans before and during tactical operations. All specialized
             tactical team members should have an understanding of
             operational planning.”

Methodology

For this report the monitoring team reviewed documentation for the period August 2018
through January 2019, in addition to material reviewed during the November 2018 site
visit. This documentation was assessed for Operational Compliance with the

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requirements of this paragraph. As in the previous reporting period, the monitoring team
verified compliance by means of personal inspections, review of policies, and
discussions with SOD staff during site visits. During the site visit, SOD supplied the
monitoring team with a draft copy of revisions to SOP 2-20 Hostage,
Suicidal/Barricaded Subject, and Tactical Threat Assessment and SOP 2-70 Execution
of Search Warrants. The monitoring team will monitor any training affected by changes
in future site visits and review of data from APD.

Based upon case reviews, the monitoring team verified that Tactical Sectional
Commanders, Supervisors and Officers have a working knowledge of operational
planning, and routinely applied that understanding and skill to actual operations. During
the November 2018 site visit, the monitoring team requested documentation from APD
that supports that such training was being conducted. Special Operations continues to
conduct extensive training at all levels and conforms to best practices nationwide and to
the specifics of this paragraph.

Results

      Primary:         In Compliance
      Secondary:       In Compliance
      Operational:     In Compliance

4.7.85 Assessing Compliance with Paragraph 98: Tactical Uniforms

Paragraph 98 stipulates:

              “All specialized tactical units shall wear uniforms that clearly
              identify them as law enforcement officers.”

Results

      Primary:         In Compliance
      Secondary:       In Compliance
      Operational:     In Compliance

4.7.86 Assessing Compliance with Paragraph 99: Force Review Board
Assessments

Paragraph 99 stipulates:

            “All specialized tactical unit deployments shall be reviewed by
            the Force Review Board in order to analyze and critique
            specialized response protocols and identify any policy,
            training, equipment, or tactical concerns raised by the action.
            The Force Review Board shall identify areas of concern or
            particular successes and implement the appropriate response,
            including modifications to policy, training, equipment, or
            tactics.”


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Results

      Primary:     Not In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance


4.7.87 Assessing Compliance with Paragraph 100: Eligibility Requirements for
Tactical Teams

Paragraph 100 stipulates:

            “APD shall establish eligibility criteria for all team
            members, team leaders, and supervisors assigned to
            tactical units and conduct at least annual reviews of unit
            team members to ensure that they meet delineated
            criteria.”

Methodology

The monitoring requested data from SOD for the IMR-9 time frame August 2018
through January 2019. The monitoring received and reviewed the 2018 APD SWAT Unit
Annual Assessments, K9 Unit Annual Assessments, and Bomb Unit Annual
Assessments. The annual reports show that members from the tactical units are
displaying exemplary work in constitutional policing, integrity, community policing, and
critical police functions. Monthly inspection reports were also received and reviewed by
the monitoring team for this reporting period. These reports show compliance with
eligibility criteria for all team members. The Special Operations Division, which oversees
specialized tactical units, has established policies that set selection criteria for team
membership and training requirements for all members. These are listed in the Bureau
SOPs that cover Bomb Squad (4-03), K-9 Unit and SWAT (4-04). We find that unit
policy is in compliance with the requirements of this paragraph and constitutes, in the
monitoring team’s assessment, a best practice in the management of tactical units and
personnel. APD has incorporated the “unit policies” into its formal policies related to
these functions, and thus is compliant with the requirements of this paragraph.

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.88 Assessing Compliance with Paragraph 101: Tactical Team Training

Paragraph 101 stipulates:
            “APD shall train specialized tactical units conducting
            barricaded gunman operations on competencies and

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             procedures that include: threat assessment to determine the
             appropriate response and resources necessary, mission
             analysis, determination of criminal offense, determination of
             mental illness, requirements for search warrant prior to entry,
             communication procedures, and integration of the Crisis
             Negotiation Team, the Crisis Intervention Unit, and crisis
             intervention certified responders.”

Methodology:

Data collected and reviewed by the monitoring team for this reporting period confirms
that training by the Tactical Section continues to be conducted on a regular basis, in
accordance with national standards (National Tactical Officers Association) for high-risk
tactical operations. The findings of the monitoring team’s review of data for APD tactical
teams reveal continual operational success in 2018. The monitoring team’s review of
the Tactical Section training found that all subjects required in this paragraph are
covered in a wide array of training contexts. As reported in previous reports CNT
continues to be an essential operational component in tactical activations.

Results

             Primary:     In Compliance
             Secondary: In Compliance
             Operational: In Compliance

4.7.89 Assessing Compliance with Paragraph 102: K-9 Post Deployment Reviews

Paragraph 102 stipulates:

             “APD shall continue to require the Canine Unit to complete
             thorough post- deployment reviews of all canine
             deployments.”

Results

             Primary:     In Compliance
             Secondary: In Compliance
             Operational: In Compliance

4.7.90 Assessing Compliance with Paragraph 103: Tracking K-9
Deployments

Paragraph 103 stipulates:

             “APD shall continue to track canine deployments and canine
             apprehensions, and to calculate and track canine bite ratios
             on a monthly basis to assess its Canine Unit and individual
             Canine teams.”



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Results

            Primary:     In Compliance
            Secondary: In Compliance
            Operational: In Compliance

4.7.91 Assessing Compliance with Paragraph 104: Tracking K-9 Bite
Ratios

Paragraph 104 stipulates:

             “APD shall include canine bite ratios as an element of the
             Early Intervention System and shall provide for the review,
             pursuant to the protocol for that system, of the performance
             of any handler whose bite ratio exceeds 20 percent during a
             six-month period, or the entire unit if the unit’s bite ratio
             exceeds that threshold and require interventions as
             appropriate. Canine data and analysis shall be included in
             APD Use of Force Annual Report.”

Results

            Primary:     In Compliance
            Secondary: In Compliance
            Operational: In Compliance


4.7.92 Assessing Compliance with Paragraph 105: Analyzing Tactical
Deployments

Paragraph 105 stipulates:
             “APD agrees to track and analyze the number of specialized
             tactical unit deployments. The analysis shall include the
             reason for each tactical deployment and the result of each
             deployment, to include: (a) the location; (b) the number of
             arrests; (c) whether a forcible entry was required; (d) whether
             a weapon was discharged by a specialized tactical unit
             member; (e) whether a person or domestic animal was injured
             or killed; and (f) the type of tactical equipment deployed. This
             data analysis shall be entered into the Early Intervention
             System and included in APD’s annual reports.”

Methodology

The monitoring team reviewed the 2018-2019 SWAT Activation Data for the time period
of August 1, 2018 through January 31, 2019. APD had twenty-one (21) activations in
this reporting period in 2018-2019. The functionality and operation of APD’s SWAT Unit
has been reviewed in several paragraphs of this agreement with exemplary
documentation maintained to meet all requirements of this paragraph.

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APD continues to monitor and analyze the number, type, and characteristics of
deployments, and states a clear reason for each tactical deployment and outcome, as
well as the number of arrestees in each deployment. The statistics reviewed by the
monitoring team are evidence of the success, oversight and accountability norms within
the APD.

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.93 – 4.7.96 Assessing Compliance with Paragraphs 106-109:
Special Unit Policies, and accompanying paragraphs focused on the
Special Investigation Division.

Paragraphs 106 – 109 of the CASA address requirements that APD must meet
related to management and supervision of functions inside the Special
Investigation Division (SID) as follow:

•     Paragraph 106: Specialized Unit Policies;
•     Paragraph 107: High Risk Situation Protocols;
•     Paragraph 108: Inspection of Specialized Units; and
•     Paragraph 109: Tracking Specialized Unit Responses.

During past reporting periods, the monitoring team spent an extensive amount of time
providing perspective, feedback and technical assistance to APD’s Special Investigation
Division (SID) personnel. We have commented extensively on their receptiveness to
feedback, and the overall professionalism we encounter within SID. During this
reporting period we met with the Commander responsible for the tasks associated with
SID compliance. His responsibilities toward the CASA have expanded, and APD now
includes him in other organizational matters. We see this expanded scope of
responsibilities to be linked to SID’s historical lead in terms of CASA compliance. The
following represent our findings related to Paragraphs 106-109.

We noted in IMR- 8 that over the prior year there had been two changes in leadership at
the SID. However, the current commander came from SOD, which we saw as positive
for SID’s continuing efforts to maintain compliance in Paragraphs 106-109. In each
conversation we have with the SID Commander he expressed a desire to promote a
culture of accountability within SID. In past reports the monitoring team stressed the
importance of establishing strong systems and policies within SID to ensure that reform
efforts can survive changes of command personnel. SID continues to be responsive to
the CASA, and, as in the past, is exceptionally receptive to feedback received from the
monitoring team. We were provided documentation to demonstrate that the business
processes that helped establish Operational Compliance continue to exist. Specifically,
we reviewed the following documentation and data, taken from this monitoring period:

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             1.     SID Orientation Training Records;
             2.     SID Inspection Forms;
             3.     Operational Plans;
             4.     SharePoint Records;
             5.     Internal Memorandums; and
             6.     Risk Assessment Matrix (RAM) forms and Ledgers, and
                    SOD Audit Memoranda.

As noted in past monitor reports, SID developed unit-level handbooks that set forth the
unique standards, missions and duties for each of its subordinate units. Those
handbooks serve several purposes, including SID incorporating and reinforcing APD’s
use of force policies, including the provisions of the CASA. Within the handbooks are
“Proficiency Checklists” with criteria for a supervisor to assess each new detective
against before they can conduct lone investigations. Members of the monitoring team
worked closely with SID when they initially submitted training records, lesson plans, and
other course of business documentation for newly assigned detectives to receive once
they begin their work at SID. Those activities originally took place in January 2017.
During IMR-8 we reviewed Unit Handbook “sign off” sheets and confidentiality
acknowledgment sheets and documented a concern that the (then new) SID
Commander was not aware of an independent SID training program that the monitoring
team previously approved related to the handbooks. We discussed this training
program during our June 2018 site visit and prior to our departure the Commander
indicated that the training program would be held in the near future for the newly
assigned detectives. During this reporting period, we reviewed training records
provided by SID and determined that SID followed through with their commitment to
provide Orientation Training. As noted elsewhere, APD has reworked its entire use of
force “suite of policies”. This will require a careful review of SID’s handbooks to ensure
they are properly updated to reflect the new policies once they are promulgated. During
the next monitoring period we will review the handbooks, SID policies and training
records to ensure they have updated their materials to reflect new policy provisions.

Based on our review of the existing SID policy requirements, Annual Inspection Forms
and the Annual SID Inspection Interoffice Memorandum documentation, we determined
that SID remains in Operational Compliance with respect to Inspection of Specialized
Units. SID has shown consistency in completing their inspection requirements, which
demonstrates internal business processes that prompt the command to take the
appropriate steps related to SID inspections.

The monitoring team reviewed 25 separate SharePoint tracker records related to SID
operations. We noted that the records SID maintains document the use of a Risk
Assessment Matrix (RAM) in two instances. We were also provided memoranda
wherein SID supervisors self-identified and corrected discrepancies within the
SharePoint records. We see this oversight of SharePoint accuracy to be a positive
example of supervision. Finally, we were provided with three (3) course-of-business
memorandums from a SOD supervisor documenting audits of SID RAM records that

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were executed in July, September and October 2018. SOD communicated to SID that
their records demonstrated that the RAM was properly prepared, and that SID
documentation supported the scores contained within the reports. Because these SOD
audit reports are now routine, they constitute course of business documentation which
will be valuable to compliance determinations in the future. Based on our review of the
SharePoint data, we determined they captured each of the data points required by the
CASA. SID maintains its current Operational Compliance status. However, Operational
Plans reviewed by the monitoring team showed areas of improvement are needed
during the next reporting period. Operational Plans and After-Action Reports connect
activities and policy provisions for organizational units during operations in the field.
They are relevant to RAMs, SharePoint entries and documentation of uses of force that
may occur during an operation.

The monitoring team reviewed 19 separate Operational Plans that were prepared during
this reporting period. In the past we commented on the quality of these reports, but we
noted a wide variation of quality with the reports we reviewed for this report. In several
instances, relevant information was not included to allow us to make reasonable
assessments of compliance. The monitoring team recognizes the critical importance of
operational plans and their correlation to safety of officers and citizens. Current error
rates are not sufficient to withdraw compliance with Paragraph 106. We caution SID
that they must continue to treat Operational Plans as essential tools for compliances.
We will spend considerable time in IMR-10 reviewing plans to ensure they are seen as
a valuable product. Likewise, SID supervisors should guard against Operational Plans
being seen as a pro forma burden to investigators, since they are an essential link to
proper conduct in the field.

Based on our review of documentation we determined that Operational Compliance
should be maintained by SID for paragraphs 106-109 for this reporting period.

4.7.93 Assessing Compliance with Paragraph 106: Specialized Unit
Policies

Paragraph 106 stipulates:

             “Each specialized investigative unit shall have a clearly
             defined mission and duties. Each specialized investigative unit
             shall develop and implement policies and standard operating
             procedures that incorporate APD’s agency-wide policies on
             use of force, force reporting, and force investigations.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.94 Compliance with Paragraph 107: High Risk Situation Protocols

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Paragraph 107 stipulates:

             “APD shall prohibit specialized investigative units from
             providing tactical responses to critical situations where a
             specialized tactical unit is required. APD shall establish
             protocols that require communication and coordination by
             specialized investigative units when encountering a situation
             that requires a specialized tactical response. The protocols
             shall include communicating high-risk situations and threats
             promptly, coordinating effectively with specialized tactical
             units, and providing support that increases the likelihood of
             safely resolving a critical incident.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.95 Compliance with Paragraph 108: Inspection of Specialized Units

Paragraph 108 stipulates:

             “Within three months of the Effective Date, APD shall conduct
             an inspection of specialized investigative units to determine
             whether weapons and equipment assigned or accessible to
             specialized investigative units are consistent with the units’
             mission and training. APD shall conduct re-inspections on at
             least an annual basis.”

Methodology:

Consistent with the unit’s mission and training, a review of the individual inspection
forms indicated that there was proper documentation of all weapons and equipment
assigned or made accessible to SID. An Interoffice Memorandum was submitted on
January 2019 to document SID’s yearly inspection. The Memorandum, completed
during the normal course of daily business, stated in part that all sworn personnel were
involved and no issues of concern were located; additionally, all personnel were rated
as satisfactory. Weapons that are not currently assigned to SID personnel were also
inspected to ensure serial numbers of equipment corresponds with documentation on
inventory lists provided to the monitoring team. The monitoring of these inspections is
set to continue on at least an annual basis.

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

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4.7.96 Assessing Compliance with Paragraph 109: Tracking
Specialized Unit Responses

Paragraph 109 stipulates:

              “APD agrees to track and analyze the number of specialized
              investigative unit responses. The analysis shall include the
              reason for each investigative response, the legal authority,
              type of warrant (if applicable), and the result of each
              investigative response, to include: (a) the location; (b) the
              number of arrests; (c) the type of evidence or property
              seized; (d) whether a forcible entry was required; (e) whether
              a weapon was discharged by a specialized investigative unit
              member; (f) whether the person attempted to flee from
              officers; and (g) whether a person or domestic animal was
              injured or killed. This data analysis shall be entered into the
              Early Intervention System and included in APD’s annual
              reports.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.97 Assessing Compliance with Paragraph 110: Individuals in Crisis and
Related Issues

Paragraph 110 stipulates:

             “To maintain high-level, quality service; to ensure officer
             safety and accountability; and to promote constitutional,
             effective policing, APD agrees to minimize the necessity for
             the use of force against individuals in crisis due to mental
             illness or a diagnosed behavioral disorder and, where
             appropriate, assist in facilitating access to community-based
             treatment, supports, and services to improve outcomes for
             the individuals. APD agrees to develop, implement and
             support more integrated, specialized responses to individuals
             in mental health crisis through collaborative partnerships with
             community stakeholders, specialized training, and improved
             communication and coordination with mental health
             professionals. To achieve these outcomes, APD agrees to
             implement the requirements below.”

This overarching paragraph refers to the paragraphs 111-137, below. As such, this
paragraph will not be noted in compliance until such time that other related required
paragraphs are found to be fully in compliance. Members of the monitoring team
assessed data from the relevant policies as noted in the table below.



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Results

During this reporting period, APD worked diligently in collaboration with the monitoring
team to improve policies, drafting a new “administrative” policy (SOP 1-37, revising, and
re-working SOP 2-19. SOP 2-19 is now a shorter, clearer policy, geared toward
operational field processes.)

In spite of the considerable progress of writing and re-writing 1-37 and 2-19, two of the
five policies addressing behavioral health issues listed above, APD needs to focus
urgently on producing approvable policies for the remainder of this policy suite. Based
on the records available to the monitoring team, three of these policy requirements or
past due. APD is not in compliance for this “overarching” paragraph. This is another
factor creating substantial policy development backlogs at APD. Without policy, training
is not feasible, and operational compliance is not attainable. In the monitoring team’s
experience, mental health practices are in reasonably regular flux, as new practices are
developed and old practices are revised, updated, and re-crafted. APD is in primary
compliance for this paragraph—it has policies in place. Until these policies are updated,
we caution APD to be circumspect about re-training its officers in mental health practice
absent these updates. As with the early stages of the CASA-implementation process,
delays in policies generate delays in training, which lead to delays in adequate
supervisory processes, which are the definition of non-compliance. See Table 4.7.97.
below.

              Table 4.7.97 Policy Renewal Status for Behavioral
              Health Policies

 Policy                      Policy Name (Relevance to 110)
 SOP 1-11 (previously        BEHAVIORAL SCIENCES SECTION –
 1-14)                       Approved after close of reporting period

 SOP 1-37 (new)              CRISIS INTERVENTION SECTION AND
                             PROGRAM (pending training)
 SOP 2-19 (previously        RESPONSE TO BEHAVIORAL HEALTH
 2-13)                       ISSUES – Approved after close of
                             reporting period

 SOP 2-20 (previously        HOSTAGE, SUICIDAL/BARRICADED
 2-42)                       SUBJECT, AND TACTICAL THREAT
                             ASSESSMENT – Due for review on
                             10/16/18 (Past Due)

 SOP      (previously 1-     USE OF ON-BODY RECORDING
 09)                         DEVICES / MANAGEMENT OF
                             RECORDINGS (contains reference to
                             “subjects in crisis”)
                             Due for review on 6/2/18 (Past Due)


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      Primary:     In Compliance (based on existing policy)
      Secondary: Not In Compliance
      Operational: Not In Compliance

Recommendation for Paragraph 100:

4.7.97a: Update clearly articulated policy for APD’s mobile crisis teams,
consistent with the policies in Table above, and provide training on that policy
for APD’s Mobile Crisis Teams.

4.7.98 – 4.7.115 Assessing Compliance with Paragraphs 111- 128: Mental Health
Response Issues.

Paragraphs 111-128 address mental health response issues treated in detail in the
CASA. In determining compliance outcomes for these paragraphs, the monitoring team
reviewed normal course-of-business documentation related to mental health response
practices by APD during the reporting period for the 9th monitor’s report. Our findings
are discussed below.

Data available to the monitoring team show regular monthly meetings for the
community’s Mental Health Response Advisory Committee (MHRAC) that involve at
times highly detailed discussions of problems, issues, needs and solutions. MHRAC
continues to be one of the success stories in APD’s community outreach processes.
MHRAC’s reports, recommendations, communications, and assessment processes
created during this reporting period continue to be a source of valuable insight for APD’s
mental health/crisis intervention strategies. A broad spectrum of community mental
health leaders, APD command staff, APD’s Crisis Outreach and Support Team
members (COAST) and mental health professionals attend and participate in MHRAC
meetings. Our reviews of MHRAC’s agendas and meeting minutes indicate broad-
based input from community mental health experts, advocates, and providers.

In assessing the APD’s compliance with this paragraph, we reviewed APD processes
designed to:

•   Structure mental health processes in the community;
•   Foster close coordination between APD and mental health leaders; and
•   Craft meaningful, flexible, and effective mental health services throughout the
communities served by the APD.

We note that APD has met, and in many cases far exceeded, many of the requirements
of the CASA related to mental health response planning, crisis intervention, and service
delivery. Our review indicates that APD crisis outreach services personnel have worked
diligently with the advisory committee to assess, improve, and serve the target
communities.




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4.7.98 Assessing Compliance with Paragraph 111: Mental Health Response
Advisory Committee

Paragraph 111 stipulates:

             “Within six months of the Effective Date, APD and the City
             shall establish a Mental Health Response Advisory Committee
             (Advisory Committee) with subject matter expertise and
             experience that will assist in identifying and developing
             solutions and interventions that are designed to lead to
             improved outcomes for individuals perceived to be or actually
             suffering from mental illness or experiencing a mental health
             crisis. The Advisory Committee shall analyze and recommend
             appropriate changes to policies, procedures, and training
             methods regarding police contact with individuals with mental
             illness.”

Methodology

In assessing compliance with this paragraph, the monitoring team reviewed:

•     MHRAC’s reports, recommendations, communications, and processes
      created during this reporting period;
•     Meeting agendas and minutes for MHRAC meetings;
•     Meeting minutes for subcommittee meetings; and
•     Various communications regarding policy reviews between APD and
      MHRAC.

MHRAC meetings occurred monthly during this reporting period, along with some
subcommittee meetings. Table 4.7.98 below briefly describes major topics covered
during the MHRAC meetings.

Table 4.7.98 Topics of IMR-9 Reporting Period MHRAC Meetings

Reporting period month      Meeting date   Issues discussed
August 2018                 8/21/18        Updates from CIU, subcommittees,
                                           COAST, draft Crisis Negotiations
                                           Team SOP
September 2018              9/18/18        New UNMH member, updates from
                                           CIU, sub-committees, COAST,
                                           Discussion of SOP 1-11, City’s plan
                                           for homelessness
October 2018                10/16/18       Cadet training, updates from CIU,
                                           sub-committees, COAST, Transport
                                           of subjects experiencing behavioral
                                           health crisis
November 2018               11/20/18       Presentations: Adult Protective
                                           Services, Project ECHO, Mobile
                                           Crisis Team, updates from CIU,

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                                           sub-committees, COAST, Transport
                                           of subjects experiencing behavioral
                                           health crisis
December 2018               12/18/18       CIU Data, Year-end Reports, lapel
                                           camera technology, updates from
                                           CIU, sub-committees, COAST
January 2019                1/15/19        City Homelessness Initiative,
                                           updates from CIU, sub-committees,
                                           COAST

Results

      Primary:              In Compliance
      Secondary:            In Compliance
      Operational:          In Compliance

4.7.99 Assessing Compliance with Paragraph 112

Paragraph 112 stipulates:

             “The Advisory Committee shall include representation from
             APD command staff, crisis intervention certified responders,
             Crisis Intervention Unit (CIU), Crisis Outreach and Support
             Team (COAST), and City-contracted mental health
             professionals. APD shall also seek representation from the
             Department of Family and Community Services, the University
             of New Mexico Psychiatric Department, community mental
             health professionals, advocacy groups for consumers of
             mental health services (such as the National Alliance on
             Mental Illness and Disability Rights New Mexico), mental
             health service providers, homeless service providers,
             interested community members designated by the Forensic
             Intervention Consortium, and other similar groups.”

Methodology

Members of the monitoring team reviewed MHRAC’s agendas and meeting minutes for
monthly meetings that occurred during this reporting period.

Results

All specified groups named in this paragraph regularly participated in MHRAC meetings
during this reporting period, and minutes reflected discussions of agenda items
designed to facilitate the goals of MHRAC.

      Primary:              In Compliance
      Secondary:            In Compliance
      Operational:          In Compliance


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4.7.100 Assessing Compliance with Paragraph 113

Paragraph 113 stipulates:

              “The Advisory Committee shall provide guidance to assist
             the City in developing and expanding the number of crisis
             intervention certified responders, CIU, and COAST. The
             Advisory Committee shall also be responsible for considering
             new and current response strategies for dealing with
             chronically homeless individuals or individuals perceived to
             be or actually suffering from a mental illness, identifying
             training needs, and providing guidance on effective
             responses to a behavioral crisis event.”


Methodology

Members of the monitoring team reviewed MHRAC’s reports, recommendations,
communications, and processes, and conducted interviews with specific members of
the MHRAC. In addition, we reviewed MHRAC monthly meeting agendas and minutes,
and MHRAC subcommittee meeting minutes and memos.

Results

The MHRAC continued to provide guidance to the City and APD regarding developing
and expanding the number of CIT-certified responders, as well as response strategies
for interacting effectively with homeless individuals and people with mental illness.
During this reporting period, the MHRAC considered and provided feedback on the
APD’s policies and developing mobile crisis teams.

      Primary:              In Compliance
      Secondary:            In Compliance
      Operational:          In Compliance

4.7.101 Assessing Compliance with Paragraph 114:

Paragraph 114 stipulates:

             “APD, with guidance from the Advisory Committee, shall
             develop protocols that govern the release and exchange of
             information about individuals with known mental illness to
             facilitate necessary and appropriate communication while
             protecting their confidentiality.”

Methodology

Members of the monitoring team reviewed a 100% sample of MHRAC’s reports,
recommendations, communications, and processes during the reporting period,
assessing these documents for compliance with Paragraph 114. The monitoring team

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also reviewed the signed MOU between APD’s CIU and the University of New Mexico
Health Sciences Center/UNM Health Systems (signed version dated 10/10/17).

Results

Negotiations between the City of Albuquerque and the University of New Mexico Health
System resulted in the execution of a signed MOU that governs the release and
exchange of information. During this reporting period, members of the CIU began
adding modules to existing mental health training courses regarding this October 2017
MOU. The new modules were also shared with the MHRAC for feedback. Training on
these modules has begun; however, as of the end of this reporting period, fewer than 95
percent of all certified CIT responders have received the training updates regarding the
MOU.

            Primary:     In Compliance
            Secondary: Not In Compliance
            Operational: Not In Compliance

Recommendation for Paragraph 114:

4.7.101a: Continue to provide training to, at minimum, CIU staff and certified CIT
responders on this MOU.

4.7.102 Assessing Compliance with Paragraph 115

Paragraph 115 stipulates:

             “Within nine months of the Effective Dates, APD shall provide
             the Advisory Committee with data collected by crisis
             intervention certified responders, CIU, and COAST pursuant to
             Paragraphs 129 and 137 of this Agreement for the sole purpose
             of facilitating program guidance. Also, within nine months of
             the Effective Date, the Advisory Committee shall review the
             behavioral health training curriculum; identify mental health
             resources that may be available to APD; network and build
             more relationships; and provide guidance on scenario-based
             training involving typical situations that occur when mental
             illness is a factor.

Methodology

Members of the monitoring team reviewed a 100% sample of data provided to MHRAC
by APD relating to provisions of Paragraph 115, including data analysis in the form of
PowerPoint slides; and MHRAC and subcommittee meeting agendas and minutes.

Results

APD continued to work with staff to produce meaningful data analysis of the data
elements specified in paragraphs 129 and 137. APD has presented these data regularly
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to the MHRAC. APD provides all behavioral health training curricula to the MHRAC for
review, but the feedback processes between the MHRAC and APD remain unclear and
not routinized.

            Primary:     In Compliance
            Secondary: In Compliance
            Operational: Not In Compliance

Recommendation for Paragraph 115:

4.7.102a: Submit required documentation to MHRAC as well as documentation
from MHRAC noting review and approval.

4.7.103 Assessing Compliance with Paragraph 116

Paragraph 116 stipulates:

             “The Advisory Committee shall seek to enhance coordination
             with local behavioral health systems, with the goal of
             connecting chronically homeless individuals and individuals
             experiencing mental health crisis with available services.”

Methodology

Members of the monitoring team reviewed data provided to MHRAC by APD relating to
enhancing coordination within and among MHRAC’s service base, including memos,
emails, and MHRAC meeting minutes.

Results

The MHRAC continued their work to enhance coordination of services for chronically
homeless individuals and people experiencing mental health crisis. APD and the
MHRAC regularly provided updated lists of resources to APD officers for them to
provide to people they interact with while on patrol. The monitoring team’s review shows
a substantial and tangible degree of interaction and cooperation between local
behavioral health systems and the APD on this issue, as well as tangible results in
systems improvement recommendations.

            Primary:     In Compliance
            Secondary: In Compliance
            Operational: In Compliance

4.7.104 Assessing Compliance with Paragraph 117

Paragraph 117 stipulates:

            “Within 12 months of the Effective Date, and annually
            thereafter, the Advisory Committee will provide a public report

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            to APD that will be made available on APD’s website, which
            shall include recommendations for improvement, training
            priorities, changes in policies and procedures, and identifying
            available mental health resources.”




Methodology

Members of the monitoring team reviewed the MHRAC’s annual public report from
2018, which included a Co-Chairs Report, an Information Sharing Subcommittee Annual
Report, a Resource Subcommittee Annual Report, and a Training Subcommittee
Annual Report.

Results

The MHRAC produced a set of Annual reports for 2018, all of which were posted on the
APD website in a timely fashion.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.105 Assessing Compliance with Paragraph 118 Behavioral Health Training

Paragraph 118 stipulates:

             “APD has undertaken an aggressive program to provide
             behavioral health training to its officers. This Agreement is
             designed to support and leverage that commitment.”

No evaluation methodology was developed for paragraph 118, as it is not a
“requirement” for APD or City action, but simply states facts.

4.7.106 Assessing Compliance with Paragraph 119 Behavioral Health Training for
all Cadets

Paragraph 119 stipulates:

             “APD agrees to continue providing state-mandated, basic
             behavioral health training to all cadets in the academy. APD
             also agrees to provide 40 hours of basic crisis intervention
             training for field officers to all academy graduates upon their
             completion of the field training program. APD is also providing
             40 hours of basic crisis intervention training for field officers to
             all current officers, which APD agrees to complete by the end
             of 2015.”




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Methodology

Members of the monitoring team reviewed training records of APD relating to basic
behavioral health training, including pre-tests and post-tests of training participants and
certificates of training completion.

APD continues to provide state-mandated basic behavioral health training to cadets in
the academy as well as 40 hours of basic CIT to academy graduates upon completion
of the field training program. This training is provided as well to all field officers

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.107 Assessing Compliance with Paragraph 120

Paragraph 120 stipulates:

              “The behavioral health and crisis intervention training
              provided to all officers will continue to address field
              assessment and identification, suicide intervention, crisis de-
              escalation, scenario-based exercises, and community mental
              health resources. APD training shall include interaction with
              individuals with a mental illness and coordination with
              advocacy groups that protect the rights of individuals with
              disabilities or those who are chronically homeless.
              Additionally, the behavioral health and crisis intervention
              training will provide clear guidance as to when an officer may
              detain an individual solely because of his or her crisis and
              refer them for further services when needed.”

Methodology

Members of the monitoring team reviewed training records of APD relating to basic
behavioral health training and observed an ECIT training session during this monitoring
period. APD continues to appropriately and effectively utilize training curricula that
address field assessment, identification, suicide intervention, crisis de-escalation,
community mental health participation and scenario-based exercises and role play
exercises. All training emphasizes the importance of community partnerships and
appropriate referrals to services. APD also continues to update their behavioral health
curricula appropriately, for example, recently adding modules addressing the
information sharing MOU between the City and UNMH.

Results

       Primary:   In Compliance
       Secondary: In Compliance

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      Operational: In Compliance



4.7.108 Assessing Compliance with Paragraph 121

Paragraph 121 stipulates:

             “APD shall ensure that new tele-communicators receive 20
             hours of behavioral health training. This training shall include:
             telephonic suicide intervention; crisis management and de-
             escalation; interactions with individuals with mental illness;
             descriptive information that should be gathered when tele-
             communicators suspect that a call involves someone with
             mental illness; the roles and functions of COAST, crisis
             intervention certified responders, and CIU; the types of calls
             that should be directed to particular officers or teams; and
             recording information in the dispatch database about calls in
             which mental illness may be a factor.”

Methodology

Members of the monitoring team reviewed training records of APD relating to basic
behavioral health training for tele-communicators and note that behavior health training
for tele-communicators training took place in October 2018.

Results

APD’s 20 hours of behavioral health training for tele-communicators includes all topics
noted in paragraph 121 as well as role-play scenarios drawn from actual 911 calls
fielded by APD tele-communicator personnel.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.109 Assessing Compliance with Paragraph 122

Paragraph 122 stipulates:

             “APD shall provide two hours of in-service training to all
             existing officers and tele-communicators on behavioral
             health-related topics biannually.”

Methodology

Members of the monitoring team reviewed training records of APD relating to basic
behavioral health training for officers and tele-communicators.


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Results

APD has developed a 2-hour in-service training curriculum that addresses the
requirements of New Mexico House Bill 93, entitled “Police Training for Mental
Impairments.” APD remains in compliance with the requirement of bi-annual training.
APD updated this curriculum in September 2018.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.110 Assessing Compliance with Paragraph 123: Crisis Intervention Certified
Responders and Crisis Intervention Unit

Paragraph 123 stipulates:

             “APD shall maintain a sufficient number of crisis intervention
             certified responders who are specially trained officers across
             the Department who retain their normal duties and
             responsibilities and also respond to calls involving those in
             mental health crisis. APD shall also maintain a Crisis
             Intervention Unit (“CIU”) composed of specially trained
             detectives housed at the Family Advocacy Center whose
             primary responsibilities are to respond to mental health crisis
             calls and maintain contact with mentally ill individuals who
             have posed a danger to themselves or others in the past or
             are likely to do so in the future. APD agrees to expand both
             the number of crisis intervention certified responders and
             CIU.”

Methodology

Members of the monitoring team reviewed training and assignment records for CIU
officers for the reporting period. According to APD records, 184 field officers are ECIT
trained, making them “certified responders” per this paragraph.

APD maintains a Crisis Intervention Unit staffed with detectives housed at the Family
Advocacy Center. While the number of detectives varied slightly throughout this
reporting period (due to promotions mostly), the number of detectives in the CIU held
steady at 12, meeting the recommended number of detectives noted in the
“Albuquerque Police Department Comprehensive Staffing Assessment and Resources
Study” conducted by Alexander Weiss Consulting, LLC (Final Draft Report, December
11, 2015).

We remain unaware of any specific methodology developed by APD to determine the
department’s definition of the “sufficient number” of crisis-intervention certified
responders, but the CIU has made progress toward developing a methodology for
determining that requirement. The monitoring team’s assessment is that staffing


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remains insufficient, based on the requirement that staffing for the advocacy center is
below that articulated in the CASA.

Results

             Primary:     In Compliance
             Secondary: In Compliance
             Operational: Not In Compliance

Recommendation for Paragraph 123:

4.7.110a: Develop and execute a data-driven, methodologically appropriate
workload and manpower planning and analysis protocol that ensures that reliable
“staffing levels” for ECIT officers are calculated, reported, set as staffing goals,
and attained.

4.7.111 Assessing Compliance with Paragraph 124

Paragraph 124 stipulates:

              “The number of crisis intervention certified responders will be
              driven by the demand for crisis intervention services, with an
              initial goal of 40% of Field Services officers who volunteer to
              take on specialized crisis intervention duties in the field.
              Within one year of the Effective Date, APD shall reassess the
              number of crisis intervention certified responders, following
              the staffing assessment and resource study required by
              Paragraph 204 of this Agreement.”

Methodology

Members of the monitoring team reviewed training records for the ECIT officers, who
meet the definition of “field services officers who volunteer to take on specialized crisis
intervention duties in the field” along with planning memos from the CIU as they begin
their process to determine how they will determine whether 40% is “sufficient” for the
needs of Albuquerque (per paragraph 123).

Results

The current staffing levels of crisis intervention “certified responders” consistently met
the 40% goal during this reporting period, varying from 40.9% to 43.6%. The CIU held
six ECIT “certified responders” classes on the following dates during this reporting
period: October 15, October 16, November 8, December 3, January 7 and January 10.

             Primary:     In Compliance
             Secondary: In Compliance
             Operational: In Compliance


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4.7.112 Assessing Compliance with Paragraph 125

Paragraph 125 stipulates:

             “During basic crisis intervention training for field officers
             provided to new and current officers, training facilitators shall
             recommend officers with apparent or demonstrated skills and
             abilities in crisis de-escalation and interacting with individuals
             with mental illness to serve as crisis intervention certified
             responders.”

Methodology

Members of the monitoring team reviewed recommendations obtained and assessed by
training facilitators, along with recruiting emails to field services officers during this
reporting period.

Results

The APD CIU instructors routinely identify and recommend field officers well suited for
the Enhanced CIT (ECIT) course. A member of the CIU reaches out to those officers
and recommends that they enroll in an upcoming ECIT course.

             Primary:     In Compliance
             Secondary: In Compliance
             Operational: In Compliance

4.7.113 Assessing Compliance with Paragraph 126

Paragraph 126 stipulates:

              “Within 18 months of the Effective Date, APD shall require
              crisis intervention certified responders and CIU to undergo at
              least eight hours of in-service crisis intervention training
              biannually.”

Methodology

Members of the monitoring team reviewed training records for CIU personnel.

Results

APD provided 8-hours of “re-certification” refresher training during this reporting period.
APD CIU instructors trained a total of 37 ECIT certified responders during two sessions
held on October 15 and October 16.

             Primary:         In Compliance
             Secondary:       In Compliance
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             Operational: In Compliance

4.7.114 Assessing Compliance with Paragraph 127

Paragraph 127 stipulates:

              “Within 18 months of the Effective Date, APD will ensure that
              there is sufficient coverage of crisis intervention certified
              responders to maximize the availability of specialized
              responses to incidents and calls for service involving
              individuals in mental health crisis; and warrant service,
              tactical deployments, and welfare checks involving
              individuals with known mental illness.”

Methodology

During this reporting period, APD CIU continued to deliver Enhanced CIT (ECIT)
training to address the requirement for “certified responders.” The APD CIU
accomplished significant work during this reporting period toward determining whether
the initial goal of 40% is “sufficient” for Albuquerque, including internal discussions and
memos about how to define and measure “sufficient coverage.”

Results

ECIT training recently has been completed, and paragraph 124’s requirement of 40%
was reached during this reporting period. The revised ECIT policy has been finalized
this quarter. APD has begun the process of assessing operational determinations for
this paragraph and the monitoring team will review their determinations in the next
reporting period.

             Primary:     In Compliance
             Secondary: In Compliance
             Operational: In Compliance

4.7.115 Assessing Compliance with Paragraph 128

Paragraph 128 stipulates:

              “APD will ensure that crisis intervention certified responders
              or CIU will take the lead, once on scene and when appropriate,
              in interacting with individuals in crisis. If a supervisor has
              assumed responsibility for the scene, the supervisor will seek
              input of the crisis intervention certified responder or CIU on
              strategies for resolving the crisis when it is practical to do
              so.”




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Methodology

Members of the monitoring team conducted ride-alongs with field officers on November
5 and November 7 during this monitoring period. The ride-alongs were either with the
Mobile Crisis Team or with field officers in the busiest area commands in terms of
mental health-related calls (SW, SE and Foothills area commands).

Results

We observed that the requirements of this paragraph were routinely met in the field.

            Primary:     In Compliance
            Secondary: In Compliance
            Operational: In Compliance

4.7.116 – 4.7.124 Assessing Compliance with Paragraphs 129-137

Monitoring team members reviewed (via report review and ride-along processes) the
APD’s current activities related to provision of policing services to individuals with
mental illness and individuals in behavioral crises (paragraphs 129 through 137). Our
observations indicate that the behavioral health paragraphs of the CASA have received
careful and meaningful attention during the reporting period. APD is in compliance with
all nine paragraphs outlining specific APD (and related organization such as the Mental
Health Response Advisory Committee, etc.).

As part of the monitoring process, the monitoring team:

            1. Reviewed minutes of MHRAC meetings, and observed multiple training
            sessions for APD mental health community service personnel;

            2. Reviewed extant and proposed policies guiding APD’s service delivery
            to individuals experiencing mental health crises;

            3. Assessed APD’s service delivery mechanisms focused on the homeless
            populations of Albuquerque;

            4. Assessed APD procedures for connecting the homeless to support
            services;

            5. Evaluated APD’s interagency communications and cooperation
            practices regarding mental health services;

            6. Assessed staffing at the Crisis Intervention Unit;

            7. Reviewed the interaction protocols and processes among COAST/CIU
            with personnel from community mental health resource providers;

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             8. Assessed APD’s mental health data collection and analysis processes;
             and

             9. Reviewed APD training curricula related to community mental health
             processes.

The data we reviewed indicate that APD’s outreach and support efforts to those in the
communities served are resilient, effective, and problem-oriented. Data collection,
analysis and reporting processes and protocols have been updated with much improved
accuracy and reliability, and training remains a strong point of this effort. APD’s services
in this area are so strong that they have been consistently featured in national
conferences such as the International Association of Chiefs of Police (IACP), etc.

4.7.116 Assessing Compliance with Paragraph 129

Paragraph 129 stipulates:

              “APD shall collect data on the use of crisis intervention
              certified responders and CIU. This data will be collected for
              management purposes only and shall not include personal
              identifying information of subjects or complainants. APD shall
              collect the following data:
              a) date, shift, and area command of the incident;
              b) subject’s age, race/ethnicity, and gender;
              c) whether the subject was armed and the type of weapon;
              d) whether the subject claims to be a U.S. military veteran;
              e) name and badge number of crisis intervention certified
              responder or CIU detective on the scene;
              f) whether a supervisor responded to the scene;
              g) techniques or equipment used;
              h) any injuries to officers, subjects, or others;
              i) disposition of the encounter (e.g., arrest, citation, referral);
              and
              j) a brief narrative of the event (if not included in any other
              document).”

Results

A dedicated data analyst continues to update the “Albuquerque Police Department
Crisis Intervention Unit Data Book: A Working Compendium” (the most recent version
reviewed by the monitoring team is dated December 18, 2018). These updates occur
on a regular basis and are used to track the data required by this paragraph. APD also
continues to refine their ability to track data through existing systems. For example, in
October 2018, changes to the Pre-Booking form and the Pre-Booking report were made
to reflect a new yes/no check box for “Psychiatric Services Referral,” which will serve as
an additional triangulation of data for the Data Analyst and CIU to track and compare to
their other data sources.

             Primary:         In Compliance

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            Secondary: In Compliance
            Operational: In Compliance

4.7.117 Assessing Compliance with Paragraph 130

Paragraph 130 stipulates:

            “APD will utilize incident information from actual encounters to
            develop case studies and teaching scenarios for roll-call,
            behavioral health, and crisis intervention training; to recognize
            and highlight successful individual officer performance; to
            develop new response strategies for repeat calls for service; to
            identify training needs for in-service behavioral health or crisis
            intervention training; to make behavioral health or crisis
            intervention training curriculum changes; and to identify
            systemic issues that impede APD’s ability to provide an
            appropriate response to an incident involving an individual
            experiencing a mental health crisis.”

Results

APD’s behavioral health-related units continue to use data-driven decision making, and
to revise programmatic responses based on solid data analysis.

            Primary:     In Compliance
            Secondary: In Compliance
            Operational: In Compliance

4.7.118 Assessing Compliance with Paragraph 131

Paragraph 131 stipulates:

            “Working in collaboration with the Advisory Committee, the
            City shall develop and implement a protocol that addresses
            situations involving barricaded, suicidal subjects who are not
            posing an imminent risk of harm to anyone except themselves.
            The protocol will have the goal of protecting the safety of
            officers and suicidal subjects while providing suicidal subjects
            with access to mental health services.”

Results

As of the date of the close of this reporting period, the protocol has not been updated.
We recommend APD work with the advisory committee to ensure the protocols are
updated and congruent with related policy and protocols. This should be a high priority
over the coming months.

            Primary:     In Compliance
            Secondary: Not In Compliance
            Operational: Not In Compliance

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Recommendation for Paragraph 131:

4.7.118a: Work with advisory committee to ensure the protocols are updated and
congruent with related policy and protocols.

4.7.119 Assessing Compliance with Paragraph 132 Crisis Prevention

Paragraph 132 stipulates:

            “APD shall continue to utilize COAST and CIU to follow up
            with chronically homeless individuals and individuals with a
            known mental illness who have a history of law enforcement
            encounters and to proactively work to connect these
            individuals with mental health service providers.”

Results

Based on our review of program documentation, it is apparent from in-field reports, data
analysis and real-time response to identified issues that APD’s COAST and CIU
routinely follow up with critical elements of the population who would benefit from
COAST and CIU services.

            Primary:     In Compliance
            Secondary: In Compliance
            Operational: In Compliance


4.7.120 Assessing Compliance with Paragraph 133

Paragraph 133 stipulates:

             “COAST and CIU shall provide crisis prevention services and
             disposition and treatment options to chronically homeless
             individuals and individuals with a known mental illness who
             are at risk of experiencing a mental health crisis and assist
             with follow-up calls or visits.”

Results

Based on our review of program documentation, it is apparent from in-field reports, data
analysis and real-time response to identified issues that APD’s COAST and CIU
routinely follow up with critical elements of the population who would benefit from
COAST and CIU services.

            Primary:     In Compliance
            Secondary: In Compliance
            Operational: In Compliance


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4.7.121 Assessing Compliance with Paragraph 134

Paragraph 134 stipulates:

             “APD shall continue to utilize protocols for when officers
             should make referrals to and coordinate with COAST and CIU
             to provide prevention services and disposition and treatment
             options.”

Results

Based on our review of program documentation, it is apparent from in-field reports, data
analysis and real-time response to identified issues that APD’s COAST and CIU
routinely follow up with critical elements of the population who would benefit from
COAST and CIU services.

            Primary:     In Compliance
            Secondary: In Compliance
            Operational: In Compliance

4.7.122 Assessing Compliance with Paragraph 135

Paragraph 135 stipulates:

             “APD shall maintain a sufficient number of trained and
             qualified mental health professionals in COAST and full-time
             detectives in CIU to satisfy its obligations under this
             Agreement. Within three months of completing the staffing
             assessment and resource study required by Paragraph 204 of
             this Agreement, APD shall develop a recruitment, selection,
             and training plan to assign, within 24 months of the study, 12
             full-time detectives to the CIU, or the target number of
             detectives identified by the study, whichever is less.”

Results

APD provided the monitoring team with a detailed tracking of all COAST members and
detectives within the CIU. These data were collected throughout this reporting period.
While the number of detectives waxed and waned by +1 to -1 throughout this reporting
period (due to promotions mostly), the number of detectives in the CIU held steadily at
12. Importantly, during this reporting period, CIU gained a second sergeant, which will
enhance operations for the unit.

            Primary:     In Compliance
            Secondary: In Compliance
            Operational: In Compliance

4.7.123 Assessing Compliance with Paragraph 136


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Paragraph 136 stipulates:

             “COAST and CIU shall continue to look for opportunities to
             coordinate in developing initiatives to improve outreach,
             service delivery, crisis prevention, and referrals to community
             health resources.”

Results

COAST and CIU have developed robust relationships with service providers throughout
the city, and network with them regularly to discuss new ideas and solutions. They have
recently focused on problem solving in the downtown area, for example, and have been
networking on a national level through their presentations at various conferences,
allowing them to learn about best practices throughout the nation.

            Primary:     In Compliance
            Secondary: In Compliance
            Operational: In Compliance



4.7.124 Assessing Compliance with Paragraph 137

Paragraph 137 stipulates:

             “APD shall collect and analyze data to demonstrate the impact
             of and inform modifications to crisis prevention services. This
             data will be collected for management purposes only and
             shall not include personal identifying information of subjects
             or complainants. APD shall collect the following data:
             a) number of individuals in the COAST and CIU caseloads;
             b) number of individuals receiving crisis prevention services;
             c) date, shift, and area command of incidents or follow up
             encounters;
             d) subject’s age, race/ethnicity, and gender;
             e) whether the subject claims to be a U.S. military veteran;
             f) techniques or equipment used;
             g) any injuries to officers, subjects, or others;
             h) disposition of the encounter (e.g., arrest, citation, referral);
             and
             i) a brief narrative of the event (if not included in any other
             document).”

Results

A dedicated data analyst continues to update the “Albuquerque Police Department
Crisis Intervention Unit Data Book: A Working Compendium” on a regular basis to track
the data required by this paragraph. APD also continues to refine their ability to track
data through existing systems. The most recent version reviewed by the monitoring
team is dated 18 NOV 18. In October 2018 changes to the Pre-Booking form and the

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Pre-Booking report were made to reflect a new yes/no check box for “Psychiatric
Services Referral,” which will serve as an additional triangulation of data for the CIU
data analyst and CIU to track and compare to their other data sources.

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.125 Assessing Compliance with Paragraph 13967

Paragraph 139 stipulates that:

                “APD shall review, develop, and implement policies and
                procedures that fully implement the terms of this Agreement,
                comply with applicable law, and comport with best practices.
                APD policies and procedures shall use terms that are defined
                clearly, shall be written plainly, and shall be organized
                logically. “


APD continues to produce effective policy and procedures that are compliant with the
CASA. The monitor continues to be intensively and extensively involved with policy
development at APD, and continues to make recommendations for improvement in the
process.

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance

4.7.126 Assessing Compliance with Paragraph 140

Paragraph 140 stipulates:

                “APD policies and procedures shall be indexed and
                maintained in an organized manner using a uniform
                numbering system for ease of reference. APD policies and
                procedures shall be accessible to all APD officers and civilian
                employees at all times in hard copy or electronic format.”

Results

No substantial changes to the indexing and numbering systems have been
recommended or made by APD, except for the recent revisions necessitated by APD’s
moving to a more manageable use of force classification, review, assessment, and
processing system. APD remains in compliance with this paragraph based on past and
current practices.

67Paragraph 138 is judged to be prefatory to the following section on training, and as such established
goals, but not quantifiable objectives. These are dealt with in paragraphs 139-148.

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             Primary:     In Compliance
             Secondary: In Compliance
             Operational: In Compliance

4.7.127 Assessing Compliance with Paragraph 141

Paragraph 141 stipulates:

             “Within three months of the Effective Date, APD shall provide
             officers from varying ranks and units with a meaningful
             opportunity to review and comment on new or existing
             policies and procedures .”
Methodology

APD remains in compliance with this paragraph based on past and current practice.
Policies are provided to all sworn members of APD via intra-net and are available to the
public via the internet.

Results

             Primary:     In Compliance
             Secondary: In Compliance
             Operational: In Compliance

4.7.128 Assessing Compliance with Paragraph 142

Paragraph 142 stipulates:

             “Within three months of the Effective Date, APD shall ensure
             that the Policy and Procedures Review Board is functional
             and its members are notified of the Board’s duties and
             responsibilities. The Policy and Procedures Review Board
             shall include a representative of the Technology Services
             Division in addition to members currently required under
             Administrative Order 3-65-2 (2014).”

Methodology

APD’s responses to the requirements of this paragraph were implemented early in the
compliance process with creation of the PPRB. Early in this project, the monitoring
team, as part of their routine practice, observed PPRB meetings and found them to be
comprised as required by the CASA. That composition continues to this day.

Results

       Primary:       In Compliance
       Secondary:     In Compliance
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       Operational: In Compliance

4.7.129 Assessing Compliance with Paragraph 143

Paragraph 143 stipulates:

             “Within nine months of the Effective Date, the Policy and
             Procedures Review Board shall review, develop, and revise
             policies and procedures that are necessary to implement this
             Agreement. The Policy and Procedures Review Board shall
             submit its formal recommendations to the Chief through the
             Planning and Policy Division.“

Methodology

The monitor, over the past three years, has routinely assessed PPRB practice, and
found it consistent with the CASA and established practice. Past practice at PPRB has
been effective and not deleterious to decisions of the command staff at APD, the Parties
and the monitor.

Results

During the IMR-9 reporting period, the Parties and the monitor agreed to provide
substantially more technical assistance than normally would have been the case, and
provided to APD a draft use of force policy that had been carefully vetted and agreed to
by the Parties and the monitor. PPRB (and APD’s SMEs) then reviewed that piece of
policy work and substantially revised the Parties’ work. Those revisions significantly
changed the Parties’ agreed-to draft of the use of force policies. This process served to
highlight a potential defect in the policy development process at APD, one that needs to
be remediated by a thorough review of the charge, processes, and location of the of the
PPRB in APD’s policy development process.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.130 Assessing Compliance with Paragraph 144

Paragraph 144 stipulates:

             “Unless otherwise noted, all new and revised policies and
             procedures that are necessary to implement this Agreement
             shall be approved and issued within one year of the Effective
             Date. APD shall continue to post approved policies,
             procedures, and administrative orders on the City website to
             ensure public accessibility. There shall be reasonable
             exceptions for policies, procedures, and administrative orders
             that are law enforcement sensitive, such as procedures on
             undercover officers or operations.”


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APD remains in compliance with this task based on past performance.

Results

The technical requirements of this paragraph are routinely met by the official
requirements of APD policy.

    Primary:        In Compliance
    Secondary:      In Compliance
    Operational:    In Compliance

4.7.131 Assessing Compliance with Paragraph 145

Paragraph 145 stipulates:

             “The Policy and Procedures Review Board shall review each
             policy or procedure six months after it is implemented and
             annually thereafter, to ensure that the policy or procedure
             provides effective direction to APD personnel and remains
             consistent with this Agreement, best practices, and current
             law. The Policy and Procedures Review Board shall review
             and revise policies and procedures as necessary upon notice
             of a significant policy deficiency during audits or reviews.”

Methodology

APD remains in compliance with this task based on past performance.

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance


4.7.132 Assessing Compliance with Paragraph 146

Paragraph 146 stipulates:

             “APD shall apply policies uniformly and hold officers
             accountable for complying with APD policy and procedure.”

Methodology

APD remains in compliance; however, over the next few monitor’s reports,
we will revisit APD’s parameters on disciplinary decisions vis a vis
uniformity.



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Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.133 Assessing Compliance with Paragraph 147

Paragraph 147 stipulates

             “APD shall submit all policies, procedures, manuals, and
             other administrative orders or directives related to this
             Agreement to the Monitor and DOJ for review and comment
             before publication and implementation.”

Methodology

Members of the monitoring team routinely reviewed policies, procedures, administrative
orders and special orders for compliance with this paragraph. APD’s practice regarding
special orders (temporary instructive mechanisms designed to revise workflow, review,
and or decision-making processes at APD) are now routinely routed through the
monitoring team for review and comment.

Results

APD routinely complies with the requirements of this paragraph.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.134 Assessing Compliance with Paragraph 148

Paragraph 148 stipulates:

             “APD shall have 15 days to resolve any objections to new or
             revised policies, procedures, manuals, or directives
             implementing the specified provisions. If, after this 15-day
             period has run, the DOJ maintains its objection, then the
             Monitor shall have an additional 15 days to resolve the
             objection. If either party disagrees with the Monitor’s
             resolution of the objection, either party may ask the Court to
             resolve the matter. The Monitor shall determine whether in
             some instances an additional amount of time is necessary to
             ensure full and proper review of policies. Factors to consider
             in making this determination include: 1) complexity of the
             policy; 2) extent of disagreement regarding the policy; 3)
             number of policies provided simultaneously; and 4)
             extraordinary circumstances delaying review by DOJ or the
             Monitor. In determining whether these factors warrant

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               additional time for review, the Monitor shall fully consider the
               importance of prompt implementation of policies and shall
               allow additional time for policy review only where it is clear
               that additional time is necessary to ensure a full and proper
               review. Any extension to the above timelines by the Monitor
               shall also toll APD’s deadline for policy completion.”

  Methodology

  The provisions of this paragraph seldom need to be invoked. The Parties have tended
  to be mutually supportive in getting policies moved through the approval process.

  Results

        Primary:     In Compliance
        Secondary: In Compliance
        Operational: In Compliance

4.7.135 Assessing Compliance with Paragraphs 149

  Paragraph 149 stipulates:

               “Within two months of the Effective Date, APD shall ensure
               that all officers are briefed and presented the terms of the
               Agreement, together with the goals and implementation
               process of the Agreement.”

  Paragraph 149 identifies requirements for action by APD early on in the compliance
  process. These paragraphs relate to briefings of all officers on the requirements of the
  CASA, briefings and training of officers relative to their CASA-required actions, and
  training and retraining of officers.

  Methodology

  The monitoring team reviews records for all new APD employees to ensure that they
  are briefed and presented the terms of the Agreement. The monitoring team reviews
  PowerDMS entries to ensure all personnel sign off as acknowledging that the material
  was reviewed and received. The monitoring team was supplied documentation via an
  Interoffice Memorandum reflecting a CASA update for Cadet Class #120 and Lateral
  Class #121 indicating that these new members were briefed and presented the terms of
  the Agreement. PowerDMS entries were also supplied. The City remains in compliance
  with this paragraph based on earlier performance.

  Results

               Primary:     In Compliance
               Secondary: In Compliance
               Operational: In Compliance


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4.7.136 Assessing Compliance with Paragraph 150

Paragraph 150 stipulates:

             “Within three months of issuing a policy or procedure
             pursuant to this Agreement, APD agrees to ensure that all
             relevant APD personnel have received and read their
             responsibilities pursuant to the policy or procedure, including
             the requirement that each officer or employee report
             violations of policy; that supervisors of all ranks shall be held
             accountable for identifying and responding to policy or
             procedure violations by personnel under their command; and
             that personnel will be held accountable for policy and
             procedure violations. APD agrees to document that each
             relevant APD officer or other employee has received and read
             the policy. Training beyond roll-call or similar training will be
             necessary for many new policies to ensure officers
             understand and can perform their duties pursuant to the
             policy.”

Methodology

The City remains in compliance with this paragraph based on earlier performance. The
monitoring team will continue to monitor new policies and changes to policy that are
pending approval in future reporting periods to ensure that the requirements of this
paragraph are maintained.

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.137 Assessing Compliance with Paragraph 151

Paragraph 151 stipulates:
             “Unless otherwise noted, the training required under this
             Agreement shall be delivered within 18 months of the
             Effective Date, and annually thereafter. Within six months of
             the Effective Date, APD shall set out a schedule for delivering
             all training required by this Agreement.”

Methodology

The City remains in compliance with this paragraph based on earlier performance and
maintains a current training schedule fulfilling the requirements of this paragraph. The
monitoring team will continue to monitor new policies and changes to policy that are
pending approval in future reporting periods to ensure that the requirements of this
paragraph are maintained and that appropriate training is delivered and followed.


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Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.138 Assessing Compliance with Paragraph 152
Paragraph 152 stipulates:
              “APD shall ensure that all new lateral hires are certified law
              enforcement officers and that they receive all training
              required by this Agreement prior to entry onto duty.”

Methodology

The monitoring team requested from APD copies of COB documentation related to this
paragraph. Since early 2018, APD has seen an influx of applications from currently
practicing officers from other jurisdictions. Given this new interest from outside APD
related to the lateral employment process, we will continue to monitor the selection and
assessment practices to ensure compliance with this paragraph. To date, we have
noted no policy outliers in this process. All lateral hires are certified, and all are required
to process through APD-specific training renewals. APD is working currently to reassess
and update its lateral processing, training and supervision processes. The monitoring
team has reviewed and approved those updates.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.139 Assessing Compliance with Paragraph 153

Paragraph 153 stipulates:
              “APD shall maintain complete and accurate records of all
              training provided to sworn APD officers during pre-service
              and in-service training programs, including curricula, course
              materials, lesson plans, classroom presentations, handouts,
              videos, slides, recordings, and attendance records. APD shall
              also maintain complete and accurate records of any audit,
              review, assessment, or evaluation of the sufficiency or
              effectiveness of its training programs. APD shall make these
              records available for inspection by the Monitor and DOJ.”

Methodology

The monitoring team’s requests for, and review of, records responsive to Paragraph153
produce ample evidence that the provisions of the paragraph are being met by APD.
The material reviewed for this reporting period (August 2018 through January 2019)

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included but was not limited to:

   •   2018 Electronic Control Weapons Update and Certification;
   •   Supervisor Use of Force Supplemental Training;
   •   Field Training and Evaluation Program (FTO Course);
   •   2018 Supervisor RBT; and
   •   Lateral Training

APD continues to maintain compliance by making records available for inspection by
the monitoring team during site visits.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.140 Assessing Compliance with Paragraph 154

Paragraph 154 stipulates:
              “APD shall ensure that changes in relevant case law and
              statutes are disseminated to APD personnel in a timely
              manner and incorporated, as appropriate, into annual and pre-
              service training.”

No changes to relevant case law and statutes were noted during this reporting period.
Based on past performance by the Advanced Training Unit, APD remains in
compliance.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.141 – 4.7.147 Assessing Compliance with Paragraphs 155-161:
Field Training and Evaluation Program

During this reporting period (August 2018 through January 2019), the monitoring team
reviewed and examined the data required for APD to maintain compliance with these
paragraphs in the forms of policy, programs, and results. APD remains in Operational
Compliance with the paragraphs in the CASA that relate to the Field Training and
Evaluation Program, except for paragraph 161.

Members of the monitoring team met with the APD Academy personnel responsible for
maintaining the program development and implementation as per SOP 6-1 “Training
Division”. The Academy had a new Commander recently assigned as of the November
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2018 site visit. The new Commander was present for the visit. For this reporting period,
no known applicable changes to case law, core principles, or values, had taken place,
but revisions to SOP 1-46 Field Training And Evaluation Program (FTEP) had been
submitted. The monitoring team has received a draft copy of submitted revisions to the
Field Training and Evaluation Program that are currently under review in the chain of
command and are awaiting approval.

The monitoring team reviewed Special Orders for the FTO Class during this reporting
period. These Field Services Bureau Special Orders reflect 100% compliance with the
program’s requirement of sixteen weeks of field training and no early release from the
program.

The number of officers serving as FTO’s for the FTO program during this monitoring
period has fluctuated between 44 and 51 available FTO’s. During this period, APD
enrolled eleven new members into the program. The monitoring team reviewed the
vetting process for the applications and backgrounds of the eleven individuals. This
review indicated that all requirements of the CASA were met. APD submits
backgrounds and applications (on an on-going basis) to the monitoring team for review
to ensure compliance. In addition to the eleven new members, all current FTO
personnel, received and completed the annual FTEP/FTO In-Service Course as
required by the CASA.

In order to assess compliance with the CASA, all Special Orders for the FTO program
were reviewed. The below listed criteria were attained during this period:

      1) Recruits are trained in multiple Area Commands;
      2) Recruits are trained in different shifts; and
      3) Recruits are exposed to different Field Training Officers.

APD maintains compliance with these requirements.

Members of the monitoring team also requested COB documentation to ensure APD
continues to afford recruits with:

1) A mechanism for confidential feedback regarding quality of field training;
2) Consistency between instructional processes developed in field training and at the
training academy; and
3) APD’s consideration of feedback and what, if any, changes are made as a result of
a given recruit.

As documented in previous monitoring periods, the monitoring team reviewed the
anonymous survey utilized by APD to comply with the requirements of the CASA. The
119th Cadet Class, like previous classes, maintained a high degree of participation. The
monitoring team paid particular attention to the following areas:

             •      Use of technology;
             •      Scenario Training;

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             •      Geographic Orientation;
             •      Radio Communication;
             •      Driving;
             •      Report writing;
             •      Knowledge of criminal and traffic code;
             •      Court;
             •      Use of Force policy and practice; and
             •      Patrol Procedures.

The APD Academy continues to monitor the surveys and submit course-of-business
memoranda covering these areas. Where applicable, the Academy made changes to
the 120th Cadet Class curriculum.

The monitoring team has discussed with the FTO coordinator a concern with
maintaining a full complement of FTO’s as APD moves forward. At the June 2018 site
visit, APD advised that the current enrollment in the entire FTO Program was 75
members (FTO’s, Sergeants and Lieutenants). At the end of this reporting period,
(January 31, 2019) the breakdown of the program was four Lieutenants, eleven
Sergeants, and forty-four FTO’s for a total of fifty-nine members in the program. During
this reporting period, particularly January 2019, APD had sixty (60) recent academy
graduates to train in the FTO program. The program had only forty-four (44) available
FTO’s at that time, well under any recommended ratio as it relates to law enforcement
best practices. APD issued a Memorandum/Field Services Bureau Special Order (FSB
SO 19-05) dated January 14, 2019, putting the 21st Lateral Class (twenty-six [26]
officers) in temporary assignments. APD assigned thirty-four (34) FTO’s to the
remaining thirty-four (34) recent graduates, leaving ten (10) available FTOs in the
program. Given the certainty of promotions and retirements, APD must be forward-
thinking to avoid a shortage of FTOs in the program. The monitor offered, as a
suggestion, that APD reach out to other law enforcement agencies throughout the
country to ascertain different measures used to maintain a full complement of FTOs.
We have documented that sentiment in previous IMRs. Documentation received for this
reporting period contains data suggesting that APD has begun to address this issue. It
is too early to assess the success of that process, and we will continue to monitor the
process in the next reporting period. The City of Albuquerque has an understanding with
APD to supply the necessary support and resources. Based on information received
after the close of this monitoring period, many of our concerns outlined in the FTO
paragraphs above have come to fruition. As recently as April 2019, APD and the APOA
have engaged in focused and intense renegotiations of the nature of FTO processes
and compensation. These negotiations resulted in a weekend call by APOA to the
monitor, expressing concern over the organization, process, and compensation for
current FTOs. Based on the latest information available, resolution of these issues is
still “pending.”

4.7.141 Assessing Compliance with Paragraph 155

Paragraph 155 stipulates:
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             “APD shall supervise and manage its field-training program to
             ensure that new officers develop the necessary technical and
             practical skills required to use force in accordance with APD
             policy and applicable law. The field-training program should
             reinforce, rather than circumvent, the agency’s values, core
             principles, and expectations on use of force and engagement
             with the community. Field-Training Officers should
             demonstrate the highest levels of competence,
             professionalism, impartiality, and ethics.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.142 Assessing Compliance with Paragraph 156

Paragraph 156 stipulates:
             “APD shall revise the policies applicable to its field-training
             program to provide that academy graduates will receive 16
             weeks of field training following the training academy and that
             recruits will not be released from the field-training program
             early.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance


4.7.143 Assessing Compliance with Paragraph 157

Paragraph 157 stipulates:
            “APD shall revise the qualifications for Field Training Officers
            to require four (4) years of non-probationary experience as a
            sworn police officer and to ensure that Field Training Officers
            have a demonstrated commitment to constitutional policing,
            ethics, and professionalism.”

Results

Members of the monitoring team reviewed documentation associated with paragraph
157’s requirements and found that all current FTO meet or exceed the requirements of
this paragraph.

      Primary:           In Compliance

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      Secondary:         In Compliance
      Operational:       In Compliance


4.7.144 Assessing Compliance with Paragraph 158

Paragraph 158 stipulates:
             “New Field Training Officers and Area Sergeant Coordinators
             shall receive at least forty (40) hours of initial supervisory-
             level training and annual in-service training in the following
             areas: management and supervision; constitutional,
             community-oriented policing; de-escalation techniques; and
             effective problem-solving techniques. Field Training Officers
             and Area Sergeant Coordinators shall be required to maintain,
             and demonstrate on a regular basis, their proficiency in
             managing recruits and subordinates, as well as practicing and
             teaching constitutional, community-oriented policing; de-
             escalation techniques; and effective problem solving. APD
             shall maintain records of all evaluations and training of Field
             Training Officers and Area Sergeant Coordinators.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance


4.7.145 Assessing Compliance with Paragraph 159

Paragraph 159 stipulates:
             “Recruits in the field-training program shall be trained in
             multiple Area Commands and shifts and with several Field
             Training Officers.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.146 Assessing Compliance with Paragraph 160

Paragraph 160 stipulates:
             “APD shall provide a mechanism for recruits to provide
             confidential feedback regarding the quality of their field
             training, including the extent to which their field training was
             consistent with what they learned in the academy, and


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             suggestions for changes to academy training based upon
             their experience in the field-training program. APD shall
             consider feedback and document its response, including the
             rationale behind any responsive action taken or decision to
             take no action.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.147 Assessing Compliance with Paragraph 161

Paragraph 161 stipulates:
       “The City shall provide APD with the necessary support and
       resources to designate a sufficient number of Field Training
       Officers to meet the requirements of this Agreement.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

Recommendations for Paragraph 161:

4.7.147a: APD should conduct relevant “completed staff work” to clearly and
specifically identify the number of FTO needed to support the workload for the
new staffing numbers anticipated by APD in the next three years. That staff work
should identify:

4.7.147b: Projected “new hires” needed to meet the additional authorized
increases in staffing levels anticipated by APD in the next five years;

4.7.147c: The resulting number of certified FTOs needed to meet the projected
increases in staffing levels;

4.7.147d: The anticipated numbers of “losses” in certified FTOs (due to
retirements, promotions, transfers, etc.;

4.7.147e: The total number of new FTOs needed to meet resulting staffing levels;

4.7.147f: The resulting training adjustments that will need to be made to train new
FTOs over the coming year.




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4.7.148 Assessing Compliance with Paragraph 162

Paragraph 162 requires:

             “To maintain high-level, quality service; to ensure officer
             safety and accountability; and to promote constitutional,
             effective policing, APD and the Civilian Police Oversight
             Agency shall ensure that all allegations of officer misconduct
             are received and are fully and fairly investigated; that all
             findings in administrative investigations are supported by a
             preponderance of the evidence; and that all officers who
             commit misconduct are held accountable pursuant to a fair
             and consistent disciplinary system. To achieve these
             outcomes, APD and the Civilian Police Oversight Agency shall
             implement the requirements below .”

This Paragraph is an introductory paragraph for CPOA-related CASA requirements. As
such it requires no direct evaluation but is subsumed by the CPOA-related individual
requirements below.

4.7.149 Assessing Compliance with Paragraph 163: Duty to Report Misconduct

Paragraph 163 stipulates:

             “APD shall require that all officers and employees report
             misconduct by any APD officer or employee, including
             themselves, to a supervisor or directly to the Internal Affairs
             “Bureau for review and investigation. Where alleged
             misconduct is reported to a supervisor, the supervisor shall
             immediately document and report this information to the
             Internal Affairs Bureau. Failure to report or document alleged
             misconduct or criminal behavior shall be grounds for
             discipline, up to and including termination of employment.”



Methodology

Paragraph 163 of the CASA pertains to the duty of all APD officers and employees to
report misconduct by APD officers and employees, and the duty of supervisors to
document information regarding misconduct of subordinates and to report same to IA. It
also requires failure to do to be grounds for discipline.

During the monitoring period and the November 2018 site visit, members of the
monitoring team reviewed 8 investigations completed by IAD [IMR-9-4, IMR-9-31, IMR-
9-32, IMR-9-33, IMR-9-34, IMR-9-35], one case transferred from CPOA – [IMR-9-36],
one case completed by an independent internal affairs investigator based on an internal
complaint – [IMR-9-37] and 8 completed by CPOA [IMR-9-38, IMR-9-39, IMR-9-40,
IMR-9-41, IMR-9-42, IMR-9-43, IMR-9-44, and IMR-9-45]. The monitoring team also
reviewed APD regulations and met with the IAD Misconduct Commander and staff, and
the CPOA Director and staff.

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Results

The findings related to Paragraph163 indicate the following CASA-related outcomes.

This monitoring period we found that 5 of the IA cases we reviewed had components of
the requirements of Paragraph 163. Given the different ways misconduct comes to the
attention of a supervisor, and considering the fact that the reporting of policy violations
to IAD Misconduct is often times done in memorandum form, “immediately document
and report” is interpreted in context of the case. In three of the cases noted above, we
found the referral to be adequate. [IMR-9-34, IMR-9-4, and IMR-9-35]. However, in two
of these cases, the requirements of this paragraph were not met. In [IMR-9-32] the
immediate supervisor did not flag a potential use of force violation and refer it to IA in a
timely manner, and in [IMR-9-31] co-workers did not report observed violations of social
media policy. In both of these cases, the suspected violations were noted by higher-
level supervisors. Since these failures to refer by supervisors or co-workers were
properly referred for IAD Misconduct investigations, in these cases, the system worked.
Likewise, the failures to refer on a timely basis were eventually referred to IAD, and
were addressed in the IA investigation. Again, the system worked as designed.

This is a prime example of the improvement we are seeing recently at APD: violations
of policy and practice are being noted, assessed, and “called” prior to any need for the
monitoring team to bring these issues to APD’s attention. This is a marked change to
past practices at APD, and is compliant to process required by the CASA and good
practice.

The monitor continues to see some issues pertaining to the timeliness of referrals to
IAD Misconduct for cases now being completed, that were originally referred to IAD by
CIRT. These timeliness of referral issues in Use of Force cases are linked to the
backlog of Use of Force reviews and APD’s interpretation of when a referral to IAD
should be made during a Use of Force review (when the review is complete or when
reasonable indications of misconduct first arise).

The backlog, and interpretive issues arising out of Use of Force reviews, are more fully
discussed in regard to paragraphs 60-77 of this IMR. We note that CIRT has been
replaced in the IA process with the more carefully constructed and supervised IA-Force
Division. Nonetheless, the out-of-compliance practices engaged in by the old CIRT unit
have left a residual of force cases that were remarkably poorly investigated and
documented. We have noted in past reports that CIRT was the epicenter of counter-
CASA practices. While the personnel who created those issues are gone—CIRT was
disbanded—the issue of poorly investigated cases remains. This issue results in non-
compliance findings for operational compliance for this reporting period.

    Primary:     In Compliance
    Secondary: In Compliance
    Operational: In Compliance

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4.7.150 – 4.7.154 Assessing Compliance with Paragraphs 164-168: Public
Information on Civilian Complaints

Paragraphs 164 through 168 of the CASA pertain to the informational program required
of the APD and CPOA, requiring them to make the public aware of the procedures for
making civilian complaints against APD personnel. These paragraphs also direct that
APD and CPOA provide information, in Spanish and English, to the public in different
informational forums that increase the public’s accessibility to complaint forms and
facilitate the reporting of misconduct. These paragraphs also require the acceptance of
civilian complaints and the officers to identify themselves upon request.

Members of the monitoring team reviewed the APD and CPOA websites, and, in
addition to APD headquarters and the CPOA office and City Hall, made ten visits to
substations, and to City public buildings, including libraries and community centers.
These inspections were conducted to determine whether informational brochures and
Complaint and Commendation forms where available. While on-site at the above-
mentioned locations, we also had compliance-related meetings with IAD and CPOA
personnel.

The findings related to Paragraphs164 through 168 indicate the following outcomes,
related to requirements of the CASA:

      1. In all of its visits to APD, CPOA and City properties, the monitoring
      team found IA/CPOA informational brochures and Civilian Complaint
      and Commendation forms to be available. All were visibly displayed
      for easy public access. Moreover, the monitoring team continues to
      find the informational program to be effective. Information on
      complaint filing is available on the APD and CPOA websites, and in
      informational materials, brochures, and posters. The information and
      complaint forms were available online on the APD and CPOA
      websites.

      2. The information clearly explains the “mechanisms” for filing
      complaints, and offers complaint and commendation forms that can
      be filed electronically or downloaded. Complaint forms are otherwise
      readily accessible in hard copy at APD, CPOA, City buildings, and
      also from individual patrol vehicles. The information, both on the
      website and hard copy, is in Spanish and English. The information
      does not discourage the filing of complaints and makes clear that
      complaints can be filed anonymously or by third parties.

Further, based on our review of a stratified random sample of IA and CPOA
investigations, we found no instances of evidence or allegations of refusal to provide
name and badge numbers when requested.



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IA and CPOA are in full compliance with the requirements of Paragraphs 164 through
168.

4.7.150 Assessing Compliance with Paragraph 164: Public Information on Civilian
Complaints

Paragraph 164 stipulates:

             “Within six months of the Effective Date, APD and the Civilian
             Police Oversight Agency shall develop and implement a
             program to ensure the Albuquerque community is aware of
             the procedures to make civilian complaints against APD
             personnel and the availability of effective mechanisms for
             making civilian complaints.”

Results

The process and results of our review of this paragraph are explained in sections
4.7.150-154, above. Compliance for these paragraphs has been attained and
maintained, as described below.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.151 Assessing Compliance with Paragraph 165: Availability of Complaint
Forms

Paragraph 165 stipulates:

             “APD and the Civilian Police Oversight Agency shall make
             complaint forms and informational materials, including
             brochures and posters, available at appropriate government
             properties, including APD headquarters, Area stations, APD
             and City websites, City Hall, public libraries, community
             centers, and the office of the Civilian Police Oversight
             Agency. Individuals shall be able to submit civilian
             complaints through the APD and City websites and these
             websites shall include, in an identifiable and accessible form,
             complaint forms and information regarding how to file civilian
             complaints. Complaint forms, informational materials, and the
             APD and City websites shall specify that complaints may be
             submitted anonymously or on behalf of another person.
             Nothing in this Agreement prohibits APD from soliciting
             officer commendations or other feedback through the same
             process and methods as above.”




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Results

Based on our site-visits, observations, and facility reviews noted in paragraphs 4.7.150
– 4.7.154, above, we find APD and CPOA in full compliance with these paragraphs.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.152 Assessing Compliance with Paragraph 166: Public Information on
Complaint Process

Paragraph 166 stipulates:

             “APD shall post and maintain a permanent placard describing
             the civilian complaint process that includes relevant contact
             information, such as telephone numbers, email addresses,
             and Internet sites. The placard shall specify that complaints
             may be submitted anonymously or on behalf of another
             person. APD shall require all officers to carry complaint
             forms, containing basic complaint information, in their
             Department vehicles. Officers shall also provide the officer’s
             name, officer’s identification number, and, if applicable, badge
             number upon request. If an individual indicates that he or she
             would like to make a misconduct complaint or requests a
             complaint form for alleged misconduct, the officer shall
             immediately inform his or her supervisor who, if available, will
             respond to the scene to assist the individual in providing and
             accepting appropriate forms and/or other available
             mechanisms for filing a misconduct complaint.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.153 Assessing Compliance with Paragraph 167: Duty to Accept Citizen
Complaints

Paragraph 167 stipulates:

             “APD agrees to accept all civilian complaints and shall revise
             any forms and instructions on the civilian complaint process
             that could be construed as discouraging civilians from
             submitting complaints.”

Results

      Primary:     In Compliance
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      Secondary: In Compliance
      Operational: In Compliance

4.7.154 Assessing Compliance with Paragraph 168: Multi-Lingual Complaint
Forms

Paragraph 168 stipulates:

             “Complaint forms and related informational materials shall be
             made available and posted in English and Spanish.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance


4.7.155 – 4.7.168 Assessing Compliance with Paragraphs 169-182: Training on
Complaint Intake

Paragraphs 169 through 182 of the CASA pertain to the necessary steps detailing the
receipt, acceptance and processing of complaints. These paragraphs require APD and
CPOA to receive all complaints, regardless of whether they are made internally or
externally, and regardless of whether they are made timely. They require an effective
and uniform system that is allegation-based for classifying complaints, and internally
referring and appropriately assigning complaints for investigation.

During the monitoring period and the 9th site visit, members of the monitoring team held
meetings with the IAD Misconduct Commander and members of his staff; CPOA
Executive Director and members of his staff; reviewed complaint log-in and
classification records, selected by way of a stratified random sample; and reviewed 8 IA
and 8 CPOA investigations completed during the monitoring period. The monitoring
team also reviewed the APD and CPOA websites and POB minutes relative to approval
of investigations

The findings related to Paragraph169 through 182 indicate the following outcomes,
related to requirements of the CASA.

Based on our present and prior reviews, internal and civilian (external) complaints
continue to be accepted, reviewed, classified and assigned for investigation according
to CASA requirements and approved policy.

Regarding acceptance of complaints, we continue to find no instances of APD or CPOA
refusing to accept a citizen complaint. It is well known policy among APD personnel that
refusing to accept a complaint, or the discouraging of a complaint are grounds for
discipline. Although timely complaints are encouraged, untimely complaints are

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accepted, as well as anonymous and third-party complaints. Of the total cases
reviewed, we found none during this reporting period that were initiated by an online
anonymous complaint. That notwithstanding, given APD’s and CPOA’s compliance with
paragraph 172 in the past, operational compliance is continued for the task of
accepting, processing and investigating anonymous complaints.

APD has developed and is using a centralized numbering and tracking systems that
continues to assign unique identification numbers to all received complaints. Complaints
are received and classified according to allegations and not potential outcomes. We
found no instances of complaints being improperly classified. The tracking system is
being used correctly, and appears to maintain accurate data, based on our comparisons
with “known data.” APD’s Blue Team management software enables allegations of
misconduct by homeless or those who have a mental illness to be tracked. We continue
to find that all complaints referred or made to IA, that are within the jurisdiction of the
CPOA, are timely referred to CPOA within 3 business days.

Of the total investigations reviewed by the by the monitoring team this reporting period,
we found one involving a situation where APD personnel received a complaint from a
third party and then informed a supervisor within the appropriate time limitation [IMR-9-
4]. We found one involving a citizen request for a supervisor, and the supervisor timely
appeared at the scene and provided complaint information. [CPC-153-18].

 We also found only two cases in which supervisors were involved in the incident that
was the subject of a complaint. In one, [CPC-128-18], a supervisor was involved in a
Use of Force (forcible arrest) incident. He properly recognized that he could not do the
review and called in a Lieutenant to conduct the review. In the other, [IMR-9-32], a
supervisor was involved in a Use of Force incident in which an officer deployed a taser.
Although the supervisor was appropriately the subject of the investigation for conducting
a deficient Use of Force review, an issue left unaddressed was whether the supervisor
should have conducted the Use of Force review since the sergeant was involved in the
incident. APD was in compliance with one of the two cases applicable to the
requirements of this paragraph, and not in compliance with the second. Thus, this is
only a 50% compliance rate with paragraph 182 of the CASA, rendering APD out of
compliance with this aspect of this section of the CASA.

We do note, for the sake of clarity, that as the number of incidents applicable to a given
paragraph of the CASA declines, the probability of an out of compliance finding
escalates. This is central to our long-standing push to have APD train, supervise, and
review errors out of their systems. For example, if a lieutenant or commander had
caught and corrected the error in [IMR-9-32], APD would have maintained compliance.

The monitoring team notes that APD has been in compliance with paragraph 182 of the
CASA for four consecutive IMRs, and thus this non-compliance appears to be an
anomaly. The monitoring team would expect that Use of Force reviews or any
supervisory review of officer conduct easily would be recognized as an event not to be
investigated by a supervisor who participated in the same incident that is the subject of

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the review or complaint. Again, effective supervisory and management review is the
key to APD’s success. Failure to implement and “monitor” such systems is certain to
lead to failure.

4.7.155 Assessing Compliance with Paragraph 169: Training on Complaint Intake

Paragraph 169 stipulates:

             “Within six months of the Operational Date, APD shall train all
             personnel in handling civilian complaint intake.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.156 Assessing Compliance with Paragraph 170: Complaint Receipt Process

Paragraph 170 stipulates:

             “APD shall accept complaints regardless of when they are
             filed. The City shall encourage civilians to promptly report
             police misconduct so that full investigations can be made
             expeditiously, and the full range of disciplinary and corrective
             action be made available.”

Results

We found no instances in which the documentation of complaints reviewed by the
monitoring team this reporting period indicated a refusal by APD to accept a citizen’s
complaint. Further, we are not aware of any information either formally, through our
report review processes, or informally, through our contacts with amici and other
interested persons that suggest this is an issue.

      Primary:       In Compliance
      Secondary:     In Compliance
      Operational:   In Compliance

4.7.157 Assessing Compliance with Paragraph 171: Prohibition of Refusal to
Take Complaint

Paragraph 171 stipulates

             “The refusal to accept a misconduct complaint, discouraging
             the filing of a misconduct complaint, or providing false or
             misleading information about filing a misconduct complaint
             shall be grounds for discipline.”


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Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.158 Assessing Compliance with Paragraph 172: Acceptance of Anonymous
Complaints

Paragraph 172 stipulates:

             “APD and the Civilian Police Oversight Agency shall accept
             all misconduct complaints, including anonymous and third-
             party complaints, for review and investigation. Complaints
             may be made in writing or verbally, in person or by mail,
             telephone (or TDD), facsimile, or electronic mail. Any
             Spanish-speaking individual with limited English proficiency
             who wishes to file a complaint about APD personnel shall be
             provided with a complaint form in Spanish to ensure that the
             individual is able to make a complaint. Such complaints will
             be investigated in accordance with this Agreement.”

Results

      Primary:       In Compliance
      Secondary:     In Compliance
      Operational:   In Compliance

4.7.159 Assessing Compliance with Paragraph 173: Inform Supervisors of Citizen
Complaints

Paragraph 173 stipulates:

             “All APD personnel who receive a misconduct complaint shall
             immediately inform a supervisor of the misconduct complaint
             so that the supervisor can ensure proper intake of the
             misconduct complaint. All misconduct complaints shall be
             submitted to the Internal Affairs Bureau by the end of the shift
             following the shift in which it was received.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.160 Assessing Compliance with Paragraph 174: Allegation by Judicial
Officers

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Paragraph 174 stipulates:

             “APD and the Civilian Police Oversight Agency shall develop
             a system to ensure that allegations by a judicial officer of
             officer misconduct made during a civil or criminal proceeding
             are identified and assessed for further investigation. Any
             decision to decline investigation shall be documented.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.161 Assessing Compliance with Paragraph 175: Allegations Made by the
Homeless or the Mentally Ill

Paragraph 175 stipulates:

             “APD and the Civilian Police Oversight Agency shall track
             allegations regarding misconduct involving individuals who
             are known to be homeless or have a mental illness, even if the
             complainant does not specifically label the misconduct as
             such.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.162 Assessing Compliance with Paragraph 176: Centralized Complaint
Numbering System

Paragraph 176 stipulates that:

             “Within six months of the Operational Date, the Internal
             Affairs Bureau, in coordination with the Civilian Police
             Oversight Agency, shall develop and implement a centralized
             numbering and tracking system for all misconduct
             complaints. Upon the receipt of a complaint, the Internal
             Affairs Bureau shall promptly assign a unique numerical
             identifier to the complaint, which shall be provided to the
             complainant at the time the numerical identifier is assigned
             when contact information is available for the complainant.”

Results

      Primary:      In Compliance

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      Secondary: In Compliance
      Operational: In Compliance

4.7.163 Assessing Compliance with Paragraph 177: IAB Complaint Data
Management

Paragraph 177 stipulates:

             The Internal Affairs Bureau’s tracking system shall maintain
             accurate and reliable data regarding the number, nature, and
             status of all misconduct complaints, from initial intake to final
             disposition, including investigation timeliness and notification
             to the complainant of the interim status and final disposition
             of the investigation. This system shall be used to determine
             the status of complaints and to confirm that a complaint was
             received, as well as for periodic assessment of compliance
             with APD policies and procedures and this Agreement,
             including requirements on the timeliness of administrative
             investigations.

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.164 Assessing Compliance with Paragraph 178: Supervisors to Provide
Complaint Information

Paragraph 178 stipulates:

             “Where a supervisor receives a complaint alleging that
             misconduct has just occurred, the supervisor shall gather all
             relevant information and evidence and provide the
             information and evidence to the Internal Affairs Bureau. All
             information should be referred to the Internal Affairs Bureau
             by the end of the shift following the shift in which the
             misconduct complaint was received, absent exceptional
             circumstances.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.165 Assessing Compliance with Paragraph 179: Referral of Complaints to
CPOA

Paragraph 179 stipulates:

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             “Within three business days of the receipt of a misconduct
             complaint from a civilian, the Internal Affairs Bureau shall
             refer the complaint to the Civilian Police Oversight Agency.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.166 Assessing Compliance with Paragraph 180: Handling of Internal
Complaints by IAB

Paragraph 180 stipulates:

             “Internal misconduct complaints submitted by APD personnel
             shall remain with the Internal Affairs Bureau for review and
             classification. The Internal Affairs Bureau shall determine
             whether the internal complaint will be assigned to a
             supervisor for investigation or retained by the Internal Affairs
             Bureau for investigation. In consultation with the Chief, the
             commanding officer of the Internal Affairs Bureau shall also
             determine whether a civilian or internal complaint will be
             investigated criminally by the Internal Affairs Bureau, the
             Multi- Agency Task Force, and/or referred to the appropriate
             federal law enforcement agency.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.167 Assessing Compliance with Paragraph 181: IAB Classification Protocol

Paragraph 181 stipulates:

             “APD shall continue to maintain an internal complaint
             classification protocol that is allegation-based rather than
             anticipated-outcome-based to guide the Internal Affairs
             Bureau in determining where an internal complaint should be
             assigned.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

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4.7.168 Assessing Compliance with Paragraph 182: Prohibition from Self-
Investigation

Paragraph 182 stipulates:

              “An internal complaint investigation may not be conducted by
              any supervisor who used force during the incident; whose
              conduct led to the injury of a person; who authorized the
              conduct that led to the reported incident or complaint; or who
              witnessed or was involved in the incident leading to the
              allegation of misconduct.”

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

Recommendations for Paragraph 182:

4.7.168a: Ensure the sergeant who conducted a self-investigation has the error
formally documented and is directly counseled regarding the nature of his error
and the proper way to respond to such fact situations.

4.7.168b: Ensure counseling occurs and is documented regarding the self-
investigation is documented.

4.7.168c: Conduct a thorough review of the offending sergeant’s past practice to
ensure all similar issues from this sergeant’s recent practice (six months) are
noted, documented and responded to in an appropriate manner.

4.7.169 – 4.7.180 Assessing Compliance with Paragraphs 183 – 194: Investigation
of Complaints

Paragraphs 183 through 194 of the CASA pertain to requirements for best practices in
the investigation of misconduct complaints. These paragraphs require that all relevant
evidence be considered, that investigations be fair and impartial, and that they reach
reliable findings. They also impose time limits for completion of investigations; designate
permissible findings with the corresponding standard of proof; and require an
assessment regarding whether the facts of an investigation indicate a change in policy,
procedure, or training. In addition, requirements are set forth regarding situations in
which there may be simultaneous criminal and administrative investigations of the same
subject matter.

During the 9th monitoring period we found the following outcomes.



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In regard to paragraphs 183 through 194, members of the monitoring reviewed a
stratified random sampling of 8 investigations completed by IAD and 8 completed by
CPOA. The monitoring team also met with the chief and the city attorney, the CPOA
director and members of CPOA, the IAD Misconduct Commander and members of
CPOA, attended a POB meeting and reviewed CPOA/POB meetings, agenda, minutes
and findings on the CPOA website.

The findings related to Paragraphs 183 through 194 address 12 requirements of the
CASA.

APD personnel are required by policy and practice to cooperate with the internal affairs
system. This cooperation is required by regulation and practice. We continue to find no
instances in which APD personnel refused to cooperate with an investigation.

Investigations conducted by IAD Misconduct and by CPOA generally are of good
quality. Absent extraordinary circumstances, statements are taken from complainants
and relevant witnesses, and the interviews are recorded, accurately assessed and given
appropriate evidentiary weight. Investigations are documented in writing and reflect
salient training and policy assessments. Timeliness requirements of investigations, once
assigned, are met. The appropriate case dispositions are generally made, and findings
are based on the appropriate quantum of proof.

Our review for this reporting period revealed 6 investigations that were administratively
closed or had allegations that were partially administratively closed [IMR-9-34, IMR-9-
33, IMR-9-31, IMR-9-39, IMR-9-41, IMR-9-40]. Our assessments indicated all were
proper closures. In addition to the CASA criteria for administratively closing cases, IAD
and CPOA may also use an administrative closure disposition in cases in which a
preliminary investigation reveals the allegations cannot be minimally sustained.

Simultaneous criminal and administrative investigations of the same subject matter are
kept separate, and proper steps are followed regarding the protection of an officer’s
constitutional rights in an administrative investigation while a criminal investigation is
pending. Coordination and consultation with prosecutorial authorities are properly
conducted.

In the cases reviewed by the monitoring team this reporting period, we found two cases
that had preliminary indications of criminal conduct [I-MR-9-4 and IMR-9-36].

There was evidence in [IMR-9-4] that proper and timely coordination with the relevant
prosecuting authority took place. IAD appropriately held off taking a compelled
statement from the subject officer until approval was given by the District Attorney.
There was also an indication in a related investigation [IMR-9-37], that the total
administrative investigation in [IMR-9-4] was put on hold until the criminal investigation
was completed. We note that paragraph 188 in conjunction with paragraph 186 requires
the criminal and administrative investigations to proceed simultaneously but allows for a
delay in taking statements from the subject and witnesses until completion of the

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criminal investigation, or permission is given to take by the statements from the
appropriate prosecutorial authority.

We put APD on notice that these paragraphs do not allow for carte blanche delay of an
administrative investigation in toto during the investigation of a related criminal
investigation. In such cases the monitoring team would expect that the administrative
investigation would continue in all aspects not involving the taking of statements from
witnesses who may incriminate themselves. We would also expect a timely request be
made to the prosecutorial authority to take compelled statements from witnesses who
IAD believes may incriminate themselves, and a timely statement be taken once
permission is granted by the prosecutorial authority. The monitoring team will scrutinize
these issues in future cases involving criminal and administrative investigations of the
same alleged misconduct.

Unlike [IMR-9-4], in [IMR-9-36] there was no indication that coordination with
prosecutorial authorities took place. However, there was not enough proof to rise to the
level of probable cause required for notification of the District Attorney’s Office;
therefore, this case is not deemed to be deficient.

We found no cases in which an officer failed to submit a public safety statement, once
requested, by claiming that the statement would be self-incriminating. We did find,
however, several cases in which complainants or logical witnesses were not interviewed
[IMR-9-38, IMR-9-39, and IMR-9-41]; however, adequate explanations were given for
the absence of interviews (e.g. complainant did not respond to repeated requests for
interview, etc.).

The advisements to complainants regarding the reopening of administratively closed
cases and of appealing CPOA findings, as well the actual practices related to these
advisements, are firmly in place, and appear to be followed as a matter of practice.

Notwithstanding the generally good quality of investigations conducted by IAD
Misconduct and CPOA this reporting period, the monitoring team has noted some
issues with elements related to paragraphs 183 through 194 of the CASA. These
findings by the monitoring team indicate two deficient cases of the 8 IAD and 8 CPOA
cases we reviewed by way of a stratified random sample, for a collective 88%
compliance rate relative to paragraphs 183 and 190 of the CASA, less than the 95%
required for operational compliance. Each of these problematic cases is discussed in
some detail below.

In [IMR-9-32], a sustained finding against a supervisor was made for a deficient use of
force review. However, the supervisor was involved in the incident and thus, per
paragraph 51 of the CASA, should not have conducted a review of the incident. The IA
investigation did not focus on this aspect and therefore we find it to be less than
thorough.




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One case the monitoring team found extremely problematic in terms of reliability and
thoroughness was [ IMR-9-37]. This matter was referred to an independent outside
investigator, to avoid a conflict or the appearance of a conflict of interest.

The case involved allegations of altering an official document, that is, backdating the
completion of an internal affairs investigation to misrepresent that the investigation was
completed within the 120-day timeline (90 days plus a 30-day extension) required by the
Collective Bargaining Agreement (CBA) and the CASA. An IA Detective brought the
allegation to the attention of APOA and the APOA in turn lodged a complaint with IAD
Misconduct.

After conducting a thorough review of the investigation in question, the monitor found
that there was no question that the investigation was completed by the assigned IA
Detective a day before (a Thursday) the expiration of the 120-day period (a Friday), and
that the completed and reviewed/approved investigation was not sent to the Chain of
Command for review until after four days after the expiration of the 120-day timeline (2
business days - a Tuesday). The issue was whether the review/approval of the
investigation by the former IA Commander was completed on, before, or after the 120th
day.

The IAPro log showed that the subject commander did not review the investigation in
IAPro until one business day after the expiration of the 120-day period (a Monday), and
that a printed copy of the investigation was made on the same day. That
notwithstanding, there was evidence that the commander had been aware of the
investigation and reviewed it incrementally as it progressed, that printed copies of the
investigation may have been made before and/or on the 120th day, and that the
commander may have reviewed printed copies on the 120th day. The evidence also left
open the possibility that the commander reviewed the completed investigation with an
IA Lieutenant as he was logged into IAPro on the 120th day. Given the conflicting
evidence, credibility and ability to recollect were crucial to this investigation.

We found several areas that call into question the reliability of the investigation. First, a
preliminary investigation was conducted in which the detective who brought this matter
to light was questioned in what was described as a "two-hour conversation." Although a
memorandum was made to reflect that the preliminary investigation indicated a formal
investigation was warranted, it was, in the monitor’s opinion, overly conclusory and did
not contain details of the conversation. The formal investigation revealed that notes of
the "two-hour conversation" had been taken, but the notes were never produced or
incorporated into the formal investigation. Thus, what the IA Detective said previously in
the preliminary investigation could not be compared to his statement given in the formal
IA investigation. We see this as a shortfall in investigative process.

Secondly, the subject of the investigation defended herself in the first part of her
statement by essentially stating she completed her review on the 120th day (a Friday)
and logged in and reviewed it in IAPro one business day later (a Monday) to check on
the existence of a Disciplinary Action Packet (DAP). A DAP is not considered part on an

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IA investigation, rather it is an appendage to an investigation, having been developed by
IAD Misconduct at the suggestion of the monitor to help the Chain of Command in
calculating the correct level of discipline. She was not 100% clear and adamant in her
recollection, but was somewhat certain she had completed the review on time. During
her statement the main investigator (there were two independent investigators present
for the questioning) who was conducting the questioning abruptly went off the record
and the statement resumed 14 minutes later. No explanation was given for the break in
the statement. This is a critical error in protocol, and is a direct violation of accepted
practice, as there was no indication for the record as to what transpired in those 14
minutes.

After the break the subject officer, who was without representation, in response to
continued questioning, started to modify her statement by stating that although she
reviewed the case before the expiration of 120 days, she may not have conducted a
final review before the expiration of the 120-day period. Her concern in dating her
review as completed on the 120th day was due to "DOJ" (meaning CASA time
requirements and monitoring). There was another unexplained off-the-record pause in
the statement, this one lasting 7 minutes, after which she responded to the
investigator's "recapping" of her statement by admitting to backdating her review of the
investigation because of oversight concerns, and also due to unreasonable workload
and receiving completed cases for review at the “last hour” as reasons leading to the
backdating. At the end of the statement the second investigator could be heard stating
"you did the right thing", which in the context we interpreted to mean admitting to the
backdating.

We have no evidence to cast aspersions regarding the existence or nature of any
conversation that may have taken place during the two aforementioned pauses. That
said, the findings in this matter rely very heavily on the subject's statement. Given the
nature of the formal statement, the monitoring team believes what may have been said
by the subject before her formal statement is important for comparison purposes, and to
judge the reliability of her formal statement. During her formal statement she admitted
going to the Chief and talking about the incident and apologizing, although she did not
recall the exact details of the conversation. Therefore, we consider it important to know
exactly what she said to the Chief. The Chief should have been a witness in this
investigation. Instead, no statement was taken from the Chief and we do not know if the
description of her conduct with the Chief matches what she finally admitted to in her
formal statement.

We note also that several issues were missed or not adequately dealt with. Supervisory
reviews can be in-depth; they can be perfunctory; they can be incremental as an
investigation progresses, or any combination of these supervisory review processes.
Also, at the time the events transpired in the investigation, the supervisory reviews
could be conducted in IAPro (with an electronic log), or documented by hard copy
documents. What constitutes an adequate review for purposes of putting one's
signature on an investigation and approving it as of a certain date, was not addressed
or resolved in the investigation. The fact remains the commander may have had enough

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incremental awareness of the investigation to be satisfied with it on the date she
indicated.

A sub-issue existed in the investigation regarding whether hard copies contained in a
binder were printed on the 120th day or the 123rd day. There was conflicting evidence
on this issue. There were also indications that the investigation can be printed by the
assigned investigating detective outside of logging into IAPro, and that paper copies
existed before the printing of copies for the binder. Indeed, our review confirmed that
the IA Commander had reviewed the investigation outside of IAPro and had questions
about the investigation as it was progressing. The issue of whether the assigned
detective printed hard copies for review before the hard copies were printed for the
binder was not addressed in the investigation of this review, nor were findings
developed. These are critical omissions.

In addition, the matter was investigated solely from the standpoint of whether the review
document was altered (backdated); however, there was conflicting evidence regarding
this issue. What was overlooked is the issue of tolerating a system within one's
command, which consisted of a hybrid of review in IAPro and review of printed copies,
and of cases being submitted for review only a day before the due date. It was a system
that created a climate in which the allegation in this case was capable of being made.
This raises issues of appropriate supervision, system design, and command control,
and thus the case should have also been considered and analyzed in light of the
requirements of SOP 3-14.

Another allegation of backdating against the subject commander was made by a
witness to the primary allegation in this case. This secondary allegation was non-
sustained, and was actually refuted by a witness. Two witnesses who could have shed
additional light on the secondary allegation were former members of the APD. No effort
was made to question them, apparently because they are no longer uniformed
members and their statements could not be compelled. However, they could have been
requested to give voluntary statements, but it appeared that no effort was made to do
so. To our knowledge, both individuals are still residing in New Mexico, and that one is
currently a member of a law enforcement agency in New Mexico. Although the
allegation was refuted by a witness, an attempt still should have been made to obtain
the statements of the two witnesses who were former members of APD, an either a
statement taken from each witness or an explanation given if they refused to give a
statement or could not be contacted. The fact that no attempt was made to take these
statements gives rise to concerns of failure to conduct a complete investigation on this
secondary allegation.

Other issues that arise in this case constitute a conflict, or at least the appearance of a
conflict, of interest. This causes concern for the monitoring team on several fronts:
.
         1. The APOA was the complainant in this matter. That
         notwithstanding, witnesses in this investigation were represented by
         APOA representatives and its attorneys. If the APOA is the

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       complainant, it should not be participating in the investigation. This
       would be akin to allowing a civilian complainant to participate in the
       investigation of his/her own complaint against an officer. At the very
       least if a member of the APOA is the complainant, and the APOA
       represents witnesses in the investigation, then that member should be
       appropriately "walled-off" from any participation in representing
       witnesses in the investigation and having any contact with APOA
       representatives about the case itself.

       2. The Chief was a witness to a conversation/apology by the subject
       and should have been asked to give a statement in this investigation.
       Upon being made a witness, he should have been advised to recuse
       himself from imposing discipline, and to delegate disciplinary authority
       to a Deputy Chief. Instead he was not made a witness and imposed
       the discipline in this matter.

       3. The supervisor who was tasked with conducting the preliminary
       investigation, upon finding that a formal investigation should occur,
       was immediately assigned to replace the subject commander. At a
       very minimum, this creates the appearance of impropriety. Although
       there is no indication in the record that the supervisor who conducted
       the preliminary investigation anticipated being assigned to replace the
       subject commander, or did not conduct a proper preliminary
       investigation, this scenario could reasonably give rise to a perception
       of a significant lack of a sense of fairness and propriety. Quite simply
       when one conducts a preliminary investigation that leads to a formal
       investigation and a transfer of the subject, the supervisor conducting
       the preliminary should not be assigned to replace the transferred
       subject.

Based on the evidence available to us, we cannot and do not assert that these issues
skewed the outcome in this matter, we do note, however, that these issues raise
perception issues and concerns that can serve to undermine public confidence in the
outcome. The "optics,” as they say, are not good.

We also note that the CPOA undertook an independent review and disagreed with the
findings of the independent investigator, finding no violations of the part of the subject
commander. CPOA also did not find concerns with the integrity of the supervisory
review/approval system of IA investigations. We further note that the subject of the
investigation, that was allegedly backdated, resigned instead of facing termination, so
apparently the 120-day rule was not raised as a defense to discipline, another indication
that the issue of exactly when the review was completed was not easily decipherable.

We agree with CPOA on its finding regarding the integrity of the system. In our
monitoring reviews we have not come across other indications of potential backdating.
The compliance division and current leadership of IAD are aware of the dating of review

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issues, and IAD apparently is working on a policy that would prevent the questioning of
the date a review is completed. That policy, however, will not affect the results of the
investigation under discussion here.

We cannot say we agree or disagree with either the findings of the independent
investigator or of CPOA. Rather we feel that the reliability of investigation and
confidence in its outcome cannot be found in the current state of the record. Although
IAD did not conduct this investigation, it was the City's responsibility to ensure it was
conducted in accordance with the CASA. We find the investigation deficient for
purposes of compliance with paragraphs 183 and 190 of the CASA.

In regard to the time requirements contained in Paragraph 191, all of the 8 IAD and 8
CPOA investigations we sampled were timely completed once they were assigned. (The
investigation in [IMR-9-4] was completed on time but the issue was whether the
supervisory review was completed on the 120th day – we do not find this case to be
deficient from a time standpoint, particularly since there was a delay due to a related
criminal investigation). That notwithstanding, we note that in three cases, [IMR-9-39,
IMR-9-43, and IMR-9-34], assignment was made after seven working days of having
received the complaint. In [IMR-9-36] the transfer to IA was made by CPOA after seven
working days from the date the complaint was received. The monitor understands that
in some instances it may take longer than seven working days for a preliminary
investigation or an investigation to reveal the possibility of criminality and therefore the
necessity of a referral to IA from CPOA. However, in this case the potential criminality
was apparent on the face of the anonymous website complaint. Since this is a matter of
first impression, the monitor will not count this as deficient, however CPOA is put on
warning that the same seven working day requirement for assignment will in the future
be applied to transfers from CPOA to IA where the potential for criminality is apparent
on the face of the complaint. Once assigned, all investigations we reviewed this
reporting period were completed in timely fashion.

Although investigations with or without extensions generally meet the time requirements
of the CASA and the CBA, the failure to assign within seven working days renders the
overall compliance rate for paragraph 191 at 81%, well below the 95% necessary for
operational compliance. We note there are plans in process to add a case coordinator
position to IAD and a case coordinator to CPOA. If those “plans” come to fruition, we
would expect the assignment issue to be ameliorated. We will continue to monitor
these timelines in future monitor’s reports.

4.7.169 Compliance with Paragraph 183: Investigations Reach Reliable
Conclusions

Paragraph 183 stipulates:

              “APD and the Civilian Police Oversight Agency shall ensure
              that investigations of officer misconduct complaints shall be
              as thorough as necessary to reach reliable and complete
              findings. The misconduct complaint investigator shall

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             interview each complainant in person, absent exceptional
             circumstances, and this interview shall be recorded in its
             entirety, absent specific, documented objection by the
             complainant. All officers in a position to observe an incident
             or involved in any significant event before or after the original
             incident, shall provide a written statement regarding their
             observations, even to state that they did not observe
             anything.

Results

     Primary:     In Compliance
     Secondary: In Compliance
     Operational: Not In Compliance

Recommendations for Paragraph 183:

4.7.169a: Interview all witnesses. If known witnesses are not interviewed, explain,
in writing, why they were not interviewed.

4.7.169b: Immediately terminate the practice of utilizing ACMs, until APD
develops a policy regarding their continued use that is reviewed and approved by
the monitor.

4.7.169c: The City should appoint a review and approval authority for all APD
investigations that are conducted by an independent investigator.

4.7.170 Assessing Compliance with Paragraph 184: Investigations Documented
in Writing

Paragraph 184 stipulates:

             “APD and the Civilian Police Oversight Agency shall
             investigate all misconduct complaints and document the
             investigation, its findings, and its conclusions in writing. APD
             and the Civilian Police Oversight Agency shall develop and
             implement a policy that specifies those complaints other than
             misconduct that may be resolved informally or through
             mediation. Administrative closing or inactivation of a
             complaint investigation shall be used for the most minor
             policy violations that do not constitute a pattern of
             misconduct, duplicate allegations, or allegations that even if
             true would not constitute misconduct.”

Results

Based on our on-going review of their finished work product, we find CPOA and APD in
compliance with this paragraph.

      Primary:      In Compliance

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      Secondary: In Compliance
      Operational: In Compliance

4.7.171 Assessing Compliance with Paragraph 185: Required Cooperation with
IAB/CPOA

Paragraph 185 stipulates:

             “APD shall require personnel to cooperate with Internal
             Affairs Bureau and Civilian Police Oversight Agency
             investigations, including appearing for an interview when
             requested by an APD or Civilian Police Oversight Agency
             investigator and providing all requested documents and
             evidence under the person’s custody and control.
             Supervisors shall be notified when a person under their
             supervision is summoned as part of a misconduct complaint
             or internal investigation and shall facilitate the person’s
             appearance, absent extraordinary and documented
             circumstances.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.172 Assessing Compliance with Paragraph 186: Separate Administrative and
Criminal Investigations

Paragraph 186 stipulates:

             “APD and the City shall develop and implement protocols to
             ensure that criminal and administrative investigations of APD
             personnel are kept appropriately separate, to protect APD
             personnel’s rights under the Fifth Amendment. When an APD
             employee affirmatively refuses to give a voluntary statement
             and APD has probable cause to believe the person has
             committed a crime, APD shall consult with the prosecuting
             agency (e.g., District Attorney’s Office or USAO) and seek the
             approval of the Chief before taking a compelled statement.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.173 Assessing Compliance with Paragraph 187: Advisement of Officer Rights

Paragraph 187 stipulates:

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             “Advisements by the Internal Affairs Bureau or the Civilian
             Police Oversight Agency to APD personnel of their Fifth
             Amendment rights shall only be given where there is a
             reasonable likelihood of a criminal investigation or
             prosecution of the subject employee.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.174 Assessing Compliance with Paragraph 188: Notification of Criminal
Misconduct

Paragraph 188 stipulates:

             “If at any time during misconduct complaint intake or
             investigation the investigator determines that there may have
             been criminal conduct by any APD personnel, the investigator
             shall immediately notify the Internal Affairs Bureau
             commanding officer. If the complaint is being investigated by
             the Civilian Police Oversight Agency, the investigator shall
             transfer the administrative investigation to the Internal Affairs
             Bureau. The Internal Affairs Bureau commanding officer shall
             immediately notify the Chief. The Chief shall consult with the
             relevant prosecuting agency or federal law enforcement
             agency regarding the initiation of a criminal investigation.
             Where an allegation is investigated criminally, the Internal
             Affairs Bureau shall continue with the administrative
             investigation of the allegation. Consistent with Paragraph
             186, the Internal Affairs Bureau may delay or decline to
             conduct an interview of the subject personnel or other
             witnesses until completion of the criminal investigation
             unless, after consultation with the prosecuting agency and
             the Chief, the Internal Affairs Bureau deems such interviews
             appropriate.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.175 Assessing Compliance with Paragraph 189: Provision of Public Safety
Statements

Paragraph 189 stipulates:



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             “Nothing in this Agreement or APD policy shall hamper APD
             personnel’s obligation to provide a public safety statement
             regarding a work-related incident or activity, including Use of
             Force Reports and incident reports. APD shall make clear
             that all statements by personnel in incident reports, arrest
             reports, Use of Force Reports and similar documents, and
             statements made in interviews such as those conducted in
             conjunction with APD’s routine use of force investigation
             process, are part of each employee’s routine professional
             duties and are not compelled statements. Where an employee
             believes that providing a verbal or written statement will be
             self-incriminating, the employee shall affirmatively state this
             and shall not be compelled to provide a statement without
             prior consultation with the prosecuting agency (e.g., District
             Attorney’s Office or USAO), and approval by the Chief.”

Results

No instances of officers refusing to provide a public safety statement were noted during,
this reporting or in previous reporting periods. Given APD’s performance related to this
requirement over the past three reporting periods, the monitor finds them in compliance
for the requirements of Paragraph 189.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.176 Assessing Compliance with Paragraph 190: Considering All Relevant
Evidence

Paragraph 190 stipulates:

             “In each investigation, APD and the Civilian Police Oversight
             Agency shall consider all relevant evidence, including
             circumstantial, direct, and physical evidence. There will be no
             automatic preference for an officer’s statement over a non-
             officer’s statement, nor will APD or the Civilian Police
             Oversight Agency disregard a witness’s statement merely
             because the witness has some connection to the complainant
             or because of any criminal history. During their investigation,
             APD and the Civilian Police Oversight Agency shall take into
             any convictions for crimes of dishonesty of the complainant
             or any witness. APD and the Civilian Police Oversight Agency
             shall also take into account the record of any involved officers
             who have been determined to be deceptive or untruthful in
             any legal proceeding, misconduct investigation, or other
             investigation. APD and the Civilian Police Oversight Agency
             shall make efforts to resolve material inconsistencies between
             witness statements.”

Results


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      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

Recommendation for Paragraph 190:

4.7.176: For case number [IMR-9-37] follow up on any contradicting factors or
evidence, and ensure these issues are resolved.

4.7.177 Assessing Compliance with Paragraph 191: 90 Days to Complete
Administrative Investigations

Paragraph 191 stipulates:

             “All administrative investigations conducted by the Internal
             Affairs Bureau or the Civilian Police Oversight Agency shall
             be completed within 90 days of the initiation of the complaint
             investigation. The 90-day period shall not include time for
             review. An extension of the investigation of up to 30 days
             may be granted but only if the request for an extension is in
             writing and is approved by the Chief. Review and final
             approval of the investigation, and the determination and
             imposition of the appropriate discipline, shall be completed
             within 30 days of the completion of the investigation. To the
             extent permitted by state and city law, extensions may also be
             granted in extenuating circumstances, such as military
             deployments, hospitalizations of the officer, and extended
             absences.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

Recommendations for Paragraph 191

4.7.177a: APD should refocus its efforts related to this paragraph by conducting
a quantitative analysis of the reasons that cause any case to be delayed past 90
days.

4.7.177b: Once causes for these delays are identified, develop recommendations
for changes to policy, staffing, procedure or practice that are designed to
eliminate such delays.

4.7.178 Assessing Compliance with Paragraph 192: Case Dispositions

Paragraph 192 stipulates:


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“APD or Civilian Police Oversight Agency investigator shall explicitly identify and
recommend one of the following dispositions for each allegation of misconduct in an
administrative investigation:

              a) “Unfounded,” where the investigation determines, by clear
              and convincing evidence, that the alleged misconduct did not
              occur or did not involve the subject officer;
              b) “Sustained,” where the investigation determines, by a
              preponderance of the evidence, that the alleged misconduct
              did occur;
              c) “Not Sustained,” where the investigation is unable to
              determine, by a preponderance of the evidence, whether the
              alleged misconduct occurred;
              d) “Exonerated,” where the investigation determines, by a
              preponderance of the evidence, that the alleged conduct did
              occur but did not violate APD policies, procedures, or
              training;
              e) “Sustained violation not based on original complaint,”
              where the investigation determines, by a preponderance of
              the evidence, that misconduct did occur that was not alleged
              in the original complaint but that was discovered during the
              misconduct investigation; or
              f) “Administratively closed,” where the policy violations are
              minor, the allegations are duplicative, or investigation cannot
              be conducted because of the lack of information in the
              complaint.”

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.179 Assessing Compliance with Paragraph 193: Reopening Administrative
Investigations

Paragraph 193 stipulates:

              “All administratively closed complaints may be re-opened if
              additional information becomes available. The deadlines
              contained in Paragraph 191 shall run from when the complaint
              is re-opened.”

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance




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4.7.180 Assessing Compliance with Paragraph 194: Training and Legal Standards

Paragraph 194 stipulates:

              “In addition to determining whether APD personnel committed
              the alleged misconduct, administrative investigations shall
              assess and document whether the action was in compliance
              with training and legal standards and whether the incident
              suggests the need for a change in policy, procedure, or
              training. In reviewing completed administrative
              investigations, APD shall also assess and document whether:
              (a) the incident suggests that APD should revise strategies
              and tactics; and (b) the incident indicates a need for
              additional training, counseling, or other non-disciplinary
              corrective measures. This information shall be shared with
              the relevant commander(s).”

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

Monitor’s Note:

As we cited in our last report, we reiterate that the APD practice of issuing Additional
Concerns Memoranda (ACMs) jeopardizes APD’s ability to achieve full compliance in
the critical area of internal affairs. This ad hoc practice arises out of supervisory
reviews, and is used as a means of documenting what are supposedly minor policy
violations, but does not act as a request for, or a trigger of, a formal IA investigation.
ACMs that are issued are posted on an officer’s retention card, and figure into the prior
offense calculation for subsequent offenses where applicable. This practice is
problematic for at least two reasons. The first is that failure to conduct an IA
investigation in cases that present evidence of a policy violation “loses the thread” in
building justification for progressive discipline. The second issue is that the
documentation of violations on a retention card, without the due process afforded by the
normal disciplinary process, are serious “due process” issues. This matter continues to
be the focus of discussions among the parties and the monitor. These sorts of ad hoc
policy derivatives make solid, correct disciplinary decisions difficult, if not impossible. It
is the type of shortcut the previous administration made significant use of; however, it is
not something we would encourage the current administration to continue.

The issues of use, documentation, and record-keeping relative to ACMs must be
resolved in order for the APD to achieve compliance for use of proper case dispositions.
We see this as a critical issue: ACMs create a substantial “dark area” that could
potentially obscure important trends from identification, analysis, and resolution. We do
note that this “ACM” process is a hold-over from the past administration. Nonetheless,
it falls to current leadership to analyze, assess and remediate the issues created by this

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“off the books” management of improper officer behavior. In the monitor’s opinion, this
process should be discontinued immediately. It is:

   •   Poorly documented;

   •   A “backdoor” that allows supervisors or managers to divert serious
       infractions into a “black hole” where, without serious management
       oversight and control, things can go to “get lost;”

   •   A source of obfuscation of what actually occurs on the street relative
       to some of the more critical CASA elements, e.g., use of force, abuse
       of authority, etc.; and

   •   A filter that could, and the monitor argues does, obscure
       management’s visual acuity as to what is actually occurring on the
       street.

The monitor also notes issues of concern with Paragraph 188’s requirement that the
IAD Misconduct Commander coordinate with the chief when consulting with the relevant
prosecuting agency where a misconduct complaint intake or investigation reveals “there
may have been criminal conduct by any APD personnel.”

The practical problem with a strict interpretation of this language is that prosecutors are
reluctant to discuss cases in which there is less than probable cause, or less than
reasonable articulable suspicion that a crime has been committed, whereas the phrase
“may have been” alludes to a mere suspicion standard.

The parties have reached a negotiated solution agreeable to the monitor that will allow a
preliminary or continued administrative investigation to take place, and a determination
of probable cause that a crime was committed to be developed before the coordination
with relevant prosecuting agency under paragraph 188. The monitor would expect this
process to be agreed to in writing as soon as practicable. We encourage APD to move
forward diligently with its plans to address this issue. Further, we encourage
development of “test data” on the proposed new system to identify precisely the number
of incidents involved, categorization into groups (not prosecutable v. prosecutable), and
outcome results.

As noted in the Civilian Police Oversight section of this report, CPOA has utilized the
Administratively Closed disposition in situations where a preliminary investigation
cannot minimally sustain the allegations contained in a complaint. In such cases, based
on this initial evidence, the investigation is cut short and administratively closed without
necessarily interviewing all relevant witnesses or even the complainant in some
instances. The monitor realizes the need to wisely and economically deploy resources
and thus does not disapprove of this general practice. However, we again caution that
in following this practice, other policy violations that are not contained in the initial
complaint could be missed. This practice should only be utilized where the preliminary

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investigation has developed conclusive evidence that totally “closes the door” on the
alleged policy violation and any reasonably foreseeable related violations.

4.7.181 – 4.7.183 Assessing Compliance with Paragraphs 195-197: Preventing
Retaliation

Paragraphs 195 through 197 of the CASA pertain to the City’s requirement to prevent
retaliation against anyone who reports misconduct or cooperates in a misconduct
investigation, by any employee of the City, including APD members, and making it a
ground for discipline.

Members of the monitoring team have reviewed City and APD policies, as well as a
stratified random sample of 16 IA and CPOA cases completed during the review period.
We also met with members of IAD and CPOA during the site visit and received updates
in the practices of each agency.

Retaliation is clearly prohibited both as a matter of City and APD policy. The
Albuquerque Code of Ordinances prohibits retaliation for reporting improper
governmental action. APD policy prohibiting retaliation and/or making it grounds for
discipline is found in SOP (AO 3-41-4-A; GO 1-1-E-10; GO1-4-3-C-2; and GO 1-5-3-B-
4). The monitoring team has also determined that meetings involving CPOA and IAD, in
which APD’s anti-retaliation policy is reviewed, occur on an annual basis.

In review of the random sample of investigations completed this reporting period,
members of the monitoring team found no complaints of, or actions indicating,
retaliation. Although this aspect was non-observable this monitoring period, in light of
APD’s clear policy prohibiting retaliation, and APD’s performance in accepting and
investigating past retaliation complaints, APD remains in compliance with paragraphs
195-197.

4.7.181 Assessing Compliance with Paragraph 195: Retaliation Prohibited

Paragraph 195 stipulates:

             “The City shall continue to expressly prohibit all forms of
             retaliation, including discouragement, intimidation,
             coercion, or adverse action, against any person who
             reports misconduct, makes a misconduct complaint, or
             cooperates with an investigation of misconduct.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance




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4.7.182 Assessing Compliance with Paragraph 196: Review of Anti-Retaliation
Statements

Paragraph 196 stipulates:

             “Within six months of the Effective Date, and annually
             thereafter, the Internal Affairs Bureau and the Civilian Police
             Oversight Agency shall review APD’s anti-retaliation policy
             and its implementation. This review shall consider the alleged
             incidents of retaliation that occurred or were investigated
             during the reporting period, the discipline imposed for
             retaliation, and supervisors’ performance in addressing and
             preventing retaliation. Following such review, the City shall
             modify its policy and practice, as necessary, to protect
             individuals, including other APD personnel, from retaliation
             for reporting misconduct.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.183 Assessing Compliance with Paragraph 197: Retaliation Grounds for
Discipline

Paragraph 197 stipulates:

             Retaliation for reporting misconduct or for cooperating with
             an investigation of misconduct shall be grounds for
             discipline, up to and including termination of employment.

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.184 – 4.7.186 Assessing Compliance with Paragraphs 198 – 200:
Staffing and Training Requirements

Paragraphs 198 through 200 of the CASA require the City to adequately fund and
resource internal affairs functions (APD and CPOA/POB), and also require that APD
personnel who conduct misconduct investigations and CPOA investigators to receive a
baseline amount of initial annual training.
The monitoring team met with IAD Misconduct and CPOA on several occasions
including visits to their respective offices and inspection of physical space. The
monitoring team discussed staffing needs and training, also reviewed staffing charts

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and training records and assessed the timelines of processing complaints and
information of potential misconduct in investigations that were randomly selected.

The findings related to Paragraphs 198 through 200 indicate the following outcomes,
related to requirements of the CASA.

The CPOA Ordinance requires that CPOA/POB be given staff sufficient to carry out the
agency functions contained in the Ordinance. We found no indications of understaffing
at CPOA. By its Ordinance CPOA has a dedicated and independent source of funding
equal to, at a minimum, ½% of the APD annual operation budget. This funding is
adequate, particularly in light of the increased budget for APD.

Currently, the staffing of IAD Misconduct appears to be sufficient as investigative
timelines are generally being met. The CPOA staffing also appears to be adequate as
investigative timelines are generally being met, once a complaint is assigned. No
delays or quality control issues were noted that can be traced to staffing levels.

We note that CPOA now contracts with the Institute for Social Research, University of
New Mexico. This monitoring team expects that this will improve CPOA’s data and trend
analysis tasks, as well as its public reporting responsibilities.

Notwithstanding the generally adequate staffing, funding and training of IAD and CPOA
personnel, we found deficiencies with the POB staffing and time period for renewal of
the term and contract of the CPOA Executive Director. These deficiencies are
discussed herein in regard to paragraphs 271 and 272 of this IMR.

As we pointed out in IMR 8, we also found that work processes of those APD units
charged with conducting misconduct investigations, exhibited issues with elements
related to paragraph 199 of the CASA. The paragraph requires annual training of at
least 8 hours not only for IAD personnel, but also for members of the area commands
who may be assigned internal affairs investigations to conduct. There is a practice of
assigning IA investigations to members of an area command, at the rank of sergeant, to
conduct investigations alleging minor misconduct against an APD member of the same
command. APD has yet to develop training that would meet the 8-hour annual
requirement for these personnel. Beginning in the 6th IMR we placed IAD on notice that
this issue needed to be resolved. We realize that sergeants from area commands do
not conduct the bulk of IA investigations, nor the more serious investigations, however
APD must develop an adequate annual training program for those area command
sergeants who may be assigned minor misconduct investigations in order to be in full
operational compliance with this paragraph.

In discussions with IAD we learned a policy is being developed to meet the IAD annual
training requirement for those individuals from the area commands who are assigned
minor misconduct investigations to conduct. In this regard we put IAD on warning that a
satisfactory training policy must be developed by the next site visit or APD risks a
finding of “willful indifference” to this task contained within paragraph 199.

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For both IAD personnel as well as the area command personnel who may be assigned
minor misconduct investigations, we note that the annual training must generally cover
how to conduct misconduct investigations with a focus on two aspects mandated by the
CASA in paragraph 199 (“policies and protocols on taking compelled statements and
conducting parallel administrative and criminal investigations.”). IAD is put on notice that
the content of the annual training for both IAD and Area Command personnel will be
scrutinized during the next IMR period.

As we noted in IMR 8 there remains potential issues pertaining to the CPOA training
requirements found in paragraph 200. In prior site visits we reviewed the initial training
provided by CPOA’s legal counsel and found it to be well organized and delivered. It
addresses all salient points of the CASA and of internal complaint investigations. We
do note, however, that there were no performance testing measures included in the
training. Likewise, the annual training for the past two years for CPOA investigators
involved the annual NACOLE (National Association of Civilian Oversight of Law
Enforcement) conference. The agenda for the NACOLE training can be found online.
Although we found it generally relevant to the CPOA mission, testing measures and
results could not be evaluated.

We learned during this IMR period that CPOA has diversified its annual training.
Counsel for the CPOA provided updated training to the POB. In addition, two CPOA
Investigators attended the Use of Force Summit conducted by the Daigle Law Group, a
law firm that specializes “in management consulting services in support and
development of effective and constitutional practices. One investigator attended the
P.E.A.C.E. investigative Interviewing course.

The external training mentioned above, although related and beneficial to the CPOA
mission, do not contain evaluation (testing) of the participants after the training is
delivered. CPOA should consider using supporting training materials provided by these
external training sources and develop internal testing methods to ensure that learning
has occurred on critical points.

The overall CPOA performance indicates that the training has been effective, however,
going forward the monitor will expect more exact and immediate indications of
effectiveness of training. Although the annual training situation for CPOA has improved
and is more tailored to its mission, we are still unable to assess the overall effectiveness
of the training received by CPOA investigators.

4.7.184 Assessing Compliance with Paragraph 198: CPOA Staffing

Paragraph 198 stipulates:

              “The City shall ensure that APD and the Civilian Police
              Oversight Agency have a sufficient number of well-trained
              staff assigned and available to complete and review thorough
              and timely misconduct investigations in accordance with the


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             requirements of this Agreement. The City shall re-assess the
             staffing of the Internal Affairs Bureau after the completion of
             the staffing study to be conducted pursuant to Paragraph 204.
             The City further shall ensure sufficient resources and
             equipment to conduct thorough and timely investigations.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.185 Assessing Compliance with Paragraph 199: IA Initial and Annual Training

Paragraph 199 stipulates:

             “All APD personnel conducting misconduct investigations,
             whether assigned to the Internal Affairs Bureau, an Area
             Command, or elsewhere, shall receive at least 24 hours of
             initial training in conducting misconduct investigations within
             one year of the Operational Date, and shall receive at least
             eight hours of training each year. The training shall include
             instruction on APD’s policies and protocols on taking
             compelled statements and conducting parallel administrative
             and criminal investigations.”

             Primary:     In Compliance
             Secondary: In Compliance
             Operational: Not In Compliance

4.7.186 Assessing Compliance with Paragraph 200: CPOA Training

Paragraph 200 stipulates:

             “Investigators from the Civilian Police Oversight Agency shall
             receive at least 40 hours of initial training in conducting
             misconduct investigations within one year of the Effective
             Date and shall receive at least eight hours of training each
             year. The training shall include instruction on APD’s policies
             and protocols on taking compelled statements and
             conducting parallel administrative and criminal
             investigations.”



      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

Recommendations for Paragraphs 199 and 200:


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4.7.185-186a: Identify the cadre of area command sergeants who may be assigned
misconduct investigation and develop an annual IA training program for them
and have them complete same on an annual basis.

4.7.185-186b: Do not assign a misconduct investigation to any APD personnel
who have not met the annual training requirement.

4.7.185-186c: CPOA should develop an assessment mechanism to measure the
effectiveness of outside training such as the NACOLE conference. That can easily
be done by “testing” by CPOA once the CPOA investigators have completed the
external training.

4.7.187 – 4.7.188 Assessing Compliance with Paragraphs 201- 202: Discipline and
Transparency

Paragraphs 201-202 require that discipline imposed for sustained violations be fair and
consistent, with consideration of aggravating and mitigating circumstances. These
paragraphs also require the use of a disciplinary matrix in imposing discipline and sets
forth required elements for the disciplinary matrix.

The monitoring team reviewed a stratified random sample of cases investigated during
this review period. The monitoring team also met with the Chief of Police, the City
Attorney, the CPOA Director and IA Misconduct Commander and reviewed APD
discipline processes.

As we commented in IMR-8, marked improvements have been made in the APD
disciplinary system. These changes provide the supervisory chain and the chief with
the information necessary to facilitate the accurate calculation of the appropriate level of
discipline. The continued use of the "Disciplinary Action Packet" (DAP) may well prove
to be an enhancement in the imposition of discipline. We will continue to monitor this
process for compliance with the requirements of the CASA. The DAP packet serves as
a guideline by giving the subject officer’s supervisory chain and the chief of police
information regarding each disciplinary matter in which major discipline can be imposed.
The following information elements are included in the DAP:

 a. Recommendations regarding the class designation of the policy
    violations under consideration;
 b. An accurate "snapshot" of the subject's disciplinary record and prior
    offenses; and
 c. A recommended or preliminary disciplinary calculation, based on the
    appropriate elements in the disciplinary matrix, setting forth the range
    (minimum and maximum) of discipline.

In addition, retention cards currently provide the classification of any prior sustained
offenses and dates of imposition of discipline. This greatly facilitates the calculation of
applicable prior offenses.

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SOP AO 3-46 (“Discipline System”) with its Appended Chart of Sanctions (Discipline
Matrix) is under review. As written, it requires that any deviation from the presumptive
range of discipline (appropriate range as established by the Chart of Sanctions) must be
justified in writing (3-46-5B4).

Other past recommendations of the monitor regarding AO 3-46 are under consideration
by APD, and continued improvements in the Chart of Sanctions are currently being
developed. Since IMR-6, we have noted that a discrepancy exists between paragraphs
5c2 and 5c4 of AO 3-46, that allows for different interpretations of what constitutes a
prior offense, based on whether the prior offense is, or is not, in the same class as the
present offense. We have also noted that SOP 3-46-5G allows for the imposition of non-
disciplinary corrective action in addition to applicable discipline, but it does not contain
notice that non-disciplinary corrective action should not be the only disposition if the
matrix calls for the imposition of discipline. We strongly suggest (again) that these past
recommendations be addressed in the current review and revision of the “Discipline
System” policy.

Notwithstanding the recent improvements in the disciplinary process, our review
continues to note issues with elements related to the imposition of discipline and use of
the discipline SOP and the discipline matrix. Not all of the packets of the cases selected
and reviewed by the monitoring team contained the retention cards of the individuals
against whom sustained findings were made. Without retention cards, the monitor (and
we presume the chief of police) will not be able to gauge, from primary source data,
whether there is prior discipline that would render the present offense a second or third
offense. We note that occasionally the prior disciplinary record is summed up in a
memorandum by a member of the reviewing chain of command; however, although
commendable, this process does not suffice as primary source data.

The monitoring team reviewed a stratified random sample of cases completed during
the review period. In that review we identified 7 cases (six of which were investigated by
APD) in which discipline was imposed or should have been imposed [IMR-9-44, IMR-9-
31, IMR-9-32, IMR-9-33, IMR-9-34, IMR-9-37 and IMR-9-4].

Of those seven cases we found three that were deficient from the standpoint of
determining whether discipline was assigned or the level of discipline was appropriate, a
compliance rate of only 57% with the requirements of paragraph 201. These three
cases are discussed below.

In [IMR-9-32], a sustained finding was made for one officer for a violation of minimum
amount of force requirements (classification levels 4-7), and on another officer for
deficiency in conducting use of force investigations (classification levels 4-7). Written
letters of reprimand were imposed. The packet did not contain the retention cards of the
two subjects of the investigation; however, the prior offense records were summarized
in the Area Commander’s memoranda. Regarding the violation of minimum use of force,
there was a prior disciplinary action that would make the then-present offense a second

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offense. The present offense was deemed to be a level 6 in the letter of reprimand. The
presumptive range would therefore have been a suspension of 8 to 32 hours. No
explanation was given for the deviation from the presumptive range (8-32 hours
suspension) to a letter of reprimand. Likewise, the second subject’s presumptive range
was also calculated at 8-32 hours suspension, but no explanation was given for the
deviation from the presumptive discipline to a letter of reprimand. In neither of these two
cases was an explanation given for the selection of a classification level of 6 in a range
of 4 to 7.

We have found such discrepancies frequently in our reviews of discipline at APD. The
deviation from the suggested 8-32 hours to a written reprimand is significant and
meaningful. It appears to violate disciplinary guidelines without notice of the rationale
for so doing.

In [IMR-9-44], a sustained finding was made for a “violation not based on original
complaint” (failure to prepare a use of force report). There is no evidence in the packet
showing that discipline was imposed or that there was a non-concurrence letter from the
Chief or his designee.

As we stated in regard to paragraphs 183 and 190 of this IMR, we found the
investigation in case number [IMR-9-37] to be problematic to such a degree that we
cannot determine whether the discipline imposed was appropriate. To the monitor, this
is a significant problem, raising questions of due diligence, care, and compliance,
particularly given the nature of the offense and the potential damage to the target officer
if the allegations were not fairly and completely investigated.

4.7.187 Assessing Compliance with Paragraph 201: Fact Based Discipline

Paragraph 201 stipulates:

              “APD shall ensure that discipline for sustained allegations of
              misconduct is consistently applied, fair, and based on the
              nature of the allegation, and that mitigating and aggravating
              factors are set out and applied consistently.”

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

Recommendations for Paragraph 201:

4.7.187a: Ensure that all disciplinary decisions address the presumptive range of
the disciplinary matrix, unless written reasons for departure from the matrix
recommendations accompany the decision.


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4.7.187b: Ensure that adequate explanation is given for the selection of a
classification level where there is more than one level of classification associated
with a regulation for which a sustained finding is made.

4.7.188 Assessing Compliance with Paragraph 202: Discipline Matrix

Paragraph 202 stipulates:

             “APD shall establish a disciplinary matrix that:

             a) establishes a presumptive range of discipline for each type
             of rule violation;
             b) increases the presumptive discipline based on an officer’s
             prior violations of the same or other rules;
             c) sets out defined mitigating or aggravating factors;
             d) requires that any departure from the presumptive range of
             discipline must be justified in writing;
             e) provides that APD shall not take only non-disciplinary
             corrective action in cases in which the disciplinary matrix
             calls for the imposition of discipline; and
             f) provides that APD shall consider whether non-disciplinary
             corrective action also is appropriate in a case where
             discipline has been imposed.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

Recommendations for Paragraph 202:

4.7.188a Ensure that all disciplinary decisions either conform to the
recommended ranges included in APD’s disciplinary matrix or that they are
accompanied by written explanations for the departure from the
recommendations of the disciplinary matrix.

4.7.188b Ensure that all disciplinary decisions related to actions (or inactions)
that are reasonably on the “critical path” regarding compliance with the CASA
show a keen resolve to foster behaviors required by the CASA.

4.7.188c Ensure that all disciplinary packets are complete and self-explanatory,
including documentation that all steps in the investigation and disciplinary
processes were completed as required by policy.

4.7.188d Ensure that deviations from the presumptive range of discipline are
addressed, explained and reasonable.



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4.7.188e Ensure that all investigations selected for monitor review, in which
discipline is imposed, contain the primary source data, if it was included in the
regular course of business data available to command personnel.

4.7.189 Assessing Compliance with Paragraph 203

Paragraph 203 stipulates:

            “To maintain high-level, quality service; to ensure officer
            safety and accountability; and to promote constitutional,
            effective policing, the City shall ensure that APD has the
            staffing necessary to implement the terms of this
            Agreement. APD shall also deploy a sufficient number of
            first-line supervisors to respond to scenes of uses of force;
            investigate thoroughly each use of force to identify,
            correct, and prevent misconduct; and provide close and
            effective supervision necessary for officers to improve and
            develop professionally. APD shall revise and implement
            policies for supervision that set out clear requirements for
            supervision and comport with best practices.”

Methodology

Members of the monitoring team are aware of past external staffing study work at APD
by the Weiss Group that articulated staffing goals. Despite that work, no “magic
number” exists to identify the exact number of officers APD needs to meet its workload.
Based on the monitor’s experience, these numbers tend to change almost annually.
During 2018, APD has received an increased number of applications for entry-level
patrol positions—along with a substantial increase in applications for lateral-entry
positions. The agency has also made a palpable and commendable shift from
“traditional” policing methods to community-oriented policing methods.

Results

Given the apparent new pool of individuals interested in careers at APD, it seems
appropriate for APD to develop goals and objectives for its recruiting and hiring
processes. Outcome variables are available, such as calls for service per officer,
specific response time goals, etc. The static numbers generated three years ago
became invalid after as little as a year. Outcome variable-based staffing levels can and
should be updated and assessed annually.

APD remains in compliance with this paragraph based on current staffing, efforts to
improve outreach, and current numbers of recruits and lateral transfers who have
expressed interest. Over the last year APD has moved from a sparse recruiting
environment to a reasonably abundant recruiting environment. Whether the change is
due to the new leadership at APD, the shift in focus at APD from pure enforcement to
service delivery and community-oriented policing, or improvements in APD’s salary
structure is unclear. What is clear is that interest in APD jobs has elevated recently.

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Operational compliance will depend on meeting established recruiting goals, based on
the calculated number of officers needed to meet the policing objectives of the City of
Albuquerque’s neighborhoods. These new goals should be based on detailed analysis
of calls-for-service rates, new community-oriented goals, quantitative workload
analyses, and detailed historical “perspective” information.


      Primary:     In Compliance
      Secondary: In Compliance (based on Weiss Study)
      Operational: Not In Compliance

Recommendations for Paragraph 203:

4.7.189a: Review the available literature and process on staffing goals. Where
practicable make staffing goals contingent upon desired outcome goals, e.g.,
average response times; committed hours per officer, by patrol shift; available
non-committed time to pursue community-oriented policing goals, etc.

4.7.189b: Consult with other police agencies who have incorporated community-
oriented policing into their service delivery functions to determine how they
collect, track, calculate and analyze staffing needs viz a viz community policing
goals.

4.7.190 Assessing Compliance with Paragraph 204: Comprehensive Staffing
Study

Paragraph 204 requires:

             “In order to successfully implement the provisions of this
             Agreement, APD shall assess the appropriate number of
             sworn and civilian personnel to perform the different
             Department functions necessary to fulfill its mission. APD
             therefore shall conduct a comprehensive staffing assessment
             and resource study. The study shall be the predicate for
             determining appropriate staffing and resource levels that are
             consistent with community-oriented policing principles and
             support the systematic use of partnerships and problem-
             solving techniques. The study shall also consider the
             distribution of officers to patrol functions as opposed to
             specialized units, as well as the distribution of officers with
             less than three years of experience across shifts and Area
             Commands. This staffing assessment and resource study
             shall be completed within one year of the Effective Date.
             Within six months of the completion of the staffing
             assessment and resource study, the Parties shall assess its
             results and jointly develop a staffing plan to ensure that APD
             can meet its obligations under this Agreement.”




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Methodology

Alexander Weiss and Associates completed an APD staffing study in 2015, and specific
staffing standards were identified. Since 2015 APD has encountered difficulties
meeting those standards. In IMR-6 we found APD in compliance with the requirements
of Paragraph 204. Staffing standards were articulated by APD. Historically, APD has
had difficulty generating the number of recruits and lateral transfers called for by the
results of its staffing studies. That issue seems to have changed markedly recently,
with APD experiencing substantial increases in applicants. The staffing plan developed
by APD during the last year meets the standards articulated by Paragraph 204. We
note in our analysis in Paragraph 203 above that “traditional” staffing analyses often
poorly translate into community policing staffing analyses. Our recommendations for
Paragraph 203 also apply to paragraph 204. We note the staffing analysis for
community-oriented policing is a newly identified need, necessitated by APD’s recent
successes in transitioning to processes supportive of community-oriented policing. As
we have observed in other agencies moving to community-oriented policing, staffing
decisions often can only be made after careful study of the time requirements of
intensive community-oriented policing efforts.

APD maintains its past status on this paragraph; however, the juxtaposition of APD’s old
staffing calculation methods are somewhat archaic when confronted by the needs of
community-oriented policing. In order to maintain current compliance levels, APD
needs to plan, develop, and move forward (with some alacrity) in developing a working
model of calculating staffing needs for its new community oriented style of policing. The
somewhat archaic Weiss calculations will be less and less effective as APD moves from
a “call response model” to a community policing model.

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.191 – 4.7.194 Assessing Compliance with Paragraphs 205- 208: Supervision
and Related Paragraphs

Paragraphs 205 thru 208 of the CASA address supervision requirements for first line
supervisors to properly supervise the use-of-force, supervision within the chain of
command, span of control and levels of supervision, and lieutenants and commanders
maintain close supervision of officers under their command.

The monitoring team met with the staff from APD tasked with these paragraphs during
the November 2018 site visit and made data requests for any and all progress from the
last reporting period. During the last reporting period, APD embarked in a process to
best position their organization to achieve the requirements of the CASA as it relates to
these paragraphs, by starting focus groups designed to identify areas of concern,

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training needs, and technology issues. The commander in charge of these paragraphs
has decided to take a methodical approach to reach secondary and operational
compliance. As stated in the last report, APD believes it will take twelve (12) to eighteen
(18) months to fully implement all changes. During this reporting period the focus was
geared to improving monthly activity reports, monthly check-off lists, monthly line-
inspection forms, and video inspections. APD Performance Improvement Analysts were
utilized to conduct interviews of the FSB supervisors to ascertain their thoughts and
experiences with their current requirements for monthly reports.

This is the kind of data-driven, analytic approach to management we have long
encouraged APD to take. Two areas of concern were identified and addressed: the
MyPal program did not capture all data and was therefore underreporting activity; and
the amount of time spent per supervisor on supervisory checklists appeared
burdensome.

APD personnel met with Department of Technology and Innovations (DTI). DTI staff
advised the commander that feedback from MyPal from its inception the year prior had
not been supplied to them. In December 2018, APD had officers from the Northeast
Command manually track their monthly activities to check the accuracy of their reporting
as compared to the documentation received from MyPal.

Accuracy is paramount in documenting and addressing supervisory issues, and the
necessity of utilizing different programs or processes to complete monthly activities
reports will slow APD’s ability to address the issues that are delaying secondary and
operational compliance. During this reporting period, APD conducted pilot audits in the
Foothills and Northeast Commands to ensure data are quickly and accurately pulled
into the data warehouse. The monitoring team was supplied with documentation, draft
forms, and pilot audits. The documents supplied addressed the issues that APD had
identified and assessed for this reporting period.

In the coming months, the monitoring team will need to review larger data samples to
determine if APD is meeting their short-term goals set for this reporting period, and are
moving in the right direction to meet the requirements of the CASA. Training for the
program “MyPAL” that was delivered in the past to all Field Service Bureau personnel
and PACT lieutenants and sergeants will continue to be delivered to recently promoted
members, until APD implements a platform to adequately house supervision
measurements into one process that can provide oversight at the micro and macro
levels. APD has been in contact with the New Orleans Police Department as a source of
information, due to that department’s recent success in data-driven policing. The NOPD
is currently in a consent decree and is addressing supervision as part of the
requirements of that decree.

The monitoring team visited each of APD’s six area commands during the November
2018 site visit. We inspected daily line-ups at each Command to ensure that staffing
levels were met, and that a first-line supervisor was assigned to the field officers on
patrol. Course-of-business staffing reports and data requested for this reporting period

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indicate that the staffing levels reflect operational compliance. We noted that first-line-
supervisors were on duty at all locations at the time of the site visit. The normal day-to-
day operations of the APD patrol units are supported and supervised at numeric levels
required by the settlement agreement. Adequate supervisory personnel are in place at
ratios required by the CASA. The monitoring will continue to monitor the levels and
effects in future site visits.

As in previous IMRs, the area of assessment of use-of-force incidents as required by
Section IV of the CASA is of concern to the monitoring team. APD continues to work on
a formalized and routinized processes for supervisory monthly reports, but until a
working process is complete and fully implemented, APD cannot attain secondary or
operational compliance. The monitoring team will review new pilot audits and steps
implemented to reduce repetitive oversight errors in the next reporting period.

4.7.191 Assessing Compliance with Paragraph 205

Paragraph 205 stipulates:

              “First-line supervisors shall investigate officers’ use-of-force
              as described in Section IV of this Agreement, ensure that
              officers are working actively to engage the community and
              increase public trust and safety, review each arrest report,
              and perform all other duties as assigned and as described in
              departmental policy.”

Results

       Primary:              In Compliance
       Secondary:            In Compliance
       Operational:          Not In Compliance

Recommendation for Paragraph 205:

4.7.191: Conduct both quantitative and qualitative reviews of supervisory
effectiveness in the conduct of their reviews of officer performance, and ensure
officers are appropriately focused on all applicable goals of the agency related to
patrol operations.

4.7.192 Assessing Compliance with Paragraph 206

Paragraph 206 stipulates:

              “All field officers shall be assigned to a primary, clearly
              identified first-line supervisor and shall also report to any
              other first-line supervisor within the chain of command. First-
              line supervisors shall be responsible for closely and
              consistently supervising all officers under their primary

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              command. Supervisors shall also be responsible for
              supervising all officers under their chain of command on any
              shift to which they are assigned to ensure accountability
              across the Department.”

Policy, procedure, and process are in place for implementing the requirements of this
paragraph. Training, staffing, and oversight, however, currently have serious gaps
leading to compliance failures relating to “closely and consistently” supervising officers.
Sergeants, lieutenants, and command officers continue to miss critical deficiencies in
the individual policing events reviewed by the monitors. Most of the deficiencies we
have noted relate directly to use-of-force issues, e.g., supervisory and command
personnel missing critical failing elements of officers’ and supervisors’ use-of-force
reporting and/or practice. At this point, this is the critical area of shortfall for APD’s
compliance efforts. The policies and training are where they need to be, but
supervisory and mid-management personnel (lieutenants and commanders) are failing
to meet many of their oversight responsibilities.

We are convinced that, while some of these shortfalls are related to systems and
reporting process, a large percentage of these failures are willful, with a small, but
central cadre of supervisors simply not receptive to the requirements of the CASA. We
see ineffective supervision as the primary reason for many of the failures in compliance
levels related to field-based policing practices. The sergeant who simply refused to
conduct routine inspections of officers’ firearms is a blatant example of this core of
supervisory personnel who are among the strongest facilitators of the counter-CASA
effect at APD. While on the surface, this seems a minor event, in actuality it clearly
represents the essence of the counter-CASA phenomenon at APD: the sergeant knew
his duty, and understood what was required to execute his duty; however, simply
because he disagreed with the operational requirements agreed to by the APD, the City
of Albuquerque, the United States Department of Justice, and a federal judge, he
blatantly and deliberately failed to execute his duty. The “penalty” for that deliberate
defiance was a verbal reprimand.

To the monitoring team, this hardly seemed reasonably appropriate, given the
deliberate and blatant counter-CASA actions of this sergeant, and the gross failure of
his chain of command to grasp the serious nature of his defiance of CASA
requirements. We have advised APD for years that success in this project is directly
dependent on effective supervision at the line-level. No effective system can focus
solely on computers, automated programs, or global focus. Success will be won or lost
at the supervisory level: well-trained, competent sergeants who are aware of their
CASA-related job functions, and who perform those functions properly every day on
every shift, are the key components of eventual success.

Results

       Primary:            In Compliance
       Secondary:          Not In Compliance

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      Operational:          Not In Compliance

Recommendations for Paragraph 206:

4.7.192a: Using existing documentation processes, e.g., routine supervisory
reporting of CASA-related process (such as reviews of use of force reports,
reviews of OBRD footage of critical incidents such as uses of force, etc.) identify
the most resistant contributors to the Counter- CASA effect at APD and remediate
their resistance. The “refusal” of the patrol sergeant mentioned in sections 4.7.4
through 4.7.7, above is a clear example of deliberate resistance.

4.7.192b: Once these Counter-CASA elements are identified, engage in
counseling, re-training, and, if necessary, discipline or transfer, to remediate or
remove those personnel from supervisory positions in areas critical to the CASA.

4.7.192c: Maintain carefully documented records of the actions engendered by
the Counter-CASA effect, the individuals engaging in those actions, the
disciplinary processes implemented, and the results of follow-up evaluations to
determine if change has occurred.

4.7.192d: Publish quarterly assessments of the nature, scope and significance of
the Counter-CASA effect, by Area Command, unit, group or squad, and utilize
these data to clarify the scope, nature, and impact of the Counter-CASA effect on
APD compliance efforts.

4.7.193 Assessing Compliance with Paragraph 207

Paragraph 207 stipulates:

             “First-line supervisors shall ordinarily be assigned as a
             primary supervisor to no more than eight officers. Task
             complexity will also play a significant role in determining the
             span of control and whether an increase in the level of
             supervision is necessary.”

Results

During our site visits at Area Commands this reporting period, we found no unit, shift, or
operational command that failed to meet this articulated span of control.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.194 Assessing Compliance with Paragraph 208



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Paragraph 208 stipulates:

             “APD Commanders and lieutenants shall be responsible for close and
             effective supervision of officers under their command. APD
             Commanders and lieutenants shall ensure that all officers under their
             direct command comply with APD policy, federal, state and municipal
             law, and the requirements of this Agreement.”

Our review of use-of-force incidents was designed to assess compliance with this
paragraph. While lieutenants and commanders were found to be “on-duty” when we
made our Field Services site visits, these ranks tended to be less effective when the
monitoring team reviewed results-oriented outcome variables related to their work
product. For example, sergeants, lieutenants and commanders are still routinely
missing out-of-policy actions by their officers when management personnel review
officer reports and OBRD video. We continue to note from our review of use-of-force
incidents that the main sources of “findings” concerning improper or deficient
supervision is the Compliance Bureau and the monitoring team. It must be the
Command level at APD’s Area Commands if APD is to attain operational compliance.
Until sergeants’ immediate supervisors are “calling the ball” on these ineffective
sergeants, and noting failed supervision in sergeant’s records, progress will remain
elusive.

Results

      Primary:              In Compliance
      Secondary:            Not In Compliance
      Operational:          Not In Compliance

Recommendations for Paragraphs 205, 206 and 208:

4.7.194a: APD should codify monitor’s comments in paragraphs 205,
206 and 208 over the past three reporting periods and conduct a
failure analysis on each supervision issue noted in those reports.
These failure points should be analyzed to identify what caused the
initial failure and why those initial failures were not “caught and
corrected” by lieutenant and commander levels.

4.7.194b: For Paragraphs 205, 206 and 208: Based on the results of
the analysis for 4.7.194a, above, develop counseling, retraining, or
disciplinary processes to reduce or eliminate deliberate counter-CASA
refusals to perform. Take careful notice of “repeat offenders” at the
sergeant, lieutenant and commander levels of the organization.

4.7.194c: Routinely monitor the supervisory, mid-management, and
command level personnel who consistently miss or overlook officer
behaviors that violate the requirements of the CASA, and where those
supervisory and management errors persist, take necessary remedial

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action, including retraining, counseling, transfer or discipline, as
appropriate.

4.7.195 - 4.7.197 Assessing Compliance with Paragraphs 209 -211:
Review of Sergeants’ Training

Paragraphs 209 through 211 address various supervisory training requirements APD
must meet for the CASA. As with other reporting periods and in other paragraphs in the
CASA, the monitoring team has dedicated extensive amounts of time providing
perspective, feedback and technical assistance to APD’s Training Academy in its three
2018 site visits.

These paragraphs require that every sergeant receive forty (40) hours of mandatory
supervisory, management, leadership and command accountability training. Other
topics in the training requirements include, but are not limited to, investigating use-of-
force, de-escalating conflict, monitoring use-of-force to ensure consistency with policies,
and understanding supervisory tools such as the Early Intervention System and on-body
recording systems. As in other monitoring periods, data requested and received by the
monitoring team indicate that these portions of the requirement have been addressed
by APD in the supervisory course delivered during this reporting period.

Training lapses are identified in the monitor’s reports in paragraphs 41 through 59 and
86 through 88. We note in paragraphs 86 through 88 that “APD will find that
performance outcomes related to the use and supervision of force in the field are at the
heart of the CASA’s operational compliance.”

“The emphasis on APD gathering training needs from the field and ensuring that training
objectives and curricula are ‘mapped,’ are essential to affect specific performance
changes, and to ensure that field implementation can be assessed and measured.” In
response to the requirements of paragraphs 205 through 208, a new system currently
under development for supervisory monthly reports that will report any results designed
to measure the impact of the training received under paragraphs 209 through 211. The
seven-step training cycle that was recently implemented by the academy should
enhance the training process. The technical assistance afforded APD during the 2018
site visits should assist APD in an effort to move forward with an effective and
manageable system to capture data concerning the performance of its officers.

During this monitoring period, APD remains in primary compliance with paragraphs 209
through 211, because of changes currently being implemented in response to the
requirements of paragraphs 205 through 211. However, we note that the impact of
training recently delivered by APD is not measureable during this reporting period, as
there has been too little time since delivery to expect an impact in the field.

Secondary and operational compliance will require revised training protocols and
changes in the way police in-field operations are executed, supervised and reported.
APD eventually must come to the point that “calling” improper actions in the field is

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effected at the supervisory level, not the internal quality-control level, e.g., IA, the
Training Academy, etc., or at the monitor’s level.

4.7.195 Assessing Compliance with Paragraph 209

Paragraph 209 stipulates:

              “Sergeant training is critical to effective first-line supervision.
              Every sergeant shall receive 40 hours of mandatory
              supervisory, management, leadership, and command
              accountability training before assuming supervisory
              responsibilities.”

Results

Compliance has not been attained this reporting period, as the majority of APD
sergeants have not yet received the new supervisory training classes.

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

4.7.196 Assessing Compliance with Paragraph 210

Paragraph 210 stipulates:

              “APD’s sergeant training program shall include the following
              topics:

              a) techniques for effectively guiding and directing officers and
              promoting effective and ethical police practices;
              b) de-escalating conflict;
              c) evaluating written reports, including those that contain
              canned language;
              d) investigating officer uses of force;
              e) understanding supervisory tools such as the Early
              Intervention System and on-body recording systems;
              f) responding to and investigating allegations of officer
              misconduct;
              g) evaluating officer performance;
              h) consistent disciplinary sanction and non-punitive
              corrective action;
              i) monitoring use-of-force to ensure consistency with
              policies;
              j) building community partnerships and guiding officers on
              this requirement;
              k) legal updates.”




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Results

Secondary compliance has not been attained this reporting period, as the majority of
APD sergeants have not yet received the new supervisory training classes.

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance


4.7.198 Assessing Compliance with Paragraph 211

Paragraph 211 stipulates:

             “All sworn supervisors shall also receive a minimum of 32
             hours of in-service management training, which may include
             updates and lessons learned related to the topics covered in
             the sergeant training and other areas covered by this
             Agreement.”

Results

Compliance has not been attained this reporting period, as the majority of APD
sergeants have not yet received the new supervisory training classes.

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

Recommendations for Paragraphs 209 – 211:

4.7.198a: Deliver and evaluate the revised supervisory training blocks to all
required APD supervisors.

4.7.198b: Develop a response plan for sections of supervisory training that
indicate, through poor performance on testing or field implementation, a need for
clarification, explanation, or remediation of points “trained” but not understood
(as measured by evaluative processes).

4.7.198 – 4.7.205 Assessing Compliance with Paragraphs 212-219
EIS/EIRS/PMEDS

During the November 2018 site visit, the Performance Evaluation and Management
System (PEMS) policy 3-33 was still making its way through the review process.
Members of the monitoring team attended demonstrations by vendors interested in
providing new system capabilities to the APD. While the monitoring team was
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impressed by the claims of the vendors, APD was again reminded of the technical
assistance provided by the monitor relating to systems development, implementation,
training, and support for hardware/software purchases. The monitoring team reviewed
a 91-page RFP developed by APD for the acquisition of PEMS and supporting systems
integration. It appears that APD has learned valuable lessons from prior purchases
without on-going support, and from the monitoring team’s technical assistance to enable
crafting a document that should have them safely acquiring the next generation of
personnel management tools and moving forward toward compliance.

While APD is currently utilizing the existing system (IAPro) to attempt to identify officers
who exceed current thresholds and may require intervention, they have provided the
monitoring team with draft versions of policy, SOPs and plans to move forward with a
system that has the capability to meet or exceed CASA requirements. It is proposed to
be a data-driven system with thresholds supported by data analysis and research, using
standard deviation data to establish thresholds rather than arbitrarily assigned incident
numbers (as we have long-recommended).

Training and supervision are the next major objectives that need to be addressed by
APD once policy has been approved. During the May 2019 site visit, the monitoring
team will conduct a review of the trial data being captured at two area commands (with
respect to the system’s ability to identify deficient behavior via standard deviation).

APD visited the New Orleans PD to gain additional insight into systems development.
We continue to work with the APD and the City to craft acceptable policies and
procedures that conform to national standards for these paragraphs.

APD envisions the entire process as a 24-month project based upon policy approval,
system selection, training and implementation. The monitoring team believes this to be
an appropriate estimate, based on prior experience with Early Intervention Systems in
Pittsburgh and New Jersey. While this timeline is problematic with regards to attaining
compliance with the requirements of the CASA, the monitoring team believes that APD
has finally grasped the importance of an Early Intervention System. While approved
policy guidance exists, it is highly probable that, when new systems are developed,
policies will need to change. Nonetheless, APD is currently in primary compliance,
pending new policy development and approval, as existing policies have been
promulgated and approved.

4.7.198 Assessing Compliance with Paragraph 212

Paragraph 212 stipulates:

              “Within nine months of the Effective Date, APD shall revise
              and update its Early Intervention System to enhance its
              effectiveness as a management tool that promotes
              supervisory awareness and proactive identification of both
              potentially problematic as well as commendable behavior
              among officers. APD supervisors shall be trained to


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             proficiency in the interpretation of Early Intervention System
             data and the range of non-punitive corrective action to modify
             behavior and improve performance; manage risk and liability;
             and address underlying stressors to promote officer well-
             being.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

4.7.199 Assessing Compliance with Paragraph 213

Paragraph 213 stipulates:

             “APD shall review and adjust, where appropriate, the
             threshold levels for each Early Identification System indicator
             to allow for peer-group comparisons between officers with
             similar assignments and duties.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

4.7.200 Assessing Compliance Paragraph 214

Paragraph 214 stipulates:

             “APD shall implement rolling thresholds so that an officer
             who has received an intervention of use of force should not
             be permitted to engage in additional uses of force before
             again triggering a review.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

4.7.201 Assessing Compliance Paragraph 215

Paragraph 215 stipulates:

             “The Early Intervention System shall be a component of an
             integrated employee management system and shall include a
             computerized relational database, which shall be used to

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             collect, maintain, integrate, and retrieve data department-wide
             and for each officer regarding, at a minimum:
             a) uses of force;
             b) injuries and deaths to persons in custody;
             c) failures to record incidents with on-body recording systems
             that are required to be recorded under APD policy, whether or
             not corrective action was taken, and cited violations of the
             APD’s on-body recording policy;
             d) all civilian or administrative complaints and their
             dispositions;
             e) all judicial proceedings where an officer is the subject of a
             protective or restraining order;
             f) all vehicle pursuits and traffic collisions involving APD
             equipment;
             g) all instances in which APD is informed by a prosecuting
             authority that a declination to prosecute any crime occurred,
             in whole or in part, because the officer failed to activate his or
             her on-body recording system;
             h) all disciplinary action taken against employees;
              i) all non-punitive corrective action required of employees;
              j) all awards and commendations received by employees,
             including those received from civilians, as well as special acts
             performed by employees;
              k) demographic category for each civilian involved in a use of
             force or search and seizure incident sufficient to assess bias;
              l) all criminal proceedings initiated against an officer, as well
             as all civil or administrative claims filed with, and all civil
             lawsuits served upon, the City and/or its officers or agents,
             allegedly resulting from APD operations or the actions of APD
             personnel; and
             m) all offense reports in which an officer is a suspect or
             offender.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

4.7.202 Assessing Compliance Paragraph 216

Paragraph 216 stipulates:

             “APD shall develop and implement a protocol for using the
             updated Early Intervention System and information obtained
             from it. The protocol for using the Early Intervention System
             shall address data storage, data retrieval, reporting, data
             analysis, pattern identification, supervisory use,
             supervisory/departmental intervention, documentation and
             audits, access to the system, and confidentiality of personally
             identifiable information. The protocol shall also require unit
             supervisors to periodically review Early Intervention System
             data for officers under their command.”

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Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

4.7.203 Assessing Compliance Paragraph 217

Paragraph 217 stipulates:

             “APD shall maintain all personally identifying information
             about an officer included in the Early Intervention System for
             at least five years following the officer’s separation from the
             agency except where prohibited by law. Information
             necessary for aggregate statistical analysis will be maintained
             indefinitely in the Early Intervention System. On an ongoing
             basis, APD will enter information into the Early Intervention
             System in a timely, accurate, and complete manner and shall
             maintain the data in a secure and confidential manner.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

4.7.204 Assessing Compliance Paragraph 218

Paragraph 218 stipulates:

             “APD shall provide in-service training to all employees,
             including officers, supervisors, and commanders, regarding
             the updated Early Intervention System protocols within six
             months of the system improvements specified in Paragraphs
             212-215 to ensure proper understanding and use of the
             system. APD supervisors shall be trained to use the Early
             Intervention System as designed and to help improve the
             performance of officers under their command. Commanders
             and supervisors shall be trained in evaluating and making
             appropriate comparisons in order to identify any significant
             individual or group patterns of behavior.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance



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4.7.205 Assessing Compliance Paragraph 219

Paragraph 219 stipulates:

             “Following the initial implementation of the updated Early
             Intervention System, and as experience and the availability of
             new technology may warrant, the City may add, subtract, or
             modify thresholds, data tables and fields; modify the list of
             documents scanned or electronically attached; and add,
             subtract, or modify standardized reports and queries as
             appropriate. The Parties shall jointly review all proposals that
             limit the functions of the Early Intervention System that are
             required by this Agreement before such proposals are
             implemented to ensure they continue to comply with the
             intent of this Agreement.”

Results

While the new PEMS policy is currently in draft form and still in the approval process,
the monitoring team identified a CASA requirement that was completely omitted.
Paragraph 215 (k) relates to capturing demographic data for Use of Force and Search
and Seizure incidents. These required elements should be included in the revised
version of PEMS.

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

Recommendations for Paragraph 212 - 219:

4.7.205a: Document the curriculum for OBRD training for supervisors, and
ensure that that the new PEMS system addresses all required components of
paragraph 219 and the additional requirements of Paragraph 23 (Firearm
discharges), Paragraph 38 (ECW data) and Paragraph 105 (Tactical Unit data).

4.7.205b: Document learning assessment processes for the training provided for
supervisors.

4.7.205c: Design and document audit protocols for supervisory review and
reporting of OBRD processes.

4.7.206 – 4.7.217 Assessing Compliance with Paragraphs 220-231

During this reporting period, APD has completed the OBRD training for the 20th Lateral
class, the 120th Cadet class and the 21st Lateral class. The deployment of new AXON
cameras to all of APD was completed during this reporting period, with the officers in
uniform (Field Services) receiving two (2) cameras each. After a successful recruiting


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and hiring campaign, the necessary additional cameras are in the purchase process.
Initial OBRD training was completed by all officers receiving an OBRD.

During the team site visit in November 2018, the OBRD policy 2-8 was pending as “in
review” and remains in review as of the writing of this report. Members of the monitoring
team visited every Area Command and had supervisors explain their understanding of
the policy requirements and asked the supervisors to demonstrate that they in fact had
done the required video reviews. All supervisors contacted were aware of the policy
requirements, fluent in their use of the system, and had documented their completed
video reviews. This is a marked improvement over past performance in this area and a
direct result of OBRD refresher training conducted during this reporting period, with
more than 97% of APD personnel completing the refresher via Power DMS.

APD discovered that when supervisors entered data into the monthly video inspection
form, they were permitted to skip certain fields and continue with completing the form.
This caused inaccurate data collection if a field had been skipped, so changes were
implemented to require all fields to be mandatory, in order to eliminate missing data.
The revised form adds an audit function and the Performance Metrics Unit is in the pilot
phase of conducting random and directed audits for OBRD. The Northwest and
Foothills Area Commands are the two pilot commands for the months of February and
March 2019. The monitoring team will review the progress/outcome of this pilot during
the May 2019 site visit.

Additional personnel have been assigned to OBRD functions to assist in training. Two
civilians were certified in Instructor Training and attended Axon camera systems
training. Additionally, the camera program has been transferred to the Evidence Section
from the Property Section. This enables an officer having problems with a camera to get
a replacement at any time. This unit will also track issues reported with the cameras—
failures, battery issues, etc.

In order to attain compliance with the requirement that all cameras are checked daily to
ensure they are working, APD has requested documentation from Axon that will explain
the cameras built-in protocols that restrict downloads, recharging and uploading camera
updates to only cameras known (by the system) to be functioning correctly. APD
provided an email from an Axon software engineer describing this safeguard. The
monitoring team reviewed AXON training materials and observed units in the field being
charged/ downloaded/ uploaded and agree that a non-functioning camera would be
indicated by the system.

APD has begun to develop systems and processes and to outline methods of
conducting internal inspections and audits with regards to several requirements of the
CASA relating to OBRD. Spreadsheet data has been presented to the monitoring team
regarding sixteen cases of OBRD infractions during this reporting period, involving
eighteen officers and one Lieutenant. Nine cases have been sustained with seven
cases still in progress. These spreadsheets, however, do not distinguish how these
policy violations were discovered, whether they were referred to Internal Affairs, or the

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final disposition of the cases. Members of the monitoring team will work with Internal
Affairs and OBRD personnel during the next site visit to address the requirements and
explore methods to capture and report the data.

Regarding training, members of the monitoring team have taken the OBRD training and
test via Power DMS. During this process, we found the testing protocols to be
reasonably designed to assess learning. We have requested, but never received any
curriculum for the training of supervisors regarding their responsibilities with OBRD
(other than PowerPoint slides). We have admonished APD on a number of occasions
that PowerPoint slides do not constitute full training documentation. Well-trained
supervisors are the lynchpin to making this entire process function properly. APD is
reminded that all CASA-related training should be based on acceptable lesson planning
processes similar to the GO-MAPPS (seven-step training process) outline the monitor
has provided the Training Academy on multiple occasions.

APD’s response to IMR-8 indicates that OBRD Supervisory Training is in development
as one of three blocks of OBRD training—in addition to OBRD Function Training and
Policy Review Training.

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

4.7.206 Assessing Compliance Paragraph 220

Paragraph 220 stipulates:

            “To maintain high-level, quality service; to ensure officer
            safety and accountability; and to promote constitutional,
            effective policing, APD is committed to the consistent and
            effective use of on-body recording systems. Within six months
            of the Effective Date, APD agrees to revise and update its
            policies and procedures regarding on-body recording systems
            to require:
            a) specific and clear guidance when on-body recording
            systems are used, including who will be assigned to wear the
            cameras and where on the body the cameras are authorized to
            be placed;
             b) officers to ensure that their on-body recording systems are
            working properly during police action;
            c) officers to notify their supervisors when they learn that their
            on-body recording systems are not functioning;
            d) officers are required to inform arrestees when they are
            recording, unless doing so would be unsafe, impractical, or
            impossible;
            e) activation of on-body recording systems before all
            encounters with individuals who are the subject of a stop
            based on reasonable suspicion or probable cause, arrest, or
            vehicle search, as well as police action involving subjects
            known to have mental illness;


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            f) supervisors to review recordings of all officers listed in any
            misconduct complaints made directly to the supervisor or APD
            report regarding any incident involving injuries to an officer,
            uses of force, or foot pursuits;
             g) supervisors to review recordings regularly and to
            incorporate the knowledge gained from this review into their
            ongoing evaluation and supervision of officers; and
             h) APD to retain and preserve non-evidentiary recordings for
            at least 60 days and consistent with state disclosure laws, and
            evidentiary recordings for at least one year, or, if a case
            remains in investigation or litigation, until the case is
            resolved.”

Results

APD has developed compliant policy for OBRD operation, and has trained all
appropriate personnel in the operation of OBRD units with respect to those policies. To
date, we have not seen compliant levels of in-field operations of OBRDs at the 95
percent level. Based on our knowledge and experience, this is attributable to
inadequate processes of supervision and review by first-line supervisors.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

Recommendations for Paragraph 219 – 220:

4.7.206a: Develop and implement a routinized system of inspections and audit of
OBRD field processes which will assess methodically the required elements of
OBRD use in the field.

4.7.206b: Prepare, quarterly, a written assessment of the results of the
inspections and audit outcomes, identifying the top five areas of non-compliance
with the requirements of OBRD field processes.

4.7.206c: Based on the quarterly audits, identify the top three reasons for non-
compliance with OBRD policies and procedures, and develop specific, targeted
responses to address and remediate each of the top three non-compliance areas.

4.7.206d: Repeat steps a-c until field OBRD error rates are below five percent.

4.7.207 Assessing Compliance with Paragraph 221

Paragraph 221 stipulates:

             “APD shall submit all new or revised on-body recording
             system policies and procedures to the Monitor and DOJ for
             review, comment, and approval prior to publication and


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             implementation. Upon approval by the Monitor and DOJ,
             policies shall be implemented within two months.”

Results

Policies responsive to paragraph 221 have been developed and trained. As of the end
of this reporting period, those policy and training initiatives have not had the desired
effect on in-field operations of OBRDs viz a viz policy and performance gaps.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

Recommendations for Paragraph 221:

4.7.207a: Develop, implement, and assess supervisory protocols to ensure
violations of applicable policy are identified by supervisors and are addressed
and remediated.

4.7.207b: Publish quarterly “OBRD Failure” reports identifying the top five
reasons for OBRD failure in the field, and identifying the Area Command, shift,
and supervisors associated with those failures.

4.7.207c: Retrain, counsel or discipline supervisors with repeated failures in
noting, assessing, and correcting officers with repeated OBRD operations
failures.

4.7.207d: Repeat until error rates on OBRD operation fall below five percent.


4.7.208 Assessing Compliance with Paragraph 222

Paragraph 222 stipulates:

             “The Parties recognize that training regarding on-body
             recording systems is necessary and critical. APD shall
             develop and provide training regarding on-body recording
             systems for all patrol officers, supervisors, and command
             staff. APD will develop a training curriculum, with input from
             the Monitor and DOJ that relies on national guidelines,
             standards, and best practices.”

Results

Training for OBRD operations in the field has been implemented; however, given the
unacceptably high failure rates in the field, this training appears not to have been
effective within the supervisory ranks, as failure rates related to OBRD operations in the
field are still unacceptably high. These failure rates, it appears to the monitoring team,

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are not related to problems with policy, but are directly related to problems with
supervision. The majority of OBRD errors noted by the monitoring team indicate a
failure of sergeants to review, assess, and act upon OBRD failures exhibited by line
personnel. In effect, it appears that in most Area Commands, in-field OBRD
performance is not viewed as important. This is a critical issue. Until supervisors are
fully engaged in insisting on proper performance in the field, progress will be elusive.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

Recommendations for Paragraph 222:

4.7.208a: Reinforce the established clear, concise, and reasonable requirements
for supervisory review of in-field activations of OBRDs, requiring field
supervisors to review OBRD activations and recordings for compliance to
established policy.

4.7.208b: Establish a routinized process for command oversight of the OBRD
review process, requiring lieutenants to assess, in a methodical way, the OBRD
review processes of sergeants under their command, and commanders to assess
the OBRD review performance of lieutenants under their command, to ensure
compliance with reasonable assessments of actions in the field.

4.5.208c: Establish a routinized administrative review, via Compliance Bureau
Personnel, of Area Command OBRD review efficiency, including performance
metrics such as overall review rates, error rates, and remediation protocols. This
review process should be on-going and assigned to the Performance Metrics
Unit.

4.7.209 Assessing Compliance with Paragraph 223

Paragraph 223 stipulates:

              “APD agrees to develop and implement a schedule for testing
              on-body recording systems to confirm that they are in proper
              working order. Officers shall be responsible for ensuring that
              on-body recording systems assigned to them are functioning
              properly at the beginning and end of each shift according to
              the guidance of their system’s manufacturer and shall report
              immediately any improperly functioning equipment to a
              supervisor.”

Results

The requirements of this paragraph of the CASA are actualized in policy and training.
Supervisory oversight for this paragraph has proven to be poor, at best. We do note
that APD has been creative enough to turn to an equipment solution to testing, having

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made the decision to upgrade OBRD devices to a model that will not operate unless
nominal functioning is detected by the charging systems. While we respect APD’s
initiative in finding a workaround to supervisory failures on this point, this simply serves
to reinforce our belief that supervisors are routinely refusing to implement OBRD
policies in the field.

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

4.7.210 Assessing Compliance with Paragraph 224

Paragraph 224 stipulates:

              “Supervisors shall be responsible for ensuring that officers
              under their command use on-body recording systems as
              required by APD policy. Supervisors shall report equipment
              problems and seek to have equipment repaired as needed.
              Supervisors shall refer for investigation any officer who
              intentionally fails to activate his or her on-body recording
              system before incidents required to be recorded by APD
              policy.”

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

Recommendations for Paragraphs 223 – 224:

4.7.210a: Ensure that supervisors who fail to note errors in OBRD operation are
counseled, or for multiple offenders, retrained and/or disciplined for ineffective
OBRD review processes.

4.7.210b: If, after counseling or retraining, supervisors continue to miss OBRD
activation or usage violations, ensure appropriate discipline is imposed.

4.7.210c: Identify the top 20 sergeants who have substandard performance on
OBRD activation review and retrain them in the process. Place these individuals
“on notice” that their performance on this task will be routinely reviewed, and
continued failures will result in discipline.

4.7.211 Assessing Compliance with Paragraph 225

Paragraph 225 stipulates:



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             “At least on a monthly basis, APD shall review on-body
             recording system videos to ensure that the equipment is
             operating properly and that officers are using the systems
             appropriately and in accordance with APD policy and to
             identify areas in which additional training or guidance is
             needed.”

Results

Data reviewed regarding OBRD review for this reporting period indicated compliance for
this paragraph. Monthly assessments are stipulated by the CASA. Again, we note that
the new models of OBRD devices will have a “handshake” protocol with the charging
systems that will diagnose on-board systems in individual OBRD units. Units found to
fail the on-board diagnoses will not charge, and “error messages” will be sent to ensure
the units are inspected.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.212 Assessing Compliance with Paragraph 226
Paragraph 226 stipulates:

             “APD policies shall comply with all existing laws and
             regulations, including those governing evidence collection
             and retention, public disclosure of information, and consent.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.213 Assessing Compliance with Paragraph 227

Paragraph 227 stipulates:

             “APD shall ensure that on-body recording system videos are
             properly categorized and accessible. On-body recording
             system videos shall be classified according to the kind of
             incident or event captured in the footage.”

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.214 Assessing Compliance with Paragraph 228

Paragraph 228 stipulates:

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            “Officers who wear on-body recording systems shall be
            required to articulate on camera or provide in writing their
            reasoning if they fail to record an activity that is required by
            APD policy to be recorded. Intentional or otherwise unjustified
            failure to activate an on-body recording system when required
            by APD policy shall subject the officer to discipline.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

See paragraph 231 for an explanation of non-compliance for OBRD usage.

Recommendations for Paragraph 228:

See paragraph 231 for recommendations for remediation of problems concerning
this paragraph.

4.7.215 Assessing Compliance with Paragraph 229

Paragraph 229 stipulates:

             “APD shall ensure that on-body recording systems are only
             used in conjunction with official law enforcement duties. On-
             body recording systems shall not be used to record
             encounters with known undercover officers or confidential
             informants; when officers are engaged in personal activities;
             when officers are having conversations with other Department
             personnel that involve case strategy or tactics; and in any
             location where individuals have a reasonable expectation of
             privacy (e.g., restroom or locker room).”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

The majority of OBRD errors noted by the monitoring team indicate a failure of
sergeants to review, assess, and act upon OBRD failures exhibited by line personnel.

See monitor’s recommendations for paragraph 231.

4.7.216 Assessing Compliance with Paragraph 230

Paragraph 230 stipulates:

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             “APD shall ensure that all on-body recording system
             recordings are properly stored by the end of each officer’s
             subsequent shift. All images and sounds recorded by on-body
             recording systems are the exclusive property of APD.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.217 Assessing Compliance with Paragraph 231

Paragraph 231 stipulates:

            “The Parties are committed to the effective use of on-body
            recording systems and to utilizing best practices. APD
            currently deploys several different platforms for on-body
            recording systems that have a range of technological
            capabilities and cost considerations. The City has engaged
            outside experts to conduct a study of its on-body recording
            system program. Given these issues, within one year of the
            Effective Date, APD shall consult with community
            stakeholders, officers, the police officer’s union, and
            community residents to gather input on APD’s on-body
            recording system policy and to revise the policy, as necessary,
            to ensure it complies with applicable law, this Agreement, and
            best practices.”

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

Recommendations for Paragraphs 220-231:

4.7.206-217a: Document all training provided responsive to above paragraphs
and provide that documentation to the monitoring team for review.

4.7.206-217b: Ensure that training provided responsive to these paragraphs is
well documented and has clear goals and measureable objectives.

4.7.206-217c: Conduct detailed failure analyses designed to identify the causes
of incidents of “failure to record,” and identify the true cause of these failures:
equipment, training, supervision, or “other.”



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4.7.206-217d: Rank order the failure rates, and develop action plans to eliminate
the causes of failure, beginning with the most frequent and working to least
frequent.

4.7.206-217e: Identify a frequency-based list of supervisors who fail to enforce
OBRD requirements, and schedule these supervisors for retraining, counseling,
or discipline, as appropriate.

4.7.218 – 4.7.226 Assessing Compliance with Paragraphs 232-240

Members of the monitoring team examined and reviewed APD data related to these
requirements in the form of policy, programs, and results. APD has been, and is
currently attracting and hiring qualified individuals, and has been and remains in
Operational Compliance with each of these CASA paragraph requirements.

Members of the monitoring team met with Training Academy personnel responsible for
the development and implementation of a strategic recruitment plan. The APD Training
Academy has provided the monitoring team with the “2018 Annual Report & 2019
Strategic Recruitment Plan.” APD continues to aggressively promote the agency via
web-based applications with expanded emphasis on minority group sites. Additionally,
APD continues to provide documentation of attendance at many diverse community
group events including military, faith-based, educational, and sports-related events.
State and national events were also targeted by the APD recruiters, including the NM
State Fair, the Balloon Fiesta and the NRA National Shooting Competition. In addition to
making contact with prospective recruits, APD has been able to collect valuable
information from its recruiters regarding hiring strategies. APD has accepted
applications from several law enforcement officers contacted at these events. APD
discovered that interested individuals were sometimes unable to connect with APD via
the internet and has begun resolving this, and other tech-related issues. APD is
working to make the application process available to applicants who rely on their mobile
devices, and has added a “scan code” to its recruiting brochure that will take an
applicant directly to the APD online registration website. The “blind” online application
process, wherein applicants can remain completely anonymous until they arrive for
testing, is a laudable and effective process.

The University of New Mexico worked with the APD to develop a comprehensive
recruiting plan, and the partnership continues. APD recruiting staff has met with the
UNM Athletic recruiters to learn their tactics of attracting highly qualified individuals, and
secondly to establish access to athletes who may be interested in an APD career.

The “2019 Strategic Recruitment Plan” lists a review of past strategies and enumerates
goals/objectives and activities to attract a diverse pool of applicants for 2019. APD has
expanded its web-based advertising with more emphasis on minority group sites (Native
People Recruits, The Cause, and Saludos websites) in addition to the military and
university communities. APD continues regular contact with board members of the
Southern Christian Leadership Conference. Feedback received from a recruiting summit

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was a determining factor in the reduction of the college credit requirements. APD has
expanded its efforts with the high school “Career Enhancement Center,” to recruit
students into the Public Service Aide (PSA) program, and foster processes to facilitate
the transition from PSA to police officer. APD has provided documentation that
demonstrates changes to recruiting process based on community feedback. During
2018, APD Recruiters attended meetings with all six Community Policing Councils.
Community Councils recommended that APD post Albuquerque demographic data on
its website, and that was completed. Additionally, the Councils recommended an
instructional video to demonstrate the testing and hiring process and that video was
completed, posted on APDonline and is emailed to each applicant. Another Council
meeting proposed that videos of current officers discussing their reasons for joining
APD would be helpful. These are currently in the planning stages. Finally, monthly
tutoring sessions have been implemented and while they have encountered some
staffing issues, APD continues to facilitate these tutoring sessions. APD has added
additional testing dates during the week rather than just weekends to enable those
working weekend shifts to test.

No recruit class was seated until the final few days of this monitoring period. The
monitoring team will conduct a random audit of the CASA requirements for that recruit
class during the May 2019 site visit.

Members of the monitoring team requested COB data related to training for CASA
requirements and reviewed a random sample of six lateral hires (a 21% sample of the
29 laterals hired). All lateral applicants were screened by psychological testing,
completed a medical examination, and were subjected to polygraph screening, and drug
testing. Results of APD’s screening process for the 20th Lateral class are included in
Tables 4.7.218a, b and c below.

In addition to the initial APD test with related skills questions, the background
questionnaires for both a candidate’s former employers and personal references contain
questions related to employment, criminal and credit history, and questions regarding
controlled substance use and abilities to work with diverse communities. A random
audit (six of 29 seated—21%) of applicant files found each one to contain the relevant
questionnaires with answers to the specific questions related to the requirements of this
paragraph. The results of that review are included in Table 4.7.218b below, and indicate
100 percent compliance for this task.

For the requirement of drug testing current officers, APD submitted Course of Business
documentation of random drug testing for current APD officers during this monitoring
period, August 1, 2018 to January 31, 2019. The results of that review indicate 100
percent compliance for this task.

APD has met or exceeded all established requirements for Paragraphs 232-240 in the
past and the monitoring team expects APD to continue to remain in compliance (See
Table 4.7.218a, below).



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                          Table 4.7.218a
           Screening Points for Recruits and Lateral Hires

                       New
                       recruits
                       and lateral
                       hires to
                       undergo a       New recruits      New recruits     Reliable and
                       psychologic     and lateral      and lateral       valid pre-
                       al              hires, to        hires, to         service Drug       Detect the use
                       examinatio      undergo a        undergo a         testing for new   of banned or
                       n to            medical          polygraph         officers and      illegal
                       determine       examination      examination       random testing    substances,
                       their           to determine     to determine      for existing      including
                  #    fitness         their fitness    their fitness     officers.         steroids.
  Lateral 1                 1                1                1                 1                 1
  Lateral 2                 1                1                1                 1                 1
  Lateral 3                 1                1                1                 1                 1
  Lateral 4                 1                1                1                 1                 1
  Lateral 5                 1                1                1                 1                 1
  Lateral 6                 1                1                1                 1                 1
  Total                     6                6                6                 6                 6
  Number
  in
  Compliance
  Total all
  Incidents                 6                6                6                 6                 6
   % in Compliance
  Total by Category      100%             100%              100%              100%              100%


                                                 Table 4.7.218b

                      Screening Points for Recruits and Lateral Hires
                                                                                             Assessing a
                                                                            Assessing a      candidate’s
                                                            Assessing a     candidate’s      ability to
                      Assessing a        Assessing a        candidate’s     use of           work with
                      candidate’s        candidate’s        employment      controlled       diverse
       Case No.       credit history     criminal history   history         substances       communities
  Lateral 1                  1                   1                1                 1              1
  Lateral 2                  1                   1                1                 1              1
  Lateral 3                  1                   1                1                 1              1
  Lateral 4                  1                   1                1                 1              1
  Lateral 5                  1                   1                1                 1              1
  Lateral 6                  1                   1                1                 1              1
  Number in
  Compliance
  Total all
  Incidents                  6                   6                6                 6              6
  % in
  Compliance
  Total by
  Category                100%                100%             100%             100%            100%


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                                        Table 4.7.218c

                         Additional Screening Points for Lateral Hires


                                                                                               Providing
                                                                                               training
                       History of                             Assessing a        Assessing     in APD
                      using lethal         Named in a         lateral’s use of   a lateral’s   policies,
                      and less lethal     civil or criminal   force training     complaint     procedures
          Case No.    force               action              records            history       and the CASA
          Lateral 1          1                    1                  1               1              1
          Lateral 2          1                    1                  1               1              1
          Lateral 3          1                    1                  1               1              1
          Lateral 4          1                    1                  1               1              1
          Lateral 5          1                    1                  1               1              1
          Lateral 6          1                    1                  1               1              1
      Number in
      Compliance
      Total all
      Incidents              6                    6                  6               6              6
      % in
      Compliance
      Total
       by Category        100%                 100%                100%            100%           100%

4.7.218 Assessing Compliance with Paragraph 232

Paragraph 232 stipulates:

                “To maintain high-level, quality service; to ensure officer
                safety and accountability; and to promote constitutional,
                effective policing, APD shall develop a comprehensive
                recruitment and hiring program that successfully attracts and
                hires qualified individuals. APD shall develop a recruitment
                policy and program that provides clear guidance and
                objectives for recruiting police officers and that clearly
                allocates responsibilities for recruitment efforts.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.219 Assessing Compliance with Paragraph 233

Paragraph 233 stipulates:

                “APD shall develop a strategic recruitment plan that includes
                clear goals, objectives, and action steps for attracting


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             qualified applicants from a broad cross section of the
             community. The recruitment plan shall establish and clearly
             identify the goals of APD’s recruitment efforts and the duties
             of officers and staff implementing the plan.”

Results

APD remains in compliance with this paragraph based on work completed earlier
regarding recruitment planning.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.220 Assessing Compliance with Paragraph 234

Paragraph 234 stipulates:

             “APD’s recruitment plan shall include specific strategies for
             attracting a diverse group of applicants who possess
             strategic thinking and problem-solving skills, emotional
             maturity, interpersonal skills, and the ability to collaborate
             with a diverse cross-section of the community.”



Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.221 Assessing Compliance with Paragraph 235

Paragraph 235 stipulates:

             “APD’s recruitment plan will also consult with community
             stakeholders to receive recommended strategies to attract a
             diverse pool of applicants. APD shall create and maintain
             sustained relationships with community stakeholders to
             enhance recruitment efforts.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance




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4.7.222 Assessing Compliance with Paragraph 236

Paragraph 236 stipulates:

             “APD shall develop and implement an objective system for
             hiring and selecting recruits. The system shall establish
             minimum standards for recruiting and an objective process
             for selecting recruits that employs reliable and valid selection
             devices that comport with best practices and anti-
             discrimination laws.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.223 Assessing Compliance with Paragraph 237

Paragraph 237 stipulates:

             “APD shall continue to require all candidates for sworn
             personnel positions, including new recruits and lateral hires,
             to undergo a psychological, medical, and polygraph
             examination to determine their fitness for employment. APD
             shall maintain a drug testing program that provides for
             reliable and valid pre-service testing for new officers and
             random testing for existing officers. The program shall
             continue to be designed to detect the use of banned or illegal
             substances, including steroids.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.224 Assessing Compliance with Paragraph 238

Paragraph 238 stipulates:

             “APD shall ensure that thorough, objective, and timely
             background investigations of candidates for sworn positions
             are conducted in accordance with best practices and federal
             anti-discrimination laws. APD’s suitability determination shall
             include assessing a candidate’s credit history, criminal
             history, employment history, use of controlled substances,
             and ability to work with diverse communities.”



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Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.225 Assessing Compliance with Paragraph 239

Paragraph 239 stipulates:

             “APD shall complete thorough, objective, and timely pre-
             employment investigations of all lateral hires. APD’s pre-
             employment investigations shall include reviewing a lateral
             hire’s history of using lethal and less lethal force, determining
             whether the lateral hire has been named in a civil or criminal
             action; assessing the lateral hire’s use of force training
             records and complaint history, and requiring that all lateral
             hires are provided training and orientation in APD’s policies,
             procedures, and this Agreement.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.226 Assessing Compliance with Paragraph 240

Paragraph 240 stipulates:

             “APD shall annually report its recruiting activities and
             outcomes, including the number of applicants, interviewees,
             and selectees, and the extent to which APD has been able to
             recruit applicants with needed skills and a discussion of any
             challenges to recruiting high-quality applicants.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance


4.7.227 – 4.7.229 Assessing Compliance with CASA Paragraphs 241-243:
Promotions

The monitoring team conducted a random audit of the promotions made by APD on
October 26, 2018. APD promoted fifteen officers to the rank of Sergeant and five

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Sergeants to the rank of Lieutenant. The monitoring team reviewed eight of the fifteen
Sergeants (a 53% sample) and three of the five Lieutenants (a 60% sample) and found
APD to be in full compliance with the requirements of these paragraphs for all eleven
promotions we reviewed. Records were checked in Human Resources, Internal Affairs
and the Training Academy.

APD provided members of the monitoring team a new Promotional Practices Policy
(dated January 31, 2019). The new policy promulgated by APD was adopted after
approval by the Court. Based on the monitoring team’s review of promotions recently
made by APD, the agency has promoted individuals who meet applicable standards and
existing policy.

Additional promotions were made at the end of this reporting period. During the May
2019 site visit, the monitoring team will conduct another random audit of those
promoted and review their records to ensure all were within the policy approved by the
Court.

4.7.227 Assessing Compliance with Paragraph 241

Paragraph 241 stipulates:

             “APD shall develop and implement fair and consistent
             promotion practices that comport with best practices and
             federal anti-discrimination laws. APD shall utilize multiple
             methods of evaluation for promotions to the ranks of
             Sergeant and Lieutenant. APD shall provide clear guidance on
             promotional criteria and prioritize effective, constitutional,
             and community-oriented policing as criteria for all
             promotions. These criteria should account for experience,
             protection of civil rights, discipline history, and previous
             performance evaluations.”

Results

The Court has approved the extant promotions policy, which was the result of long-term,
on-going negotiations between APOA and the City.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.228 Assessing Compliance with Paragraph 242

Paragraph 242 stipulates:

             “APD shall develop objective criteria to ensure that
             promotions are based on knowledge, skills, and abilities that



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             are required to perform supervisory and management duties
             in core substantive areas.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.229 Assessing Compliance with Paragraph 243

Paragraph 243 stipulates:

             “Within six months of the Effective Date, APD shall develop
             and implement procedures that govern the removal of officers
             from consideration from promotion for pending or final
             disciplinary action related to misconduct that has resulted or
             may result in a suspension greater than 24 hours.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.230 – 4.7.232 Assessing Compliance with CASA Paragraphs 244-246
(Performance Evaluations and Promotional Policies)

APD has completed and promulgated policy regarding performance evaluations. The
policy provides guidance on use of the system, listing criteria to be used to assess
achievement of performance goals, and outlining corrective action required if
performance goals are not met. During prior site visits, members of the monitoring team
attended the Talent Management training and found it to be excellent. As the system
has been in use over the past two years, however, deficiencies in its ability to conform
to all CASA requirements has become apparent.

Once again, during the November 2018 site visit, members of the monitoring team
visited all six area commands and had supervisors demonstrate the Talent
Management System. All supervisors were fluent in their use of the system, were able
to show examples of work plans and achievements of subordinates, and had completed
the requirements of the policy, the CASA and the system on-time, but with issues.

APD is currently working on revising the existing Performance Evaluation policy to
include specific sanctions for missed checkpoints and failure to make notifications
regarding incorrect personnel assignments. Those planned revisions will enhance the
performance evaluation system. Additionally, APD has found that the existing Talent
Management system is not fully capable for use as a supervisory evaluation tool,

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especially with respect to CASA requirements as outlined in Paragraph 47. There is
currently no method of evaluating a supervisor’s use of force investigations within the
system. Completed Staff Work (CSW) documentation has been presented to the
monitoring team recognizing all the shortcomings of the existing system and providing
recommendations for corrections.

The monitoring team was provided with course of business documentation, generated
through the automated system, that showed compliance rates below 95% for the
immediate supervisors completing the latest two evaluation checkpoints (October 2018
and January 2019). The APD Lead Commander responsible for the Performance
Evaluation requirements referred 17 supervisors to Internal Affairs for administrative
investigations regarding the failure to complete their checkpoints in a timely manner.
Additionally, the monitoring team was provided with data related to upcoming
checkpoint reminders, failures to meet the requirements, and the responses to the
reasons for those failures. The reasons for failing to meet the checkpoint requirements
included administrative errors of failing to assign an officer appropriately, military leave,
FMLA and other medical type leaves. Other reasons for failures have been noted by
APD as a training issue and plans for additional training are under development. All
checkpoint requirements were met prior to the end of the reporting period, but not prior
to their required completion date. Should more than five percent of APD’s supervisors
fail to meet the required checkpoints during the next reporting period, a loss of
compliance would be appropriate. We encourage APD to pay close attention to these
issues, and insure that, where necessary, updates, changes, and retraining are made
as dictated by performance.

The recommendations of the proposed development plan (if implemented) should
provide the necessary means to gain operational compliance with all elements of the
CASA requirements.

4.7.230 Assessing Compliance with Paragraph 244

Paragraph 244 stipulates:

              “APD shall develop and implement fair and consistent
              practices to accurately evaluate the performance of all APD
              officers in areas related to constitutional policing, integrity,
              community policing, and critical police functions on both an
              ongoing and annual basis. APD shall develop objective
              criteria to assess whether officers meet performance goals.
              The evaluation system shall provide for appropriate corrective
              action, if such action is necessary.”

Results

Current practice at APD meets the requirements of this paragraph for this reporting
period. The monitoring team will continue to review performance assessment practices
at APD as the monitoring process continues.

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      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.231 Assessing Compliance with Paragraph 245

Paragraph 245 stipulates:
             “As part of this system, APD shall maintain a formalized
             system documenting annual performance evaluations of each
             officer by the officer’s direct supervisor. APD shall hold
             supervisors accountable for submitting timely, accurate, and
             complete performance evaluations of their subordinates.”

Results

APD has developed a formal and trackable system of annual performance evaluations.
This system is new enough to have produced too few evaluation processes to be
quantitatively reviewed. The system appears to be used as envisioned by APD. We
will revisit system outputs during the IMR-10 reporting period, once more data points
are available.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.232 Assessing Compliance with Paragraph 246

Paragraph 246 stipulates:

             “As part of the annual performance review process,
             supervisors shall meet with the employee whose performance
             is being evaluated to discuss the evaluation and develop work
             plans that address performance expectations, areas in which
             performance needs improvement, and areas of particular
             growth and achievement during the rating period.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.233 – 4.7.239 Assessing Compliance with CASA Paragraphs 247-253: Officer
Assistance and Support

The monitoring team reviewed the Behavioral Sciences Section (BSS) Program for the

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Albuquerque Police Department to ensure that officers and employees of the
department were provided ready access to mental health and support resources as
required by the CASA. The program continues to provide Critical Incident Service,
Therapy Service, and a Training Component to the APD. The Behavioral Science
Section is staffed with highly qualified personnel to maintain high-level, quality service.
This program is run by a Medical Director, supported by certified clinicians, a policy
analyst, a public information officer, and quality assurance auditors. The monitoring
team was supplied with the most current documentation supporting the program’s
functions.

During the November 2018 site visit, the monitoring team met with BSS personnel
responsible for maintaining the program’s development, revisions, and upgrades. BSS
supplied the monitoring team with documentation outlining the program’s functions. The
BSS has developed a handbook that describes the entire program and all of the
program requirements as articulated by the CASA. BSS supplied the monitoring team
minutes of semi-annual meetings. Revisions to BSS process are ongoing and reviewed
at these meetings. BSS continues to look for ways to improve and promote officer
wellness. These areas include but are not limited to:

     • Increased collaboration with groups within the City of Albuquerque
       that touch on officer wellness, either directly or indirectly;
     • Increased collaboration with groups outside of the City who can help
       promote officer wellness;
     • Working with a local university on a wellness and resilience grant;
       and
     • Working with the police union on BSS goals.
We reviewed the training component of the program to ensure APD members received
training in Officer Support Protocols. The clinicians currently provide training to
management and supervisory personnel to ensure accessibility of the program to
officers. We also reviewed the Cadet Class Schedule for the 120th Cadet Class.

As stated in previous IMRs, the nature of the documentation is highly confidential and
again, as in previous site visits, aggregate data was reviewed where it was deemed
practical. In other cases, notes taken by the monitoring team were devoid of any direct
or circumstantial information that would allow an individual to be identified.

During the November 2018 site visit, on-site inspections of the BSS facilities were
conducted by the monitoring team. The monitoring team met with BSS staff and
confirmed that confidential records were secured in locked filing cabinets and that those
records were maintained in areas where only BSS staff has access.

Members of the monitoring team also reviewed COB documents for the Peer Support
Services for this reporting period. As in the previous site visits, documentation included
the following: Peer Support Services Data; New Members Selection and Training; Peer
Support Board activities; Team meetings; and Peer Support Survey Results. BSS
activities for this reporting period indicate positive use of the program. Material viewed

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by the monitoring team, as it relates to this program, are highly confidential and
operational compliance assessment is difficult. We found APD’s BSS programs to be
industry-standard and compliant with the relevant paragraphs of the CASA.

The data reviewed by the monitoring team for BSS paragraphs during this reporting
period indicate that there is a mindset that confidentiality of the program is more
protected than in the past. BSS has conducted three anonymous surveys of the entire
department dating back to 2016. The most recent survey was conducted during this
reporting period. The data gleaned from these surveys indicate a positive trend. The
quality and availability of the program reflects an increased belief among officers
regarding the importance of what is offered. As of the site visit in November 2018, BSS
continues to maintain updated Excel spreadsheets of available health professionals and
flyers that were reviewed during the site visits at all of APD’s Area Commands. BSS
implemented a new phone system during this reporting period, and continues to expand
marketing and providers in order to move the program forward. Plans to ensure material
is documented on their “Daily 49” system in APD briefing rooms are still in the process
of being updated.

APD has met the CASA requirements for these paragraphs and is in compliance. The
monitoring team will continue to closely monitor this process in future site visits.

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.233 Assessing Compliance with Paragraph 247

Paragraph 247 stipulates:
             “To maintain high-level, quality service; to ensure officer
             safety and accountability; and to promote constitutional,
             effective policing, APD agrees to provide officers and
             employees ready access to mental health and support
             resources. To achieve this outcome, APD agrees to implement
             the requirements below.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.234 Assessing Compliance with Paragraph 248

Paragraph 248 stipulates:
             “APD agrees to develop and offer a centralized and

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             comprehensive range of mental health services that comports
             with best practices and current professional standards,
             including: readily accessible confidential counseling services
             with both direct and indirect referrals; critical incident
             debriefings and crisis counseling; peer support; stress
             management training; and mental health evaluations.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.235 Assessing Compliance with Paragraph 249

Paragraph 249 stipulates:
             “APD shall provide training to management and supervisory
             personnel in officer support protocols to ensure support
             services are accessible to officers in a manner that minimizes
             stigma.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.236 Assessing Compliance with Paragraph 250

Paragraph 250 stipulates:
            “APD shall ensure that any mental health counseling services
            provided APD employees remain confidential in accordance
            with federal law and generally accepted practices in the field of
            mental health care.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.237 Assessing Compliance with Paragraph 251

Paragraph 251 stipulates:
             “APD shall involve mental health professionals in developing
             and providing academy and in-service training on mental
             health stressors related to law enforcement and the mental
             health services available to officers and their families.”

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Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.238 Assessing Compliance with Paragraph 252

Paragraph 252 stipulates:
             “APD shall develop and implement policies that require and
             specify a mental health evaluation before allowing an officer
             back on full duty following a traumatic incident (e.g., officer-
             involved shooting, officer-involved accident involving fatality,
             or all other uses of force resulting in death) or as directed by
             the Chief.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.239 Assessing Compliance with Paragraph 253

Paragraph 253 stipulates:
             “APD agrees to compile and distribute a list of internal and
             external available mental health services to all officers and
             employees. APD should periodically consult with community
             and other outside service providers to maintain a current and
             accurate list of available providers.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.240 – 4.7.255 Assessing Compliance with Paragraphs 255 -270: Community
Policing and Community Engagement

Paragraphs 255-270 address the CASA community engagement requirements that
include fully adopting community policing principles, integrating them into APD policy,
practices and operations, and the establishment and operations of Community Policing
Councils (CPCs). Updating community oriented policing training for both cadets and
current staff, increasing and tracking non-enforcement citizen contracts, and sustaining
CPCs are central to achieving these paragraph objectives.


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For paragraphs 255-265, members of the monitoring team reviewed relevant Special
Orders and policies; interviewed members of APD’s compliance team and commanders
assigned to coordinate responses; interviewed community members and CPC
participants; reviewed the APD website; reviewed APD’s course-of-business
spreadsheets from their events tracking system; and assessed responses to data and
information requests pertaining to each of these paragraphs.

For paragraphs 266-270, the primary source of compliance data was the CPC sections
of the APD website, including a review of CPC annual reports, meeting minutes, and
agendas; attendance and observation of CPC meetings; interviews with APD outreach
staff, community and CPC members, and area commanders; and APD data and
information responses pertaining to each of these paragraphs.

For the ninth reporting period, APD demonstrated a continued commitment to fostering
“culture change,” including revisions of APD’s mission and vision statement; enhanced
special programming and outreach efforts to previously marginalized groups such as at-
risk youth; deployment of more officers in proactive policing roles; and greatly
expanding tracking of officer non-enforcement contacts with community members.

APD staff in particular brought guidance and resources to the CPC programs, helping to
boost participation and the number and diversity of CPC voting members. CPCs are
operational in all six command areas. Frequency of CPC meetings, CPC generation of
recommendations, and overall participation in CPCs far exceeds the requirements
articulated in the CASA. The CPCs are quickly becoming a national best practice.

APD still needs to finalize, assess and expand its community- oriented policing training,
complete its tracking system for officer non-enforcement contacts, strengthen the
weaker CPCs, and develop and implement more command area-based
communications and outreach strategies. In the monitor’s view, CPCs are vital to
success at APD, and the City is bound by the CASA to foster, support, and guide the
CPCs in any way it can. Where issues of CPC recruiting, governance, and “outputs”
are concerned, we suggest that while the City cannot direct its CPCs, it certainly can
support them with training, access to outside consultants, provision of problem-solving
services, etc.

The following paragraphs represent specific monitoring team findings for paragraphs
255-270.

4.7.240 Assessing Compliance with Paragraph 25568

Paragraph 255 stipulates:

            “APD agrees to ensure its mission statement reflects its
            commitment to community-oriented policing and agrees to
            integrate community and problem-solving policing principles




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             into its management, policies, procedures, recruitment,
             training, personnel evaluations, resource deployment, tactics,
             and accountability systems.”

Paragraph 255 requires APD to develop policy guidance and mission statements
reflecting its commitment to community and problem-oriented policing and supporting
administrative systems. APD has published Special Order 16-06 dated January 9,
2017, which indicated that APD revised its mission statement, reflecting its commitment
to community-oriented policing.

During the previous reporting period, APD established a working group that organized a
comprehensive and inclusive process that included commanders, line staff, and
community members. The group completed its work during this reporting period, and
produced a mission and vision statement reflecting its commitment to community
policing principles. These were provided to the monitoring team on January 14,
2019.The product identified APD’s vision as “an Albuquerque where citizens and the
police department work together through mutual trust to build a thriving community.”
The mission statement identified by APD was “to reduce crime, increase safety, and
build relationships through community policing.”

APD continues to make progress integrating community policing principles into its
management practices (policies, procedures, recruitment, training, deployment, tactics,
and accountability systems). During this reporting period, APD continued to revise its
training curriculum, made more officers available to achieve community policing goals,
and worked to adapt patrol assignments in order to further engage officers with
community members.

APD is continuing its work to ensure that community participation, input and access are
folded into the mix of policy-making, training development, goal-setting, in-field
processes and tactics, supervision, command decision making, and program
assessment, as evidenced by updating staffing deployment plans to place greater
emphasis on community driven policing.

APD, in conjunction with the USAO, continued its youth community outreach efforts with
completion of a second session of the DEFY (Drug Education for Youth) program that
brought law enforcement officers together with groups of at-risk youth in a summer
camp experience, where life skills were also taught.

APD command staff appears clearly committed to a departmental transformation
involving the integration of community policing principles throughout the organization.
The transformation requires a “culture change” driven by new and revised policies,
training reflecting new policies, and active, consistent and impartial supervision. During
this reporting period, APD has continued to engage in intensive planning, re-
assignment of numerous personnel, and adjustments in roles and responsibilities, all
designed to support this transformation. APD, in conjunction with the USAO, continued
high-level discussions concerning strategies to promote “culture change” and took
additional steps to implement “culture change” strategies.

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Examples of this change process during this reporting period include:

   •   APD completed a Community Policing Strategy that includes
       organizational transformation as one of its key goals.

   •   APD has also started to deploy more officers to the six command
       areas to help increase non-enforcement contacts and problem
       oriented policing practices.

We find APD still to be in the initial stages of implementing verifiable changes in the
field-based delivery of processes and services that affect a sea-change in the way APD
relates to the communities it serves. Once these changes become a normal part of the
way APD does business, the APD will be in full compliance for this paragraph.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: Not In Compliance

Recommendations for Paragraph 255:

4.7.240a: Conduct a quarterly review of progress made across the department in
achieving “culture change” and the integration of community policing principles
throughout APD operations, and share findings both internally and with other
community stakeholders;

4.7.240b: Strengthen ongoing input into police operations from CPCs and other
community stakeholders, including further outreach to other community service
organizations and advocacy groups;

4.7.240c: Work with USAO and other community partners to expand community-
based initiatives targeting high risk youth.

4.7.241 Assessing Compliance with Paragraph 256: APD Response to Staffing
Plan

Paragraph 256 stipulates:

             “As part of the Parties’ staffing plan described in Paragraph
             204, APD shall realign its staffing allocations and deployment,
             as indicated, and review its recruitment and hiring goals to
             ensure they support community and problem-oriented
             policing.”




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Paragraph 256 requires APD to realign its staffing allocations and deployment, as
indicated, and review its recruitment and hiring goals to ensure they support community
and problem-oriented policing. APD’s PACT (Police and Community Together) plan
was approved on December 27, 2016, and staff re-alignment responsive to the plan
was continued during the 7th reporting period. Implementation of the PACT plan was
terminated during the last reporting period, and replaced with deployment of Problem
Response Teams (PRT) to all of the six command areas. These PRTs provide
additional staffing to increase non-enforcement contacts, build community partnerships,
and provide for more pro-active policing activities. We find the new PRT to be a marked
improvement to the old PACT process, with strong goals related to problem-solving
policing processes, as opposed to PACT’s enforcement-based processes.

During this report period APD has started deploying PRT staff with one area command
fully staffed with eight officers and with other command areas seeking to fill PRT
positions.

APD’s switch away from PACT, a staffing allocation plan designed to increase officer
staffing at the command levels, represents a paradigm shift in APD’s policing strategies
and approaches. The plan currently being implemented goes even further in its support
of community policing goals and community engagement. As with PACT, PRT also
calls for shifting staffing resources to command areas, but goes further in re-defining
roles and key activities, and actually assigning officers to micro beats or blocks and
tasking them to get acquainted with community members through increased non-
enforcement contacts.

 During this reporting period, APD developed a plan to assess operational impact and
effectiveness of these new deployment strategies. The plan currently lacks specific
measurable goals and objectives to assess effectiveness, and does not yet articulate an
ongoing set of metrics to measure ongoing activities and impact. We strongly
recommend inclusion of measureable “outcomes” as part of APD community policing
strategies.

While general goals have been outlined for this plan, we still require more specific
measures, and analytic methods to determine effectiveness or guide program revision
and adaptation.

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

Recommendations for Paragraph 256:




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4.7.241a: Continue to make new staffing allocation and deployment plan a
priority, and take the necessary steps to gain important input and support from
settlement partners and community stakeholders including CPCs;

4.7.241b: Ensure the staffing plan has clearly articulated and defined goals,
objectives and outcome measures.

4.7.242 Assessing Compliance with Paragraph 257: Geographic Familiarity of
Officers

Paragraph 257 stipulates:

              “APD shall ensure that officers are familiar with the
              geographic areas they serve, including their issues, problems,
              and community leaders, engage in problem identification and
              solving activities with the community members around the
              community’s priorities; and work proactively with other city
              departments to address quality of life issues.”

Methodology

The monitoring team’s assessment of APD’s new compliance strategies for the
Community Policing components of the CASA include the following:

   •   APD reported that all of the six (100 percent) Area Commands
       provided data regarding signed bid packets. These packets include a
       list of neighborhood associations, meetings and community contacts.

   •   For this reporting period, APD documented that more than 95 percent
       of newly assigned officers were provided familiarity data and returned
       signed bid packets.

   •   APD demonstrated significant progress from the prior reporting
       periods and described and documented the POP projects undertaken
       in each of the command areas. Current documentation describes
       the projects and their goals but fails to always identify participants
       and identify outcomes.

   •   APD has proposed the implementation of a range of strategies to
       encourage ongoing non-enforcement contacts and to stimulate
       working with other city agencies and community members to engage
       in more problem-solving activities.

APD continues to make steady progress in ensuring that officers are given the
necessary information to enhance familiarity with the geographical areas they serve.
Providing their officers this information is a first step, and eventually this should be
reflected in more POP projects. For this reporting period, APD documented POP

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projects in each of the six command areas representing significant progress from the
previous reporting period. The monitoring team will continue to confirm issuance of bid
packets to APD staff and will assess how that information is being utilized to advance
APD’s community policing goals. APD is also encouraged to do routine reviews and
updates of the information provided to officers in their bid packages and other sources
as well.

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

Recommendations for Paragraph 257:

4.7.242a: Update specific procedures for establishing and maintaining Problem-
Oriented Policing (POP) projects in each of the six-command area including a
standard reporting template identifying participants and tracking POP activities
and outcomes;

4.7.242b: Update regularly information provided in bid packages to officers.

4.7.242c: Develop and utilize assessment methods to determine if bid packet
information is increasing officer familiarity with neighborhoods served.

4.7.243 Assessing Compliance with Paragraph 258: Officer Outreach Training

Paragraph 258 stipulates:

             “Within 12 months of the Effective Date, APD agrees to
             provide 16 hours of initial structured training on community
             and problem oriented policing methods and skills for all
             officers, including supervisors, commanders, and executives
             this training shall include:

             a) Methods and strategies to improve public safety and crime
             prevention through community engagement;
             b) Leadership, ethics, and interpersonal skills;
             c) Community engagement, including how to establish formal
             partner ships, and actively engage community organizations,
             including youth, homeless, and mental health communities;
             d) Problem-oriented policing tactics, including a review of the
             principles behind the problem-solving framework developed
             under the “SARA Model”, which promotes a collaborative,
             systematic process to address issues of the community.
             Safety, and the quality of life;
             e) Conflict resolution and verbal de-escalation of conflict and;
             f) Cultural awareness and sensitivity training.




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              These topics should be included in APD annual in-service
              training.”

Methodology

While APD is making some progress in revamping their training to better align with
changing policies, directives and other practices that reflect a greater emphasis and
adherence to community policing principles, APD has not completed this training
overhaul, and still needs to apply the seven-step process to all of its training elements of
the 16 hours of required training. The monitoring team was presented with a lesson plan
for the community policing stakeholder/resources course, and an updated source
materials list, which will serve as the basis for much of this required 16 hours of training.

Responding to recommendations from the previous monitoring report, APD is
strengthening its course evaluation methods and provided updated course evaluation
forms that capture both perceptions of training and knowledge retained. During this
reporting period, APD has not resolved how it will meet the requirement to provide the
sixteen hours COPS training in service as well.

APD’s decision to overhaul the required 16 hours of COP training was necessitated by a
paradigm shift in the department’s policing philosophy, placing a much greater
emphasis on community policing and engagement. The outline provided to the
monitoring team reflects this shifting philosophy and is part of a broader effort to
effectuate organizational culture change. By having officers internalize a different way
to perceive their relationship with the community members they serve, and to assess
alternative ways of interacting with the community, APD brings “change” to the forefront
of its community policing processes. The monitoring team believes that the updating
and delivery of the COP training curriculum is key to achieving some of the most
important elements of the CASA agreement.

Results

       Primary:     In Compliance
       Secondary: Not In Compliance
       Operational: Not In Compliance

Recommendation for Paragraph 258:

4.7.243a: Seek external technical assistance in the COPs curriculum development
process using subject matter expert as peer reviewers for COP curriculum.

4.7.244 Assessing Compliance with Paragraph 259: Measuring Officer Outreach

Paragraph 259 stipulates:

              “Within six months of the Effective Date, APD agrees to
              develop and implement mechanisms to measure officer


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             outreach to a broad cross-section of community members,
             with an emphasis on mental health, to establish extensive
             problem-solving partnerships and develop and implement
             cooperative strategies that build mutual respect and trusting
             relationships with this broader cross section of
             stakeholders.”

APD submitted to the monitoring team nearly 100 community event forms capturing
officer participation in community events. The completed forms represent at least partial
implementation of a tracking system designed to capture officer participation at
community events, event outcomes and other relevant information. The information is
captured at various decision points and included in an event form. APD has not
provided the monitoring team any activity reports generated by the database comprised
of information from the community event forms. The department continues to consider
additional updates to this form to improve data query and report generating capabilities
and develop the necessary SOPs to fully execute this event capturing system.

APD continues to lag in identifying and documenting partnerships with community
entities focused on problem solving. Partnership information provided to the monitor
focused on cooperative arrangement with other law enforcement and justice entities
instead of the required partnerships with community-based organizations that serve
high risk populations such as the homeless and the mentally disabled. While there are
often informal relationships in place, formalizing and documenting these processes are
important requirements if APD expects to set expectations and ensure sustainability and
evaluability.

Results

      Primary:     In Compliance
      Secondary: Not In Compliance
      Operational: Not In Compliance

Recommendations for Paragraph 259:

4.7.244a: Complete development of the automated communications event
calendaring system and integrate it with the larger TRaCS effort to capture all
non-law enforcement contacts and any meaningful outcomes; and

4.7.244b Identify community service organizations and advocacy groups that
serve and represent high- risk populations, and better document current
partnerships and new partnerships.

4.7.245 Assessing Compliance with Paragraph 260: PIO Programs in Area
Commands

Paragraph 260 stipulates:



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            “APD shall develop a Community Outreach and Public
            Information program in each area command.”

Methodology

During this reporting period, APD maintained a “command areas” website including
CPC-related information for each of the six command areas. These websites currently
capture crime information, agendas for upcoming CPC meetings, schedules of
upcoming events, other news items, information on how to report crimes, information
regarding how to file complaints, and recommendations for officer commendations.

APD continues to fail to meet the requirement of having a community outreach and
public information program in each command area. There remains a lack of evidence of
any coordinated and focused area command-based public information strategy that
includes community outreach, messaging, reaching marginalized audiences, and better
communication tools, such as using social media, to enhance community engagement.

All six area commands currently have websites and engage in limited outreach efforts.
The websites also provide information about upcoming CPC meetings. APD Command
area communications with its area residents could be greatly enhanced with a
customized Area-based process that would utilize social media tools to reach a broader
audience. During the prior reporting period, APD received technical assistance from the
Bureau of Justice Assistance to help develop a CPC-based public information strategy
which several of the CPCs used as a basis for expanding their own social media
outreach.

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

Recommendations for Paragraph 260:

4.7.245 Continue to improve Area Command public information strategies and
programing including using technical assistance to update those strategies
incorporating significantly more use of various social media tools to reach a
broader audience of area command residents.

4.7.246 Assessing Compliance with Paragraph 261: Community Outreach in Area
Commands

Paragraph 261 stipulates:
            “The Community Outreach and Public Information program
            shall require at least one semi-annual meeting in each Area
            Command that is open to the public. During the meetings,
            APD officers from the Area command and the APD

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            compliance coordinator or his or her designee shall inform
            the public about the requirements of this Agreement, update
            the public on APD’s progress meeting these requirements,
            and address areas of community concern. At least one week
            before such meetings, APD shall widely publicize the
            meetings.”

Methodology

In conjunction with the Mayor’s Office and other CASA partners, APD held a city-wide
community meeting during this reporting period to present summary of findings from the
IMR-8 report to community stakeholders and other interested parties. The meeting was
widely attended by a cross-section of community members. Additionally, in three of the
six command areas, APD staff presented summaries of findings at the area command
CPC monthly meetings. CASA updates were also provided at many other CPC
meetings. The monitoring team expects briefings to be conducted in all six of the area
command CPCs after the completion of the IMR-9 report.

APD has in place six functioning CPCs that meet once a month and provide on-going
opportunities for APD to directly interface with residents and brief them on progress in
compliance with the settlement agreement. The CPC also served as a conduit for
updates on policy change; new training, policing strategies and tactics; and addressing
resident community safety concerns. CASA updates and briefings on policy changes
were addressed at some of these meetings during this reporting period. The monitoring
team suggests that APD may want to make greater use of CPC processes to provide a
public forum to discuss changes in APD policy, training, and policing strategies.

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.247 Assessing Compliance with Paragraph 262: Community Outreach
Meetings

Paragraph 262 stipulates:

            “The Community Outreach and Public Information meeting
            shall, with appropriate safeguards to protect sensitive
            information, include summaries, of all audits and reports
            pursuant to this Agreement and any policy changes and other
            significant action taken as a result of this Agreement. The
            meetings shall include public information on an individual’s
            right and responsibilities during a police encounter.”




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Methodology

We note that all CASA-related reports are posted on the APD website. Further, APD
has expanded its information on an individual’s rights and responsibilities during a
police encounter.

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.248 Assessing Compliance with Paragraph 263: APD Attendance at
Community Meetings

Paragraph 263 stipulates:

            “For at least the first two years of this Agreement, every APD
            officer and supervisor assigned to an Area command shall
            attend at least two community meetings or other meetings
            with residential, business, religious, civic or other community-
            based groups per year in the geographic area to which the
            officer is assigned.”

Methodology

We note that APD previously established, through SOP-3-02-1, the requirement and
tracking mechanisms to implement this task. APD, during the prior period, submitted to
the monitoring team a detailed flow chart outlining a process for capturing community
events information, officer participation, and outcomes. APD also previously submitted
a TraCS worksheet that reported the number of events and reported participation rates
by command area, and units within each command area. The reported data indicated
only partial compliance with meeting participation requirements for the command areas.

In addition, APD continues to make gradual progress in having officers regularly attend
community meetings and tracking that participation. During this reporting period, APD
provided the monitoring team with nearly 100 completed event participation forms. APD
should continue improvements and complete its data capture coupled with developing a
capacity to generate reports covering officer participation in community events.

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

Recommendation for Paragraph 263:

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4.7.248a: Seek assistance to complete the tracking data base (TraCS) and develop
standard reporting formats for command staff and an ability to query the data-
base for special reports and information requests.

4.7.249 Assessing Compliance with Paragraph 264: Crime Statistics
Dissemination

Paragraph 264 stipulates:

             “APD shall continue to maintain and publicly disseminate
             accurate and updated crime statistics on a monthly basis.”

Methodology

During this reporting period, APD maintained its contract with a service that provides
up-to-date crime mapping services based on “calls for service” that can be accessed on
APD’s website. This has proven to be a very useful tool to members of the CPCs. APD
posts year-to-date crime numbers and comparisons with the previous year. The
reporting meets industry standards in format and timeliness.

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.250 Assessing Compliance with Paragraph 265: Posting Monitor’s Reports

Paragraph 265 stipulates:

             “APD audits and reports related to the implementation of this
             Agreement shall be posted on the City or APD website with
             reasonable exceptions for materials that are legally exempt or
             protected from disclosure.”

Methodology

All requirements stipulated by this paragraph continue to be met by the APD and the
City. Further, APD has developed guidelines for determining any reasonable
exceptions to posting audits and reports relating to the CASA. During this reporting
period, APD also posted monitoring team reports on the APD website in a timely
fashion.

Results

      Primary:     In Compliance

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      Secondary: In Compliance
      Operational: In Compliance

4.7.251 Assessing Compliance with Paragraph 266: CPCs in Each Area
Command

Paragraph 266 stipulates:

             “The City shall establish Community Policing Councils in
             each of the six Area Commands with volunteers from the
             community to facilitate regular communication and
             cooperation between APD and community leaders at the local
             level. The Community Policing Councils shall meet, at a
             minimum, every six months.”

Methodology

CPCs have been established in each of the six Area Commands since November 2014.
During this and prior reporting periods, each of the six Councils tended to meet once a
month, far exceeding the once every six-month requirement. During this reporting
period, five of the six CPCs increased or maintained high levels of participation,
including the number of voting members and community participants. Several CPCs are
still struggling to improve community participation, however. APD has provided support
and assistance to these lagging CPCs to facilitate outreach efforts. During this reporting
period, APD continued its timely documentation and posting of CPC meeting agenda,
and minutes.

APD has consistently exceeded CASA requirements with CPCs meeting monthly since
their inception. Some CPCs still struggle to increase voting membership diversification
but have made strides in those areas and have developed a strategy to make further
improvements. Most CPCS have matured over the last several years, institutionalizing
practice, building a following, and generating meaningful recommendations to APD. In
a typical month, there are more than 150 residents and up to 20 police officers meeting
across the six CPCs. These police advisory and collaborative councils provide a means
for community members to directly communicate with area commanders and their staff,
and together address community safety issues.

CPCs represent a strong success for the CASA, providing what is becoming a national
“best practice” for providing opportunity for meaningful community input in police
operations, fostering relationships, and building trust among police and community
members. The monitoring team expects APD to continue to support the maturation of
this program and be prepared to export its practices and concepts to other law
enforcement agencies.

Results

      Primary:      In Compliance

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      Secondary: In Compliance
      Operational: In Compliance

4.7.252 Assessing Compliance with Paragraph 267: Selection of Members of the
CPCs

Paragraph 267 stipulates:

             “In conjunction with community representatives, the City shall
             develop a mechanism to select the members of the
             Community Policing Councils, which shall include a
             representative cross section of community members and APD
             officers, including for example representatives of social
             services providers and diverse neighborhoods, leaders in
             faith, business, or academic communities, and youth.
             Members of the Community Policing Councils shall possess
             qualifications necessary to perform their duties, including
             successful completion of the Citizen Police Academy.”


Methodology

Each CPC establishes their own selection criteria within the parameters of CASA,
including background check requirements. These requirements have excluding factors
limited to current warrants and/or violent felonies in the last three years. The
requirement to complete a 12-week course for the Citizen Police Academy was modified
during an earlier reporting period, with APD developing and providing an option for CPC
members to complete a two week-end (four day) version of the course. In this reporting
period, APD continues to post CPC membership criteria for each of the six area
commands on their websites. APD also provided support to CPCs in helping to recruit a
more representative cross section of community members as CPC voting members.
Diversification of membership continued to improve during this reporting period. APD
staff also prepared a plan to help guide further diversification efforts.

Several CPCs still struggle with the recruitment of voting members and having diverse
voting membership, and may yet require more assistance from APD. CPCs are
beginning to explore greater use of social media tools to help reach young people and
other hard-to-reach population groups. This can potentially lead to an expanded and
more diverse CPC voting membership. APD is also considering the establishment of a
youth policing council.

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance




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Recommendation for Paragraph 267:

Recommendation 4.7.252: Use social media and other available tools and
develop a specific outreach strategy for each area command CPC for both voting
members and non-voting participants and include specific ways to meet the
CASA’s diversity requirements.

4.7.253 Assessing Compliance with Paragraph 268: Resourcing the CPCs

Paragraph 268 stipulates:

             “The City shall allocate sufficient resources to ensure that the
             Community Policing Councils possess the means, access,
             training, and mandate necessary to fulfill their mission and
             the requirements of this Agreement. APD shall work closely
             with the Community Policing Councils to develop a
             comprehensive community policing approach that
             collaboratively identifies and implements strategies to
             address crime and safety issues. In order to foster this
             collaboration, APD shall appropriate information and
             documents with the Community Policing Councils, provided
             adequate safeguards are taken not to disclose information
             that is legally exempt or protected from disclosure.”

Methodology

In the prior reporting period, APD’s new leadership cadre hired a new outreach director,
and an administrative assistant who have primary responsibility for community outreach
and support for the CPCs. APD also facilitated two CPC membership training sessions
covering topics ranging from CPC mission, roles, and responsibilities to handling
meetings and building consensus. CPC members indicated significant improvements in
APD coordination and responsiveness to CPC concerns.

In this reporting period, APD continued its support of monthly meetings for each of the
six CPCs including note-taking, minutes, posting of minutes and agendas, and tracking
recommendation development and responses. Additionally, APD staff hosted a CPC
summit meeting, an awards ceremony at the convention center, and helped develop
and participated in, the modified “citizens training academy”. APD outreach staff also
provided on-going coaching and guidance to new CPC members and leadership. The
APD outreach staff also worked to help standardize the CPC annual reports and posts
all relevant CPC information in a timely fashion.

CPCs may still need additional APD assistance in some areas, including a new member
orientation package and training, and most importantly, outreach and recruitment of
additional voting members and expanded participation. Nonetheless, requirements of
this paragraph are currently in compliance.




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Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.254 Assessing Compliance with Paragraph 269: APD-CPC Relationships

Paragraph 269 stipulates:

            “APD shall seek the Community Policing Councils assistance,
            counsel, recommendations, or participation in areas
            including:

            a) Reviewing and assessing the propriety and effectiveness of
            law enforcement priorities and related community policing
            strategies, materials, and training;
            b) Reviewing and assessing concerns or recommendations
            about specific APD policing tactics and initiatives;
            c) Providing information to the community and conveying
            feedback from the community;
            d) Advising the chief on recruiting a diversified work force
            e) Advising the Chief on ways to collect and publicly
            disseminate data and information including information about
            APDs compliance with this Agreement, in a transparent and
            public –friendly format to the greatest extent allowable by
            law.”

Methodology

The CPCs continued to make progress during this reporting period in addressing the
areas for CPC input identified in the CASA. The agenda items and CPC
recommendations at most CPCs often closely align with the issues and topics identified
in the CASA. Also, APD leadership, including the Chief, participated in CPC meetings
discussing the shifting departmental philosophy to a greater emphasis on community
policing, and commitment to APD reforms.

Agenda items often addressed neighborhood community safety concerns and included
presentations on crime prevention and CASA updates. We note that APD still does not
consistently bring issues and recommended policy changes to the attention of all of its
CPCs in a proactive manner. APD has made significant progress in the tracking,
reporting, and feedback on CPC recommendations.

CPCs continued their maturation process during this reporting period with the direct
support of APD and city leadership, and the infusion of additional staff resources. There
remain several CPCs that, while holding monthly meetings and addressing basic
requirements, may still require further assistance from APD to help meet the goals
outlined for them in the CASA.


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There are still areas of improvement that should to be addressed, including more
discussion at CPC meetings of APD policies and policing strategies, and broader and
more diverse community participation. Nonetheless, APD and its CPC are in
compliance with the requirements of this paragraph.

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.255 Assessing Compliance with Paragraph 270: CPC Annual Reports

Paragraph 270 stipulates:

             “The Community Policing Councils shall memorialize their
             recommendations in annual public report that shall be posted
             on the City website. The report shall include appropriate
             safeguards not to disclose information that is legally exempt
             or protected from disclosure.”

Methodology

During the prior reporting period APD posted the 2017 CPC annual reports for all six
CPCs. The annual reports were not presented in a standard format, and often did not
effectively capture CPC annual activities and achievements. During this reporting
period, APD held a training to promote standardization in annual reports among CPCs
and hopefully the 2018 annual report iterations will demonstrate more consistency. It is
noted that the CPC annual reports are not easily located on the APD website. Despite
the need for some improvements, the CPCs, and thus APD, are in compliance with the
requirements of this CASA paragraph.

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.256 through 4.7.277 Assessing Compliance with Paragraphs 271-292:
Community Police Oversight Agency

Paragraphs 271 through 292 of the CASA pertain to the Civilian Police Oversight
Agency (CPOA) including the Police Oversight Board (POB). These paragraphs require
an independent, impartial, effective, and transparent civilian oversight process, one that
not only investigates civilian complaints but also affects disciplinary and policy
recommendations, trend analysis, and community outreach, including the publishing of
reports.

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During the monitoring period and the November 2018 site visit, members of the
monitoring team held meetings with the CPOA Executive Director, and members of his
staff, at the CPOA office; attended a POB public monthly meeting; and reviewed CPOA
training records. In addition the monitoring team selected, by way of a stratified random
sample, 8 CPOA investigations completed during the monitoring period. The monitoring
team also reviewed the CPOA website, including but not limited to, POB agenda and
minutes, community activities, public reports, and POB meetings and non-concurrence
letters.

The findings related to Paragraphs 271 through 292 indicate the following outcomes,
related to requirements of the CASA.

The CPOA/POB is an impartial and productive agency that provides civilian oversight of
APD. It is an independent agency whose appointed members are dedicated individuals
of diverse backgrounds drawn from a cross-section of the community. They are
committed to the goals of the CASA, as are all members of the CPOA. The initial and
annual training requirements for POB members continue to be adequately met.

As we noted in IMR-8, the investigations of CPOA, once complaints are assigned, are
generally thorough and timely. (We discuss in more detail the quality of investigations in
the Investigation of Complaints section of this report). The Executive Director has the
authority to recommend disciplinary action in the cases CPOA investigates, as well as
the cases that are reviewed by CPOA (Serious Use of Force and Officer-Involved
Shootings), and the POB has a mechanism for approving the recommendations of the
executive director. The chief or his designee retains the discretion to impose discipline.

Cooperation between CPOA and IAD continues to be satisfactory. In general, both
agencies respect each other’s role, and realize it is in their best interests and that of the
CASA, to cooperate and facilitate their intertwined missions and related areas of
responsibility. CPOA has the necessary access to information and facilities reasonably
necessary to investigate complaints and review serious use of force and officer-involved
shootings.

CPOA and POB have adequate time to weigh in on the policy-making process. Due to
changes in the policy review procedures, POB now appears to have enough time to
review and debate policies and policy changes as an entire body. This will enhance not
only POB’s policy role, but the entire APD policy making and policy revision processes
as well.

In this monitoring period, we found two cases in which the Chief disagreed with the
investigative findings or the disciplinary recommendations of the CPOA/POB. [IMR-9-
43, IMR-9-42]. In [IMR-9-43]. the Chief issued a non-concurrence letter that
comprehensively articulated the rationale upon which the decision to not impose
discipline was based. In [IMR-9-42], we found the Chief had granted an appeal to a
written letter of reprimand on the next to last day of the IMR 9 review period. The

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granting of the appeal differs from the recommendation of CPOA. The internal
memorandum written by the Chief, articulating his reasons for granting the appeal, was
sufficient to allow the reader to clearly understand his decision.

When differing from the CPOA/POB recommendations, the non-concurrence letters are
such that the public, CPOA/POB, and the APD are now well aware of the Chief's
reasons and thought process in reaching the level of discipline imposed. Although there
were no non-concurrence letters this review period regarding disagreement in policy
recommendations, we fully expect the same articulation of reasons in these instances in
the future.

CPOA has a robust community outreach program, which also utilizes social media
among other mediums. The quarterly meetings, bringing together CPOA and City
representatives with the CPCs, have continued. They provide the opportunity for the
CPCs to coordinate their efforts, with the assistance of the CPOA, particularly with
regard to policy recommendations. Although individual CPCs are free to make their own
recommendations, where there is commonality of interests, unity in making
recommendations carries greater weight and cogency.

Notwithstanding the progress made to date, in the overall oversight process, the
monitoring team found the process exhibited issues with elements related to specific
paragraphs

There have been indications that POB’s role in the oversight process and the reform
process of the CASA is not being taken seriously enough by the City. The POB consists
of 9 members, all of whom are needed to keep current with its challenging workload and
tasks of the Board and its sub-committees. Three POB vacancies occurred in 2018,
(March 2018; June 2018; and September 2018). None of these vacancies had been
filled by the end of this IMR period (January 31, 2019). The monitoring team has
learned that, after the close of this reporting period, three candidates have been
selected to fill these vacancies and were to be presented to City Council for approval at
its February 2019 meeting. Without reflecting on the qualifications of the candidates or
their desire and commitment to serve, we have learned that the selection process was
seriously wanting. No formal interview of the candidates took place before selection.
There was no input from the POB or CPOA as to the background and qualifications of
the three candidates, or for any applicants for that matter. It appears that they were
selected solely from the information provided on their November 2017 website
applications, pending an appropriate background check. Since these events occurred
outside of this reporting period, they do not affect compliance levels for this report. We
do however, encourage the City to pay careful attention to the requirements of the
CASA when vetting and selecting new POB members.

On a brighter note, the City did timely re-appoint 2 current POB members whose terms
expired during the IMR period, thereby avoiding adding an additional two vacancies to
the three vacancies that already existed.



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Another related issue was the reappointment of the Executive Director to a second
term. His first term expired in October 2018. In anticipation of the end of his contract
and in accordance with paragraph 279 of the CASA, the POB voted to renew the
Executive Director’s contract in May of 2018. Notwithstanding that the CASA gives the
authority to select the Executive Director to the POB (“the agency”), City Council twice
delayed voting on approval of the reappointment. The Executive Director was finally
approved in early December 2018; however at the expiration of this IMR period he was
still working without a contract.

Approval of POB decisions regarding appointments or reappointments of the Executive
Director position should be made in a timely manner, i.e., before the expiration of a
term, leaving no doubt who will lead CPOA in the next director’s term. Assuming the
candidate meets City hiring requirements such as passing a background check, the
monitoring team would expect there to be no future uncertainty or hesitation regarding
the formality of approving the POB’s selection.

We have seen ramifications of the vacancies in the POB workflow and process. One
such case is [IMR-9-42], involving an external complaint about APD’s performance in
investigating a child abuse case. This was a high-profile matter which drew public
attention and response from APD’s leadership. A preliminary investigation was
conducted by APD which led to a decision to pursue a formal investigation. An external
complaint was also filed with CPOA regarding the same matter, leading to a CPOA
investigation. It appeared initially that APD and CPOA would conduct a joint
investigation, or at least share information and avoid duplicative efforts, but ultimately
each office conducted its own investigation.

Once CPOA concluded its investigation, a procedural path was followed that can only
be described as “tortuous.” The investigation was sent to POB for its review and
approval. The minutes of the October 11, 2018 meeting of POB show that the case was
referred to the POB Case Review Subcommittee (CRC), The minutes of the CRC on
October 27, 2018 show that the “CRC feels investigation incomplete and didn’t examine
all policies.” At the POB meeting of November 8, 2018, the case was listed on the Non-
Consent Agenda as “Unfounded/ Sustained” on two separate allegations. A motion was
made and approved to refer all the non-consent cases on the agenda back to the CRC.
The minutes for November 27, 2018 CRC meeting show that “CRC is satisfied and
addressed all concerns within [IMR-9-42] and no further discussion is needed this
case.” That CRC decision notwithstanding, at the December 13, 2018 POB meeting, the
POB voted to send the case back to CPOA for further investigation.

There is also evidence that the complainant acquired investigative documents through
IPRA and has publicly criticized the CPOA’s handling of the investigation, including the
written “Public Comment” dated December 18, 2018. Although not formally an appeal of
the CPOA’s findings, it appears that these comments had been received, reviewed and
contemplated by the POB before an appeal of the findings by the complainant was ripe.




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To date the Chief has received the CPOA file with findings not yet approved by POB, as
well the IA investigation, and has imposed discipline and has non-concurred in part with
both investigations. To date, POB has not approved or disapproved the findings of
CPOA, so from the civilian oversight standpoint the matter is still pending completion of
re-investigation.

POB-approved findings and recommended discipline have not yet been made. A
review of the investigative file shows that training should be recommended on 4 th
Amendment issues dealing with the seizure of abandoned property, and with the
apparent confusion regarding SOP 2-92-3(B)(3) and the difference between writing an
incident report on cases of “confirmed or suspected” child abuse, neglect, abandonment
or cruelty, and writing a report to the Children Youth and Families Department (CYFD)
based on “reasonable suspicion that a child is abused or neglected.” Based on the fact
pattern of the investigation, training is needed related to when a preliminary
investigation (and then a formal investigation) need to be conducted in cases of
suspected child abuse, and when there should be coordination of such investigative
efforts internally within APD. Even though discipline has been imposed, to date, APD
did not have the benefit of POB’s recommendations regarding findings, discipline,
training or policy arising out of this case, prior to imposition of discipline.

Another case with review issues is [IMR-9-43]. That case involved the primary issue of
whether an APD officer failed to follow protocol for identifying and/or investigating a
mental health crisis. The CPOA investigation did not sustain any charges. POB properly
allowed, and heard an appeal of the CPOA investigation in its November 2018 meeting,
in which it granted the appeal in part by sustaining two charges against the officer.
However, the POB provided no explanation or rationale for its decision, nor any
disciplinary recommendations, nor indication whether there were any training or policy
implications. The Chief non-concurred in the POB recommendation, responding with a
detailed non-concurrence letter in which his rationale was comprehensively set forth.
The Chief’s letter also rightfully mentioned that the POB decision provided no rationale
or insight into its decision-making for him to consider.

For the foregoing reasons, the monitoring team finds POB not in compliance” for
paragraph 271. “Meaningful oversight” by POB means effective oversight, which is
difficult if not impossible to achieve when missing a third of its personnel for a protracted
period.

This non-compliance finding is a result of the City (and surely some internal processes
at POB) failing to assess, process and achieve adequate staffing for POB.

A note of caution is issued to the POB and the CPOA. The Ordinance and the Policies
and Procedures clearly set forth a reasonable and concise process for investigations by
CPOA and approval of CPOA’s findings and recommended discipline by POB, as well
as the POB authority to make different findings or to require additional investigation.
Allowing the equivalent of an appeal before a case is concluded based on materials
obtained in an IPRA request is a worrisome deviation from that process.

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The more closely the process is followed, the easier it will be to accomplish the
agency’s mission. In addition, we note that the revised ordinance pending approval
gives broader authority to POB/CPOA than the CASA requires. That is a determination
rightfully made by Council; however, the monitoring team will assess whether the
exertion of full authority allowed by the ordinance, but not required by the CASA,
interferes with POB/CPOA’s CASA-mandated mission and duties. We will continue to
review closely the interaction of CASA, ordinance, and workflow at POB/CPOA.

We mentioned in IMR-8 that a new mediation policy, agreed upon by the parties and
approved by the monitor and the Court, is now in place. This is a marked improvement
that was expected to enable CPOA to make greater use of this effective complaint
remedy and disposition tool. It was also expected that this in turn will enable CPOA to
further improve on its efforts for timely disposition of complaints. Unfortunately, this
monitoring review has shown that complainants have not taken advantage of the
mediation program and have opted not to pursue mediation. CPOA is currently
assessing the program and other Alternative Dispute Resolution (ADR) mechanisms in
New Mexico in an effort to make the mediation program a viable alternative for
complainants.

As noted in IMR-8, when reviewing a stratified random sample of investigations
regarding the requirement of “expeditiously as possible” process complaints (contained
in paragraph 281 of the CASA), and the time requirement for completing investigations
contained in paragraph 191, we looked for and determined the following dates:
complaint received, complaint assigned for investigation, initiation of investigation after
assignment, completion of investigation, and notification of intent to impose discipline
(where applicable).

During the 6th site visit, the monitoring team discussed with the parties the issue of
delay between the date a complaint is received and the date it is assigned for
investigation. Although the CASA does not deal directly with the issue of time to assign,
the parties and the monitor agreed that a delay of more than 7 working days for
assignment is unreasonable and would affect the “expeditious” requirement of
paragraph 281 and time requirement of paragraph 191 starting with future IMRs.

We sampled 8 CPOA investigations completed this monitoring period. All of them had
evidence of “as soon as possible” initiation of investigation after assignment. All of them
were timely completed once they were assigned. However, we note that in the following
cases, [IMR-9-39, IMR-9-43], assignment was made after seven working days of having
received the complaint. This is a marked improvement from IMR-8, however a 75 %
compliance rate is still out of compliance with the “expeditious” time requirements of the
CASA.

To its credit, CPOA has initiated a new internal tracking system of complaints received
which appears to be paying dividends. We have also learned that the CPOA is seeking
two new staff positions, a complaint coordinator and an administrative assistant. This

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new tracking system, together with these new staff positions, should lead to quicker
initial review, assessment and assignment of complaints to the appropriate CPOA
investigator.

In our review of the public information requirement for CPOA/POB, we also found
issues related to paragraph 292 of the CASA requiring the CPOA to file semi-annual
reports with the City Council. CPOA attempts to meet this requirement by filing one
semi-annual and one annual report per year, and quarterly reports verbally with City
Council. Since our last IMR, the 2016 Annual Report has been posted on the CPOA
website and the 2017 Annual Report is currently undergoing review by the POB, and
then City Council, before final approval and release to the public. We have also learned
that the CPOA intends to meet this CASA mandated reporting requirement in the future
by issuing two semi-annual reports. In order for there to be meaningful communication
with the public, the goal should be to release a semi-annual report within 120 days of
completion of the reporting period.

The data analysis role is outsourced to the Institute for Social Research at the
University of New Mexico, The reports are not published until they have been reviewed
and approved by City Council. We will continue to monitor this process.

4.7.256 Compliance with Paragraph 271: CPOA Implementation

Paragraph 271 stipulates:

            “The City shall implement a civilian police oversight agency
            (“the agency”) that provides meaningful, independent review
            of all citizen complaints, serious uses of force, and officer-
            involved shootings by APD. The agency shall also review and
            recommend changes to APD policy and monitor long-term
            trends in APD’s use of force.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

Recommendations for Paragraph 271:

4.7.256a POB vacancies must be promptly filled. The City should consider
carefully POB/CPOA input regarding the qualifications of applicants for vacant
POB positions.

4.7.257 Assessing Compliance with Paragraph 272: Independence and
Accountability of CPOA

Paragraph 272 stipulates:

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            “The City shall ensure that the agency remains accountable
            to, but independent from, the Mayor, the City Attorney’s
            Office, the City Council, and APD. None of these entities shall
            have the authority to alter the agency’s findings, operations,
            or processes, except by amendment to the agency’s enabling
            ordinance.”

Results

No change in compliance processes are noted for this paragraph since last reporting
period. The agency remains in compliance based on past and current process.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.258 Assessing Compliance with Paragraph 273: Requirements for
Service of CPOA Members

Paragraph 273 stipulates:

            “The City shall ensure that the individuals appointed to serve
            on the agency are drawn from a broad cross-section of
            Albuquerque and have a demonstrated commitment to
            impartial, transparent, and objective adjudication of civilian
            complaints and effective and constitutional policing in
            Albuquerque.”

Results

No change in compliance processes is noted for this paragraph since the last reporting
period. The agency remains in compliance based on past and current process.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.259 Assessing Compliance with Paragraph 274: CPOA Pre-Service Training

Paragraph 274 stipulates:

             “Within six months of their appointment, the City shall
             provide 24 hours of training to each individual appointed to
             serve on the agency that covers, at a minimum, the following
             topics:

             a) This Agreement and the United States’ Findings Letter of
             April 10, 2014;
             b) The City ordinance under which the agency is created;

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             c) State and local laws regarding public meetings and the
             conduct of public officials;
             d) Civil rights, including the Fourth Amendment right to be
             free from unreasonable searches and seizures, including
             unreasonable uses of force;
             e) All APD policies related to use of force, including policies
             related to APD’s internal review of force incidents; and
             f) Training provided to APD officers on use of force.”

Results

No change in compliance processes is noted for this paragraph since last reporting
period. The agency remains in compliance based on past and current process.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.260 Assessing Compliance with Paragraph 275: CPOA Annual Training

Paragraph 275 stipulates:

             “The City shall provide eight hours of training annually to
             those appointed to serve on the agency on any changes in
             law, policy, or training in the above areas, as well as
             developments in the implementation of this Agreement.”

Results

No change in compliance processes is noted for this paragraph since last reporting
period. The agency remains in compliance based on past and current process.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.261 Assessing Compliance with Paragraph 276: CPOA Ride-alongs

Paragraph 276 stipulates:

             “The City shall require those appointed to the agency to
             perform at least two ride-alongs with APD officers every six
             months.”

Results

No change in compliance processes is noted for this paragraph since last reporting
period. The agency remains in compliance based on past and current process.


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      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.262 Assessing Compliance with Paragraph 277: CPOA Authority and
Resources to Make Recommendations

Paragraph 277 stipulates:

             “The City shall provide the agency sufficient resources and
             support to assess and make recommendations regarding
             APD’s civilian complaints, serious uses of force, and officer-
             involved shootings; and to review and make
             recommendations about changes to APD policy and long-term
             trends in APD’s use of force.”

Results

No change in compliance processes is noted for this paragraph since last reporting
period. The agency remains in compliance based on past and current process.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.263 Assessing Compliance with Paragraph 278: CPOA Budget and Authority

Paragraph 278 stipulates:

             “The City shall provide the agency a dedicated budget
             and grant the agency the authority to administer its
             budget in compliance with state and local laws. The
             agency shall have the authority to hire staff and retain
             independent legal counsel as necessary.”

Results

No change in compliance processes is noted for this paragraph since last reporting
period. The agency remains in compliance based on past and current process.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.264 Assessing Compliance with Paragraph 279: Full-Time CPOA Investigative
Staff

Paragraph 279 stipulates:

                                                                                     275
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             “The agency shall retain a full-time, qualified investigative
             staff to conduct thorough, independent investigations of
             APD’s civilian complaints and review of serious uses of force
             and officer-involved shootings. The investigative staff shall
             be selected by and placed under the supervision of the
             Executive Director. The Executive Director will be selected by
             and work under the supervision of the agency. The City shall
             provide the agency with adequate funding to ensure that the
             agency’s investigative staff is sufficient to investigate civilian
             complaints and review serious uses of force and officer-
             involved shootings in a timely manner.”

Results

No change in compliance processes is noted for this paragraph since last reporting
period. The agency remains in compliance based on past and current process.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.265 Assessing Compliance with Paragraph 280: Receipt and Review of
Complaints by CPOA

Paragraph 280 stipulates:

             “The Executive Director will receive all APD civilian
             complaints, reports of serious uses of force, and reports of
             officer-involved shootings. The Executive Director will review
             these materials and assign them for investigation or review to
             those on the investigative staff. The Executive Director will
             oversee, monitor, and review all such investigations or
             reviews and make findings for each. All findings will be
             forwarded to the agency through reports that will be made
             available to the public on the agency’s website.”

Results

No change in compliance processes is noted for this paragraph since last reporting
period. The agency remains in compliance based on past and current process.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.266 Assessing Compliance with Paragraph 281: Prompt and Expeditious
Investigation of Complaints

Paragraph 281 stipulates:

                                                                                     276
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             “Investigation of all civilian complaints shall begin as soon as
             possible after assignment to an investigator and shall
             proceed as expeditiously as possible.”

Results

Two of the eight cases reviewed took longer than seven days to be assigned for
investigation, and error rate of 25 percent.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: Not In Compliance

Recommendations for Paragraph 281:

4.7.266a: Develop an internal tacking system or other process that ensures all
complaints are either assigned for investigation, referred to mediation, or
administratively closed within 7 working days of receipt of complaint.

4.7.266b: Ensure that tardy assignments of investigations and tardy
investigations are noted and discussed with the involved CPOA personnel.

4.7.266c: CPOA should consider hiring a Case Coordinator to further ensure the
timely logging of receipt, the review, and the assignment of complaints.

4.7.267 Assessing Compliance with Paragraph 282: CPOA Access to Files

Paragraph 282 stipulates:

             “The City shall ensure that the agency, including its
             investigative staff and the Executive Director, have access to
             all APD documents, reports, and other materials that are
             reasonably necessary for the agency to perform thorough,
             independent investigations of civilian complaints and reviews
             of serious uses of force and officer-involved shootings. At a
             minimum, the City shall provide the agency, its investigative
             staff, and the Executive Director access to:

             a) all civilian complaints, including those submitted
             anonymously or by a third party;
             b) the identities of officers involved in incidents under
             review;
             c) the complete disciplinary history of the officers involved in
             incidents under review;
             d) if requested, documents, reports, and other materials for
             incidents related to those under review, such as incidents
             involving the same officer(s);
             e) all APD policies and training; and



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             f) if requested, documents, reports, and other materials for
             incidents that may evince an overall trend in APD’s use of
             force, internal accountability, policies, or training.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.268 Assessing Compliance with Paragraph 283: Access to Premises by CPOA

Paragraph 283 stipulates:

             “The City shall provide reasonable access to APD premises,
             files, documents, reports, and other materials for inspection
             by those appointed to the agency, its investigative staff, and
             the Executive Director upon reasonable notice. The City shall
             grant the agency the authority to subpoena such documents
             and witnesses as may be necessary to carry out the agency
             functions identified in this Agreement.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.269 Assessing Compliance with Paragraph 284: Ensuring
Confidentiality of Investigative Files

Paragraph 284 stipulates:

             “The City, APD, and the agency shall develop protocols to
             ensure the confidentiality of internal investigation files and to
             ensure that materials protected from disclosure remain within
             the custody and control of APD at all times.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.270 Assessing Compliance with Paragraph 285: Authority to Recommend
Discipline

Paragraph 285 stipulates:


                                                                                 278
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             “The Executive Director, with approval of the agency, shall
             have the authority to recommend disciplinary action against
             officers involved in the incidents it reviews. The Chief shall
             retain discretion over whether to impose discipline and the
             level of discipline to be imposed. If the Chief decides to
             impose discipline other than what the agency recommends,
             the Chief must provide a written report to the agency
             articulating the reasons its recommendations were not
             followed.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.271 Assessing Compliance with Paragraph 286: Documenting Executive
Director’s Findings

Paragraph 286 stipulates:

             “Findings of the Executive Director shall be documented by
             APD’s Internal Affairs Bureau for tracking and analysis.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.272 Assessing Compliance with Paragraph 287: Opportunity to Appeal
Findings

Paragraph 287 stipulates:

             “The City shall permit complainants a meaningful opportunity
             to appeal the Executive Director’s findings to the agency.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.273 Assessing Compliance with Paragraph 288: CPOA Recommendations
Regarding APD Policies

Paragraph 288 stipulates:


                                                                              279
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             “The agency shall make recommendations to the Chief
             regarding APD policy and training. APD shall submit all
             changes to policy related to this Agreement (i.e., use of force,
             specialized units, crisis intervention, civilian complaints,
             supervision, discipline, and community engagement) to the
             agency for review, and the agency shall report any concerns it
             may have to the Chief regarding policy changes.”



Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.274 Assessing Compliance with Paragraph 289: Explanation for not Following
CPOA Recommendations

             “For any of the agency’s policy recommendations that the
             Chief decides not to follow, or any concerns that the agency
             has regarding changes to policy that Chief finds unfounded,
             the Chief shall provide a written report to the agency
             explaining any reasons why such policy recommendations
             will not be followed or why the agency’s concerns are
             unfounded.”

Results

Our review of policy review interactions between the Chief of Police and the CPOA
show no substantive differences between the Chief of Police and CPOA regarding
policy. The working relationship between CPOA and the current chief is much improved
compared to the previous chief.

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.275 Assessing Compliance with Paragraph 290: Regular Public Meetings

Paragraph 290 stipulates:

             “The agency shall conduct regular public meetings in
             compliance with state and local law. The City shall make
             agendas of these meetings available in advance on websites
             of the City, the City Council, the agency, and APD.”

Results

      Primary:   In Compliance
      Secondary: In Compliance

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      Operational: In Compliance

4.7.276 Assessing Compliance with Paragraph 291: Community Outreach for the
CPOA

Paragraph 291 stipulates:

             “The City shall require the agency and the Executive Director
             to implement a program of community outreach aimed at
             soliciting public input from broad segments of the community
             in terms of geography, race, ethnicity, and socio-economic
             status.”

Results

      Primary:     In Compliance
      Secondary: In Compliance
      Operational: In Compliance

4.7.277 Assessing Compliance with Paragraph 292: Semi Annual Reports to
Council

Paragraph 292 stipulates:

             “The City shall require the agency to submit semi-annual
             reports to the City Council on its activities, including:

             a) number and type of complaints received and considered,
             including any dispositions by the Executive Director, the
             agency, and the Chief;
             b) demographic category of complainants;
             c) number and type of serious force incidents received and
             considered, including any dispositions by the Executive
             Director, the agency, and the Chief;
             d) number of officer-involved shootings received and
             considered, including any dispositions by the Executive
             Director, the agency, and the Chief;
             e) policy changes submitted by APD, including any
             dispositions by the Executive Director, the agency, and the
             Chief;
             f) policy changes recommended by the agency, including any
             dispositions by the Chief;
             g) public outreach efforts undertaken by the agency and/or
             Executive Director; and
             h) trends or issues with APD’s use of force, policies, or
             training.”

Results

CPOA submits annual and semi-annual reports in response to the requirements of this
paragraph.

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       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

4.7.278 Assessing Compliance with Paragraph 320: Notice to Monitor of Officer
Involved Shootings

Paragraph 320 stipulates:

              “To facilitate its work, the Monitor may conduct on-site visits
              and assessments without prior notice to the City. The Monitor
              shall have access to all necessary individuals, facilities, and
              documents, which shall include access to Agreement-related
              trainings, meetings, and reviews such as critical incident
              review and disciplinary hearings. APD shall notify the Monitor
              as soon as practicable, and in any case within 12 hours, of
              any critical firearms discharge, in-custody death, or arrest of
              any officer.”


Methodology

An Assistant City attorney has taken responsibility for providing notice to the Monitoring
team regarding all APD critical firearm discharges. Based on the new system’s results,
the monitor now receives expeditious notification, via e-mail exchanges, of all officer-
involved shootings. The City’s 320 notifications now match the “known data”
contemporaneously maintained by the monitoring team, which is tallied from news
reports, contemporaneous reviews of use of force reports, and spot checks of
information reviewed from IA “course of business” data.

Results

       Primary:     In Compliance
       Secondary: In Compliance
       Operational: In Compliance

5.0 Summary

As of the close of the ninth reporting period, APD is in a strong position to move forward
successfully; however, we see some potential obstacles to finishing compliance efforts
in a timely manner. In the paragraphs below, the monitoring team identifies APD’s
strengths, weaknesses, opportunities, and threats (SWOT), vis. a vis. the remaining
tasks facing APD as it moves forward. These comments provide APD with an industry-
standard assessment: SWOT analyses, which are the industry-wide accepted standard
for prefatory strategic planning and management.




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Strengths

APD executive staff, i.e., the chief of police and deputy chiefs of police and most in the
command levels of APD are committed, knowledgeable, change-oriented individuals,
and are beginning to look “outside” the agency for models, processes, product and
solutions to the issues confronting the agency as it moves forward with compliance
efforts.

The current city administration has committed to the requisite funding levels that were
obvious from the outset of the project in 2015. Acquisition of additional officers, and
funding for needed information and management systems are being met at a level that
is necessary for moving forward with many CASA-related processes.

Weaknesses

Despite the strengths noted above, APD is confronted with several weaknesses that
have, and will continue to retard progress. These include:

   ▪   A lack of vision among some of the command ranks;
   ▪   A lack of full commitment to reform at command through sergeant levels;
   ▪   A paucity of technical skills in command ranks;
   ▪   A lack of integration of compliance efforts;
   ▪   Overt resistance from some in command, mid-management, and supervisory
       levels;
   ▪   A paucity of technical skills among key elements of the reform effort, including:

             -- A lack of experience and core knowledge regarding
       organizational development and planned change;

             -- A lack of familiarity with the application of automated information
       systems to the specific problem sets confronted by the
       agency; and

              --A lack of a sophisticated understanding of and experience with
       quantitative and qualitative program evaluation.

These are the same weaknesses we have noted since the inception of the monitoring
project, and are reflective of the lack of an outside focus by APD during the past
administration.

Opportunities

Fortunately, APD and the City are aware of the potential impacts of outside talent in
certain critical positions, and have begun importing talent where needed. In addition to



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this change in perspective, we have also observed several related opportunities for APD
to move forward effectively. These include:

   ▪   Enhanced funding levels from new administration;
   ▪   Enhanced support from new administration;
   ▪   Newly earned trust from community;
   ▪   The continued Court mandate for “change;”
   ▪   Acceptance of “outside hires” at management and technical levels; and
   ▪   Existence of “experienced” organizations that have preceded APD in the reform
       effort (Los Angeles, Seattle, New Orleans, Cleveland etc.).

It is incumbent on APD executive staff to identify, assess, select, and manage these
opportunities in the coming months.

Threats

Despite these new-found opportunities, APD is also confronted with some formidable
threats to success. These include:

   ▪   The Counter-CASA effects we have discussed in detail over the past five reports;
   ▪   Technological, managerial, and supervisory skill deficits; and
   ▪   The shelf-life of existing opportunities (discretionary funding for reform efforts)
       may soon dry up, as the City is required to focus on other, equally important
       issues.

At times, merely acknowledging and understanding the interplay among the elements of
a SWOT analysis is enough to stave off unwarranted events. At other times, a focused
and highly attentive awareness of each of these elements is necessary to move an
agency forward.




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